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                 EXHIBIT S
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Deposition of Patricia McNulty                                             Lisa Barbounis v. Middle Eastern Forum, et. al.


                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

              LISA BARBOUNIS,                                    ) CIVIL ACTION - LAW
                                                                 )
                                    Plaintiff                    )
                                                                 )
              -vs-                                               ) NO. 2:19-cv-05030
                                                                 )
              THE MIDDLE EAST FORUM, et                          )
              al.,                                               )
                                                                 )
                         Defendants                              )
              _________________________                          X


                                                        * * *

                                 The recorded video deposition of PATRICIA
              McNULTY, taken remotely via Zoom, on Friday,
              February 5, 2021, beginning at 10:12 a.m., before
              Carrie A. Kaufman, Registered Professional Reporter
              and Notary Public in and for the Commonwealth of
              Pennsylvania.




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              A P P E A R A N C E S:

              On behalf of the Plaintiff:
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              Also Present:
                       Alex Held (Via Zoom)
                       Everest Court Reporting
                       Video Specialist
                                 Gregg Roman (Via Zoom)
                                 Daniel Pipes (Via Zoom)
                                 Matthew Mainen (Via Zoom)
                                 Marc Fink (Via Zoom)




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                                                  Page 4                                                          Page 6
 1          THE VIDEO SPECIALIST: We are now               1
                                                                    Q. Okay. Have you ever been deposed
 2     on the record. Today's date is February              2
                                                              outside of what I'll call the Middle East Forum
 3     5th, 2021, and the time is 10:12 a.m.                3
                                                              cases?
 4     Eastern.                                             4
                                                                    A. No.
 5          This is the recorded video                      5
                                                                    Q. Okay. So you've already been given the
 6     deposition of Patricia McNulty in the                6
                                                              instructions for depositions, and I'm sure at this
 7     matter of Lisa Barbounis versus Middle               7
                                                              point the process has become familiar to you, but
 8     East Forum, et al., United States                    8
                                                              I'll run you through a couple things just as a
 9     District Court, Eastern District of                  9
                                                              reminder since we are on Zoom for this deposition
10     Pennsylvania, Civil Action Number                   10
                                                              rather than in person and that creates some
11     2:19-CV-05030-JDW.                                  11
                                                              difficulties and some headaches that we'll be able to
12          My name is Alex Held, and I'm the              12
                                                              get through but just for the sake of a reminder.
13     video specialist from Everest Court                 13
                                                                        It's obviously even more important
14     Reporting. The court reporter today is              14
                                                              today that you and I try not to talk over each other.
15     Carrie Kaufman also from Everest Court              15
                                                              I promise that I will do my best to let you finish
16     Reporting. All counsel appearing today              16
                                                              every one of your answers, and I would ask that in
17     will be noted on the stenographic                   17
                                                              return you let me finish my questions before you try
18     record.                                             18
                                                              to answer, even if you anticipate where I'm going,
19          Will the court reporter please                 19
                                                              even if the answer seems obvious; is that fair?
20     swear in the witness.                               20
                                                                    A. Sure.
21                ---                                      21
                                                                    Q. Okay. If you do --
22       PATRICIA McNULTY                                  22
                                                                        MR. CAVALIER: By the way, there's
23      WAS CALLED AND HAVING BEEN DULY SWORN              23
                                                                    some really really loud background
24     WAS EXAMINED AND TESTIFIED AS FOLLOWS:              24
                                                                    noise.
25                ---                                      25
                                                                        THE COURT REPORTER: Yeah, I'm
                                                  Page 5                                                          Page 7
 1           MR. CAVALIER: Seth, are you good             1      getting a lot of interference also.
 2      to go?                                            2           MR. CAVALIER: Okay. It actually
 3           MR. CARSON: Yeah, I'm good.                  3      sounds pretty good now. Is that good on
 4           MR. CAVALIER: Okay. I just                   4      your end, Carrie?
 5      didn't want to start while -- without             5           THE COURT REPORTER: Yeah, it does
 6      making sure you were able to hear.                6      seem better now. Thank you.
 7                 ---                                    7           MR. CAVALIER: Okay. Okay. Sorry
 8               EXAMINATION                              8      about that.
 9 BY MR. CAVALIER:                                       9 BY MR. CAVALIER:
10      Q. Good morning, Ms. McNulty. My name is 10              Q. Additionally, waiting for me to get my
11 Jon Cavalier. I'm a lawyer with Cozen O'Connor here 11 question out will give your counsel time to object to
12 in Philadelphia, and I represent the Middle East      12 the question if he wants to. You may hear him object
13 Forum and Gregg Roman in the litigation that you      13 today, you probably will, but to the extent he simply
14 brought against them.                                 14 objects to my question, because we're in a deposition
15           You'll also note that Mr. Sid Gold and      15 as opposed to a trial, you're still expected to
16 Mr. Bill Rieser are in this deposition as well. I'm   16 answer the question unless he instructs you
17 going to ask you some questions to begin this morning 17 specifically not to answer. Is that fair?
18 and then I'm going to turn it over to Mr. Gold and    18      A. Okay.
19 Mr. Rieser who are also going to have questions for   19      Q. Okay. We need verbal answers today,
20 you. Okay?                                            20 which you're already doing good with. Head nods --
21           I understand you've been deposed before     21 even though we are on video, things like head nods or
22 in these cases. Do you recall how many times you've 22 other gestures don't register for the court reporter
23 sat for a deposition?                                 23 who is taking down everything that you say today.
24      A. Twice before -- three -- three times          24 That transcript is the most important thing to come
25 before.                                               25 out of today, so it's very important that your

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 1 answers, whether they be yes, no, or a detailed            1 A. No.
 2 answer, are accurately transcribed by the court       2      Q. Have you read them?
 3 reporter. Her job is hard enough in regular times     3      A. No.
 4 where we're all sitting in the same room, but when    4      Q. Did you ever discuss them with anybody?
 5 we're doing this over Zoom it's doubly hard. So it's  5      A. No.
 6 really important for both of us that we answer        6      Q. Did you ever talk about your prior
 7 verbally in a way that the court reporter can         7 depositions with anybody?
 8 understand so that she can take down our words.       8      A. No.
 9 Okay?                                                 9      Q. Okay. Just give me one second here to
10      A. Okay.                                        10 get my documents together. I want to share some
11      Q. If you need a break today, just say so.      11 things with you today.
12 This is not an endurance test. You're always welcome 12           Ms. McNulty, do you know what I mean
13 to take a break, get up, walk around, two minutes,   13 when I reference something called discovery in civil
14 five minutes. If you get hungry or you want to get a 14 litigation?
15 drink, that's all fine, too. The only thing I would  15      A. I believe so. Anything that's been
16 ask is if there -- to the extent there is a question 16 handed over.
17 pending, that we finish up the answer to that        17      Q. Okay. So you understand that as part
18 question before we break. But you're welcome to take 18 of the civil process the parties to litigation are
19 a break at any time.                                 19 required to share documents with each other pursuant
20            Is there any reason today that you        20 to what I'll refer to as discovery requests from each
21 won't be able to tell the truth or any other         21 side, correct?
22 condition that you might be dealing with that would  22      A. Correct. Yes.
23 affect your memory?                                  23      Q. Okay. And you're aware that the
24      A. No.                                          24 defendants in this -- in your action that you brought
25      Q. Okay. Are you represented here today?        25 against the Forum and Mr. Roman have served discovery
                                                     Page 9                                                         Page 11
 1                                                            1 requests on you in this case, correct?
        A. Yes.
 2                                                            2      A.      Yes.
        Q. And who is your counsel?
 3                                                            3      Q.      Okay.
        A. Seth.
 4                                                             4            MR. CARSON: No, that's not true.
        Q. Seth Carson?
 5                                                             5      What you just said is not true.
        A. Correct.
 6                                                             6            MR. CAVALIER: Let me rephrase
        Q. Okay. Did you prepare for today's
 7                                                             7      that.
   deposition at all?
 8                                                             8 BY MR. CAVALIER:
        A. I spoke with Seth.
 9                                                             9      Q. You're aware that the defendants, the
        Q. And when did you do that?
10                                                            10 Forum -- let me back up actually.
        A. Yesterday and this morning.
11                                                            11            Do you understand that when I say the
        Q. And how long did you speak with Seth
12                                                            12 Forum I'm referring to the Middle East Forum?
   for yesterday?
13                                                            13      A. Yes.
        A. Maybe an hour.
14                                                            14      Q. So it's fair for today's purposes that
        Q. Okay. And how long did you speak with
15                                                            15 to the extent I say the Forum or MEF we'll know what
   him for this morning?
16                                                            16 each other is talking about, correct?
        A. 20 minutes maybe.
17                                                            17      A. Yes.
        Q. Did you review any documents?
18                                                            18      Q. Okay. And to address your counsel's
        A. We didn't review any documents, no.
19                                                            19 objection, you understand, do you not, that in the
        Q. Okay. You said that you've been
20                                                            20 case that you filed against the Forum and Mr. Roman
   deposed in these cases I think you said two or three
21                                                            21 the Forum has issued discovery requests to you,
   times before today?
22                                                            22 correct?
        A. Three I think.
23                                                            23      A. We have to provide discovery for that
        Q. Three? Have you looked at your -- the
24                                                            24 case.
   transcripts that were produced from those prior
25                                                            25      Q. Okay.
   depositions?
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 1                                                       1 you to take your time and look at it to the extent
        A. Right.
 2                                                       2 you need to to identify it before you answer.
        Q. I'm going to show them to you, but
 3                                                       3      A. Yes, I believe this is one of the ones
   sitting here this morning do you recall offhand
 4                                                       4 that I went through with my lawyer.
   whether you've ever seen the discovery requests that
 5                                                       5      Q. Okay. And when you say you went
   the Forum served on you?
 6                                                       6 through this with your lawyer, I do not want to know
        A. No, I haven't.
 7                                                       7 what you talked about with Seth, but I would like to
        Q. Okay.
 8                                                       8 know when you recall going through this with your
             MR. CARSON: I'm going to object.
 9                                                       9 lawyer.
        She receives them when I receive them.
10                                                      10      A. It was a couple weeks ago.
        So, yes, she has, the answer to the
11                                                      11      Q. Okay.
        question is yes, she received them the
12                                                      12           MR. CARSON: Object -- yeah, and
        day I got them in an e-mail from
13                                                      13      I'm going to object. We're not going to
        defendants.
14                                                      14      answer any other questions about how we
             MR. CAVALIER: Seth, are you
15                                                      15      went -- or how we went through
        answering the question for your witness?
16                                                      16      discovery. So if you want to ask the
             MR. CARSON: Yeah, I am, because
17                                                      17      questions for the record, I can continue
        you're not going to trick her into
18                                                      18      to object, I'm going to instruct her not
        saying things she doesn't understand.
19                                                      19      to answer those questions.
             MR. CAVALIER: I'm going to show
20                                                      20           MR. CAVALIER: I'm not sure I
        her a document --
21                                                      21      understand   the scope or the basis of
             MR. CARSON: Patricia, when I
22                                                      22      your objection, but I'll just keep
        receive discovery -- Patricia, when I
23                                                      23      asking --
        receive discovery requests and you and I
24                                                      24           MR. CARSON: You're not going to
        go over them, that's you receiving them.
25                                                      25      ask her when, how long, how, you're not
        Okay? Just so you understand what he's
                                                 Page 13                                                         Page 15
 1     trying to ask you.                                  1      going to -- you're not going to do that,
 2          THE WITNESS: Okay.                              2     and she's not going to answer those
 3          MR. CAVALIER: I'm not trying to                 3     questions based on privilege.
 4     trick her. I'm going to show her the                 4          MR. CAVALIER: How about you let
 5     documents.                                           5     me ask the question and then if you have
 6          MR. CARSON: Okay. Well, let's                   6     an objection you can state it for the
 7     just be clear for the record.                        7     record.
 8          MR. CAVALIER: We're going to be                 8          MR. CARSON: Okay. Well, I had an
 9     clear, but we need the record to be                  9     objection that I just put on the record
10     clear what the witness's answer --                  10     where she answered and -- so I objected,
11          MR. CARSON: Well, I think we're                11     privilege, I didn't want her to answer,
12     clear now, now that I cleared it up, I              12     my phone was on mute, so the last
13     think she could answer, so go ahead.                13     question there is an objection on the
14 BY MR. CAVALIER:                                        14     record to the last question, privilege.
15     Q. I'm going to try to share this with              15 BY MR. CAVALIER:
16 you. Hopefully it works.                                16     Q. Ms. McNulty, I see that you're still
17          Can you see that document, Ms. McNulty?        17 scrolling through the document. I don't want to ask
18     A. Yes.                                             18 you a question if you're looking at it, but when
19     Q. How do I give you control of this.               19 you're done let me know and I'll move on to the next
20          I think I just gave you control of the         20 question.
21 document. Can you see if it works? Can you scroll       21     A. I'm done.
22 up and down through this document?                      22     Q. Okay. So, for the record, this
23     A. Yes, I can.                                      23 document is your answers to our first request for
24     Q. Okay. So then I'm going to ask you               24 production of documents. Do you understand what I
25 whether you've seen this document before, but I want    25 mean when I say that?

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 1      A. Yes.                                            1
                                                                instructing her not to verify whether
 2      Q. Okay. And, again, just for the record,          2
                                                                she reviewed her own discovery
 3 the way this is formatted you'll see our request        3
                                                                responses --
 4 here, I highlighted Request Number 1, for example,      4
                                                                     MR. CARSON: I'm telling her not
 5 and then your response below that. Do you see that?     5
                                                                to say anything that I said to her, and
 6      A. Uh-huh.                                         6
                                                                if the answer requires her to confirm
 7      Q. Okay. Do you remember whether you read          7
                                                                communications between counsel and a
 8 this document before it was served on defendants in     8
                                                                named -- and a named plaintiff in
 9 this case?                                              9
                                                                another case and a witness in this case,
10           MR. CARSON: Objection.                       10
                                                                she's not going to answer it. She's not
11           Don't answer.                                11
                                                                going to tell you those things.
12           Privilege.                                   12
                                                                     MR. CAVALIER: I'm not asking her
13           MR. CAVALIER: The question is                13
                                                                for any communication between the two of
14      whether she remembers reviewing a                 14
                                                                you, and I'll say for the record,
15      document and you're --                            15
                                                                Ms. McNulty, I do not want to hear about
16           MR. CARSON: Yeah, because if the             16
                                                                anything that you and your counsel
17      way she read it is that I read it to              17
                                                                talked about. I'm not asking you to
18      her, then it's privileged, and so she's           18
                                                                describe communications. I'm not asking
19      not going to answer the question.                 19
                                                                you the substance of those
20           MR. CAVALIER: So you're -- you're            20
                                                                communications. The question is very
21      saying on the record that the fact that           21
                                                                simple. Did you review your responses
22      you read her discovery responses to her           22
                                                                to our discovery before serving them.
23      --                                                23
                                                                     MR. CARSON: The answer to the --
24           MR. CARSON: No, I didn't say                 24
                                                                there is an objection on the record.
25      that. I said if the answer to the                 25
                                                                Privilege. To answer that question she
                                                Page 17                                                        Page 19
 1                                                         1
       question is that I read it to her, she                   would have to tell you about
 2                                                         2
       can't answer. Privilege. She's not                       communications between me and her.
 3                                                         3
       going to tell you things I said to her.                        MR. CAVALIER: Seth, you
 4                                                         4
       Just --                                                  understand that just because you convey
 5                                                         5
            Patricia -- the objection is on                     information to a client doesn't
 6                                                         6
       the record. Do not answer.                               automatically make that information
 7                                                         7
            Next question, please.                              privileged, correct?
 8                                                         8
   BY MR. CAVALIER:                                                   MR. CARSON: No, that is
 9                                                         9
       Q. Did you review your responses to our                  incorrect. It actually does,
10                                                        10
   discovery requests before sending it out to us?              particularly when the communication is
11                                                        11
            MR. CARSON: Objection.                              between only attorney and client and it
12                                                        12
            Do not answer.                                      relates directly to the case in pending
13                                                        13
            Privilege.                                          litigation.
14                                                        14
            Next question.                                            MR. CAVALIER: So your position is
15                                                        15
            MR. CAVALIER: I'm going to need                     if I tell my client the sky is blue,
16                                                        16
       you -- Seth, I'm going to need you to                    that is now privileged?
17                                                        17
       explain the basis of your --                                   MR. CARSON: No, my position is if
18                                                        18
            MR. CARSON: Same basis as the                       I go over discovery requests and we
19                                                        19
       last question.                                           review them together and I read them to
20                                                        20
            MR. CAVALIER: Pardon me?                            her, that -- all those conversations are
21                                                        21
            MR. CARSON: Same basis as the                       privileged.
22                                                        22
       last question.                                                 MR. CAVALIER: I'm not asking you
23                                                        23
            MR. CAVALIER: So I want to be                       what you talked about with her. I'm not
24                                                        24
       very very clear about this for the                       asking her about what you reviewed. All
25                                                        25
       record. You're not -- you're                             I'm asking --
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 1                                                        1
             MR. CARSON: If she says --                         questions of my client. Just -- you
 2                                                        2
             MR. CAVALIER: For the record, her                  know what I mean, it's just not the way
 3                                                        3
        discovery responses are not verified.                   discovery is supposed to work and that's
 4                                                        4
        Okay? This is a simple procedural                       why we are where we are right now.
 5                                                        5
        matter. You didn't verify --                        BY MR. CAVALIER:
 6                                                        6
             MR. CARSON: Yeah, exactly, so why                  Q. Ms. McNulty, are you aware -- with that
 7                                                        7
        don't you get me to send you a                      preamble from your counsel about how discovery is
 8                                                        8
        verification. I can do it right now.                supposed to work, are you aware that you've been
 9                                                        9
             MR. CAVALIER: We've tried to do                found to be in civil contempt by a judge of the
10                                                       10
        that for months and it hasn't happened.             Eastern District of Pennsylvania for discovery
11                                                       11
        I'm trying to find out whether                      violation?
12                                                       12
        she looked --                                                 MR. CARSON: Objection.
13                                                       13
             MR. CARSON: You have not tried to                  Privilege.
14                                                       14
        do that for months. It's a ridiculous                         MR. CAVALIER: Again, I need you
15                                                       15
        thing to even say. Not tried to do it                   to explain how her awareness of
16                                                       16
        for months. Not tried to do it once.                    something is privileged or not.
17                                                       17
             MR. CAVALIER: Seth, there have                           MR. CARSON: If the way she became
18                                                       18
        been plenty of ridiculous things --                     aware requires her to tell you about
19                                                       19
             MR. CARSON: I can't think of one                   communications between she and I, then
20                                                       20
        --                                                      it's privileged.
21                                                       21
             MR. CAVALIER: You know what, I'm                         MR. CAVALIER: Seth, awareness --
22                                                       22
        not going to --                                         I'm not asking her how she became --
23                                                       23
             MR. CARSON: Forward me the e-mail                        MR. CARSON: It's also not
24                                                       24
        where you told me that you needed me to                 material at all to the reason why we're
25                                                       25
        send over a verification.                               here today, by the way, has nothing to
                                               Page 21                                                        Page 23
 1                                                        1
   BY MR. CAVALIER:                                             do with Lisa Barbounis's case. Why
 2                                                        2
       Q. The question is, did you review your                  don't you call Judge Wolson right now
 3                                                        3
   discovery responses for accuracy before you served           and ask him if you can ask that
 4                                                        4
   them?                                                        question.
 5                                                        5
            MR. CARSON: Objection.                                   MR. CAVALIER: Seth, if you want
 6                                                        6
       Privilege.                                               -- you and I have an agreement in place
 7                                                        7
            MR. CAVALIER: All right. We'll                      that these depositions are unlimited in
 8                                                        8
       table that one for now. Trying to do                     scope. That's why we let you off the
 9                                                        9
       this quick, but we'll get it --                          hook from having to pay for our fees.
10                                                       10
            MR. CARSON: I mean, we'll send                           MR. CARSON: Right. I mean, if
11                                                       11
       you a verification. They were reviewed,                  you want to try to take advantage of the
12                                                       12
       I can confirm they were reviewed by her                  situation, I'm going to push back.
13                                                       13
       and me, and we would be happy to send                    Okay?
14                                                       14
       you a verification. I would have sent                         MR. CAVALIER: I'm trying to ask
15                                                       15
       one already if you would have just                       --
16                                                       16
       e-mailed me and said, hey, we need a                          MR. CARSON: Next question.
17                                                       17
       verification. That's the point of                             MR. CAVALIER: -- a simple
18                                                       18
       discovery is working together to try to                  question about whether or not she's
19                                                       19
       get through these issues and not make it                 aware --
20                                                       20
       more difficult. Instead of just sending                       MR. CARSON: Next question.
21                                                       21
       an e-mail, hey, Seth, we need a                               MR. CAVALIER: You gave a big
22                                                       22
       verification, hey, Seth, we don't have a                 speech on the record about how discovery
23                                                       23
       verification, instead of doing that you                  is supposed to work, and I'm wondering
24                                                       24
       want to file motions with the Court,                     whether your client based on that speech
25                                                       25
       sanctions, and ask dumb -- ask protected                 that you just gave is aware that she's
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 1                                                          1       that, Patricia, if you want.
         been held in civil contempt by a judge
 2                                                           2           THE WITNESS: Yes.
         in the Eastern District.
 3                                                           3           MR. CARSON: You can answer that
              MR. CARSON: There's a privilege
 4                                                           4      one.
         objection. Privilege. Next question.
 5                                                           5           MR. CAVALIER: Okay.
              MR. CAVALIER: Her awareness of a
 6                                                           6 BY MR. CAVALIER:
         fact is not privileged, Seth.
 7                                                           7      Q. I want to go back to your responses to
              MR. CARSON: It is if it requires
 8                                                           8 our discovery requests over here, and I want to talk
         her telling you that the reason she
 9                                                           9 about a couple of these, but first I want to talk
         became aware is because of
10                                                          10 about Request for Documents Number 21. The request
         communications between attorney and
11                                                          11 is for copies of applications, application forms,
         client.
12                                                          12 business cards, postcards, letters, or documents you
              MR. CAVALIER: Seth, I'm not
13                                                          13 received from any potential employer, headhunter, or
         asking her to tell me how she became
14                                                          14 employment agency since your employment with the
         aware. I'm not asking her to tell me
15                                                          15 Forum ended.
         who told her. I'm not even asking her
16                                                          16           What did you do, other than speaking
         if anybody told her. I'm simply asking
17                                                          17 with your counsel, what did you do to try and gather,
         her whether she's aware of a fact. That
18                                                          18 search for, copies of any application forms, business
         is the most basic type of deposition
19                                                          19 cards, postcards, letters, or documents that you
         question that is not privileged and you
20                                                          20 received from any potential employer, headhunter, or
         can possibly get.
21                                                          21 employment agency since your employment with the
              MR. CARSON: My objection is
22                                                          22 Forum ended?
         noted.
23                                                          23      A. The only -- we looked in my LinkedIn
              MR. CAVALIER: Your objection is
24                                                          24 because that was the only thing I used at that time,
         noted, but your instructions --
25                                                          25 but they were all quick applies, so there was --
              MR. CARSON: I'll let her say that
                                                  Page 25                                                         Page 27
 1      she's aware that she knows that there's             1      Q.     Okay.
 2      a motion filed. She hasn't actually                  2     A.     -- nothing to actually --
 3      been held in -- no one has been held in              3          THE COURT REPORTER: Excuse me.
 4      contempt yet, the Court hasn't actually              4      There's a lot of interference and it's
 5      finalized any ruling, but -- she can say             5      affecting my ability to be able to hear
 6      yes or no to the question I guess so we              6      clearly.
 7      can move on.                                         7          Okay. Thank you.
 8 BY MR. CAVALIER:                                          8          MR. CARSON: It's going to happen
 9      Q. Ms. McNulty, can you read what I've               9      when I take mute off. I have my
10 just highlighted for the record?                         10      three-year-old in the bathtub.
11      A. Can I make this bigger?                          11 BY MR. CAVALIER:
12      Q. Yeah, sure, I'll make it bigger for              12      Q. Ms. McNulty, I think you said that you
13 you.                                                     13 used -- you searched LinkedIn?
14      A. Yes, I can read it.                              14      A. Yes.
15      Q. It says: Plaintiff is found in civil             15      Q. Okay. Do you still use LinkedIn?
16 contempt for failing to comply with Judge Brody's        16      A. I have it. I don't really use it.
17 October 15th, 2020, discovery order, Doc 33.             17      Q. Okay. Do you remember offhand -- and,
18           Did I read that correctly?                     18 again, to be clear, this is not a memory test. I'm
19      A. Yes.                                             19 not trying to trap you in some kind of a memory gap
20      Q. Having read that to you and without              20 here. With that said, I'm wondering whether offhand
21 asking at all whether you spoke to your counsel about    21 you recall whether you discovered any documents when
22 this issue, is it fair to say that you are aware that    22 you searched LinkedIn that would be responsive to
23 you have been found in civil contempt for failing to     23 this request.
24 comply with discovery orders?                            24      A. I don't believe I did.
25           MR. CARSON: You can say yes to                 25      Q. Okay. I want to look at the response
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 1 that you did give to this request, the written                     1
                                                                                 Privilege.
 2 response here, and that is this.   It says: Plaintiff              2
                                                                                 MR. CAVALIER: Question is whether
 3 is not in possession of any documents related to this              3
                                                                            she read something and that's
 4 request.   Plaintiff objects to providing defendants               4
                                                                            privileged?
 5 with documents related to Congressman Randy Weber, as              5
                                                                                 MR. CARSON: Yeah. Yeah. If the
 6 plaintiff's employment with Congressman Weber does                 6
                                                                            way she read it is that it was read to
 7 not require plaintiff to produce to defendants                     7
                                                                            her by me, then she can't answer.
 8 plaintiff's business cards or other cards.                         8
                                                                            Privilege.
 9         MR. CARSON: What's the point of                            9
                                                                                 MR. CAVALIER: I don't even
10    this question right now.                                       10
                                                                            understand what that means.
11 BY MR. CAVALIER:                                                  11
                                                                                 MR. CARSON: It's privileged.
12    Q. That's actually my question to you.                         12
                                                                                 Do not answer.
13 You don't work for Congressman Randy Weber, correct?              13
                                                                                 Next question.
14         MR. CARSON: You guys provided                             14
                                                                                 MR. CAVALIER: Seth, again, I just
15    verbatim the exact same discovery                              15
                                                                            want to be very clear on this. You're
16    request to two different people. I                             16
                                                                            instructing her not to answer a question
17    mean, it's clear what happened. She                            17
                                                                            about whether she read something.
18    doesn't work for Congressman Randy                             18
                                                                                 MR. CARSON: I'm instructing her
19    Weber. You guys know she doesn't work                          19
                                                                            not to answer the question if the reason
20    for Congressman Randy Weber. What's the                        20
                                                                            why she read it it was a communication
21    point of these questions.                                      21
                                                                            between counsel and his client.
22         MR. CAVALIER: Seth, that's                                22
                                                                                 MR. CAVALIER: Well, I would hope
23    exactly --                                                     23
                                                                            the reason --
24         MR. CARSON: Is there any --                               24
                                                                                 MR. CARSON: And therefore it's
25         MR. CAVALIER: -- the point of                             25
                                                                            privileged.
                                                           Page 29                                                        Page 31
 1                                                                    1
       these questions is that --                                                  MR. CAVALIER: I would hope the
 2                                                                    2
            MR. CARSON: Is there any reason                                  reason why she -- okay. Let me scratch
 3                                                                    3
       to ask any of them? This isn't even a                                 that.
 4                                                                    4
       deposition in her case. Unless you guys                          BY MR. CAVALIER:
 5                                                                    5
       want to turn it into that and then we                                 Q. Ms. McNulty, when you serve responses
 6                                                                    6
       can just continue and then we won't do                           to discovery requests, is it important to you that
 7                                                                    7
       another one. Is that what you want to                            they are accurate?
 8                                                                    8
       do?                                                                         MR. CARSON: Objection. I served
 9                                                                    9
            MR. CAVALIER: I'm trying to find                                 them. I mean, what are we doing right
10                                                                   10
       out what happened here. That's why I'm                                now. You want -- if you want to turn
11                                                                   11
       asking the question.                                                  this into a deposition today for
12                                                                   12
            MR. CARSON: All right. Yeah,                                     Patricia, too, and we want to agree
13                                                                   13
       you're trying to find out. You did a                                  she's not going to appear again, we
14                                                                   14
       lot to find out before today.                                         could continue down this road. If not,
15                                                                   15
            You can answer the question. The                                 we're going to move on. It's up to you.
16                                                                   16
       question I think is do you work for                                         MR. CAVALIER: Seth, I'm not going
17                                                                   17
       Congressman Randy Weber.                                              to engage with you in a debate about
18                                                                   18
            THE WITNESS: No.                                                 every objection you make. The question
19                                                                   19
   BY MR. CAVALIER:                                                          is --
20                                                                   20
       Q. And you never have, correct?                                             MR. CARSON: No, I'm -- no, what
21                                                                   21
       A. No.                                                                I'm saying to you right now is that
22                                                                   22
       Q. Did you read this response before it                               she's not going to answer the question
23                                                                   23
   was served?                                                               unless we agree that she doesn't have to
24                                                                   24
            MR. CARSON: Objection.                                           appear again for the hours that you're
25                                                                   25
            Don't answer.                                                    taking up asking her questions about a
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 1                                                 1
         case that we're not here to talk about.              case that we're not here to talk about,
 2
              MR. CAVALIER: Seth, the hours I'm 2             that has nothing to -- we're not -- I
 3                                                 3
         taking up. You've spoken more on this                mean, she's appearing today as a witness
 4                                                 4
         record than I have. I would have been                in Lisa Barbounis's case. What are you
 5                                                 5
         done by now.                                         doing.
 6                                                 6
              MR. CARSON: Right. Uh-huh.                           MR. CAVALIER: Seth, I could get
 7                                                 7
         Well, if you want to make that agreement             into a multitude of reasons why this is
 8                                                 8
         and then I will shut up --                           relevant and why it goes to her
 9                                                 9
              MR. CAVALIER: No, I'm not going                 credibility, why --
10                                                10
         to make an agreement. That's not how                      MR. CARSON: Why it's relevant --
11                                                11
         this works. You don't get to -- you                       MR. CAVALIER: -- why this is the
12                                                12
         don't get to throw a fit all over the                more efficient way of doing this, but
13                                                13
         record and then leverage me into an                  I'm not obligated to do that, and I'm
14                                                14
         agreement --                                         not going to waste the witness's time on
15
              MR. CARSON: You also don't get to 15            the record going through all that. I
16                                                16
         ask her questions about a case that                  would have been done this line of
17                                                17
         we're not here to talk about today.                  questioning by now.
18                                                18
              MR. CAVALIER: Seth, you                              MR. CARSON: Why it's relevant
19                                                19
         represented to me in writing repeatedly              whether or not there was language from
20                                                20
         that the scope of these depositions                  another case in the responses that were
21                                                21
         would be unlimited and in exchange for               served, has nothing to do --
22                                                22
         that we agreed to waive the attorneys                     MR. CAVALIER: Goes to her
23                                                23
         fees sanction that you were ordered to               credibility.
24                                                24
         pay us as a result of the fact that --                    MR. CARSON: -- with credibility.
25
              MR. CARSON: Never ordered to pay. 25                 MR. CAVALIER: Goes to her
                                             Page 33                                                        Page 35
 1                                                     1
        You never won an argument saying that we              credibility --
 2                                                      2
        had to pay that. So please don't                           MR. CARSON: Get the heck out of
 3                                                      3
        misstate the facts or the history.                    here.
 4                                                      4
        Never ordered to pay, first off. Second                    THE COURT REPORTER: One at a
 5                                                      5
        off, every single e-mail that I sent                  time, please.
 6                                                      6
        you, the subject line of that e-mail was                   MR. CARSON: It does not go to
 7                                                      7
        Lisa Barbounis V. The Middle East Forum.              credibility.
 8                                                      8
        I never sent you an e-mail in Patricia                     I didn't hear. Someone just said
 9                                                      9
        McNulty V. The Middle East Forum where I              something?
10                                                     10
        said you can ask whatever you want.                        THE COURT REPORTER: Yes, please
11                                                     11
        Clearly whatever you want meant whatever              talk one at a time. You're cancelling
12                                                     12
        you want related to the reason why we're              each other out when you talk at the same
13                                                     13
        doing the deposition, and it doesn't --               time.
14                                                     14
        it doesn't increase the scope to                  BY MR. CAVALIER:
15                                                     15
        everything in the universe as you seem                Q. The question is, is it important,
16                                                     16
        to have interpreted my statement.                 Ms. McNulty, for you to supply accurate answers to
17                                                     17
             MR. CAVALIER: Seth, your                     discovery requests?
18                                                     18
        statement was literally, and this is a                     MR. CARSON: Objection.
19                                                     19
        quote, you can ask whatever you want,                 Privilege.
20                                                     20
        I'm not going to stop you.                                 You can answer.
21                                                     21
             MR. CARSON: Right. Subject line                       Objection, form; objection,
22                                                     22
        Lisa Barbounis V. The Middle East Forum.              assuming facts not in evidence;
23                                                     23
        And you can ask whatever you want, but                objection, lack of foundation.
24                                                     24
        you're not going to spend hours trying                     You can answer whether or not it's
25                                                     25
        to embarrass her and waste time on a                  important to you to be accurate, yes or
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 1                                                         1    Don't answer that question.
        no.
 2                                                   2          It's designed only to embarrass
            THE WITNESS: Yes.
 3                                                   3     and harass.
            MR. CARSON: Next question.
 4                                                   4          Next question, please.
   BY MR. CAVALIER:
 5
       Q. So then my question is, can you explain 5 BY MR. CAVALIER:
 6
   how this answer ended up in your response to our 6      Q. Do you think that we can trust the
 7                                                   7 accuracy of your written discovery responses?
   discovery request?
 8                                                   8          MR. CARSON: Same objection.
            MR. CARSON: Objection.
 9                                                   9          Don't answer.
            Don't answer.
10                                                  10 BY MR. CAVALIER:
            It's designed to embarrass and
11                                                  11     Q. How many e-mail addresses have you used
       harass the witness. It ended up there
12                                                  12 since 2017?
       obviously because someone missed
13                                                  13     A. Three I think.
       something. It's clear why it ended up
14                                                  14     Q. Can you list them for me?
       there. And she's not going to answer
15                                                  15     A. My personal e-mail, the Middle East
       questions designed only to embarrass and
16                                                  16 Forum e-mail, and my current work e-mail.
       harass.
17                                                  17     Q. Okay. And can you state for the record
            Do not answer.
18                                                  18 what the actual e-mail addresses are?
            Next question, please.
19
            THE COURT REPORTER: It's hard to 19                 MR. CARSON: She'll state them off
20                                                  20     the record.
       understand what you're saying,
21                                                  21          MR. CAVALIER: Pardon?
       Mr. Carson.
22                                                  22          MR. CARSON: She'll state them off
            MR. CARSON: The question is
23                                                  23     the record.   We're not going to put her
       designed only to embarrass and harass,
24                                                  24     personal e-mail addresses on the record.
       it has no bearing on why we're here, no
25                                                  25          THE WITNESS: Am I stating them
       relevance to the case, there's only one
                                                 Page 37                                                        Page 39
 1      reason to ask it, to harass and                   1
                                                                 off the record now?
 2      embarrass. She's not going to do that.            2
                                                                       MR. CARSON: Just don't answer.
 3      I'm instructing her not to answer.                3
                                                                 We'll give them to him off the record.
 4      Let's go to the next question, please.            4
                                                                       MR. CAVALIER: I guess I could do
 5 BY MR. CAVALIER:                                       5
                                                                 it this way then.
 6      Q. So this is Question Number 22, and do          6
                                                                       MR. CARSON: We're going to
 7 you see that it contains the same reference to         7
                                                                 object. Do not show her any personal
 8 Congressman Randy Weber?                               8
                                                                 e-mail addresses on the record. Do not
 9      A. Yes.                                           9
                                                                 ask her to confirm any personal e-mail
10      Q. Question Number 23, all                       10
                                                                 addresses on the record. She's not
11 correspondences, written communications, or documents 11
                                                                 going to do it. And we're telling you
12 offering you employment that you have received from   12
                                                                 right now we do not want that to be on
13 any persons since October 16th, 2017.                 13
                                                                 the record.
14           The response, do you see here that it       14
                                                                       MR. CAVALIER: Seth, what is the
15 also refers to Congressman Randy Weber?               15
                                                                 point of that objection? You don't -- I
16      A. Yes.                                          16
                                                                 mean, I got it --
17      Q. And so try and move this along, you           17
                                                                       MR. CARSON: Yeah, we don't -- we
18 would agree with me, would you not, that the          18
                                                                 don't want her personal e-mail addresses
19 responses to those questions are not accurate,        19
                                                                 to end up on a public docket.
20 correct?                                              20
                                                                       MR. CAVALIER: Well, I'm sorry
21      A. Yes.                                          21
                                                                 that you don't want her personal e-mail
22      Q. So given that -- what I've just showed        22
                                                                 addresses to end up on a public docket.
23 you, isn't it fair to say that your responses to our  23
                                                                 This is not the docket. It's the
24 document requests are not reliable?                   24
                                                                 deposition.
25           MR. CARSON: Objection.                      25
                                                                       MR. CARSON: Yeah, and your client
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 1                                                     1       doesn't end up on the docket. That's
        has shown the propensity to try to use
 2                                                      2      all.
        --
 3                                                      3           MR. CAVALIER: So your allegations
              THE COURT REPORTER: I can't hear
 4                                                      4      of criminal conduct -- unsupported
        you, Mr. Carson.
 5                                                      5      allegations that we've asked you for
              MR. CARSON: -- the public docket
 6                                                      6      evidence to support many many times are
        --
 7                                                      7      okay --
              THE COURT REPORTER: Can't hear
 8                                                      8           MR. CARSON: I sent you the
        you.
 9                                                      9      recording -- I sent you a recording of
              MR. CARSON: Your client has shown
10                                                     10      the person whose statement was posted on
        a propensity in his attempt to use the
11                                                     11      the docket. What do you mean you asked
        public docket to stalk people and to
12                                                     12      for evidence that we haven't provided.
        harass people and to try to get people
13                                                     13 BY MR. CAVALIER:
        fired and -- and we would appreciate if
14                                                     14      Q. Ms. McNulty, is
        we could just talk about any personal
15                                                     15 patricia.mcnulty1@gmail.com an e-mail address that
        e-mail addresses off the record. If you
16                                                     16 you've used within the last three years?
        still want to do it --
17                                                     17           MR. CARSON: Objection.
              MR. CAVALIER: Well, now that
18                                                     18           THE WITNESS: No.
        you've --
19                                                     19 BY MR. CAVALIER:
              MR. CARSON: -- based on my
20                                                     20      Q. You've never used that -- you haven't
        objection, you go ahead and do it, but
21                                                     21 used that e-mail address in the last three years.
        --
22                                                     22           MR. CARSON: Objection. Asked and
              MR. CAVALIER: Now that you've put
23                                                     23      answered.
        --
24                                                     24           MR. CAVALIER: I'm giving your
              MR. CARSON: -- we're telling you
25                                                     25      witness a chance to make sure that she's
        that we prefer not to.
                                             Page 41                                                        Page 43
 1                                                     1       accurate, Seth.
             MR. CAVALIER: Now that you've put
 2                                                      2           MR. CARSON: Objection. Asked and
        yet more untrue inflammatory and
 3                                                      3      answered.
        defamatory allegations on the record --
 4                                                      4 BY MR. CAVALIER:
             MR. CARSON: It's objectively
 5                                                      5      Q. You can answer it.
        true. It's objectively true. Your
 6                                                      6           MR. CARSON: You can answer again.
        client offered to pay someone for
 7                                                      7           THE WITNESS: No, I have a new
        testimony, took an entire -- took an
 8                                                      8      Gmail -- I think that one gets like --
        entire statement from the person, and
 9                                                      9      if anybody were to have used it from
        then put the entire statement on the
10                                                     10      years ago it would get filtered in, but
        docket when he told the guy he was going
11                                                     11      I haven't used it in the past three
        to give him a, quote/unquote, wink and a
12                                                     12      years.
        nod and sort him out afterwards if he
13                                                     13 BY MR. CAVALIER:
        answered the questions that way, and
14                                                     14      Q. Okay. So it's an old e-mail address
        then he put the entire conversation on
15                                                     15 that forwards to your current e-mail address,
        the docket. It's objectively true what
16                                                     16 correct?
        I just said.
17                                                     17      A. Correct.
             MR. CAVALIER: So I just want to
18                                                     18      Q. Have you used the e-mail address
        be very clear for the record. You think
19                                                     19 UNICOMP77@hotmail.com over the last three years?
        that that statement you just made is
20                                                     20      A. No.
        appropriate but you're instructing your
21                                                     21      Q. Have you used an e-mail address that's
        witness not to provide an e-mail address
22                                                     22 reasonably similar to the address that I just read
        on the record?
23                                                     23 you?
             MR. CARSON: She'll provide it,
24                                                     24      A. No.
        she'll provide it all you want, we just
25                                                     25           MR. CARSON: Objection. Asked and
        prefer to do it off the record so it
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                                                Page 44                                                        Page 46
 1                                                         1
        answered.                                                    MR. CAVALIER: Seth, listen, stop
 2                                                         2
   BY MR. CAVALIER:                                             puking all over my record and let me
 3                                                         3
        Q. How about the e-mail address                         speak. I asked --
 4                                                         4
   TRISHAEEEE@hotmail.com?                                           MR. CARSON: No, I'm going to
 5                                                         5
        A. No. I have an old one that's similar,                continue the way I'm going. I'm going
 6                                                         6
   but, again, not something I use.                             to continue just like this. So --
 7                                                         7
        Q. So then is the old one that's similar                     MR. CAVALIER: I asked her whether
 8                                                         8
   -- you said you have an old one that's similar but           she used --
 9                                                         9
   you don't use it anymore?                                         MR. CARSON: The objection --
10                                                        10
        A. Uh-huh.                                                   MR. CAVALIER: -- the e-mail
11                                                        11
        Q. When was the last time you used it, do               address --
12                                                        12
   you remember?                                                     MR. CARSON: The objection --
13                                                        13
        A. I don't remember.                                         MR. CAVALIER: -- in the last five
14                                                        14
        Q. Has it been within the last five years?              years --
15                                                        15
        A. Maybe.                                                    MR. CARSON: The objection is
16                                                        16
        Q. Has it been within the last three                    noted. Asked and answered.
17                                                        17
   years?                                                            You can answer again.
18                                                        18
             MR. CARSON: Objection. Asked and                        MR. CAVALIER: I asked her whether
19                                                        19
        answered.                                               she used the e-mail address within the
20                                                        20
             MR. CAVALIER: It's literally a                     last five years. She said maybe.
21                                                        21
        different question.                                          MR. CARSON: And then you said the
22                                                        22
             MR. CARSON: You said have you                      last three years.
23                                                        23
        used this in the last three years and                        MR. CAVALIER: That's correct.
24                                                        24
        then you just said --                                   That's literally --
25                                                        25
             MR. CAVALIER: I said have you                           MR. CARSON: And she had already
                                                Page 45                                                        Page 47
 1                                                1
         used it in the last five years.                answered --
 2                                                2
              MR. CARSON: -- have you used it                 MR. CAVALIER: -- a different
 3                                                3
         in the last three years.                       question.
 4                                                4
              MR. CAVALIER: I said --                         MR. CARSON: -- that question.
 5                                                5
              MR. CARSON: Yeah, and then you            No,   it wasn't. You already -- you
 6                                                6
         just said three years again. Objection;        showed it to her and said did you use
 7                                                7
         asked and answered.                            this in the last three years. That was
 8                                                8
              Patricia, you can answer the same         your opening question.
 9                                                9
         question --                                          MR. CAVALIER: No, it was --
10                                               10
              MR. CAVALIER: Seth, you need to                 MR. CARSON: She's welcome to
11                                               11
         get --                                         answer it again.
12                                               12
              MR. CARSON: -- that he's asking                 MR. CAVALIER: -- it was five
13                                               13
         you twice.                                     years.
14                                               14
              MR. CAVAILER: -- ahold of             BY MR. CAVALIER:
15                                               15
         yourself. You need to get ahold of             Q. Ms. McNulty, do you understand that
16                                               16
         yourself, first of all.                    there is a difference between five years and three
17
              MR. CARSON: Yeah, thank you for 17 years?
18                                               18
         the instruction. I don't take                        MR. CARSON: Objection.
19                                               19
         instructions from defense counsel,                   Don't answer.
20                                               20
         though. Objection; asked and answered.               Embarrass and harass.
21                                               21
              MR. CAVALIER: It would be wise to               Do not answer that question.
22                                               22
         do so.                                     BY MR. CAVALIER:
23                                               23
              MR. CARSON: Patricia, you're              Q. Do you understand that? Because
24                                               24
         welcome -- yeah. Thank you. Again, I       apparently --
25                                               25
         don't take advice from defense counsel.              MR. CARSON: Don't answer.
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                                                Page 48                                                         Page 50
 1                                                        1
   BY MR. CAVALIER:                                               Q. Did you look at your Facebook account
 2                                                        2
        Q. -- your counsel doesn't, so I'm just             when you were looking for information responsive
 3                                                        3
   trying to move this along.                               to --
 4                                                        4
            MR. CARSON: Don't answer.                                  MR. CARSON: Guys, I got to do
 5                                                        5
            She's welcome to answer the                           like a five-minute break. All right?
 6                                                        6
        question about three years. It's just                     Could we go off the record for five
 7                                                        7
        she already answered it. But she's                        minutes, please?
 8                                                        8
        welcome to answer it again.                                    MR. CAVALIER: That's fine. I'll
 9                                                        9
            THE WITNESS: It would still get                       withdraw the question. If you're going
10                                                       10
        e-mails, but I don't use it.                              to take five, then I want to take ten.
11                                                       11
   BY MR. CAVALIER:                                                    MR. CARSON: All right. Thank
12                                                       12
        Q. I don't understand the distinction that                you.
13                                                       13
   you're drawing there.                                               MR. CAVALIER: All right. Back on
14                                                       14
        A. It's old, so there is, like, repeated                  a couple minutes after 11.
15
   subscribed e-mails that would still come there, but I 15            THE VIDEO SPECIALIST: Off the
16                                                       16
   don't send e-mails from it.                                    record.
17                                                       17
        Q. Do you have a general sense of the last                     (A brief recess was taken from
18                                                       18
   time you sent any e-mails from it?                             10:52 a.m. to 11:08 a.m.)
19                                                       19
            MR. CARSON: Objection. Asked and                           THE VIDEO SPECIALIST: The time is
20                                                       20
        answered.                                                 11:08 a.m. Eastern. We are back on the
21                                                       21
   BY MR. CAVALIER:                                               record.
22                                                       22
        Q. You can answer.                                  BY MR. CAVALIER:
23                                                       23
        A. I don't.                                               Q. Okay. Ms. McNulty, we were talking
24                                                       24
        Q. Did you ever send MEF information to             when we left off I think about Instagram.
25                                                       25
   that e-mail address?                                                THE COURT REPORTER: Too much
                                                Page 49                                                         Page 51
 1                                                        1       interference.
        A.    No.
 2                                                         2           MR. CARSON: I think we already
            THE COURT REPORTER: Any what
 3                                                         3      asked questions about Instagram.
        information?
 4                                                         4           MR. CAVALIER: I couldn't hear
            MR. CAVALIER: MEF information.
 5                                                         5      what was just said.
   BY MR. CAVALIER:
 6                                                         6           THE COURT REPORTER: Neither could
        Q. Do you use Instagram?
 7                                                         7      I.
        A. Yes.
 8                                                         8           Go ahead, it's better now.
        Q. What e-mail address do you have
 9                                                         9 BY MR. CAVALIER:
   associated with your Instagram account?
10                                                        10      Q. I think when we left off we were
        A. I don't remember. I would have to
11                                                        11 talking about Instagram, and I just wanted to ask you
   look.
12                                                        12 a couple questions about that and some other
        Q. Do you use Facebook?
13                                                        13 platforms.
        A. Yes.
14                                                        14           Correct me if I'm wrong, but I believe
        Q. Do you know what e-mail address is
15                                                        15 you said you did use Instagram?
   associated with your Facebook account?
16                                                        16      A. Yes.
        A. I don't.
17                                                        17      Q. And you told me that you weren't sure
        Q. Do you use Facebook Messenger?
18                                                        18 what e-mail address was associated with your
        A. I have. I don't use it now.
19                                                        19 Instagram account; is that correct?
        Q. Do you remember when the last time you
20                                                        20      A. Correct.
   used it was?
21                                                        21      Q. Okay. I'm going to ask you to provide
        A. I don't.
22                                                        22 that through your counsel once we're done today.
        Q. Have you used it since you -- since the
23                                                        23           What is the username that you use --
   last time that you worked for the Forum?
24                                                        24           MR. CARSON: Yo, guys -- you guys
        A. I don't remember. I would have to
25                                                        25      got to go back. You guys got to go back
   look.
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                                                Page 52                                                   Page 54
 1                                                        1 from you, Ms. McNulty, and your counsel that you'll
        and start over. The host -- you guys
 2                                                        2 provide the e-mail address and the username for your
        can't mute my microphone. I understand
 3                                                        3 Instagram account off the record after this
        there might be background noise, but you
 4                                                        4 deposition is over?
        can't mute it. I have to be able to put
 5                                                        5           MR. CARSON: Yeah.
        objections on the record. So please
 6                                                        6           MR. CAVALIER: Seth, is that
        don't do that again, whoever did that.
 7                                                         7      correct?
        I was talking the whole time, so you're
 8                                                         8          MR. CARSON: Correct.
        going to have to go back and redo the
 9                                                         9 BY MR. CAVALIER:
        last few questions.
10                                                        10      Q. Have you ever used Instagram to speak
              MR. CAVALIER: Well, I certainly
11                                                        11 to Lisa Barbounis?
        didn't mute your microphone, but --
12                                                        12      A. Yes.
              MR. CARSON: I don't care who did
13                                                        13      Q. Do you recall the subject of those
        it, I'm just saying don't do it.
14                                                        14 conversations?
   BY MR. CAVALIER:
15                                                        15      A. I don't.
        Q. Ms. McNulty, I apologize. I'll go back
16                                                        16      Q. When was the last time you used
   and ask the same questions again.
17                                                        17 Instagram to speak with Lisa Barbounis?
              You testified earlier that you do use
18                                                        18      A. I don't remember.
   Instagram, correct?
19                                                        19      Q. Was it more than a year ago?
        A. Correct.
20                                                        20      A. I don't remember.
              MR. CARSON: Objection. Asked and
21                                                        21      Q. Have you ever used Instagram to speak
        answered.
22                                                        22 to anyone about the Middle East Forum?
              MR. CAVALIER: Are you really
23                                                        23      A. No.
        objecting asked and answered after you
24                                                        24      Q. Have you ever used Instagram to speak
        just made me go back and ask the
25                                                        25 to Lisa Barbounis about anything having to do with
        questions again?
                                                Page 53                                                         Page 55
 1
             MR. CARSON: No, because you asked 1 the Middle East Forum?
 2                                                     2      A. No, I don't think so.
        those questions before we took the
 3                                                     3      Q. Have you ever used Instagram to speak
        break, so, yeah, objection, asked and
 4                                                     4 to anyone about your lawsuit against the Middle East
        answered.
 5                                                     5 Forum?
   BY MR. CAVALIER:
 6                                                     6      A. No.
        Q. And I believe you testified --
 7                                                     7      Q. You testified earlier that you do use
             MR. CARSON: Jon, you're the one
 8                                                     8 Facebook, correct?
        who is going back and -- you're going to
 9                                                     9      A. Correct.
        go back and do testimony we just got
10                                                    10      Q. And do you recall the e-mail address
        done doing the last 20 minutes?
11                                                    11 that you use with Facebook?
   BY MR. CAVALIER:
12                                                    12           MR. CARSON: Objection. Asked and
        Q. And I believe you testified earlier
13                                                    13      answered.
   that you don't recall the e-mail address that you
14                                                    14           THE WITNESS: I don't remember.
   used with your Instagram account; is that correct?
15                                                    15 BY MR. CAVALIER:
             MR. CARSON: Objection. Asked and
16                                                    16      Q. Do you know offhand the username that
        answered.
17                                                    17 you use with Facebook?
             THE WITNESS: Correct.
18                                                    18           MR. CARSON: She'll say it off the
   BY MR. CAVALIER:
19                                                    19      record, please.
        Q. Do you know the username that you use
20                                                    20           MR. CAVALIER: Same
   with Instagram?
21                                                    21      representation, Seth? You'll provide it
             MR. CARSON: Objection. She's not
22                                                    22      off the record after --
        going to tell you her username on the --
23                                                    23           MR. CARSON: Same representation.
        she'll say it off the record.
24                                                    24 BY MR. CAVALIER:
   BY MR. CAVALIER:
25                                                    25      Q. Have you ever used Facebook to speak
        Q. All right, so we have a representation
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                                                Page 56                                                         Page 58
 1                                                        1 Myers?
   with Lisa?
 2                                                        2       A. Not that I remember.
       A. Yes.
 3                                                        3       Q. When you were responding to defendant's
       Q. Do you remember the subject of those
 4                                                         4 requests for documents did you look at your Twitter
   conversations?
 5                                                         5 account to see whether there was any relevant
       A. I don't remember.
 6                                                         6 information that might be responsive to those
       Q. Have you ever used Facebook to discuss
 7                                                         7 requests?
   --
 8                                                         8      A. Yes.
            (Brief interruption.)
 9                                                         9      Q. And did you find anything that was
   BY MR. CAVALIER:
10                                                        10 responsive?
       Q. Have you ever used Facebook to talk
11                                                        11      A. No.
   about the Middle East Forum?
12                                                        12      Q. How about for Facebook, when you were
       A. I don't think so, no.
13                                                        13 responding to defendant's document requests did you
       Q. Have you ever used Facebook to speak
14                                                        14 look at your Facebook account to see if there was any
   with Delaney Yonchek?
15                                                        15 information that might be responsive?
       A. I don't remember.
16                                                        16      A. Yes.
       Q. Have you ever used Facebook to speak
17                                                        17      Q. And did you find anything that was
   with Marnie Meyer or Marnie O'Brien?
18                                                        18 responsive?
       A. I don't remember.
19                                                        19      A. No.
       Q. Have you ever used Facebook to speak
20                                                        20      Q. When you were reviewing your Facebook
   with Caitriona Brady?
21                                                        21 account -- let me back up because I can't remember
       A. I don't remember.
22                                                        22 which one you said you used to speak -- did you use
       Q. Have you ever used Facebook to speak
23                                                        23 Instagram or Facebook to speak with Lisa Barbounis?
   with any other Middle East Forum employee?
24                                                        24      A. I've spoken to her on Instagram I know.
       A. I don't remember.
25                                                        25      Q. Okay. So when you were responding to
       Q. Do you use Twitter?
                                                Page 57                                                      Page 59
 1                                                        1 defendant's document requests did you look at your
        A. I have a Twitter. I don't actually
 2                                                        2 Instagram account to determine whether it contained
   tweet from it.
 3                                                        3 any potentially responsive information?
        Q. Do you use it to communicate with
 4                                                        4       A. Yes.
   people?
 5                                                        5       Q. And did you find any information that
        A. No.
 6                                                         6 might be responsive to defendant's requests?
        Q. Do you know the e-mail address that you
 7                                                         7      A. No.
   used to sign up for a Twitter account?
 8                                                         8      Q. When you were reviewing your Instagram
        A. Not offhand, no.
 9                                                         9 account to determine whether there was any responsive
        Q. Do you know your Twitter username?
10                                                        10 information in it did you review the communications
             MR. CARSON: Same representation.
11                                                        11 that you had with Lisa Barbounis?
   BY MR. CAVALIER:
12                                                        12      A. Yes.
        Q. Have you ever tweeted at all about
13                                                        13      Q. And you determined that those
   anything ever?
14                                                        14 communications with Lisa Barbounis were not
        A. Yeah.
15                                                        15 responsive to defendant's requests?
        Q. Do you know the last time you tweeted?
16                                                        16          MR. CARSON: I'm just going to
        A. I don't remember.
17                                                        17      object based on privilege. Those
        Q. Was it within the last year?
18                                                        18      determinations were made together. But
        A. I don't remember.
19                                                        19      she can answer the question.
        Q. Can you give any approximation at all
20                                                        20          THE WITNESS: Yes.
   as to the last time you think you tweeted anything?
21                                                        21 BY MR. CAVALIER:
        A. No, I don't remember.
22                                                        22      Q. Yes, you determined they were not
        Q. Have you ever tweeted about Cinnamon
23                                                        23 responsive?
   Stillwell?
24                                                        24      A. Correct.
        A. Not that I remember.
25                                                        25      Q. Do you remember why you determined they
        Q. Have you ever tweeted about Winfield
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                                               Page 60                                                        Page 62
 1 were not responsive?                                  1  A. I opened up pictures from other people
 2          MR. CARSON: Objection.                   2 within the past couple weeks.
 3     Privilege. I don't think she could            3      Q. Okay. I'm assuming you're making a
 4     answer that one.                              4 distinction between using Snapchat and opening up
 5          THE COURT REPORTER: What did you         5 pictures, so --
 6     say, Mr. Carson?                              6      A. Yes. I don't --
 7          MR. CARSON: I don't think she can        7      Q. -- let me -- let me ask a better
 8     answer that one because only reason she       8 question. When was the last time you sent something
 9     would have made a determination was at        9 out via Snapchat?
10     the advice of counsel. She can say that      10      A. I don't remember. Years ago maybe.
11     if she wants.                                11      Q. Okay. But you said you've opened up
12 BY MR. CAVALIER:                                 12 pictures on Snapchat, so I'm assuming that means that
13     Q. Do you remember when you --               13 people have sent you messages on Snapchat?
14          MR. CARSON: She can't say what          14      A. Yes.
15     the substance of that is.                    15      Q. Okay. Do you remember when the last
16 BY MR. CAVALIER:                                 16 time that occurred?
17     Q. Do you remember when you reviewed those 17        A. This week.
18 communications with Lisa Barbounis on Instagram? 18      Q. And who do you receive messages from on
19     A. I don't remember exactly when it was.     19 Snapchat?
20     Q. Was it last month?                        20      A. Personal friends.
21     A. Months ago, plural.                       21      Q. Any current or former MEF employees?
22     Q. Would it have been sometime in the        22      A. No.
23 second half of 2020?                             23      Q. Do you use Snapchat to speak with Lisa
24     A. I don't remember exactly when it was.     24 Barbounis?
25     Q. Do you remember the contents of those     25      A. No.
                                               Page 61                                                        Page 63
 1                                                    1     Q. Do you recall the e-mail address that
   communications?
 2                                                    2 you used to sign up for your Snapchat account?
            MR. CARSON: Obj- -- wait, what
 3                                                    3     A. I don't.
       communications?
 4                                                    4     Q. Do you know your username on Snapchat?
            MR. CAVALIER: The communications
 5                                                    5     A. Yes.
       with Lisa Barbounis.
 6                                                    6          MR. CARSON: Same representation?
            MR. CARSON: You can answer that.
 7                                                    7          MR. CAVALIER: That's fine, Seth.
            THE WITNESS: I mean, not exactly.
 8                                                    8          MR. CARSON: Isn't the point of
       It was just like about memes and gifs
 9                                                    9     Snapchat that the messages all erase,
       and things on Instagram, nothing
10                                                   10     though?
       substantial in any way.
11                                                   11          MR. CAVALIER: I didn't hear you.
   BY MR. CAVALIER:
12                                                   12          MR. CARSON: I don't use any of
       Q. Is Lisa Barbounis a friend of yours?
13                                                   13     these apps, but isn't the point -- isn't
       A. Yes.
14                                                   14     Snapchat the one where the messages all
       Q. How often do you talk to her?
15                                                   15     erase?
       A. Now? Maybe once a month, every couple
16                                                   16          MR. CAVALIER: I couldn't tell
   weeks.
17                                                   17     you.
       Q. Did Lisa Barbounis ever share pictures
18
   of men that she was dating with you on Instagram? 18          MR. CARSON: I don't know either.
19                                                   19     All right.
       A. I don't remember.
20                                                   20 BY MR. CAVALIER:
       Q. Do you have a Snapchat account?
21                                                   21     Q. Do you use an e-mail address
       A. Yes.
22                                                   22 tmcnulty82@gmail.com?
       Q. Do you still use it?
23                                                   23     A. Yes.
       A. No.
24
       Q. Do you remember when the last time you 24         Q. Is that a current e-mail address?
25                                                   25     A. Yes.
   used it was?
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                                                    Page 64                                                         Page 66
 1      Q. Do you use WhatsApp?                           1      Q. Have you ever used Signal?
 2      A. Yes.                                           2      A. No.
 3      Q. Do you recall the e-mail address or            3      Q. How many current phone numbers do you
 4 phone number that you used to sign up with -- for      4 have?
 5 WhatsApp?                                              5      A. One.
 6      A. Yes, the phone number.                         6      Q. Is that a cell phone?
 7      Q. Okay. You don't have to give it to me.         7      A. Yes.
 8 We can use the same --                                 8      Q. Is that the same cell phone number that
 9          MR. CAVALIER: Same                            9 you had when you were at the Middle East Forum?
10      representation, Seth?                            10      A. Yes.
11          MR. CARSON: Yes.                             11      Q. Do you have a landline phone?
12          MR. CAVALIER: Okay.                          12      A. No.
13 BY MR. CAVALIER:                                      13      Q. Do you use any cloud-based storage
14      Q. Have you used WhatsApp to speak with          14 systems?
15 Lisa Barbounis?                                       15      A. Not that I can think of.
16      A. Yes.                                          16      Q. Do you use iCloud?
17      Q. When was the last time you used               17      A. I mean, it comes with an iPhone I
18 WhatsApp to speak with Lisa?                          18 believe, so I guess yes.
19      A. I don't know. Years ago.                      19      Q. Okay. So I don't want to put words in
20      Q. When you were reviewing your documents        20 your mouth then, but is it fair to say that to the
21 for responsiveness to defendant's discovery requests, 21 extent you use iCloud you use it just as an automatic
22 did you look at your WhatsApp account to determine    22 default setting on your phone?
23 whether it contained any responsive communications? 23        A. Yes, if it's a default setting on my
24      A. Yes.                                          24 phone, then yes, but I don't actively use it that I
25      Q. Did you determine that -- did you             25 know of.
                                                 Page 65                                                            Page 67
 1 review those communications with Lisa in an effort to      1       Q. Okay. So you don't -- you don't
 2 determine if they were responsive?                          2 specifically and intentionally transfer documents to
 3      A. Yes.                                                3 your iCloud account.
 4      Q. And you determined that they were not               4      A. No.
 5 responsive?                                                 5      Q. Okay. Do you know if you back up your
 6      A. With counsel.                                       6 phone via iCloud?
 7      Q. Do you -- have you ever used WhatsApp               7      A. I don't know.
 8 to speak with a person named Raheem Kassam?                 8      Q. Do you use Google Drive?
 9      A. I don't remember.                                   9      A. I don't use it. I have one. I don't
10      Q. Have you used WhatsApp to speak with               10 use it currently, no.
11 any other MEF employees?                                   11      Q. Do you know when the last time you used
12      A. Not that I remember.                               12 it was?
13      Q. Have you used WhatsApp to speak with               13      A. Years ago.
14 any MEF contractors?                                       14      Q. Do you know what e-mail addresses you
15      A. Not that I remember.                               15 used in association with your Google Drive and your
16      Q. Have you used WhatsApp to speak with               16 iCloud account?
17 any MEF board members?                                     17      A. iCloud, no. Google Drive, yes.
18      A. I don't think so, no, not that I                   18      Q. Okay.
19 remember.                                                  19           MR. CAVALIER: Seth, same
20      Q. Have you used Snapchat to talk to any              20      representation?
21 -- I'm sorry, have you used WhatsApp to talk to any        21           MR. CARSON: Yeah, I think it's
22 MEF donors?                                                22      the e-mail account you guys already
23      A. Not that I know of, no.                            23      said, but yeah.
24      Q. Do you use Signal?                                 24           MR. CAVALIER: It may well be, I
25      A. No.                                                25      just -- I mean, I didn't want to create
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                                                 Page 68                                                        Page 70
 1                                                      1
       the issue if I didn't have to.                     you, would you still have access to it?
 2                                                      2
            MR. CARSON: Yeah. Same                             A. Yes.
 3                                                      3
       representation.                                               MR. CAVALIER: Seth, through --
 4                                                      4
   BY MR. CAVALIER:                                            I'll just ask you so that we can avoid
 5                                                      5
       Q. Did you use the Google Drive account                 the issue. I'm going to ask that she
 6                                                      6
   when you were working at the Forum?                         check to determine whether she does have
 7                                                      7
       A. The Gmail account?                                   that information and if so I would ask
 8                                                      8
       Q. The Google Drive account.                            that it be produced.
 9                                                      9
       A. Yes.                                                       MR. CARSON: Yeah, if she has it,
10                                                     10
       Q. Did you search that account to                       we'll give it to you, again.
11                                                     11
   determine whether it contained any documents                      MR. CAVALIER: Okay.
12                                                     12
   responsive to defendant's discovery requests?          BY MR. CAVALIER:
13                                                     13
       A. Yes.                                                 Q. Did you lose your phone in fall of
14
       Q. Did you find any responsive documents? 14 2018?
15                                                     15
       A. No, I don't think so.                                A. Yes.
16                                                     16
       Q. Do you use Dropbox?                                  Q. Can you describe for me the
17                                                     17
       A. No.                                             circumstances surrounding that?
18                                                     18
       Q. Have you ever used Dropbox?                          A. I left it at a bar and when I went back
19                                                     19
       A. Yes.                                            to get it it was taken.
20                                                     20
       Q. When was the last time you used it?                  Q. Was it ever found?
21                                                     21
       A. With my lawyer.                                      A. No.
22                                                     22
       Q. Not counting that, when was the last                 Q. Did you ever take steps to try to
23
   time you used it? Nothing having to do with you or 23 recover it?
24
   your lawyer. When was the last time you used it for 24      A. Only using Find My Phone.
25                                                     25
   nonlegal purposes?                                          Q. And was that unsuccessful?
                                                 Page 69                                                        Page 71
 1      A. When I was still an employee with MEF.          1       A. Yes.
 2      Q. Did you store MEF documents on the               2      Q. And what kind of phone was it that was
 3 Dropbox?                                                 3 lost?
 4      A. Yes.                                             4      A. It was an iPhone.
 5      Q. Did you search the Dropbox to determine          5      Q. Do you remember the date on which you
 6 whether it contained any responsive information to       6 lost it?
 7 defendant's discovery requests?                          7      A. I don't remember the exact date.
 8      A. It was an MEF Dropbox account. I don't           8      Q. Can you tell me what steps you took to
 9 have access to it.                                       9 replace the phone?
10      Q. Okay. Did you ever have a personal              10      A. I went to the Verizon store and bought
11 Dropbox account?                                        11 a new one.
12      A. No.                                             12      Q. Did they set it up for you at the
13      Q. Okay. Has Lisa Barbounis ever shared            13 Verizon store?
14 with you WhatsApp communications or chats that she's    14      A. Yes.
15 had with other people?                                  15      Q. Do you know whether the contents of the
16      A. I don't remember.                               16 phone were restored?
17      Q. Do you remember if she's ever shared            17      A. I'm not sure what was restored and what
18 WhatsApp chats with you that she had with Danny         18 wasn't.
19 Thomas?                                                 19      Q. Okay. So then is it fair to say that
20      A. I don't remember.                               20 some things were restored but maybe not everything?
21      Q. Do you remember whether she sent you            21      A. Yes.
22 the entirety of her WhatsApp chats with Danny Thomas    22      Q. Were the photos restored?
23 in 2018, 2019, and 2020?                                23      A. Some. Not all of them.
24      A. I don't think so.                               24      Q. Okay. How about the e-mail?
25      Q. If she did send that information to             25      A. Well, e-mails attach to the accounts,
                                     215-341-3616 transcripts@everestdepo.com
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 1 not the phone.                                            1       A. I don't remember.
 2      Q.    Okay. So you were still able to access          2      Q. When you handed -- when you reviewed
 3 your e-mail going back before you lost your phone.         3 your text messages and produced some of them in
 4      A. Correct.                                           4 response to defendant's requests for documents, did
 5      Q. Okay. How about text messages, were                5 you check to see how far back they went?
 6 they recovered?                                            6      A. Not that I remember.
 7      A. I don't remember what was and what                 7      Q. So it looks -- I'll represent to you
 8 wasn't with text messages.                                 8 that based on what we can tell from looking at the
 9      Q. Do you remember whether your text                  9 text messages it looks like some of them go back
10 messages with Lisa Barbounis were recovered?              10 prior to the date that you lost your phone and some
11      A. I don't remember.                                 11 of them do not, and I'm just trying to figure out
12      Q. How about other text messages, do you             12 whether you have any idea why that is the case.
13 have any recollection as to whether some or all were      13      A. I don't. Maybe if it was specific
14 recovered?                                                14 people, I would know, but I'm not sure which ones
15           MR. CARSON: Objection.                          15 wouldn't go back and which ones would.
16           THE WITNESS: I don't remember.                  16      Q. So your communications with Lisa
17 BY MR. CAVALIER:                                          17 Barbounis only go back to the time that you lost your
18      Q. Do you remember whether the text                  18 phone. Do you have any idea why that is?
19 messages -- the text messages that you had with your      19      A. I know it was around that time, it was
20 sister were recovered?                                    20 right around the end of October, beginning of
21      A. I don't remember.                                 21 November, that Matt Bennett had erased a lot of
22      Q. Just to be clear for the record, your             22 things from my phone, text messages, and
23 sister is Megan McNulty?                                  23 correspondence that he had and it's possible that he
24           THE COURT REPORTER: Excuse me.                  24 deleted with Lisa too.
25      Can you repeat the question? There was               25      Q. Okay. But your text -- based on what
                                                   Page 73                                                    Page 75
 1      interference.                                        1 we can see, your texts with Matt go back to 2017. So
 2           MR. CAVALIER: Sure.                             2 is there any reason why -- and I'll ask you some more
 3 BY MR. CAVALIER:                                          3 questions about this in a bit, but is there any
 4      Q. The question for the record is, your              4 reason that you can think of why Matt Bennett would
 5 sister's name is Megan McNulty, correct?                  5 delete your conversations with Lisa Barbounis from
 6      A. Correct.                                          6 your phone but not the conversations between you and
 7      Q. And to be clear again for the record,             7 Matt?
 8 the question I'm asking is whether your text messages     8          MR. CARSON: Objection. Object to
 9 with your sister Megan were ever recovered after you      9     form. You're asking --
10 lost your phone.                                          10         THE WITNESS: I don't --
11           MR. CARSON: Objection. Asked and                11         MR. CARSON: -- her opinion about
12      answered.                                            12    something she said she doesn't know
13           THE WITNESS: I don't remember.                  13    about right now? Is that the question?
14 BY MR. CAVALIER:                                          14 BY MR. CAVALIER:
15      Q. Do you remember whether your text                 15    Q. You can answer.
16 messages with Gregg Roman were recovered?                 16         MR. CARSON: Is that -- I mean,
17      A. I don't remember.                                 17    I'm -- clarify what the question is.
18      Q. Do you remember whether your text                 18    You're asking her opinion about the
19 messages with Marnie Meyer were recovered?                19    thing she said she doesn't remember,
20      A. I do not.                                         20    right?
21      Q. Do you remember whether your text                 21         MR. CAVALIER: No, she said that
22 messages with Matt Bennett were recovered?                22    -- when I asked her why her
23      A. I don't remember.                                 23    conversations with Lisa Barbounis only
24      Q. How about your text messages with                 24    go back to the time that she lost her
25 Delaney Yonchek?                                          25    phone, she said that this was right
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 1                                              1 whether Matt Bennett deleted any communications that
      around the time that Matt Bennett may
 2                                              2 you had with Lisa Barbounis?
      have deleted information from her phone,
 3                                              3      A. I don't, no.
      and I'm asking her why it might be that
 4                                              4      Q. Did you ever speak with your sister
      the conversations she had with Matt
 5                                              5 Megan about your work at MEF?
      Bennett go back before, into 2017, but
 6                                              6      A. Not my work, no.
      the conversations with Lisa Barbounis
 7                                              7      Q. I'm not sure I understand the
      cut off as of that date in 2018.
 8                                              8 distinction that you're drawing there.
   BY MR. CAVALIER:
 9                                              9      A. I didn't talk about MEF work, donors,
      Q. The question is --
10                                             10 projects, things I was working on, no.
           MR. CARSON: Yeah. That's not
11                                             11      Q. Okay. Did you speak with her about
      what she said.
12                                             12 your employment at MEF?
   BY MR. CAVALIER:
13
      Q. The question is, do you have any idea 13      A. I spoke to her about how I was feeling
14                                             14 at times.
   --
15
           MR. CARSON: She said she doesn't 15         Q. Anything beyond how you were feeling at
16                                             16 times?
      know; she was guessing.
17                                             17      A. Just actions of other employees there
           MR. CAVALIER: Seth, please stop
18                                             18 and how it made me feel. That's pretty much it.
      testifying --
19                                             19      Q. And how would you speak to Megan about
           MR. CARSON: She said she has no
20                                             20 those things?
      idea.
21
           MR. CAVALIER: Her answers are on 21         A. I mean, I was unhappy and uncomfortable
22                                             22 with the actions that were taking place, and so I'm
      the record.
23                                             23 sure I conveyed that.
           MR. CARSON: I'm correcting your
24                                             24      Q. What methods did you use, what
      misrepresentation of her previous
25                                             25 communication platforms did you use, to speak with
      testimony. Her previous testimony is
                                                  Page 77                                                        Page 79
 1      that she didn't know.                               1
                                                               your sister about those things?
 2 BY MR. CAVALIER:                                          2
                                                                    A. I only ever spoke to her about those
 3      Q. The question is, do you have --                   3
                                                               things in person --
 4           MR. CARSON: You asked her to                    4
                                                                    Q. You never texted --
 5      guess.                                               5
                                                                    A. -- that I remember.
 6 BY MR. CAVALIER:                                          6
                                                                    Q. You never texted with her about those
 7      Q. For the fifth time, the question is, do           7
                                                               things?
 8 you have any idea why Matt Bennett would delete text      8
                                                                    A. No, not that I remember.
 9 messages between you and Lisa Barbounis but not text      9
                                                                    Q. Who is Neal Weinstein?
10 messages between you and Matt Bennett?                   10
                                                                    A. My fiance.
11           MR. CARSON: Objection. Form.                   11
                                                                    Q. And how long have you known Neal?
12      Again, hypothetical based on something              12
                                                                    A. Since August of 2018.
13      she doesn't even know happened, so go               13
                                                                    Q. Did you ever speak with Neal about how
14      ahead, you can answer it based on that.             14
                                                               you were feeling at MEF?
15           THE WITNESS: I don't know what he              15
                                                                    A. Yes.
16      deleted and what he didn't, but I --                16
                                                                    Q. Did you ever speak with Neal about your
17      except for the fact that I know he                  17
                                                               lawsuit?
18      deleted my conversation -- my text                  18
                                                                    A. No.
19      conversation with just me and him                   19
                                                                    Q. What methods of communication did you
20      directly, so I don't have any                       20
                                                               use when you were speaking with Neal about your
21      conversations with just me and Matt                 21
                                                               feelings with respect to MEF?
22      Bennett on my phone.                                22
                                                                    A. Again, we were in person.
23 BY MR. CAVALIER:                                         23
                                                                    Q. Did you ever text with him about it?
24      Q. Do you know -- well, let me just ask it          24
                                                                    A. No, not about work, that I remember.
25 this way. Do you know for a fact sitting here today      25
                                                                    Q. Did your sister ever -- did your sister
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 1 Megan ever send you a text message containing screen       1
                                                                 sister containing the screen shots, they would be
 2 shots of your conversations with Lisa Barbounis?            2
                                                                 responsive, correct?
 3      A.    Not that I remember. I sent her screen           3
                                                                            MR. CARSON: He's asking you
 4 shots.                                                      4
                                                                      whether the screen shots that we
 5      Q.    And what were those -- what were those           5
                                                                      produced were responsive.
 6 screen shots of?                                            6
                                                                            THE WITNESS: Yes.
 7      A.    You just asked me about specific screen          7
                                                                 BY MR. CAVALIER:
 8 shots, right?                                               8
                                                                      Q. Okay. And, to be clear, I'm asking you
 9      Q. Yes.                                                9
                                                                 whether the text messages that you sent to your
10      A. Between myself and Lisa.                           10
                                                                 sister containing the screen shots would be
11      Q. Okay. And you said you sent them to                11
                                                                 responsive.
12 your sister?                                               12
                                                                            MR. CARSON: Objection. Asked and
13      A. Yes.                                               13
                                                                      answered.
14      Q. How did you send them?                             14
                                                                 BY MR. CAVALIER:
15      A. By phone, by text.                                 15
                                                                      Q. You can answer.
16      Q. So I'm a little confused because I                 16
                                                                            MR. CARSON: I don't -- what
17 thought earlier when I was asking you about your           17
                                                                      distinction are you making? She just
18 communications with your sister you told me that you       18
                                                                      answered that question. She literally
19 didn't text with her about the Forum or the lawsuit        19
                                                                      -- you just asked the same question
20 or your feelings, that you always did that in person.      20
                                                                      twice in a row.
21      A. Yeah. I sent her the screen shots, we              21
                                                                            MR. CAVALIER: No, there is a
22 didn't talk about anything else.                           22
                                                                      distinction between what you're saying
23      Q. Is there any particular reason why you             23
                                                                      and what I'm asking, Seth. The question
24 sent her the screen shots?                                 24
                                                                      is --
25      A. Because Matt was deleting things from              25
                                                                            MR. CARSON: Okay.
                                                    Page 81                                                        Page 83
 1 my phone, and I thought that they were important not       1
                                                            BY MR. CAVALIER:
 2 to be deleted.                                         2
                                                                 Q. I'll ask it this way. You've seen
 3      Q. Okay. Did you -- is there any                  3
                                                            screen shots between -- we're talking about screen
 4 particular reason why you didn't produce those         4
                                                            shots of conversations between you and Lisa
 5 messages that you sent to your sister?                 5
                                                            Barbounis; you understand that, correct?
 6           MR. CARSON: Objection. The                   6
                                                                 A. Yes.
 7      messages were produced.                           7
                                                                 Q. And those screen shots exist as an
 8 BY MR. CAVALIER:                                       8
                                                            image, correct?
 9      Q. Let me ask the question this way.              9
                                                                 A. Correct.
10 Since you -- you read -- as you testified to earlier, 10
                                                                      MR. CARSON: You guys produced the
11 you read defendant's requests for production of       11
                                                                 screen shots, too, I believe.
12 documents and you searched your text messages for     12
                                                            BY MR. CAVALIER:
13 documents that were responsive. You would agree with 13
                                                                 Q. And at some point you're testifying
14 me, would you not, that those text messages that you  14
                                                            that you sent those screen shots to your sister
15 sent your sister containing screen shots of           15
                                                            Megan, correct?
16 conversations relating to Lisa Barbounis would indeed 16
                                                                 A. Correct.
17 be responsive, correct?                               17
                                                                 Q. So we have the screen shots and then we
18           MR. CARSON: Objection. The                  18
                                                            have the message sent to your sister containing the
19      screen shots were produced, again, but I         19
                                                            screen shots.
20      will -- she could answer whether or not          20
                                                                      MR. CARSON: The message is the
21      they're responsive. Since they were              21
                                                                 screen shots. She just said that.
22      produced, I'm not sure where you're              22
                                                            BY MR. CAVALIER:
23      going.                                           23
                                                                 Q. So my question --
24 BY MR. CAVALIER:                                      24
                                                                      MR. CARSON: It feels like you're
25      Q. Those text messages that you sent your        25
                                                                 trying to trick her.
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 1                                                      1 don't want to put words in your mouth so I'll ask the
            MR. CAVALIER: No.
 2                                                      2 question. Did you just blindly send pictures or
            MR. CARSON: She told you she
 3                                                      3 screen shots of your communications with Lisa
        didn't -- there was nothing but the
 4                                                      4 Barbounis to your sister without explanation or
        screen shots sent. The screen shots
 5                                                      5 reason?
        were the message. The screen shots were
 6                                                      6      A. Yes.
        produced. Therefore, she's produced the
 7                                                      7           MR. CARSON: Objection.
        screen shots that you're trying to say
 8                                                      8 BY MR. CAVALIER:
        she didn't produce.
 9                                                      9      Q. What did she say in response?
            MR. CAVALIER: I'm not trying to
10                                                     10      A. She didn't say anything, that I
        say anything. I'm trying to ask a
11                                                     11 remember.
        question.
12                                                     12      Q. Was there a conversation that you had
            MR. CARSON: Yeah, you said is
13                                                     13 with your sister in advance of sending her these
        there a reason why the screen shots
14                                                     14 screen shots so that she would know that they would
        weren't produced. They were produced.
15                                                     15 be coming?
            MR. CAVALIER: That's not what I
16                                                     16      A. Not that I remember.
        asked.
17                                                     17      Q. Was there a conversation you had with
            MR. CARSON: Well, you did -- that
18                                                     18 your sister after she received the screen shots about
        was a question a few minutes ago.
19                                                     19 what they were?
   BY MR. CAVALIER:
20                                                     20      A. I mean, we talked about, again, just
        Q. The question is -- well, I'll say it
21                                                     21 bad behavior at work, but in general not -- yes.
   this way. You didn't produce the messages that you
22
   sent to your sister containing the screen shots. Do 22      Q. So when you sent the screen shots to
23                                                     23 your sister what was her response to them?
   you think those --
24                                                     24      A. She didn't respond anything by text
            MR. CARSON: Incorrect.
25                                                     25 that I remember.
   BY MR. CAVALIER:
                                                 Page 85                                                        Page 87
 1                                                     1      Q. She didn't say what are these, why are
         Q.     -- messages would be responsive?
 2                                                     2 you sending these to me, what am I supposed to do
              MR. CARSON: Objection. Assuming
 3                                                     3 with these?
        facts in evidence. Incorrect statement.
 4                                                     4      A. Not that I remember.
        She did produce them.
 5                                                     5           MR. CARSON: Objection.
              MR. CAVALIER: All right. Well,
 6                                                     6 BY MR. CAVALIER:
        then I'll ask it this way.
 7                                                     7      Q. Is it a common practice for you to send
   BY MR. CAVALIER:
 8                                                     8 screen shots of conversations that you had with other
        Q. Do you think that the text messages
 9
   that you sent to your sister containing the screen 9 people to your sister?
10
   shots of conversations with Lisa Barbounis are 10               MR. CARSON: Objection.
11
   responsive to defendant's document requests? 11                 THE WITNESS: No.
12                                                    12 BY MR. CAVALIER:
        A. The text -- the screen shots are, yes.
13                                                    13      Q. Did you think it was strange that your
        Q. So you don't think the message
14                                                    14 sister didn't respond to the text messages sending
   transmitting them to your sister is responsive?
15                                                    15 the screen shots?
              MR. CARSON: The screen shot is
16                                                    16           MR. CARSON: Objection. Form.
        the message. You're talking about the
17                                                    17           THE WITNESS: No, she knows I
        same thing and trying to make it --
18                                                    18      would   tell her if she needed to know
              MR. CAVALIER: Okay. Well, then
19                                                    19      anything or if there was anything more.
        let me --
20                                                    20 BY MR. CAVALIER:
              MR. CARSON: -- out to be two
21                                                    21      Q. Did you instruct her on what to do with
        different things.
22                                                    22 them?
              MR. CAVALIER: -- let me dig into
23                                                    23      A. I don't remember.
        it a little more.
24                                                    24      Q. Did you ever at any point tell her,
   BY MR. CAVALIER:
25                                                    25 hey, I'm sending these to you so that you can hold
        Q. So did you just -- so what you're -- I
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 1                                                          1 minutes ago whether you ever asked your sister to
   onto them for me?
 2                                                          2 send them back to you and you told me that you
        A. I don't remember.
 3                                                          3 couldn't remember.
        Q. Did you ever tell her that you were
 4                                                          4     A.       Because you can get any pictures that
   sending them to her because you were worried that
 5                                                          5 you sent to anyone from your phone.     They don't have
   Matt Bennett was going to delete information from
 6                                                          6 to send them back to you. You just go in the photos.
   your phone?
 7                                                          7       Q. So you're saying the screen shots were
        A. I don't remember.
 8                                                          8 still in your stored photos.
        Q. Did you ever tell your sister to send
 9                                                          9       A. They would have been in the -- there's
   the screen shots back to you?
10                                                         10 data between you and anyone you talk to on an iPhone.
        A. I don't remember.
11                                                         11       Q. So do you still then have the messages
        Q. Do you remember when you sent the
12                                                         12 that you sent to your sister transmitting those
   screen shots to your sister?
13                                                         13 screen shots today?
        A. I don't remember.
14                                                         14       A. Yes.
        Q. So were the conversations that you had
15                                                         15            MR. CAVALIER: I'm going to ask,
   with Lisa Barbounis that were the subject of the
16                                                         16       Seth, that you produce those to us.
   screen shots actually deleted from your phone?
17                                                         17            MR. CARSON: Yeah, I think we did,
        A. I think so.
18                                                         18       but I'll look and if they're not
            MR. CARSON: Well --
19                                                         19       produced, I'll produce it.
            THE WITNESS: I don't remember.
20                                                         20 BY MR. CAVALIER:
   BY MR. CAVALIER:
21                                                         21       Q. Did Lisa ever ask you to send those
        Q. Okay. So you -- as your counsel has
22                                                         22 screen shots back to her?
   repeatedly said over the last couple minutes, the
23                                                         23       A. I don't remember.
   screen shots were produced, so how -- if you sent
24                                                         24       Q. Do you remember whether you ever did,
   them to your sister and the conversations were
25                                                         25 in fact, send the screen shots to Lisa?
   ultimately deleted, how did you end up producing
                                                 Page 89                                                          Page 91
 1 those screen shots?                                      1     A.   I don't remember.
 2          MR. CARSON: Objection.                        2           MR. CAVALIER: Seth, give me five.
 3     Privilege.                                         3      Okay?
 4          You can answer. It's privileged.              4           MR. CARSON: Yeah.
 5     You can answer without waiving any                 5           MR. CAVALIER: All right.
 6     attorney-client privilege. The -- they             6           Sorry, off the record.
 7     were produced because she gave them to             7           THE VIDEO SPECIALIST: Off the
 8     me and I gave them to you.                         8      record.
 9          MR. CAVALIER: Right.                          9           (A brief recess was taken from
10          MR. CARSON: You guys produced                10      11:53 a.m. to 12:05 p.m.)
11     them, too -- you guys produced them,              11           THE VIDEO SPECIALIST: The time is
12     too, I believe.                                   12      12:05 p.m. Eastern. We are back on the
13 BY MR. CAVALIER:                                      13      record.
14     Q. The question is how --                         14           MR. CAVALIER: Okay. Ms. McNulty,
15          MR. CARSON: You have the screen              15      I don't have any further questions for
16     shots that you keep asking her about.             16      you today, but my colleague Sid Gold is
17 BY MR. CAVALIER                                       17      going to ask you some questions from
18     Q. The question is how are they in your           18      here, so that's all I have.
19 possession so that you can give them to your counsel? 19           THE WITNESS: Okay.
20          MR. CARSON: You can answer if you            20                 ---
21     know.                                             21                EXAMINATION
22          THE WITNESS: I had them from my              22 BY MR. GOLD:
23     sister. I sent them to her.                       23      Q. Good afternoon. I think you and I have
24 BY MR. CAVALIER:                                      24 had a meeting before when I took your deposition, and
25     Q. Right. But then I asked you a few              25 this afternoon I'm going to ask you some questions

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 1 regarding your relationship with Lisa Barbounis, and          1
                                                                           THE WITNESS: You can scroll down.
 2 what I'm going to do, I'm going to show you some text         2
                                                                           THE VIDEO SPECIALIST: That number
 3 messages that you and Lisa had exchanged over the             3
                                                                       is Mr. Carson.
 4 years and see if I can ask some questions about those         4
                                                                           Mr. Carson, if you are not going
 5 text messages.                                                5
                                                                       to object to anything, I understand that
 6           Because this deposition is being taken              6
                                                                       you need to at times, but in the
 7 over Zoom, there may be situations where I may                7
                                                                       meantime could you mute your mic?
 8 interrupt an answer that you may be giving to one of          8
                                                                           MR. CARSON: My mic is muted.
 9 my questions, and that's not intentional on my part.          9
                                                                       Also my number doesn't end in 4848.
10 I apologize in advance if I cut you off and -- I want        10
                                                                           THE VIDEO SPECIALIST: Could the
11 to make sure you finish your answer.                         11
                                                                       number ending in 4848 either mute
12           I also have a tendency to talk a little            12
                                                                       themselves or allow me to mute them.
13 fast, so I'm deliberately trying to slow it down so          13
                                                                           MR. FINK: I am muted. You can
14 that you can understand my questions and the court           14
                                                                       mute it on your end.
15 reporter can transcribe the testimony.                       15
                                                                           MR. CARSON: If I wasn't muted,
16           Are those ground rules pretty clear?               16
                                                                       you would be hearing my three-year-old
17      A. Yes.                                                 17
                                                                       reading a book right now.
18      Q. Okay. And --                                         18
                                                                           THE VIDEO SPECIALIST: Understood.
19           MR. GOLD: Could you please put up                  19
                                                                       Thank you.
20      Exhibit 1 for me?                                       20
                                                                           MR. GOLD: Keep going.
21 BY MR. GOLD:                                                 21
                                                                           THE WITNESS: Okay.
22      Q. Ms. McNulty, I'm going to ask you to                 22
                                                                           Okay.
23 take a few seconds and read this -- the exchange of          23
                                                                           MR. MAINEN: That concludes
24 text messages that you had with Lisa Barbounis back          24
                                                                       Exhibit 1. Would you like me to keep
25 in December of 2017, and there are some portions             25
                                                                       going?
                                                      Page 93                                                         Page 95
 1 therein that I highlighted, and my questions are              1
                                                                              MR. GOLD: No. Stop there.
 2 probably going to deal with the highlighted portions.         2
                                                                   BY MR. GOLD:
 3          MR. GOLD: So, Matt, if you can                       3
                                                                        Q. Okay, Ms. McNulty, I just have a few
 4     scroll down or --                                         4
                                                                   questions. I guess the first question I have is, was
 5          MR. MAINEN: Are you guys seeing                      5
                                                                   it typical for Lisa to send you text messages when
 6     all that, the highlighted text?                           6
                                                                   she was under the influence of drugs or narcotics?
 7          MR. GOLD: Yeah.                                      7
                                                                              MR. CARSON: Objection. You're
 8          MR. MAINEN: Okay.                                    8
                                                                        asking my client whether or not Lisa did
 9          THE WITNESS: Yeah.                                   9
                                                                        drugs and then sent her messages? How
10          MR. GOLD: You can keep going,                       10
                                                                        would she know that?
11     Matt.                                                    11
                                                                              MR. GOLD: No, no, my question was
12          Go ahead, Matt, you can move                        12
                                                                        is it -- is it typical for Lisa to have
13     quickly here.                                            13
                                                                        sent Ms. McNulty text messages while she
14 BY MR. GOLD:                                                 14
                                                                        was under the influence of drugs.
15     Q. Ms. McNulty, if you can just indicate                 15
                                                                              MR. CARSON: Object to form.
16 when you're -- when you've completed reading those           16
                                                                              You can answer if you know.
17 messages and you're ready to scroll down, just say           17
                                                                              THE WITNESS: No, I think she was
18 "please scroll down."                                        18
                                                                        sick in this -- when she was referring
19          MR. MAINEN: Court reporter, can                     19
                                                                        to this, that's why she was taking
20     you mute number ending in 4848? It's                     20
                                                                        anything.
21     making static.                                           21
                                                                              THE COURT REPORTER: Ms. McNulty,
22          THE COURT REPORTER: Maybe the                       22
                                                                        do you mind repeating what you just
23     tech can do that. I'm not sure how to                    23
                                                                        said?
24     do that.                                                 24
                                                                              THE WITNESS: I said no, she was
25          MR. MAINEN: Okay.                                   25
                                                                        mentioning being sick when she was
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 1      taking medications, so I assume that's              1       A. Right now it's maybe like once a month.
 2      the reason.                                          2      Q. Back when you were working for MEF
 3 BY MR. GOLD:                                              3 approximately how many times did you text with Lisa
 4      Q. And do you recall what her illness was?           4 Barbounis?
 5      A. I don't, no.                                      5      A. Probably at least five days out of the
 6      Q. Is that the only time you ever had a              6 week.
 7 conversation with her where she revealed to you that      7      Q. You mean five -- you say five days out
 8 she was under the influence of drugs or narcotics?        8 of the week?
 9      A. That I can remember offhand, yes.                 9      A. Probably.
10      Q. And do you know what the drug Percocet           10      Q. Not on weekends?
11 is?                                                      11      A. I don't know what days they were, I'm
12      A. Not really, no.                                  12 just -- I think at least five out of the seven days
13      Q. You don't know that it's a painkiller?           13 of the week we probably texted.
14      A. I was just going to say I think it's a           14      Q. And what percentage of those text
15 painkiller, but --                                       15 messages occurred during work hours?
16      Q. Okay. And Zofran, do you know whether            16      A. I don't know.
17 that's an antianxiety drug?                              17      Q. But you would text Lisa at work,
18      A. I'm not sure.                                    18 correct?
19      Q. Okay. And if you go down to the --               19      A. Sometimes. It's hard to tell what's
20 throughout that message she's actually so high that      20 work hours and what's not considering we had flex
21 she claims that she couldn't take a phone call from      21 hours.
22 Gregg Roman. Do you read that?                           22      Q. Well, was Lisa Barbounis ever the --
23      A. I interpreted that as because she was            23 did you ever notice or witness that Lisa was under
24 sick and the way she was feeling, but --                 24 the influence of drugs when she was working for MEF;
25      Q. Well, the way -- what it says is that            25 that is, working in the office?
                                                  Page 97                                                         Page 99
 1                                                        1     A. No, I didn't.
   she's so legit high that she can't take the call from
 2                                                        2     Q. Did -- were you aware that Lisa
   Gregg Roman, not because she's ill.
 3                                                        3 Barbounis would give her prescription drugs to other
        A. Well, it doesn't say that in this
 4                                                        4 employees at MEF?
   sentence.
 5                                                        5     A. No. I don't think so.
        Q. Pardon me?
 6                                                        6     Q. Were you aware that Lisa Barbounis was
        A. They're separate. She was talking
 7
   about the way she was feeling from the medication 7 taking certain drugs, prescribed drugs, while she was
 8
   above that but then she was also talking about being 8 working for MEF?
 9                                                        9     A. Yes.
   sick and then she said that she can't talk to him
10                                                       10     Q. To the best of your recollection what
   like that right now, so --
11                                                       11 was she taking?
        Q. Well, if she was sick why was she at
12                                                       12     A. Adderall. That's the only thing I
   the hairdresser? If you know.
13                                                       13 knew.
        A. I don't know.
14                                                       14     Q. Okay. Did you ever see her give any
        Q. In terms of your interrelationship and
15                                                       15 Adderall to any of her coworkers?
   conversations with Lisa, were there times when you
16                                                       16     A. I didn't see it, no.
   thought she was not being truthful with you?
17                                                       17     Q. And as far as -- do you know why Lisa
        A. Not that I can recall.
18
        Q. Today how would you characterize your 18 was taking Adderall?
19                                                       19     A. I don't know the exact reason, no.
   relationship with Lisa Barbounis?
20                                                       20     Q. What do you know?
        A. We're friends.
21                                                       21     A. I know she was prescribed it.
        Q. What does that mean?
22                                                       22     Q. What?
        A. We talk every now and again, check in
23                                                       23     A. I know that she was prescribed it, but
   on each other and see how the other one is doing.
24                                                       24 I don't know what her doctor prescribed it for.
        Q. How many times during the course of a
25                                                       25     Q. She never told you she suffered from
   week do you and Lisa text each other?
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 1                                                         1 you suggested that Lisa stay home from work because
   ADD or ADHD?
 2                                                         2 of her family commitments and you said that Gregg has
        A. Maybe.
 3                                                         3 kids, he would understand that.   Do you recall that
        Q. Are you saying you think she might have
 4                                                         4 conversation at all?
   been or maybe she told you that?
 5                                                         5     A.    Not -- I mean, I'm reading it now, but
        A. She might have told me that.
 6                                                         6 I don't remember it, no.
        Q. Okay. Did you have an occasion to read
 7                                                         7     Q.    Okay. Would it be fair to say that, at
   Lisa Barbounis's deposition in this matter?
 8                                                         8 least your impression, that Gregg would accommodate
        A. No.
 9                                                         9 an employee who needed to be out of work because they
        Q. Did Lisa Barbounis talk to you after
10                                                        10 had to care for their children?
   her deposition in this matter?
11                                                        11      A. I would hope so.
        A. No.
12                                                        12      Q. Okay.
        Q. When is the last time you spoke with
13                                                        13      A. Seeing that he's a dad.
   Lisa Barbounis?
14                                                        14      Q. And did -- was there ever an occasion
        A. I don't remember exactly. I would have
15                                                        15 where you needed to have some kind of an
   to look. A couple weeks ago.
16                                                        16 accommodation to stay home and -- do you have
        Q. Yesterday? Would it have been
17                                                        17 children? I'm sorry. Do you have children?
   yesterday?
18                                                        18      A. I don't yet, no.
        A. No.
19                                                        19      Q. Okay. But if you had to stay home and
        Q. The day before?
20                                                        20 take care of your parents or whatever, there would be
        A. No.
21                                                        21 an accommodation for you for that I assume?
        Q. The day before that?
22                                                        22      A. I don't know.
        A. No.
23                                                        23      Q. Well, has Gregg ever -- have you ever
        Q. So you haven't spoken to her this week?
24                                                        24 asked for an accommodation at work where you were
        A. No.
25                                                        25 turned down by Gregg Roman?
        Q. And how about last week?
                                               Page 101                                                          Page 103
 1                                                         1      A. I don't know if I ever asked for an
        A. No.
 2                                                         2 accommodation.
        Q. Did you -- when I say -- also I'm
 3                                                         3      Q. Do you know of any -- any employee that
   including text message, did you text her this week?
 4                                                         4 ever asked for an accommodation such as having to
        A. No.
 5                                                         5 take care of their children or their parents or
        Q. You didn't tell her you were being
 6                                                         6 because they were ill who were denied such an
   deposed today?
 7                                                         7 accommodation?
        A. No.
 8                                                         8      A. I don't know.
             MR. CARSON: I didn't tell her
 9                                                         9      Q. Okay.
        either.
10                                                        10           MR. GOLD: Please put up Exhibit
   BY MR. GOLD:
11                                                        11      3, please.
        Q. Did you read the previous deposition
12                                                        12 BY MR. GOLD:
   that you had given in this case, ma'am?
13                                                        13      Q. And read the highlighted portion.
        A. No.
14                                                        14      A. Okay.
        Q. Did you -- did you get a copy of it?
15                                                        15      Q. Okay. And it's a text message that is
        A. No.
16                                                        16 dated February 2nd, 2018. Lisa sent the text message
        Q. Okay.
17                                                        17 to you I believe. It says: I've had it with Marnie.
             MR. GOLD: Would you please put up
18                                                        18 I do not trust her.
        Exhibit 2?
19                                                        19           What was your understanding of the
   BY MR. GOLD:
20                                                        20 relationship that Lisa and Marnie had while working
        Q. Why don't you read the highlighted
21                                                        21 for MEF?
   portions, ma'am, and then I'll ask some questions
22                                                        22      A. I mean, I think it changed during
   about it.
23                                                        23 parts, but I know that a lot of people didn't trust
        A. Okay.
24                                                        24 her when we first started working there, and I think
        Q. It looks like this is a text message
25                                                        25 Lisa felt that too.
   from Lisa on January the 4th, 2018, and looks like
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 1        Q.   And why is that? Why didn't they trust        1   A. Would have been before then, but I
 2 her?                                                   2 don't --
 3      A. I mean, I can't speak to exactly why           3      Q. Before then.
 4 everyone else didn't trust her. I mean, it's           4      A. -- again, I don't know exactly what the
 5 their --                                               5 time line was.
 6      Q. Well, do you know why Lisa --                  6      Q. Well, you know what is meant by the
 7      A. -- their thoughts.                             7 term at-will employment, correct? Do you know what
 8      Q. How about why -- do you know why Lisa          8 that term means?
 9 didn't trust her?                                      9      A. Yes.
10      A. I mean, at that time we were -- one,          10      Q. Okay. Means you can fire somebody for
11 Matt was telling us not to trust Marnie, that he      11 any reason you want, right? Correct?
12 thought that she and Gregg had a close relationship   12      A. To an extent.
13 and that they were --                                 13           MR. CARSON: What term are we
14      Q. They were what?                               14      talking about --
15      A. That the two of them were kind of             15           MR. GOLD: At-will employment.
16 against everyone else.                                16           MR. CARSON: Okay. Thank you.
17      Q. What do you mean by that?                     17 BY MR. GOLD:
18      A. That they wanted to at points get Lisa        18      Q. What do you mean by to an extent?
19 fired or show that she was doing things wrong even if 19      A. I mean, I don't think you can fire
20 she wasn't.                                           20 people for being a female per se.
21      Q. And is this based on what Lisa told you       21      Q. Well, was she fired because she was a
22 or based on your own observations?                    22 female?
23      A. It was based on what Lisa told me, what       23      A. She wasn't fired.
24 Marnie talked about later, what Matt talked about.    24      Q. Okay. So of course the -- you cannot
25      Q. Why don't you tell me what Lisa told          25 fire somebody because they're a female or whether
                                                  Page 105                                                         Page 107
 1 you.                                                      1 they're -- because of their race or disability or
 2      A.    I mean, I don't remember every single          2 age, but beyond that you understand that an employer
 3 stage of the way.  I know that --                         3 can fire anybody they want at any time without any
 4      Q. Just give me what -- give me what you             4 warning or notice, correct?
 5 can recall.                                               5      A.     That is correct.
 6      A. I know the culmination was when Marnie            6            MR. CARSON: Objection. Calls for
 7 and her were talking about how Marnie had said that        7      a legal conclusion.
 8 Gregg had instructed Marnie to watch Lisa and tell         8           You can answer.
 9 him what she was doing at all times during the day if      9 BY MR. GOLD:
10 he wasn't in the office, what time she got in, what       10      Q. So at the time you thought that -- are
11 time she left, and that Marnie had had a conversation     11 you telling me that Gregg Roman was going to fire
12 about possibly firing her.                                12 Lisa, is that what you're trying to tell me?
13      Q. Why was there -- Marnie had a                     13      A. I'm saying that there were
14 conversation with Lisa about firing Lisa or --            14 conversations that were had that Lisa found out
15      A. No, Marnie had a conversation with -- I           15 about.
16 don't remember exactly who it was, Stacey Roman and I     16      Q. What were the conversations?
17 think Matt was there, too, based on what Gregg was        17      A. I don't know exactly what they were. I
18 telling her.                                              18 wasn't in them.
19      Q. When did that conversation take place             19      Q. How do you know about them then?
20 to the best of your recollection?                         20      A. Because Marnie had said that she was
21      A. The fall of 2018, but I don't know                21 talking to Gregg about the possibility.
22 exactly when.                                             22      Q. The possibility of what?
23      Q. Okay. And would that have been at or              23      A. Of firing Lisa.
24 about the time you had that -- the meeting with           24      Q. Okay. So who revealed that to you?
25 Daniel Pipes?                                             25 Matt Bennett?

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 1       A. I don't remember exactly which one of         1      the same thing.
 2 them it was first. I know they had all talked about    2 BY MR. GOLD:
 3 it -- the conversation happening, but I don't          3      Q. What --
 4 remember who told me first.                            4           MR. CARSON: Just clarify.
 5       Q. Okay. So somebody told you that Gregg         5           THE WITNESS: Talk about it to me?
 6 had had a conversation with Marnie about terminating   6 BY MR. GOLD:
 7 Lisa sometime in the fall of 2018, correct?            7      Q. Yeah, what -- let me just -- what I
 8       A. Not that he had a conversation with her       8 understood you to say, and I'm not saying -- I may
 9 about firing, that he had been asking Marnie to watch  9 have misheard you, but -- misinterpreted what you
10 her and write things down if he thought -- if she was 10 said, but first said there was a conversation with
11 doing anything wrong, he wanted her to -- or write    11 Matt, Marnie, Lisa, and -- about Marnie keeping
12 down everything that Lisa was doing throughout the    12 surveillance on Lisa --
13 day so that he could find a reason to fire her.       13      A. The conversation -- the only
14       Q. And, again, that's based on -- who told      14 conversation I mentioned was the conversation --
15 you that?                                             15 sorry to interrupt. Should I let you finish
16       A. I don't know who it was that told me         16 before --
17 first. I know that Matt, Marnie, and Lisa had all     17      Q. Go ahead.
18 talked about it.                                      18      A. -- clarifying?
19       Q. Okay. And, in fact, she was never            19           The only conversation I mentioned was
20 terminated, correct?                                  20 the one that I know of that happened when Marnie,
21       A. Correct.                                     21 Stacy, and Matt were in our conference room talking
22       Q. And do you know of any such notes that       22 about the possibility of firing Lisa. The other
23 Marnie wrote down about any surveillance of Lisa      23 things were like one-on-one conversations where
24 Barbounis's activity at MEF?                          24 Marnie had told me -- or Marnie had told Lisa and I
25       A. I don't know.                                25 together I think, about Gregg instructing her to find
                                                 Page 109                                                     Page 111
 1      Q. So when you -- so were you present for           1 reasons to get her fired, and Matt was a singular
 2 this conversation between Marnie, Lisa, and Matt         2 conversation where he confirmed that -- where he was
 3 Bennett?                                                 3 telling me that Marnie had told him the same thing.
 4      A. I was -- I don't know if they had a              4      Q.     And when did those conversations take
 5 conversation the three of them together. I know that     5 place?    Fall of 2018?
 6 Marnie had talked about it to Lisa and I, I know Matt     6      A. Yes, I believe so.
 7 had talked about it happening to me, but I don't know     7      Q. Are we talking September? October?
 8 if they had the three of them a conversation              8 November?
 9 together.                                                 9      A. I'm not sure exactly when it was.
10      Q. Someone told you that Marnie was                 10      Q. So when you heard this news that Gregg
11 instructed to take notes about you and see if there      11 and Marnie I guess were scheming to get you fired did
12 was a reason to terminate you as well?                   12 you report that to Daniel Pipes?
13      A. No.                                              13      A. Well, it was about Lisa, not me.
14      Q. Well, you says about me. What did you            14      Q. I thought you just said that she was
15 --                                                       15 also instructed to keep tabs on you.
16      A. Not that I knew of.                              16      A. No, no one told me that.
17      Q. What did you mean by about me?                   17      Q. Well, you just said that.
18      A. I don't know what you're referring to.           18      A. No.
19      Q. You just said it was about me. That's            19      Q. It's the same place we were before.
20 what I heard.                                            20 You said there were conversations between Matt and
21      A. No, I don't think I did.                         21 Marnie where they were going to -- she was instructed
22      Q. Okay.                                            22 by Gregg to build a tab on Lisa to possibly get her
23           MR. CARSON: I actually heard                   23 fired, then you said there's a second conversation
24      that, too, Patricia, maybe we just                  24 where you were the target of some surveillance by
25      misunderstood what you said. I heard                25 Marnie.

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 1      A. No, I never talked about a second                1
                                                                    Q. And you weren't fired, you left on your
 2 conversation.                                             2
                                                               own volition, correct?
 3      Q. So Gregg was not trying to get you                3
                                                                         MR. CARSON: Objection.
 4 fired, correct?                                           4
                                                                         THE WITNESS: I did leave because
 5      A. I mean, at that time not that I knew.             5
                                                                    of the way I felt, yes.
 6      Q. Okay. So -- and, again --                         6
                                                               BY MR. GOLD:
 7      A. I knew he kept tabs on everybody,                 7
                                                                    Q. And you had a job before you left MEF,
 8 but --                                                    8
                                                               correct?
 9      Q. Well, how do you know that?                       9
                                                                    A. I did, yes, I made sure of that.
10      A. -- that was --                                   10
                                                                    Q. You were looking for a job while you
11      Q. How do you know?                                 11
                                                               were working at MEF, correct?
12      A. -- he would even -- he would even tell           12
                                                                    A. Yes, because it was a place I couldn't
13 me that he would look to see when people got in and      13
                                                               work anymore.
14 when they left and count how many times they went to     14
                                                                    Q. Okay. So where are you working now?
15 the bathroom and --                                      15
                                                                    A. Russell Reynolds.
16      Q. What's so --                                     16
                                                                    Q. And where were you working when you
17      A. -- stuff like that.                              17
                                                               left MEF?
18      Q. What's so nefarious about that? I                18
                                                                    A. The same place.
19 mean, you were working there. If people are --           19
                                                                    Q. And does Neal Goldstein work at that
20 wouldn't you want to know where people are, if           20
                                                               place as well?
21 they're not in the office?                               21
                                                                    A. Who?
22      A. But we -- one, we had flex hours, so it          22
                                                                    Q. Who is your fiance?
23 wasn't a 9 to 5 job, it shouldn't have mattered, as      23
                                                                    A. No, he does not.
24 long as you --                                           24
                                                                    Q. You know who Neal Goldstein is, right?
25      Q. Well --                                          25
                                                                    A. No, Neal Weinstein is my fiance.
                                                 Page 113                                                       Page 115
 1      A. -- did your work and got your time in,         1       Q. Neal Weinstein. Okay. I get -- I
 2 and, two, he would tell me that he would judge people 2 always get the names wrong. So does Neal Weinstein
 3 on if they were the first to leave in the day.         3 work at that place as well?
 4      Q. Let me cut to the chase. Do you know           4       A. No, he does not.
 5 whether Lisa was ever given any written warning or     5       Q. What do you do for that establishment?
 6 placed on probation because she was not in attendance 6        A. I'm a project coordinator.
 7 at work on a given day or had gone to the ladies'      7       Q. So what was your perception in the fall
 8 room on a given day?                                   8 of 2018 in terms of the relationship that Lisa had
 9      A. I don't know if she was or not.                9 with Marnie?
10      Q. Were you ever disciplined for going to        10       A. I mean, it was very tumultuous until
11 the ladies' room or not being the first one in the    11 they started talking to each other about what was
12 office or the first one to leave?                     12 going on.
13      A. I mean, Gregg yelled about it, but --         13       Q. Well, what was going on? I mean, when
14      Q. My question is, were you ever                 14 they started talking to each other about starting a
15 disciplined, were you ever put on probation, put on   15 lawsuit or what is it that was going on?
16 performance improvement plan, given a last chance     16       A. No, I know that they -- there was
17 agreement, told that you'll be fired the next time    17 little trust until they got into a fight in the
18 you go into the ladies' room, did that ever happen to 18 office one day and Gregg had told Lisa to file a
19 you?                                                  19 complaint against Marnie and then separately told
20          MR. CARSON: Objection. Asked and             20 Marnie to do the same thing to Lisa but also told
21      answered.                                        21 Marnie that he didn't know anything about that, and
22 BY MR. GOLD:                                          22 the two of them started talking about what Gregg had
23      Q. Go ahead. Answer.                             23 said and how he had lied to each of them in that way
24      A. No, I was never told outright that I          24 and then they started figuring out how he was playing
25 would be fired -- but I -- no.                        25 each of them, and then the relationship was better.

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 1      Q. Were those actions -- assuming Gregg            1
                                                              BY MR. GOLD:
 2 did that, which I'm not -- I don't know whether          2
                                                                   Q. Do you know if --
 3 that's truthful or not. Even if he had, you would        3
                                                                        MR. CARSON: There's no question
 4 agree that wasn't sex discrimination, correct?           4
                                                                   that's pending.
 5           MR. CARSON: Objection.                         5
                                                              BY MR. GOLD:
 6           You can answer.                                6
                                                                   Q. -- anybody -- was anybody at MEF ever
 7           THE WITNESS: I don't know why he               7
                                                              fired for complaining about Gregg Roman?
 8      was doing it.                                       8
                                                                   A. Not while I was there, but we were told
 9 BY MR. GOLD:                                             9
                                                              -- we were made to believe that the threat was there
10      Q. Okay. Did you ask him?                          10
                                                              and because of the things he said and told us and --
11      A. No.                                             11
                                                                   Q. Okay. So the answer is no --
12      Q. Well, did you bring these issues up             12
                                                                   A. -- he told us --
13 when you met with Daniel Pipes in November of 2018?     13
                                                                   Q. -- correct? During your tenure at --
14      A. I didn't bring up the fight between             14
                                                                        MR. CARSON: Objection.
15 Lisa and Marnie. That was theirs, it wasn't mine.       15
                                                              BY MR. GOLD:
16      Q. Okay. And you could have brought it up          16
                                                                   Q. During your tenure at MEF was anyone
17 if you wanted to, correct?                              17
                                                              ever fired because of a complaint they made about
18      A. Yes, but I knew that they were talking          18
                                                              Gregg Roman?
19 to him about it.                                        19
                                                                   A. No.
20      Q. You knew they were talking to Daniel            20
                                                                   Q. Now, when did you tell Marnie about
21 Pipes about it?                                         21
                                                              Matt?
22      A. Yes.                                            22
                                                                   A. I don't remember exactly when it was.
23      Q. Okay. And do you know when those                23
                                                                   Q. It would have been -- would not have
24 conversations took place?                               24
                                                              been in the fall of 2018, would have been later?
25      A. The beginning of November 2018. I               25
                                                                   A. I told her something about a
                                                Page 117                                                   Page 119
 1 don't know the exact date.                              1 conversation, an uncomfortable conversation that had
 2      Q.    Okay. Now, Marnie as I understand it         2 happened in the winter of 2018 I remember.
 3 -- was she the head of HR?                              3     Q. Okay.
 4      A. Correct.                                        4     A. And then everything would have been
 5      Q. Did Marnie ever -- best of your                5 later after that.
 6 knowledge did -- did you ever go to Marnie to          6      Q. Would that have occurred sometime in
 7 complain about anything that was happening in the      7 March of 2018?
 8 workplace since she was HR?                            8      A. March -- no.
 9      A. I told her a few things that had               9      Q. I'm sorry, March of 2019.
10 happened with Matt later on, but, again, for a good   10      A. Would what have happened in March of --
11 portion of the beginning Matt -- we thought Matt was 11       Q. When you went to -- when you went to
12 our friend and he was telling us not to trust her and 12 Marnie to complain about Matt.
13 that it wasn't a true HR, that she wouldn't use       13      A. I told you -- I mentioned something in
14 anything we told her to help us, that she would just  14 December of 2018.
15 help Gregg to get us fired.                           15      Q. And what about thereafter?
16      Q. Nobody got fired, though, so what are         16      A. I don't think I said anything until
17 you talking about?                                    17 after he had left because nothing -- nothing
18           MR. CARSON: Objection.                      18 happened.
19 BY MR. GOLD:                                          19      Q. Okay. He left in March of 2019?
20      Q. It seems like a lot of the -- it seems        20      A. Yes.
21 like you -- you seem to have interpreted a lot of     21      Q. And you were at his going away party at
22 things that Gregg did or perhaps others did there as  22 the Continental, correct?
23 being calculated to get someone fired. Nobody was     23      A. We went to lunch, yes.
24 ever fired.                                           24      Q. Well, didn't you invite Matt to the
25           MR. CARSON: Objection.                      25 Continental for the going away party?

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 1      A. It wasn't a going away party, it was a           1 BY MR. GOLD:
 2 last lunch, and I don't know who invited -- who came     2     Q.    While we're waiting, during that time
 3 up with the idea or --                                   3 period of November 2018 did Marnie ever complain to
 4      Q. Last lunch for who?                              4 you about Gregg Roman?
 5      A. For Matt.                                        5     A. I don't remember.
 6      Q. Okay. So instead of a going away                 6     Q. Did Lisa ever share with you her
 7 party, it was a last lunch party, right?                 7 thoughts about Marnie's relationship with Gregg in
 8      A. It wasn't exactly a party, it was just           8 November 2018?
 9 a lunch.                                                 9     A. In November of 2018?
10      Q. Well, didn't you ask Matt about getting         10     Q. Yeah.
11 a job at the -- at ZOA?                                 11     A. I don't think so.
12      A. I did not, no.                                  12     Q. Was there a point in time when Lisa did
13      Q. You did not.                                    13 share her thoughts about Marnie's relationship with
14           MR. GOLD: Could you put up                    14 Gregg?
15      Exhibit 65 for me, Matt?                           15     A. Just that they were -- in the beginning
16           MR. MAINEN: Yeah, sure, it's                  16 anyway that they were close and --
17      going to take about 30 seconds to get              17     Q. Well, Gregg was the director and Marnie
18      that up, so --                                     18 was the head of HR, correct?
19           MR. GOLD: Okay. That's fine.                  19     A. Correct.
20           MR. MAINEN: I'll do that now.                 20     Q. So what you mean by close, I mean, they
21           MR. GOLD: Okay. Great.                        21 were coworkers?
22           And if the witness needs to take a            22     A. That they were very friendly.
23      break, just let me know. I'm not trying            23     Q. Okay. They were what friendly?
24      to -- you have a right to take a break             24     A. I'm sorry, what was that?
25      if you need a break.                               25     Q. You said friendly, what was the word
                                                Page 121                                                         Page 123
 1                                                          1 before friendly, I couldn't hear that.
              THE WITNESS: Okay.
 2                                                          2      A. Very friendly.
              MR. CARSON: Sidney, just to let
 3                                                          3      Q. Very friendly. Okay. Very friendly in
         you know, Patricia is actually eight
 4                                                          4 terms of socializing together or very friendly in
         months pregnant right now.
 5                                                          5 terms of work?
              MR. GOLD: Oh, really? Great.
 6                                                          6      A. Work and a kinship outside of work I
         Congratulations. I hope everything is
 7                                                          7 think.
         working out well.
 8                                                          8      Q. What do you know about their
              THE WITNESS: Thank you.
 9                                                          9 relationship outside of work?
              MR. GOLD: Girl or boy, don't you
10                                                         10      A. I don't know much about their
         know yet?
11                                                         11 relationship outside of work.
              THE WITNESS: It's a girl.
12                                                         12      Q. So why did you just say they had a
              MR. GOLD: You're lucky. Although
13                                                         13 relationship outside of work?
         they say boys love their moms more than
14                                                         14      A. I think -- well, Matt told us anyway
         their dads. I can attest to that. And
15                                                         15 for a long time in the beginning that Marnie and
         I think Seth can, too.
16                                                         16 Gregg were close friends and that anything that was
              MR. CARSON: I probably can, yeah.
17                                                         17 said to Marnie would really just go straight to
         Me and my mother are pretty close.
18                                                         18 Gregg.
              MR. GOLD: Are you in your eighth
19                                                         19      Q. And that's Matt again. Did he give you
         month, I take it, or nine -- down to the
20                                                         20 any examples of that when he made that statement?
         wire or --
21                                                         21      A. I don't remember.
              THE WITNESS: I'm eight months.
22                                                         22      Q. All right. Let's go now to 65. Why
              MR. GOLD: Okay. Great.
23                                                         23 don't you read the various -- the text message
              MR. MAINEN: All right. I'll be
24                                                         24 exchange and -- just so you know, this -- I believe
         sharing my screen now of Exhibit 65.
25                                                         25 these text messages were exchanged at the Continental
              MR. GOLD: Thank you.
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 1
   during that last luncheon for Matt. I'm sorry, it 1        Q. Okay. And from what I gather from this
 2                                                    2 text -- these text messages, I guess -- not to make
   was after the luncheon with Matt.
 3                                                    3 it into a primary fight, was she running against
       A. Okay.
 4                                                    4 Marnie for that position so to speak?
            MR. GOLD: Do you want to scroll
 5                                                    5       A. It was -- it could have been any one of
       down, Matt?
 6                                                    6 us.
            THE WITNESS: Okay.
 7                                                    7       Q. Okay. Well, did Marnie expect to be
            MR. GOLD: Okay. Scroll down. Is
 8                                                    8 the person so designated?
       that it? Keep going.
 9                                                    9       A. I'm not sure if -- I guess reading from
            THE WITNESS: Okay.
10                                                   10 those she expected to be, reading from what she
            MR. GOLD: Is that it, Matt? No.
11                                                   11 mentioned to Lisa, but I didn't know that at the
       Keep going.
12
            THE WITNESS: Okay. The yellow -- 12 time.
13                                                   13       Q. Why wasn't Marnie at that luncheon, if
       sorry. Are we just going to the yellow
14                                                   14 you know?
       or keep going?
15                                                   15       A. I don't know.
   BY MR. GOLD:
16
       Q. And, by the way, which is your phone 16             Q. If you look at the yellow entry, it
17                                                   17 looks like you said: Whatever, Matt told me
   number there, Ms. McNulty?
18                                                   18 yesterday was shit talking up a storm when they were
       A. The one ending in 1968.
19                                                   19 in their offices with the door closed. Telling
       Q. Okay.
20                                                   20 Daniel that it's like an episode of survival in the
       A. Okay.
21                                                   21 office --
            Okay.
22                                                   22           I guess you meant Survivor, right?
            MR. MAINEN: Hey, Sid, that
23                                                   23       A.    Yes.
       concludes the messages on March 8th.
24                                                   24       Q. -- and we're all walking around trying
            MR. GOLD: Okay.
25                                                   25 not to make eye contact with her --
   BY MR. GOLD:
                                                  Page 125                                                        Page 127
 1      Q. So, Ms. McNulty, I had suggested that             1            I guess meaning Marnie, correct?
 2 this -- the text messages were exchanged after the         2      A. Yes.
 3 luncheon at the Continental. I want to be clear, I         3      Q. -- because we all know we did wrong
 4 don't want to suggest that, but do you have any            4 "voting against her."
 5 recollection as to whether it was before or after the      5           Could you tell me what you meant by
 6 luncheon?                                                  6 that text message?
 7      A. I think it was after.                              7      A. It was just what Matt had told me.
 8      Q. Okay. And who was attendance at that               8      Q. And -- I'm not sure I understand. Can
 9 particular -- at the luncheon?                             9 you tell me what you understood that -- what Matt
10      A. I think it was Matt, Lisa, myself,                10 said to you?
11 Caitriona, and Delaney.                                   11      A. I was only repeating what he had told
12      Q. And Marnie was not present?                       12 me that he heard through the wall from Daniel --
13      A. I don't think so.                                 13 Daniel's office in a conversation with Daniel and
14      Q. There is some discussion here about a             14 Marnie that she was upset about the office dynamics
15 vote that was taken. Do you have a recollection           15 at the moment.
16 about that?                                               16      Q. So at least until March of 2019 this
17      A. Yes.                                              17 tension that had existed between Lisa and Marnie
18      Q. Tell me about that, please.                       18 seems to still be pretty intense in March of 2019;
19      A. Daniel wanted to appoint somebody as              19 would that be accurate?
20 head of the office with Matt gone, and he asked us --     20      A. It looked like it was then, yes.
21 he said he didn't want to make the decision himself,      21      Q. And when you say someone to be head of
22 and so he asked us each to vote for someone               22 the office, were you talking about someone who would
23 anonymously and let him know our choice.                  23 be a point person of sorts between the employees and
24      Q. And who was that?                                 24 Daniel Pipes?
25      A. Lisa was voted.                                   25      A. He didn't end up appointing anyone in
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 1                                                        1 back or called him in response to a message. I don't
   the end, he just took it all back, so I'm -- we never
 2                                                        2 remember.
   actually knew what the exact details of what the
 3
   person would do, if it was just kind of managing the 3        Q. Okay. But then you remember speaking
 4                                                        4 with him in -- after September 2019?
   office and the people in there or if it was reporting
 5                                                        5      A. No.
   back to him, I'm not sure.
 6                                                        6      Q. Well, you just -- you said you spoke to
         Q. Let me understand this then. You had
 7                                                        7 him after September -- after you left.
   this election, you went to the Continental, Lisa was
 8
   chosen over Marnie, and then you're saying it was -- 8        A. No, after he left. Not after I left.
 9                                                        9      Q. After Matt -- okay. So you don't
   it never happened?
10                                                       10 recall having any conversations with Matt after he
         A. It never happened.
11                                                       11 left up until the point in time when you left,
         Q. And how do you know that?
12                                                       12 correct?
         A. Because Daniel told us that he wasn't
13                                                       13      A. No, I do remember having conversations
   going to select anybody.
14                                                       14 with him after he left.
         Q. Okay. And at that point is that when
15                                                       15      Q. Okay. What did he tell you --
   -- if I'm not mistaken, according to my time line,
16                                                       16      A. Not after I left.
   Gregg was invited back to the office, correct?
17                                                       17      Q. I'm sorry. I misunderstood. Apology.
         A. It was in March of 2019. I don't know
18                                                       18          What did he tell you in those
   exactly when it was.
19                                                       19 conversations?
         Q. Well, when did --
20                                                       20      A. There was a conversation where he told
         A. Yeah, I think it was around the same.
21                                                       21 me about Gregg calling him and being upset about
         Q. It looks like this text message is
22                                                       22 another accusation being made against him in the
   dated March 8th, 2019.
23                                                       23 office, and they were trying to figure out what the
         A. It was around the same time that Matt
24                                                       24 accusation could have been or who it was made by, and
   left, so, yes, I guess.
25                                                       25 there was a conversation that I remember where he
         Q. Okay. So Matt left, and do you know
                                                 Page 129                                                      Page 131
 1 why Matt left?                                           1
                                                            called me to tell me he had heard somebody had
 2      A. He took another job.                           2
                                                            returned back, had been hired back, and that he had
 3      Q. And you have no recollection of asking         3
                                                            also heard that the -- that they were going to hire
 4 Matt whether there was a position for you in that      4
                                                            for a new director of development, his old position,
 5 other job, correct?                                    5
                                                            and that that job description was being made.
 6      A. I do not, no.                                  6
                                                                 Q. And if I'm not mistaken, that was a
 7      Q. Did you have any conversations with            7
                                                            position that you had wanted, correct?
 8 Matt after he left MEF?                                8
                                                                 A. At that time, correct.
 9      A. Yes.                                           9
                                                                 Q. You were the acting director?
10      Q. When?                                         10
                                                                 A. Correct, at that time.
11      A. I don't know exactly when. I know he          11
                                                                 Q. And who was it that was hired back, do
12 had called me a few times after he left to tell me    12
                                                            you know?
13 things that were happening at MEF that he found out   13
                                                                 A. It was Gary. I can't think of his last
14 about through Gregg.                                  14
                                                            name right now.
15      Q. When was that conversation?                   15
                                                                 Q. Was he hired before you had left?
16      A. I don't know exactly when they were.          16
                                                                 A. Yes.
17      Q. Would it have been before you left MEF?       17
                                                                 Q. Okay. And how did you feel about that?
18      A. Yes.                                          18
                                                                 A. I didn't -- about him being hired back?
19      Q. Okay. And you left when?                      19
                                                                 Q. Yeah, about Gary getting the job versus
20      A. September of 2019.                            20
                                                            you.
21      Q. So from the point in time March until         21
                                                                 A. No, he didn't get that job, he was just
22 September did you place any phone calls to Matt after 22
                                                            hired back to MEF.
23 he left?                                              23
                                                                 Q. So no one became the -- what -- the
24      A. I don't remember. I know he called me         24
                                                            director of development before you left.
25 a few times. I don't remember if I ever called him    25
                                                                 A. No, they were -- they were actively
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 1 looking to hire but not -- no one was hired before I       1       Q. Okay. And isn't it true that there
 2 left.                                                       2 were tensions between Marnie and Lisa during the time
 3         Q.   Okay. And did you apply for that job           3 when Gregg Roman was out of the office between March
 4 as well?                                                    4 of 2019 -- I'm sorry, between November of 2018 and
 5      A. I did.                                              5 March of 2019?
 6      Q. So we're up to March of 2019 where this             6      A. I don't know when exactly their
 7 relationship between Marnie and Lisa at best appears        7 tensions were --
 8 to be somewhat strained, and I think you testified          8      Q. Do you have any recollection -- do you
 9 that at some point their relationship took a turn for       9 have any idea what the relationship was between Lisa
10 the better. Do you know when that was?                     10 and Marnie during that time period of November 2018
11      A. I mean, they had a good relationship               11 and March 2019?
12 before this argument about the office point and they       12      A. I don't remember.
13 were fine afterwards, too, as far as I know.               13      Q. Were there any -- you say you can't
14      Q. Okay. So even though I believe in this             14 remember -- you don't remember when their -- when
15 -- these text messages there is evidence that Marnie       15 they had these tensions or -- what is it you don't
16 was quite angry that she wasn't selected for that          16 remember?
17 position and Lisa was, you're telling me the               17      A. Yeah, I don't remember when they had
18 relationship between them was still quite good?            18 their tensions. I mean, they were short-lived, but I
19      A. Yeah, didn't -- they didn't stay upset             19 don't remember when they were.
20 with each other for very long. Especially since --         20      Q. Based on your observations, what do you
21      Q. Now, Gregg Roman was out of the office             21 think the problem was between Marnie and Lisa, if you
22 between November 2018 and March 2019, correct?             22 know?
23      A. Correct.                                           23      A. I don't know.
24      Q. And at that juncture he was no longer              24           MR. GOLD: Okay. Let's go back to
25 in a supervisory role, correct?                            25      exhibit -- let's go to Exhibit 4.
                                                   Page 133                                                        Page 135
 1       A. He was still in a senior position but         1
                                                            BY MR. GOLD:
 2 not in a I guess you could say supervisory role, even  2
                                                                 Q. I mean, Lisa -- one thing we do know
 3 though --                                              3
                                                            that as of February 2018 Lisa said I had it with
 4       Q. He was not in a --                            4
                                                            Marnie and I don't trust her. You recall that,
 5       A. -- he did still supervise our work.           5
                                                            correct?
 6       Q. Okay. He was not in a supervisory             6
                                                                 A. I don't remember if that was the date,
 7 role, correct?                                         7
                                                            but I remember --
 8             THE COURT REPORTER: I apologize.           8
                                                                 Q. That's the date of the text message
 9       I didn't hear the end of that answer.            9
                                                            that I just showed you, Exhibit 3.
10             MR. GOLD: I'm sorry. Go ahead.            10
                                                                 A. Weren't we just looking at text
11             THE WITNESS: Where I said he              11
                                                            messages from March?
12       still supervised our work?                      12
                                                                 Q. We're now moving back to Exhibit 3.
13 BY MR. GOLD:                                          13
                                                                      MR. GOLD: Could you put that on
14       Q. You're saying what -- during the period      14
                                                                 the board?
15 of November 2018 to March of 2019 he was supervising 15
                                                                      THE WITNESS: I don't remember the
16 your work?                                            16
                                                                 date that --
17       A. Yes, he was telling us what we needed        17
                                                                      MR. GOLD: Yeah, let's put that --
18 to do, when we needed to do it by, if he needed -- if 18
                                                                 yeah, we're off the one from the
19 it -- we needed to do more, if it wasn't done well or 19
                                                                 Continental, now we're back to the one
20 needed to be done again, he was still telling us all  20
                                                                 from Exhibit 3 from February 2nd, 2018.
21 those things, yes.                                    21
                                                                      Are you there, Matt?
22       Q. He was not in the office, though,            22
                                                                      MR. MAINEN: Yeah, I'm putting it
23 correct?                                              23
                                                                 up right now.
24       A. He was not in the office during that         24
                                                                      MR. GOLD: All right.
25 time, no.                                             25
                                                            BY MR. GOLD:
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 1      Q. And do you see the date of that --                1           She says: I have a bad habit of taking
 2 these text messages, they were February 1st, 2018?        2 things as a direct assault.
 3      A. Uh-huh.                                           3           You respond: Yeah, I know the feeling,
 4      Q. February 2nd, 2018. Lisa says: I've               4 but I would just take --
 5 had it with Marnie. I do not trust her. I told her        5       A. Yeah, about taking things as a direct
 6 about the thing with Gregg and she went right to Matt     6 assault, not about being paranoid.
 7 to see if he knew. Like why talk about it? I              7       Q. Well, direct -- well -- okay. Talking
 8 fucking told you it happened. But I can't say             8 to Marnie -- I think she -- she conceded that she
 9 anything because it would throw Matt under the bus.       9 thought her relationship with Marnie there were some
10           Why was she even -- do you know why she        10 -- any actions Marnie took against her was a direct
11 was concerned about throwing Matt under the bus?         11 assault. Would you agree with that?
12      A. I mean, at that time we thought Matt             12       A. I don't think Marnie took any actions
13 was our biggest advocate, always looking out for us      13 against her.
14 and --                                                   14       Q. Well, you say: I know the feeling.
15      Q. Well, if that's true, then why would             15           What were you -- what were you
16 you -- why would she be talking about throwing Matt      16 referring to?
17 under the bus because he went right to -- rather,        17       A. About taking things as a direct result,
18 Marnie went right to Matt?                               18 didn't even have anything to do with work, just that
19           MR. GOLD: Scroll down.                         19 I can relate to that feeling.
20           THE WITNESS: I'm not sure what --              20       Q. You're just talking generally about
21      what the question is.                               21 life in general?
22           MR. GOLD: Yeah.                                22       A. Yeah.
23 BY MR. GOLD:                                             23       Q. Well, you say here: Yeah, I know the
24      Q. Well, she says -- you say to her: Yo.            24 feeling, haha, but I would just take this as a live
25 Agreed. And if you're gonna preach about how HR          25 and learn experience, can't talk about everything
                                                 Page 137                                                      Page 139
 1 works.                                                    1 with everyone and now you have a better idea of where
 2          Lisa says: Exactly.                              2 those boundaries lie there.
 3          And then you say: I will never vent to           3          And then she responds: I don't know
 4 her about work things ever again, I honestly even         4 why this made me think of you.
 5 talk about good, no work talk with her. I feel like       5            MR. GOLD: And then keep going
 6 things get misconstrued or she goes straight to Gregg     6      down. We're now into Exhibit 4. So
 7 with it.                                                  7      let's -- why don't you take a -- put
 8          So it's pretty clear you had a pretty            8      Exhibit 4 up there and let's have her
 9 bad relationship with Marnie as well, or you had lost     9      please read that, the highlighted
10 trust with Marnie, correct?                              10      portion.
11      A. Yes, at that time, Matt was telling us           11            THE WITNESS: Okay.
12 --                                                       12            MR. GOLD: Keep going. Is that
13      Q. And you began to lose trust with Matt,           13      the end of it?
14 right?                                                   14            THE WITNESS: Okay.
15      A. Much later, yeah.                                15 BY MR. GOLD:
16          MR. GOLD: Scroll down.                          16      Q. So do you recall the context in which
17 BY MR. GOLD:                                             17 this conversation took place back in February of
18      Q. And you say -- she said to you: I have           18 2018?
19 a bad habit of taking things as a direct assault.        19      A. That's when Lisa found out that Marnie
20          Would you agree that Lisa was a little          20 was being instructed to watch her and take notes on
21 bit paranoid about Marnie?                               21 her.
22      A. I don't know if she was paranoid about           22      Q. Well, you're the one who say, well,
23 Marnie. I don't know.                                    23 she's like your babysitter, correct?
24      Q. Do you know what she means by -- well,           24      A. I questioned. That's a question.
25 you say: Yeah, I know the feeling.                       25      Q. Why did you say that?
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 1     A. Because that's not normal workplace                     1 and the same thing would happen to us and everybody
 2 environmental action.                                          2 would just defend Gregg and --
 3     Q. So why didn't you go make a complaint                   3      Q.   Tiffany Lee filed a complaint with the
 4 to Daniel Pipes?                                               4 Pennsylvania Commission, she had a lawyer, and she
 5     A. We had been told a lot of things in the                 5 withdrew the case.   So have you had any conversations
 6 beginning about complaining to different people, one           6 with Tiffany Lee within the last two, three years?
 7 we were told not to talk to Daniel at all.                     7          MR. CARSON: Objection. What you
 8     Q. Who told you that? Who told you that?                   8     said is absolutely false, but you can
 9     A. Gregg had told us that.                                  9    continue --
10     Q. When?                                                   10         MR. GOLD: That is true. She
11     A. Within the first month of working                       11    withdrew her claim. She didn't get a
12 there. That everything was to go through --                    12    nickel.
13     Q. And how did that come about?                            13         MR. CARSON: Not true.
14     A. He just told us flat out that we should                 14         MR. GOLD: It is true. Call Kevin
15 never be talking to Daniel or e-mailing Daniel                 15    Lovitz. You'll find out.
16 without, one, at minimum he should be cc'd if it was           16 BY MR. GOLD:
17 an e-mail, and that he was the boss. I mean, I think           17    Q. So tell me --
18 we've talked about all this before, but that -- that           18         MR. CARSON: Yeah --
19 he was the head honcho and that nothing was to go              19 BY MR. GOLD:
20 above him.                                                     20    Q. -- what -- what is it -- what is it you
21     Q. But eventually in November you did have                 21 know --
22 conversations with Daniel Pipes, correct?                      22         MR. CARSON: -- I know exactly
23     A. Correct.                                                23    what happened because --
24     Q. So you -- whatever may have been said,                  24         MR. GOLD: You were probably --
25 you did it anyway in November 2018, you met with               25         MR. CARSON: -- our firm
                                                       Page 141                                                        Page 143
 1 Daniel Pipes.                                                  1
                                                                         represented her --
 2      A.    He came to my office, which is how the              2
                                                                              MR. GOLD: -- representing her --
 3 first time I told him about any of this, yes.                  3
                                                                              THE COURT REPORTER: I can't hear
 4      Q.    Well, instead of -- did you ever go to              4
                                                                         anybody. I can't hear anybody.
 5 Marnie and complain as -- since she was the head of            5
                                                                              MR. GOLD: Seth, were you
 6 HR if you had any complaints?                                  6
                                                                         representing Tiffany Lee?
 7      A. Again, like the -- like you're showing         7
                                                                              MR. CARSON: Our firm did.
 8 in these text messages, we were told that -- by Matt,  8
                                                                              MR. GOLD: Okay. What did she
 9 again, that HR just tells exactly what happens to      9
                                                                         recover?
10 everyone.                                             10
                                                                              MR. CARSON: I don't think that's
11      Q. You could have taken a pad of paper and       11
                                                                         the point. She never withdrew any
12 written a complaint to anybody you wanted, you could 12
                                                                         claims.
13 have written it to Matt, correct?                     13
                                                                              MR. GOLD: She filed a complaint
14      A. Matt had also told us about what had          14
                                                                         with the commission. That's true,
15 happened to Tiffany Lee and had warned us against -- 15
                                                                         correct?
16      Q. What year was that?                           16
                                                                              MR. CARSON: She filed with the
17      A. That he told me or that Tiffany Lee --        17
                                                                         EEOC, she filed --
18      Q. No, when was Tiffany Lee working for          18
                                                                              MR. GOLD: Right?
19 MEF?                                                  19
                                                                              MR. CARSON: -- a right to sue
20      A. I don't know the exact dates. I know          20
                                                                         letter and decided not to pursue claims
21 it was -- that's how he got his job position, because 21
                                                                         in federal court. That is not
22 he took over for her when she left.                   22
                                                                         withdrawing claims.
23      Q. Yeah.                                         23
                                                                              MR. GOLD: So did she ever pursue
24      A. But he had warned us that she had             24
                                                                         a claim ever beyond that?
25 complained and everyone was told to lie against her   25
                                                                              MR. CARSON: It's my understanding
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 1     that she decided not to pursue the                    1
                                                                           THE WITNESS: He had told me
 2     claims in federal court, and I have no                 2
                                                                      exactly how lawyers had come in and
 3     idea why --                                            3
                                                                      talked to him and he was instructed to
 4           MR. GOLD: Okay. Let's come back                  4
                                                                      lie about it and that everyone else
 5     --                                                     5
                                                                      would do the same and it was -- that
 6 BY MR. GOLD:                                               6
                                                                      there was no point and I would be the
 7     Q. When did you --                                     7
                                                                      one to leave in the end if I said
 8           MR. CARSON: She never withdrew                   8
                                                                      anything, so, yeah, it was very
 9     anything. She never --                                 9
                                                                      daunting.
10 BY MR. GOLD:                                              10
                                                                BY MR. GOLD:
11     Q. Ms. McNulty, when was the last time --             11
                                                                      Q. Did he identify the lawyers who told
12 did you ever have a conversation with Tiffany Lee in      12
                                                                him to lie?
13 your lifetime?                                            13
                                                                      A. He didn't, no.
14     A. No, I haven't.                                     14
                                                                      Q. Why didn't you ask him?
15           THE COURT REPORTER: Excuse me. I                15
                                                                      A. What the lawyers' names were?
16     didn't -- did you ever have a                         16
                                                                      Q. Yeah, who asked you to lie.
17     conversation with Tiffany Lee -- what                 17
                                                                      A. I mean, this was in the -- within the
18     was the end of it?                                    18
                                                                first three months of me working there. I was just
19           MR. GOLD: In her life -- in your                19
                                                                scared out of my mind when he told me this story.
20     lifetime.                                             20
                                                                      Q. Why didn't you just quit?
21           THE COURT REPORTER: And what was                21
                                                                      A. Because I loved the job.
22     the answer?                                           22
                                                                      Q. You loved the job even though you were
23           MR. GOLD: No.                                   23
                                                                told never talk to Daniel Pipes, never talk to Gregg
24           THE WITNESS: No.                                24
                                                                Roman, never talk to Marnie, because you would be
25 BY MR. GOLD:                                              25
                                                                terminated if you talked to any about any of the
                                                  Page 145                                                        Page 147
 1      Q. So the only thing you know about                  1 problems you had at MEF, correct?
 2 Tiffany Lee is what Matt Bennett may have told you,       2       A. Correct.
 3 correct?                                                  3       Q. But then in November Daniel Pipes came
 4      A. Correct.                                           4 to your office as you so testified and you told him
 5      Q. And based on what Matt Bennett told                5 everything that was bothering you, correct?
 6 you, you felt you couldn't talk to Daniel Pipes, you       6      A. I didn't tell him everything that
 7 couldn't talk to Marnie O'Brien, you couldn't talk to      7 bothered me that first initial meeting, no.
 8 Gregg Roman; is that accurate?                             8      Q. When did you finally tell him
 9          MR. CARSON: Objection. That's                     9 everything? In the second meeting?
10      not what her testimony was, but you can              10      A. I told him a lot of what was going on
11      answer.                                              11 with Gregg --
12          THE WITNESS: He warned me against                12      Q. Did you tell him that Matt Bennett --
13      complaining about anything for that                  13 did you tell him what Matt Bennett had told you?
14      reason, about making any formal                      14      A. About Tiffany Lee?
15      complaints.                                          15      Q. Yeah, about -- that lawyers will come
16 BY MR. GOLD:                                              16 into the office, they'll tell you to lie, there's no
17      Q. And is that what inhibited -- what I'm            17 reason to report anything, you're going to get
18 -- Matt Bennett told you these things, that's what        18 terminated, did you tell him about that conversation?
19 caused you not to tell anybody about anything, that       19      A. No.
20 you were working on the assumption that Matt Bennett      20      Q. Why not?
21 told me not to do it therefore I won't do it?             21      A. Because we were telling Daniel what was
22          MR. CARSON: Objection.                           22 happening then, so it didn't seem to apply.
23          THE WITNESS: Well --                             23      Q. Okay. So -- well, things you were
24          MR. CARSON: Object to the form.                  24 talking about, some of them occurred back in March of
25          You can answer.                                  25 2018, and this is now seven or eight months later.

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 1                                                        1
   Did Daniel ever ask you why you waited so long to              Mr. Gold, just so you know, I don't know
 2                                                         2
   make the report?                                               if I got your full question before that.
 3                                                         3
        A. No, he never asked.                                          MR. GOLD: Yeah. My question --
 4                                                         4
        Q. Did you ever tell him why you waited so                read back what I had said -- oh, I think
 5                                                         5
   long to make the report?                                       we're talking about, quote, Gregg's
 6                                                         6
        A. I mean, we told him that -- about the                  management style. Okay?
 7                                                         7
   instructions not to talk to him --                        BY MR. GOLD:
 8                                                         8
             (Brief interruption.)                                Q. So the fact that Gregg had a certain
 9                                                         9
             THE WITNESS: Yes, we did --                     management style that you obviously didn't agree
10                                                        10
   BY MR. GOLD:                                              with, I'm asking you, that didn't constitute sex
11                                                        11
        Q. I'm sorry, I couldn't hear your answer.           discrimination in your mind, correct?
12                                                        12
   Pardon me?                                                           MR. CARSON: Objection. Calls for
13                                                        13
        A. We told him about the instructions not                 a legal conclusion. Assuming facts not
14                                                        14
   to talk to him and the way that Gregg had run the              in evidence.
15                                                        15
   office so that he was the top guy, the head -- that                  You can answer.
16                                                        16
   we weren't -- couldn't go over him.                       BY MR. GOLD:
17                                                        17
        Q. Okay. So that was -- that had to do                    Q. You can answer the question.
18                                                        18
   with Gregg's management style, that wasn't                     A. It just made there -- you feel like
19                                                        19
   discrimination, was it?                                   there was nowhere to -- nobody to tell, nobody --
20                                                        20
             MR. CARSON: Objection.                               Q. But you loved the job anyway, so what
21                                                        21
             THE WITNESS: What?                              are you going to talk about anyway, you said you
22                                                        22
             MR. CARSON: Calls for a legal                   loved it there. So did you tell Daniel Pipes that
23                                                        23
        conclusion.                                          you loved your job --
24                                                        24
   BY MR. GOLD:                                                   A. I didn't love it there, but I liked the
25                                                        25
        Q. The fact that Gregg -- you were told by           --
                                               Page 149                                                       Page 151
 1                                                     1      Q. -- and you loved working --
   Gregg not to talk to anybody above him.
 2                                                     2      A. I did tell him that I loved my job and
            MR. CARSON: Objection.
 3                                                     3 that --
   BY MR. GOLD:
 4                                                     4      Q. Okay.
       Q. That is how he chose --
 5                                                     5      A. -- the mission, but I didn't like the
            MR. CARSON: Calls for a legal
 6                                                     6 working environment, but I put up with it because I
       conclusion.
 7                                                     7 liked the job, I thought it was going to be more for
   BY MR. GOLD:
 8                                                     8 me than it was.
       Q. If that is true, that was his
 9
   prerogative to how he wanted to run the office, he 9       Q. What did you -- how was it going to be
10                                                    10 more than you thought it would be? You thought you
   was the director, correct?
11
            THE COURT REPORTER: Excuse me, 11 were going to become the director of development, is
12                                                    12 that it?
       Mr. Gold, I didn't hear --
13                                                    13      A. Even if I didn't, I thought it would be
            MR. CARSON: Objection.
14                                                    14 a career job -- like a much longer stay there. You
            THE COURT REPORTER: I didn't hear
15                                                    15 know, I was already building the program --
       the question.
16                                                    16      Q. What job --
            MR. CARSON: Calls for legal
17                                                    17      A. -- portion of MEF bigger.
       conclusion. Assuming facts not in
18                                                    18      Q. I'm sorry, what job did you have before
       evidence.
19                                                    19 you came to MEF? I believe you were working for like
            MR. GOLD: Seth, I'm going to ask
20                                                    20 the -- the Hotel Chelsea before you came here; is
       you -- listen, I got no problem with you
21                                                    21 that right?
       objecting, but you got to put it on mute
22                                                    22      A. That wasn't my last employment before
       when your child is acting up, please.
23                                                    23 there. It was at Icon Hospitality. But it was --
       It's making it difficult to hear the
24                                                    24      Q. Okay. How long were you at the Chelsea
       answers.
25                                                    25 Hotel?
            THE COURT REPORTER: Yeah,
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 1                                                        1       Q. Okay. And did Lisa Barbounis like
        A. Five years I think.
 2                                                         2 working at MEF?
        Q. What happened there?
 3                                                         3          MR. CARSON: Objection.
        A. I took another job.
 4                                                         4 BY MR. GOLD:
        Q. At MEF, correct?
 5                                                         5      Q. To the best of your knowledge.
        A. No.
 6                                                         6      A. Parts of it.
        Q. Where were you working --
 7                                                         7      Q. What parts did she like?
        A. Again, Icon Hospitality -- Icon
 8                                                         8      A. She liked the mission as well.
   Hospitality was my last job before.
 9                                                         9      Q. She liked being with Tommy -- liked
        Q. And how long had you worked there?
10                                                        10 going to the UK and hanging out with Danny Tommo?
        A. Two years I think.
11                                                        11          MR. CARSON: Objection. You're
        Q. Okay. Were you thinking of that being
12                                                        12      asking her --
   a lifetime job for you as well?
13                                                        13 BY MR. GOLD:
        A. No, I let them know when I got hired
14                                                        14      Q. Did she like that part?
   that it was not the plan.
15                                                        15          MR. CARSON: You can answer to the
        Q. How about the job at the Chelsea, was
16                                                        16      extent you know what Lisa likes and what
   that going to be a lifetime job as well?
17                                                        17      she doesn't like.
        A. I mean, I was not thinking about it as
18                                                        18          MR. GOLD: Why don't we -- I'll
   much then because I was younger.
19                                                        19      rephrase the question.
        Q. How old were you when you took the job
20                                                        20 BY MR. GOLD:
   at the Chelsea?
21                                                        21      Q. What did she tell you about her
        A. I don't remember exactly how old I was.
22                                                        22 relationship with Danny Tommo while she worked at
        Q. Well, how old were you when you took
23                                                        23 MEF?
   the job at MEF?
24                                                        24      A. They had worked together on a project
        A. I was -- three years ago. Thirty --
25                                                        25 and then later when she was separated they were more
             MR. CARSON: 2017.
                                               Page 153                                                        Page 155
 1           THE WITNESS: 35 I think.                     1
                                                            romantically personally involved, but --
 2 BY MR. GOLD:                                           2
                                                                 Q. What do you mean when she was -- when
 3      Q. Okay. So when you left the job at              3
                                                            was she ever separated from her husband?
 4 Chelsea you were 33 years old, correct?                4
                                                                 A. I don't know exactly when it was.
 5      A. I don't remember the exact dates of my         5
                                                                 Q. Was it while she was working at MEF?
 6 employment -- but I worked at Icon Hospitality before 6
                                                                 A. Yes.
 7 MEF.                                                   7
                                                                 Q. And what exactly did she tell you?
 8      Q. Okay. And you were 33 when you took            8
                                                                 A. About what?
 9 that job, correct?                                     9
                                                                 Q. About their sexual encounters together?
10      A. Correct.                                      10
                                                                 A. I don't remember exactly what she told
11      Q. So now that you became --                     11
                                                            me. I mean, it's -- I don't remember exactly what
12      A. I think.                                      12
                                                            she told me.
13      Q. Now that you reached the ripe old age         13
                                                                 Q. Are you aware of an incident where he
14 of 35 you thought this was going to be a lifetime     14
                                                            had, quote, rough sex with her and had a black eye
15 engagement for you at MEF?                            15
                                                            when she came to work one day?
16      A. It was a job that I liked --                  16
                                                                 A. I'm aware of that incident, yes.
17           MR. CARSON: Objection.                      17
                                                                     MR. CARSON: Objection.
18           THE WITNESS: -- more than what I            18
                                                            BY MR. GOLD:
19      was doing.                                       19
                                                                 Q. What did she tell you about that?
20           MR. GOLD: Okay.                             20
                                                                 A. Just that it happened.
21           THE WITNESS: So that's --                   21
                                                                 Q. Well, didn't she first say she fell in
22 BY MR. GOLD:                                          22
                                                            the shower?
23      Q. Did you ever tell Gregg how much you          23
                                                                 A. Did I think she first fell in the
24 liked working at MEF?                                 24
                                                            shower? No.
25      A. I'm sure I did.                               25
                                                                 Q. Did she ever tell you that she had a
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 1 black eye because she fell in the shower?                1       Q. Did she tell you how that -- who
 2      A. No, she never told me that.                       2 initiated that contact, did she call him or did he
 3      Q. Did she -- what did she -- did she ever           3 call her?
 4 tell you that she had a black eye for some other          4      A. They were working on another rally
 5 reason unrelated to Danny Thomas?                         5 together I believe.
 6      A. I don't remember.                                 6      Q. In the UK?
 7      Q. Okay. So how long did that                        7      A. Correct.
 8 relationship last with Danny Thomas the best of your      8      Q. Now, as I understand it during that
 9 knowledge?                                                9 visit to the UK for that rally MEF paid for half your
10      A. I don't know exactly how long.                   10 plane tickets?
11      Q. Was it -- was she still seeing Danny             11      A. The one that Lisa and I attended.
12 Thomas when you left the organization?                   12      Q. Yeah. And who arranged for that?
13      A. I don't think so.                                13 Gregg?
14      Q. Did you ever go to the UK with her for           14      A. Lisa and Gregg I believe.
15 a rally of sorts?                                        15      Q. Okay. And -- I'll come back to that.
16      A. I did.                                           16            MR. GOLD: Let's go to Exhibit 4.
17      Q. When was that?                                   17            THE COURT REPORTER: Excuse me.
18      A. June of 2018.                                    18      Mr. Carson, do you mind muting, please?
19      Q. Okay. So June of 2018 you went with              19            MR. CARSON: Yeah. Sorry. I
20 her, and was that on MEF business or personal            20      thought I was on mute. Sorry about
21 business, personal pleasure?                             21      that.
22      A. That was for MEF.                                22 BY MR. GOLD:
23      Q. Okay. And where did you stay?                    23      Q. Okay. So I think we've exhausted the
24      A. We stayed in a hotel.                            24 conversations that Lisa had with Matt Bennett where
25      Q. Who paid for the plane tickets?                  25 Bennett told her that Gregg was -- Gregg told Marnie
                                                 Page 157                                                          Page 159
 1       A. MEF paid for half of the plane tickets          1 to watch her.   Did you have any kind of relationship
 2 and then the rest was left up to us.                      2 with Matt Bennett?
 3       Q. Okay. And so you say it was MEF                  3     A. Just working together.
 4 business. What exactly was the MEF business in the        4     Q. Did you ever register any complaints
 5 UK that you were participating in?                        5 about your interactions with Matt Bennett with Daniel
 6       A. We were putting on a rally there for             6 Pipes?
 7 Tommy Robinson, and Lisa and I attended the rally and     7     A. I didn't, no.
 8 we were just asked to report back on how it went and      8     Q. Did you ever register any complaints
 9 what happened.                                            9 about the relationship you had with Matt Bennett
10       Q. Do you know whether she had met with            10 prior to leaving MEF?
11 Danny Thomas during that visit to the UK when you        11     A. I didn't, no.
12 were with her?                                           12           MR. GOLD: Let's go to Exhibit 5.
13       A. We met him at the rally. It was the             13           Can you hold on a second?
14 first time either of us had met him in person and        14           (Pause in proceedings.)
15 that was the only time we saw him. We didn't see him     15           MR. GOLD: Sorry about that. Can
16 again after we left the rally.                           16     you hear me?
17       Q. Had she already had a relationship with         17           THE WITNESS: Uh-huh.
18 him at that point?                                       18 BY MR. GOLD:
19       A. No.                                             19     Q. Okay. Why don't you read through this
20       Q. Okay. So that was the first time they           20 --
21 met.                                                     21           MR. GOLD: Scroll through this,
22       A. Correct.                                        22     Matt.
23       Q. Okay. And did Lisa then tell you that           23           THE WITNESS: Okay.
24 she had met with him thereafter?                         24 BY MR. GOLD:
25       A. Yes.                                            25     Q. In this particular e-mail Lisa -- this
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 1 is again a text conversation between you -- a chain        1 leave at 3:30 instead of coming in 9 to 5, you could.
 2 of text messages between you and Lisa, correct?            2       Q. Okay.
 3      A. Uh-huh. Yes.                                       3       A. It wasn't a free-for-all 24-hour day.
 4      Q. And she seems to be pretty happy that               4      Q. Okay. But you -- I'm sure you've
 5 Gregg told her that she was on top of her shit, so          5 worked jobs where your boss called you after you left
 6 that was I guess a compliment of sorts that Gregg           6 the office, correct?
 7 gave to Lisa?                                               7      A. No, not really.
 8      A. Yes, a rarity.                                      8      Q. So your -- so even though this is the
 9      Q. Okay. And that would be in February of              9 job you wanted for life, you were resentful if
10 2018, correct?                                             10 somebody called you after 5:00 at night?
11      A. Correct.                                           11      A. He would call at like 10:00 at night.
12      Q. Do you know why he complimented her on             12 It felt very inappropriate, yes.
13 her work at that point in time? Was there a project        13      Q. And when did he call you at 10:00 at
14 she was working on or something she was planning?          14 night?
15      A. I don't know.                                      15      A. It happened on multiple occasions.
16      Q. What was her job, by the way, Lisa's               16      Q. And what did he talk about? Work?
17 job at MEF?                                                17      A. Yeah, sometimes it would be work,
18      A. She was the executive liaison and then             18 sometimes it would be about where we would be working
19 the director of communications.                            19 the next day or that week.
20      Q. Okay. So in February of '18 was she                20      Q. So did you tell Gregg do not call me
21 already director of communications, do you know?           21 after 5:00 anymore, I don't want anybody bothering me
22      A. No, she was not.                                   22 after I leave the office?
23      Q. Not yet. So when you say liaison,                  23      A. Yeah, I mean it was discussed within
24 liaison -- what does that mean, what did you               24 the office.
25 understand her job to be?                                  25      Q. About not getting calls after hours?
                                                  Page 161                                                          Page 163
 1                                                       1
         A. She was an executive assistant to                   A. Yes, and even put into place where he
 2                                                       2
   Daniel and Gregg basically, to Gregg.                   wasn't allowed to call us past 5:00 later.
 3
         Q. Okay. Okay. Was she there when you -- 3             Q. Is that when he was -- when he was out
 4                                                       4
   when you were hired, she had already been working       of the office from November to March?
 5                                                       5
   there, I take it, or did she come on afterward?              A. Correct.
 6                                                       6
         A. We started at the same time.                        Q. Okay. Well, before that did you ever
 7                                                       7
         Q. Okay. And you had --                           register a complaint with Daniel or Marnie that you
 8                                                       8
         A. I think she started a week ahead of me.        thought Gregg was calling you after hours and that
 9                                                       9
         Q. Okay. Got it. And --                           you wanted him to stop calling you after hours even
10                                                      10
             MR. GOLD: Can you go to Exhibit               if he had a legitimate question about work?
11                                                      11
         6?                                                     A. I told Matt.
12                                                      12
   BY MR. GOLD:                                                      MR. CARSON: I'm just -- I'm going
13                                                      13
         Q. In that text exchange she states she's              to just object to the form of the
14                                                      14
   totally ignoring calls from Gregg, as these calls            question.
15                                                      15
   were after work hours I assume, meaning after 5:00.     BY MR. GOLD:
16
   Did Gregg ever call you after work hours for -- on 16        Q. What did --
17                                                      17
   MEF business?                                                     MR. CARSON: Before the complaint
18                                                      18
         A. Yes.                                                you want to know if she complained?
19                                                      19
         Q. And you -- I think you testified               BY MR. GOLD:
20                                                      20
   earlier that there were flex hours, so it really             Q. Yeah, did you ever call Matt -- you
21                                                      21
   didn't matter when Gregg would call you, whether it     ever call Daniel Pipes and say Gregg's calling me at
22                                                      22
   was before 5 or after 5, correct?                       10:00 at night to talk about work, I don't want
23                                                      23
         A. Well, we had flex hours, but it was            anybody calling me after I leave the office?
24
   still -- we were expected to work an eight-hour day, 24           MR. CARSON: Objection. Asked and
25                                                      25
   it was just if you wanted to come in at 7:30 and             answered.
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 1 BY MR. GOLD:                                              1       I don't even know if these are questions
 2      Q. You said you told Matt that, correct?              2      anymore, but objection to the extent
 3      A. I told Matt that I felt it was                     3      it's a question.
 4 inappropriate to be calling on things that weren't         4 BY MR. GOLD:
 5 time sensitive, weren't -- it wasn't a I need to know      5      Q. You said you wanted to work there until
 6 this now, it was just calling at odd hours very late       6 you retired, correct?
 7 asking what you're doing in your personal life, and        7      A. I said that I wanted to work there for
 8 then if it was something work related, it was              8 an extended period of time, I thought it would be a
 9 something that could have been sent in an e-mail or        9 substantial amount of time, yes, I don't know if it
10 talked about the next day.                                10 would be --
11      Q. So why didn't you just tell Gregg don't           11      Q. Okay.
12 call me anymore?                                          12      A. -- the last job I ever had.
13      A. Because it's hard to tell the head of             13      Q. Ten, twenty years?
14 the office who has the power to --                        14      A. Ten years would have been --
15      Q. Oh, please.                                       15      Q. Okay, so ten years, and yet here is
16      A. -- to fire you at will.                           16 Gregg, the director of the organization, calling you
17      Q. But you -- you loved this job, you were           17 in the evening, which annoyed you, okay, even though
18 going to stay there until you dropped dead. Why           18 you loved this job, you were, what, afraid to tell
19 couldn't you tell Gregg, hey, do me a favor, Gregg, I     19 him not to call you at those hours?
20 want to stay here, I love working here, just don't        20      A. Yeah, because he did a lot of other --
21 call me after 5:00, don't call me at 10:00, it            21            MR. CARSON: Objection. Form.
22 disrupts my sleep, it disrupts my free time; if it        22 BY MR. GOLD:
23 can wait until tomorrow, call me tomorrow; are you        23      Q. Go ahead, answer.
24 telling me you were afraid to tell him that?              24            MR. CARSON: Go ahead. You can
25           MR. CARSON: I'm going to object                 25      answer.
                                                  Page 165                                                        Page 167
 1       to the form of that -- wait, don't                  1            THE WITNESS: He did a lot of
 2       answer the question. I'm going to                    2      other things, too, along with it, it
 3       object to the form of the question.                  3      wasn't just the phone calls, but, I
 4 BY MR. GOLD:                                               4      mean, during that time he was making me
 5       Q. Go ahead. You can answer.                         5      feel uncomfortable in -- making a lot of
 6            MR. CARSON: You can answer, but,                6      people feel uncomfortable in an array of
 7       you know, listen to the question.                    7      ways and making us feel like if you said
 8            THE WITNESS: I'm sorry, can you                 8      anything or did anything, just like
 9       repeat the question?                                 9      Tiffany Lee, we would -- we would be
10 BY MR. GOLD:                                              10      gone.
11       Q. I said you loved this job, you wanted            11 BY MR. GOLD:
12 to work there until you dropped dead, but you were        12      Q. But meanwhile you knew what happened,
13 afraid to tell Gregg don't call me after 5:00 because     13 quote, with, quote, Tiffany Lee, and you knew about
14 it's annoying to me and I don't like it, it's             14 him making you feel uncomfortable, and
15 inconvenient for me, we can talk about it tomorrow.       15 notwithstanding all of that, you wanted to work there
16       A. I never said I wanted to work there              16 for at least ten more years.
17 until I dropped dead.                                     17           MR. CARSON: Objection. Is that
18       Q. Well, hypothetically, at least until             18      even a question?
19 you're 70, right? You were going to work there until      19           MR. GOLD: That's a question.
20 you were 70 years old, 80 years old?                      20 BY MR. GOLD:
21       A. I don't know if --                               21      Q. Is it not a fact that notwithstanding,
22            MR. CARSON: I'm going to object.               22 quote, what happened to Tiffany Lee, which you heard
23 BY MR. GOLD:                                              23 from some third party, and notwithstanding the fact
24       Q. 65 years old?                                    24 that he would call you after hours, and
25            MR. CARSON: I'm going to object.               25 notwithstanding the fact that you were told not to

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 1 make any complaints to anybody other than Gregg, you        1
                                                                      her finish?
 2 would have liked to stay there for ten more years.           2
                                                                  BY MR. GOLD:
 3         MR. CARSON: Objection. Asked and                     3
                                                                      Q. -- to my question, ma'am. Yes or no,
 4    answered.                                                 4
                                                                  then you can explain your answer.
 5 BY MR. GOLD:                                                 5
                                                                           MR. CARSON: Well, you can answer
 6    Q. Yes or no?                                             6
                                                                      however you feel --
 7         MR. CARSON: Lack of foundation.                      7
                                                                           THE WITNESS: I am answering.
 8 BY MR. GOLD:                                                 8
                                                                           MR. CARSON: -- is appropriate.
 9    Q. Yes or no?                                             9
                                                                           THE WITNESS: I am answering, but
10         MR. CARSON: It wasn't some third                    10
                                                                      I have to explain that Matt had told us
11    party; it was a direct supervisor.                       11
                                                                      that Daniel -- and Daniel had told us
12         MR. GOLD: It's a third -- it's                      12
                                                                      that he was planning on retiring that --
13    not -- it wasn't from Tiffany Lee. It's                  13
                                                                      in 2019 and that Gregg would then be
14    a third party. Answer is yes or no.                      14
                                                                      taking over and he would be off
15         MR. CARSON: Not a third party.                      15
                                                                      traveling the world and writing and he
16    And if we're going -- as long as we're                   16
                                                                      wouldn't be in charge of the office
17    going to lay out all the facts of things                 17
                                                                      anymore, it wouldn't be him directly
18    that happened before --                                  18
                                                                      supervising us, and that there was a
19         MR. GOLD: Listen, Seth, I don't                     19
                                                                      different plan going forward, and so
20    need to have any talking -- speaking                     20
                                                                      there was some sort of light at the end
21    objections. You did that with Jon this                   21
                                                                      of the tunnel where this job wouldn't
22    morning. I don't have the patience for                   22
                                                                      include Gregg being in the office and
23    it today. The answer is yes or no.                       23
                                                                      Gregg being the one to tell us whether
24         MR. CARSON: What's the question?                    24
                                                                      what we were doing was crap or if we
25         MR. GOLD: The question is,                          25
                                                                      were going to the bathroom too much or
                                                    Page 169                                                      Page 171
 1                                              1
      notwithstanding all of her woes and              hovering over us taking phone calls, all
 2                                              2
      tales of woes and all the inhibition she         of that would be gone.
 3                                              3
      had about working at MEF, she wanted to     BY  MR.   GOLD:
 4                                              4
      stay there for at least ten more years;          Q. I'm going to -- okay. When you left
 5                                              5
      is that not a fact, ma'am?                  there, okay -- when did you stop loving your job?
 6                                              6
           MR. CARSON: Objection. That's          When you left?
 7                                              7
      not her testimony. She testified --              A. Before I left.
 8                                              8
           MR. GOLD: Then say no.                      Q. Before you left. Give me a precise
 9                                              9
           MR. CARSON: -- that she loved her      date when you woke up one day and said I hate this
10                                             10
      work --                                     job, I want to leave.
11                                             11
           MR. GOLD: Let her answer the                A. I mean, I -- I knew I had to leave.
12                                             12
      question.                                        Q. When?
13
           MR. CARSON: Yeah, you can answer 13         A. In the spring of 2019.
14                                             14
      the question. Is it yes or no?                   Q. And you left.
15                                             15
           THE WITNESS: Matt had also told             A. In the fall, yes.
16                                             16
      us that there was a different plan for           Q. Okay. So -- and that's because, as we
17                                             17
      how MEF would be going forward. Daniel      know, you had a job already lined up, correct?
18                                             18
      was supposed to be retiring --                   A. I wasn't going to leave until I had a
19                                             19
   BY MR. GOLD:                                   job, but yes.
20                                             20
      Q. Ma'am, that's --                              Q. Well, why didn't you leave immediately
21                                             21
      A. -- and Gregg would be --                 when you realized you didn't like it there anymore,
22                                             22
      Q. Not responding to --                     why didn't you just pick yourself up and leave?
23                                             23
      A. -- out of the office --                       A. Because I have bills to pay.
24                                             24
      Q. You're not responding --                      Q. Okay. Well, we all have bills to pay.
25                                             25
           MR. CARSON: Are we going to let        That didn't change.
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 1      A. I don't see how what you're saying --             1
                                                                   ask her any questions anymore.
 2      Q. So when did you realize that Daniel               2
                                                                        MR. GOLD: Are we done?
 3 Pipes was not going to retire and Gregg wasn't going      3
                                                                        MR. CARSON: We're going to take
 4 to be flying around the world writing, you know, for      4
                                                                   -- we're going to take -- yeah, we're
 5 MEF and not being in the office -- when did that --       5
                                                                   going to take a 20-minute break. Okay?
 6 when did you have that awakening that that was not        6
                                                                   So we'll see you guys in 20 minutes.
 7 going to happen?                                          7
                                                                        MR. GOLD: Okay, good.
 8      A. In November of 2018 when we went --               8
                                                                        MR. CARSON: Thank you.
 9 when Daniel --                                            9
                                                                        THE VIDEO SPECIALIST: Off the
10           MR. CARSON: Yeah, also -- the                  10
                                                                   record.
11      other thing, too, is -- let's stop for a            11
                                                                        MR. GOLD: And do not talk to the
12      second because --                                   12
                                                                   witness.
13           MR. GOLD: You're interrupting the              13
                                                                        (A brief recess was taken from
14      answer.                                             14
                                                                   1:41 p.m. to 2:10 p.m.)
15           MR. CARSON: Yeah, no, I'm -- no,               15
                                                                        THE VIDEO SPECIALIST: The time is
16      because I was on mute when I started my             16
                                                                   2:10 p.m. Eastern. We are now back on
17      objection, correct, I'm interrupting the            17
                                                                   the record.
18      answer.                                             18
                                                                        MR. GOLD: Is the witness back as
19           MR. GOLD: Go ahead.                            19
                                                                   well? Seth? Seth?
20           MR. CARSON: Her answer -- it's                 20
                                                                        MR. CARSON: Yeah, I think she's
21      subject to the following objections.                21
                                                                   here.
22      So, first of all, we're going to not ask            22
                                                                        Patricia, you got to speak up.
23      questions like this anymore. You're                 23
                                                                        MR. CAVALIER: She's on mute.
24      just not. Or else I'm going to start                24
                                                                        THE COURT REPORTER: Yeah, it
25      instructing her not to answer them. All             25
                                                                   looks like it's muted.
                                                 Page 173                                                        Page 175
 1                                                           1          MR. GOLD: Are we back?
        right? So stop characterizing her
 2                                                           2          MR. CARSON: Patricia, are you
        previous testimony with words like "when
 3                                                           3      there?
        did you have this awakening." These
 4                                                           4          THE VIDEO SPECIALIST: Should we
        questions are designed -- are
 5                                                           5      go off the record real quick?
        argumentative, they're designed to
 6                                                           6          MR. GOLD: Yeah, give her a call,
        embarrass and harass, and she's not
 7                                                           7      yeah, sure.
        going to answer them. So stop.
 8                                                           8          THE VIDEO SPECIALIST: Off the
             MR. GOLD: I think you need to
 9                                                           9      record.
        take a course in advocacy, Mr. Carson.
10                                                          10          (A brief recess was taken from
        This is a deposition.
11                                                          11      2:10 p.m. to 2:17 p.m.)
             MR. CARSON: Okay.
12                                                          12 BY MR. GOLD:
             MR. GOLD: It's a deposition.
13                                                          13      Q. I just have a couple quick follow-up
             MR. CARSON: Well, maybe --
14                                                          14 questions on those phone calls from Gregg. Can you
             MR. GOLD: I get to ask the
15                                                          15 hear me?
        questions.
16                                                          16      A. Yes, now I can.
             MR. CARSON: -- maybe you need to
17                                                          17      Q. Do you recall -- if I'm not mistaken,
        practice for another 20 years, Mr. Gold,
18                                                          18 you were on salary, correct? You didn't get paid by
        because --
19                                                          19 the hour, correct?
             MR. GOLD: You get to make the
20                                                          20          THE VIDEO SPECIALIST: Mr. Gold?
        objection.
21                                                          21          MR. GOLD: Yeah.
             MR. CARSON: -- you're not going
22                                                          22          THE VIDEO SPECIALIST: I want to
        to ask her questions. All right?
23                                                          23      make sure we are now on the record.
             THE COURT REPORTER: I can't hear
24                                                          24          MR. GOLD: I'm sorry, go ahead.
        both of you.
25                                                          25          THE WITNESS: I'm sorry, what was
             MR. CARSON: You're not going to
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 1      the question?                                       1       A. I don't remember.
 2 BY MR. GOLD:                                              2      Q. Okay. Do you know -- was this just an
 3      Q. When you were working for MEF you were            3 isolated event here or was this something that Eman
 4 an exempt employee, correct?                              4 couldn't get along with Daniel Pipes or couldn't get
 5      A. I was a salary employee.                          5 along with certain people that worked at MEF? Do you
 6      Q. Salary employee, and you weren't -- so            6 have any recollection?
 7 therefore you weren't paid by the hours, correct?         7      A. Well, Eman was -- was the one that
 8      A. Correct.                                          8 Daniel had admitted to us that -- that they had tried
 9      Q. And you understand the job could                  9 to make quit by making so uncomfortable. So, yeah,
10 require you to work more than 40 hours a week,           10 there was definitely daily things that were
11 correct?                                                 11 constantly happening.
12      A. Correct.                                         12      Q. Daniel Pipes told you that?
13      Q. Okay. Do you recall that Gregg may               13      A. Daniel told us when we were in the
14 have called you when he was in a different time zone     14 conference room all together, yes, that he had given
15 perhaps, whether it be California, Israel, wherever,     15 Gregg the authority to make her feel so uncomfortable
16 were there occasions when he called you from out of      16 that she would leave.
17 the country?                                             17      Q. Okay. And do you know why he -- why --
18      A. It's possible. I don't remember.                 18 what was the motivation for that, if you know?
19      Q. All right.                                       19      A. I know they didn't want her working
20           MR. GOLD: Could you please put up              20 there anymore and she was the one that they said was
21      exhibit -- I guess we're up to Exhibit 7.           21 a walking liability because she was a female, gay,
22 BY MR. GOLD:                                             22 and Muslim.
23      Q. There's a reference there to a Mr. --            23      Q. And who made that statement?
24 is Eman a first name or a last name of this employee?    24      A. We were told that Gregg and Daniel had
25      A. Eman. She's a female.                            25 both, Matt had told us that --
                                                 Page 177                                                        Page 179
 1      Q. Is that his first name?                          1
                                                                    Q. Matt -- Matt again, no -- but no
 2      A. Her first name that was used there.               2
                                                               firsthand knowledge; you heard this from Matt.
 3      Q. What's -- is it a she or a he?                    3
                                                                         MR. CARSON: Is that a question or
 4      A. A she.                                            4
                                                                    are you just now commenting on her
 5      Q. Okay. What was her second name, her               5
                                                                    testimony --
 6 maiden name or surname?                                   6
                                                               BY MR. GOLD:
 7      A. Eman Patel was the name she used at               7
                                                                    Q. You said you heard that from Matt,
 8 MEF.                                                      8
                                                               correct?
 9      Q. Eman Patel. That's right. Okay. Got               9
                                                                         MR. CARSON: You heard her
10 it.                                                      10
                                                                    testimony. She just testified Matt
11          So it says Eman was crying in the               11
                                                                    said.
12 office today and laid the blame on Daniel Pipes.         12
                                                                         MR. GOLD: I want to be sure.
13 Lisa sends you that in an e-mail. Do you know much       13
                                                               BY MR. GOLD:
14 about that issue when it occurred?                       14
                                                                    Q. And Matt told you that, correct?
15      A. I read "Eman was crying in my office             15
                                                                         MR. CARSON: Just comment on her
16 today."                                                  16
                                                                    testimony -- every time she says
17      Q. And that was from Lisa to you?                   17
                                                                    something you're going to pretend like
18      A. Yes.                                             18
                                                                    --
19      Q. Okay. Do you know -- and this is                 19
                                                                         MR. GOLD: I'm going to be a
20 because of some interaction that she had with Daniel     20
                                                                    ventriloquist --
21 Pipes?                                                   21
                                                                         THE COURT REPORTER: I can't hear
22      A. I guess. I don't remember.                       22
                                                                    you. You're talking at the same time.
23      Q. Do you know if the -- what it was                23
                                                                         MR. CARSON: Yeah, I'm going to --
24 about, do you have any recollection of what it was       24
                                                                         MR. GOLD: Let's move on.
25 about?                                                   25
                                                               BY MR. GOLD:
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 1                                               1 room or was Daniel Pipes in the room?
         Q.   Was that comment made --
 2                                               2      A. No, I don't think so.
             MR. CARSON: I'm going to instruct
 3                                               3      Q. And when did you have that conversation
       counsel --
 4                                               4 with Matt?
   BY MR. GOLD:
 5                                               5      A. I don't remember exactly when it was.
       Q. Was that comment made --
 6                                               6      Q. Was it before November 18th or after
             MR. CARSON: I'm going to instruct
 7                                               7 November 18th, 2018?
       counsel -- all right. When you're done
 8                                               8      A. Before.
       I'll put my instruction on the record.
 9                                               9      Q. So this would have been early on in
   BY MR. GOLD:
10                                              10 your employment, I take it?
       Q. Was that comment made while Daniel
11                                              11      A. Yes.
   Pipes and Gregg were in the room?
12                                              12      Q. Okay. Because this e-mail is dated
             MR. CARSON: I'm going to instruct
13                                              13 February 28th, 2018. Did Eman eventually leave the
       counsel to discontinue commenting on the
14                                              14 office?
       testimony. Stop saying "okay" --
15
             MR. GOLD: How about if you go to 15        A. Sorry, what was that?
16                                              16      Q. Was Eman still employed at MEF when you
       a mirror and direct yourself to do the
17                                              17 departed?
       same thing.
18
             THE COURT REPORTER: I can't -- I 18        A. No.
19                                              19      Q. Do you know when she left?
       didn't hear you. I didn't hear you,
20                                              20      A. I don't remember exactly when it was.
       Mr. Gold.
21                                              21      Q. Was it in 2018 or 2019, if you can
             MR. CARSON: Stop saying the words
22                                              22 recall?
       "okay" after she says something, stop --
23                                              23      A. It was in 2018.
             MR. GOLD: I'll do whatever I
24                                              24      Q. Okay. Were you friendly with her?
       please --
25                                              25      A. Yes.
             MR. CARSON: -- stop making
                                               Page 181                                                       Page 183
 1      comments --                                     1
                                                                Q. And after Eman left is that when you
 2            MR. GOLD: I'll do whatever I              2
                                                          took your -- you became a -- is that whose position
 3      please.                                         3
                                                          you took over when -- after she left?
 4            MR. CARSON: Discontinue all --            4
                                                                A. No.
 5            MR. GOLD: Let's move along. All           5
                                                                Q. Okay. What was her title when she
 6      right?                                          6
                                                          left?
 7            MR. CARSON: No, you won't. No,            7
                                                                A. She was communications. I don't know
 8      you won't.                                      8
                                                          what the exact title was.
 9            MR. GOLD: Are you done?                   9
                                                                Q. Okay. So she had the same title as --
10            MR. CARSON: If it happens again          10
                                                          what was -- and your title again? I'm sorry, you
11      -- if it happens again, I'll point it          11
                                                          were program director?
12      out again. If it continues to happen, I        12
                                                                A. Yes.
13      guess we'll stop the deposition and            13
                                                                Q. So who -- did anyone assume her
14      we'll deal with it.                            14
                                                          responsibilities after she left?
15            MR. GOLD: Do whatever you want.          15
                                                                A. No, not that I know of.
16      Okay?                                          16
                                                                Q. Okay. All right. Were you -- what was
17            MR. CARSON: I will.                      17
                                                          your relationship like with Eman? I mean, did you
18 BY MR. GOLD:                                        18
                                                          ever -- any -- have any conversations with her about
19      Q. My question is -- my question is this,      19
                                                          her -- during her tenure at MEF?
20 ma'am. I'm going to move on. My question -- was     20
                                                                A. Mostly about work, not much outside of
21 Gregg Roman in the room when Daniel Pipes told you 21
                                                          work, just general pleasantries. We were -- we
22 that they wanted to get rid of Eman?                22
                                                          weren't close, but we were friendly.
23      A. I don't think he was.                       23
                                                                Q. Didn't she train you when you were
24      Q. Okay. And this conversation that you        24
                                                          first hired?
25 had with Matt, was -- did -- was Gregg Roman in the 25
                                                                A. There wasn't much training involved,
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 1 but she probably for the first day or two told me how      1
                                                            her resignation or what the reason she gave for
 2 she did things.                                        2
                                                            resigning?
 3       Q. And at that point she -- so after she         3
                                                                 A. I don't know what reason she gave them.
 4 left in -- as I understand it, her job title was       4
                                                                 Q. Have you -- did you speak to her after
 5 program director, so who became the program director 5
                                                            she left MEF?
 6 after --                                               6
                                                                 A. Not about work or MEF.
 7       A. That was my job.                              7
                                                                 Q. What about?
 8       Q. Okay. So --                                   8
                                                                 A. I've talked to her about food posts she
 9       A. Before she left.                              9
                                                            has, she cooks, food.
10       Q. Before she left.                             10
                                                                 Q. Okay.
11       A. That was not her job when she was there      11
                                                                 A. Just --
12 when I was there.                                     12
                                                                 Q. Where is she working -- do you know
13       Q. Okay. So you became the program              13
                                                            where she's working now?
14 director after she, quote, had some minimal training  14
                                                                 A. I don't, no.
15 with you?                                             15
                                                                 Q. Okay.
16       A. I came into MEF with that role. She          16
                                                                     MR. GOLD: All right. Let's go to
17 had previously done it before me. She was taking on   17
                                                                 Exhibit 8.
18 a new role. She told --                               18
                                                            BY MR. GOLD:
19       Q. What role was that?                          19
                                                                 Q. And if you would be kind enough to just
20       A. In communications.                           20
                                                            read through that. These are an exchange of text
21       Q. Okay. So she would be into -- moving         21
                                                            messages that occurred in March of 2018 and this is
22 into -- as director or just a role in communications? 22
                                                            while Lisa was on a trip to Israel with Gregg.
23       A. Again, I don't remember what the exact       23
                                                                 A. Okay.
24 title was that she had.                               24
                                                                 Q. And she's complaining that she can't
25            MR. GOLD: Okay. Let's move on to           25
                                                            post on social media while she's there.
                                                  Page 185                                                         Page 187
 1      Exhibit 18. I'm sorry, Exhibit 8.                     1            Did you have any more conversations or
 2 BY MR. GOLD:                                                2 did you exchange any further messages with Lisa about
 3      Q. One last point. Did Eman ever tell you              3 why she -- Gregg had told her she couldn't post on
 4 why she was leaving MEF?                                    4 social media while she was in Israel?
 5      A. She had told us, you know, for -- since             5      A. Well, he had already told us that we
 6 she got there that she was very unhappy with the work       6 weren't supposed to -- Daniel wasn't supposed to know
 7 environment and the constant monitoring and the way         7 that Lisa went with him, so --
 8 she was treated there.                                      8      Q. Right.
 9      Q. And do you remember any details about               9      A. -- we weren't supposed to tell anybody,
10 how she was treated?                                       10 so I assume that's why she couldn't post on social
11      A. I know she was -- Gregg made comments              11 media, because no one was supposed to know.
12 about her having to take too many doctors                  12      Q. Couldn't be for security reasons that
13 appointments and taking time away from the job for         13 MEF had, no posting while they were in a foreign
14 those doctors appointments. He would count how many        14 country?
15 times she went to the bathroom. She was just very --       15      A. I was never told that, so I can't speak
16 felt very unhappy with how she was treated.                16 to that.
17      Q. When did you have that conversation                17      Q. But you never went on a trip with Gregg
18 with her?                                                  18 to Israel of course, right?
19      A. While she was still there, she                     19      A. I didn't, but I went abroad.
20 mentioned it a couple times, I'm not sure of the           20      Q. You went to UK.
21 exact dates.                                               21      A. Correct.
22      Q. Do you know if she left before November            22      Q. Was Gregg there on that trip?
23 2018 or thereafter?                                        23      A. He was not.
24      A. She left before.                                   24      Q. Okay. Anyway, as far as -- this trip
25      Q. Okay. Do you know whether she tendered             25 was to Israel, and you don't recall anything --

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 1 anything in the handbook or policy of MEF that spoke          1 wanting their employees to post on social media when
 2 to the issue of posting things on social media and            2 they were out of the country, that would be a
 3 the possibility that it could result in security              3 legitimate concern?
 4 threats against employees or MEF in general?                  4            MR. CARSON: I'm going to object.
 5      A. If it pertains to MEF, but if you're                  5      It's assuming facts not in evidence.
 6 just posting a picture that you're traveling                   6     There's been no -- like, zero evidence
 7 somewhere, that has nothing to do with MEF.                    7     that these pretend security protocols
 8      Q. Well, if the terrorists knew where you                 8     even exist, but -- so if we're going to
 9 were at the time, that would have a lot to do with             9     ask questions on pretend security
10 MEF.                                                          10     protocols, as long as everyone's aware
11      A. So with that rational thinking, you                   11     that that's what --
12 could never post where you are ever in life.                  12           MR. GOLD: Okay. I'm going to
13      Q. No, only -- I'm saying if you're in                   13     move on -- I'm going to move on anyway.
14 Israel.                                                       14           Let's go to Exhibit 9.
15      A. Why only in Israel?                                   15 BY MR. GOLD:
16      Q. Well, because that's where -- there's a               16     Q. It says: Gregg has me working like a
17 good possibility of terrorism happening more likely           17 dog. It's so hard to work with the kids.
18 in Israel than in the United States.                          18           Did Lisa at times register complaints
19      A. We have terrorist --                                  19 with you about how hard she was working for MEF?
20           MR. CARSON: I'm going to object                     20     A. She didn't regularly register
21      to form, argumentative. Comical                          21 complaints about how -- she would mention that she
22      overall.                                                 22 was doing a lot of work, like something like that,
23           Go ahead. You can answer.                           23 nothing out of the ordinary.
24           MR. GOLD: I'm just asking her                       24     Q. She was overworked, is that what she
25      questions, that's all.                                   25 would tell you?
                                                      Page 189                                                       Page 191
 1                                                               1       A. I don't ever remember her telling me
             THE WITNESS: I don't agree with
 2                                                                2 she was overworked.
        the reasoning there, but --
 3                                                                3      Q. Okay. She writes to you: Gregg has me
   BY MR. GOLD:
 4                                                                4 working like a dog. It's so hard to work with the
        Q. Okay. So you don't recall anything in
 5                                                                5 kids.
   the policies of MEF that spoke to the issue of
 6                                                                6          And you respond: Ugh, I can't even
   posting on social media while you were out of the
 7                                                                7 imagine. I was plowing through work this morning,
   country or in Israel.
 8                                                                8 now I'm ready for a lunch break.
        A. No.
 9                                                                9          So it seems like you were working
        Q. Okay. All right. Do you know whether
10                                                               10 pretty hard as well, correct?
   Gregg ever posted on social media when he was in
11                                                               11      A. Correct.
   Israel?
12                                                               12      Q. And would you agree that there was a
        A. I don't know any of Gregg's social
13                                                               13 heavy workload while you and Lisa were working at
   media, so no.
14                                                               14 MEF?
        Q. Okay. And do you know why she -- why
15                                                               15      A. I would agree that we worked hard,
   Lisa was upset that she couldn't post on social
16                                                               16 yeah.
   media?
17                                                               17      Q. Okay. And you don't think you were
        A. I think she just wanted to share a nice
18                                                               18 singled out for heavy workload because of your
   place that she was traveling, that she was traveling,
19                                                               19 gender, do you?
   nothing to do with work.
20                                                               20      A. For workload?
        Q. Yeah, but obviously she was there on
21                                                               21      Q. Yeah --
   work, correct?
22                                                               22      A. No.
        A. She was there on work, but she also had
23                                                               23      Q. -- do you think you were -- okay.
   downtime to herself.
24                                                               24          MR. GOLD: Let's go to the next
        Q. Okay. But you would agree, though, if
25                                                               25      exhibit.
   a company or business had security reasons for not
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 1 BY MR. GOLD:                                             1 over Lisa, was that Lisa's impression?
 2      Q.   Moving along to March 29th, 2018:              2     A.    Yeah, that she was -- they were
 3 Marnie is assigning me a million things.    Didn't       3 characteristics, yes.
 4 Gregg leave for Florida? She is in boss mode.            4       Q. And, in fact, was Marnie Lisa's boss?
 5          You write back: Total. But don't even           5       A. No.
 6 worry about it or look at it yet. Bog stuff, she has      6      Q. No. Who was her boss, if she had a
 7 taken the reigns, and she's definitely a delegator        7 boss at all?
 8 not a doer.                                               8      A. Gregg.
 9          What does bog stuff mean?                        9      Q. And I thought you said, though, that --
10      A. Board of governors.                              10 ultimately who ran the office? Daniel Pipes?
11      Q. Okay. Got it. Okay. So it's another              11      A. No, Gregg.
12 exchange of text messages where Lisa is complaining      12      Q. Gregg ran the office -- he was -- he
13 about the amount of work she has from Marnie?            13 had more power than Daniel Pipes?
14          MR. CARSON: Objection.                          14      A. As far as we knew in the office, yes.
15          You can answer.                                 15      Q. And when you say as far as we knew, how
16          THE WITNESS: I think she might                  16 would you know that?
17      have been on vacation during that time.             17      A. Because Gregg was the one who was
18 BY MR. GOLD:                                             18 telling us where orders were coming from, what was to
19      Q. Okay. So Marnie assigning her work               19 be done, when it was to be done. Daniel had no parts
20 while she's out of the office on vacation?               20 in that. We rarely spoke to Daniel.
21      A. I believe Lisa was away when we started          21      Q. When you say he told us where the
22 working on that.                                         22 orders were coming from, where were they coming from?
23      Q. What was it that you were working on,            23      A. Him.
24 if you can recall?                                       24      Q. Okay. So he made it clear that when he
25      A. The board of governors meeting.                  25 asked things to be done by him they were -- the
                                                 Page 193                                                          Page 195
 1                                                      1 orders were coming from him.
       Q. When does that usually take place?
 2                                                      2       A. Correct.
       A. I think that one was in -- I don't
 3                                                      3       Q. Correct? And he was the director,
   remember. They're twice a year, but they're not
 4                                                      4 correct?
   always the -- it depends on their travel schedules.
 5                                                      5       A. Correct.
       Q. And where does that generally take
 6                                                      6       Q. Okay. So in terms of this board of
   place at?
 7                                                      7 governors meeting, what was Marnie's role in that
       A. New York, and then I think there is one
 8                                                      8 meeting?
   in Philadelphia too.
 9                                                      9       A. As far as I remember, she was supposed
       Q. Did you -- would you be attending that
10                                                     10 to be getting -- she had to attend the meeting to
   event or --
11                                                     11 discuss financials I believe because she did the
       A. No, I did not attend that.
12                                                     12 accounting, so she was helping to just get documents
       Q. Would Lisa be attending that event?
13                                                     13 together.
       A. No.
14
       Q. No. What exactly happens at a board of 14             Q. Okay. So she not only was HR, she was
15                                                     15 also part of the financial aspect of the -- of MEF?
   governors meeting?
16                                                     16       A. Correct.
       A. I've never attended one and I don't see
17                                                     17       Q. Did she have a title that went along
   what they -- or hear about what exactly they talk
18                                                     18 with that?
   about. I just know the general financials and
19
   discussing what MEF has done throughout the year, 19         A. I'm not sure what it was at -- I think
20                                                     20 -- I'm not sure what her title was at the -- that
   things like that, but I don't know the specifics.
21
       Q. Do you know the nature of the work that 21 pertained to the finance portion, what the exact
22                                                     22 title was.
   Marnie was assigning to Lisa at the time?
23                                                     23       Q. And did Marnie eventually separate from
       A. I'm not sure.
24                                                     24 MEF?
       Q. Okay. It's clear to me from these text
25
   messages that Marnie would act like she was a boss 25        A. I haven't talked to Marnie since I left
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 1 there, so I'm not sure.                                  1  Q. Okay. When you say "the Marnie part is
 2      Q. Who have you spoken with from MEF since      2 making you hate it more," is it pretty obvious at
 3 you left? I know you talked to Matt, right? Matt     3 that point in time Lisa was thinking of leaving MEF?
 4 Bennett?                                             4      A. I don't know if she was seriously
 5      A. No, I have not talked to Matt Bennett        5 thinking about leaving at that point. She really
 6 since I left.                                        6 liked the content portion of being in the mission,
 7      Q. Oh, you have not. Okay. Who have you         7 but I think it was just normal complaining.
 8 spoken with since you left?                          8      Q. Well, she said that -- if you go back
 9      A. I've talked to Lisa, I've spoken to          9 to the top of that text message --
10 Delaney, and I think that might be it. I think      10           MR. GOLD: Can you scroll up?
11 that's it since I left.                             11      Keep going up. Some more. Go back
12            MR. GOLD: Let's go to Exhibit 10.        12      down.
13 BY MR. GOLD:                                        13 BY MR. GOLD:
14      Q. Starts off with: Why do I hate that         14      Q. Didn't she say "I need to look for a
15 she is giving me stuff with due dates.              15 new job where I'm not an assistant"?
16            Is -- do you know if Lisa was referring  16      A. I think that was on the page we were
17 to Marnie at the time?                              17 at, down --
18      A. Yes.                                        18      Q. Yeah.
19      Q. Okay. And you write back: Trust me, I       19      A. -- at the bottom.
20 know. My inbox is flooded with Asana telling her -- 20      Q. And then you begged -- you said "don't
21 telling me to do a million things and she always    21 leave."
22 wants to be piling on my plate. Thankfully Matt     22           So you're saying that she wasn't happy
23 understands what I do and at least feels my pain.   23 but you don't know if she was actually going to
24            Again, are you referring to Marnie as    24 leave; is that somewhat accurate?
25 well?                                               25      A. She -- I know that she had always
                                                 Page 197                                                      Page 199
 1                                                        1 talked about with Gregg when she first got hired that
        A.    Yes.
 2                                                        2 she wanted more of a content role and they had
        Q.    Okay.
 3                                                        3 discussed that she would start as the executive
             MR. GOLD: Could you scroll down?
 4                                                        4 liaison and then that could transition into more. I
   BY MR. GOLD:
 5                                                        5 think she was just getting inpatient with getting to
        Q. She says: I need to be -- I need to
 6                                                        6 the content part because that was her -- what she
   look for a new job where I'm not an assistant. A
 7                                                        7 really liked about the job.
   real policy job.
 8                                                        8       Q. And you would agree, though, she also
             You say: Don't leave me.
 9                                                        9 hated the Marnie part of the job, correct? You said
             She says: I have had it with note
10                                                       10 that.
   taking and agenda writing.
11                                                       11       A. When Marnie was delegating.
             Again, is she referring to Marnie in
12                                                       12       Q. Yeah, you said "don't think about it
   this text message?
13                                                       13 now, the Marnie part is making you hate it more,"
        A. No.
14                                                       14 correct?
        Q. Well, you write back: Don't think
15
   about it, the Marnie part is making you hate it more. 15       A. Correct, I said that.
16
        A. The work. She's talking about the work 16              Q. Okay.
17                                                       17           MR. GOLD: Let's go to Exhibit 11.
   here.
18                                                       18 BY MR. GOLD:
        Q. Okay. But who is the -- she says: I
19                                                       19       Q. Again she says to you in an exchange of
   have had it with note taking and agenda writing.
20                                                       20 text messages "I'm going to punch Marnie and quit."
        A. That's what she was doing at the time.
21                                                       21 This is now March 30th, 2018. Do you believe that
        Q. And who gave her that work to do?
22
        A. She would take notes in our development 22 she was expressing her frustration with Marnie or
23
   meetings, in -- in all kinds of company meetings for 23 again was she just reacting to Marnie's behavior
24                                                       24 towards her?
   Gregg and -- and the agenda writing was for this
25                                                       25       A. I think she was just -- but, again, I'm
   event specifically but it was just part of her --
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 1 just guessing what she was feeling right now.   I          1      So your observation was that Marnie was
 2 mean, I can tell you guesses.                         2 on some kind of a power trip?
 3      Q. Okay. Well, she -- you have a lot of          3      A. Yes.
 4 contact with her. I mean, next message, if you move   4      Q. What does that mean?
 5 down, you say: Is she e-mailing you again?            5      A. She was leading the project and that's
 6           She says: She sent me an e-mail asking      6 not something that's normally in her role, so she was
 7 for the -- asking for minutes from last year when I   7 just going a bit overboard with it.
 8 wasn't there and for this year which I didn't do.     8      Q. Okay. Do you know what the word MAJA
 9 Fucking look in the Dropbox bitch.                    9 boss means? Is that -- do you understand what that
10           Are you telling me from that you could     10 --
11 assume she liked working with Marnie?                11      A. It's slang for major.
12      A. No, I think she was frustrated at the        12      Q. Okay. Got it.
13 time.                                                13           MR. GOLD: Can you scroll down
14      Q. Well, she said she wanted to quit, she       14      some more, Matt?
15 said she wanted to punch Marnie, and now she says -- 15 BY MR. GOLD:
16 refers to her as a bitch.                            16      Q. Okay, Exhibit 12. This one is dated --
17      A. I think she was just frustrated with         17 now we're into April 2018. She says: I was up so
18 the planning of this event in general.               18 late last night working on this power point,
19      Q. Okay. You and her never had any              19 accidentally deleted it. I actually cried. Vasili
20 conversations about -- you know, she never said to   20 tried to get it back it didn't happen. I'm halfway
21 you I want to quit because of Marnie except for what 21 done. It's 6 I'm thinking of ramping up my heart and
22 appears in these text messages.                      22 taking a trip to the ER to postpone.
23      A. Not seriously.                               23           What exactly was that about, if you can
24      Q. Well, what makes you think she wasn't        24 recall?
25 serious?                                             25      A. She had a school assignment that got
                                                   Page 201                                                     Page 203
 1       A. Because she would -- it wasn't                1 deleted.
 2 something that she continuously talked about.          2       Q. So this wasn't -- this wasn't MEF work?
 3       Q. Okay. When did she stop talking about         3       A. No, I don't think so.
 4 it?                                                    4       Q. Okay. So what did you think about her
 5       A. I don't know exactly. She would be            5 thought of running over to the ER to postpone having
 6 fine in a conversation or two.                         6 to turn in the work when it had been deleted?
 7            MR. GOLD: Okay. Go down further             7       A. I mean, I thought she was just
 8       in this text message. Stop.                      8 exaggerating that part because she was so upset.
 9 BY MR. GOLD:                                           9       Q. Okay. Do you know whether she went to
10       Q. "I'm actively looking for a new job. I       10 the ER that night?
11 hate this type of work anyway."                       11       A. I don't know.
12            And you respond: Don't even worry          12       Q. You write --
13 about it, it's not needed right this second, or week, 13       A. I don't remember.
14 it's needed for the 16th.                             14       Q. You write: Holy shit. Oh my God. How
15            MR. GOLD: Go ahead, scroll down.           15 is it even possible it didn't automatically save, I
16 BY MR. GOLD:                                          16 would have cried too. Don't make your heart go
17       Q. She says: She is in MAJA boss mode.          17 crazy. You know if a trip to the ER would get you
18 She sent an e-mail out yesterday about letting her    18 out of -- get you out of jail -- jail free card you
19 know when we change schedules and that's cause Matt 19 could just go and say your heart was acting up.
20 didn't come in yesterday and told me but not her.     20           So were you encouraging her to go to
21            And you say: Yeah, stay your ass on        21 the ER and misrepresent what actually occurred with
22 the beach and don't mind her.                         22 whatever paper she was working on?
23            Then she writes -- you write: I know,      23       A. I wasn't seriously intending that. I
24 she's on a power trip, don't let it get to you.       24 didn't think that she was even serious when she was
25 Somebody get this girl a mimosa.                      25 talking about going to the ER.

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 1      Q. Okay.                                             1       Q. My question is, in your interactions
 2      A. I was just pointing out the absurdity              2 with her while you were working at MEF had she ever
 3 was ironic.                                                3 engaged in any acts of deception or
 4      Q. And she writes back: My heart was                  4 misrepresentation?
 5 insane last night. I thought I was going to die.           5      A. Not that I can think of.
 6 Adderall, coffee, anxiety, anger. That's what gave         6      Q. Okay.
 7 me the idea.                                               7          MR. GOLD: Let's go to the next
 8           MR. GOLD: Can you scroll up,                     8      exhibit then, Exhibit 13.
 9      Matt?                                                 9          THE WITNESS: Okay.
10 BY MR. GOLD:                                              10 BY MR. GOLD:
11      Q. So your recollection this had to do               11      Q. Okay. Was there a point in time when
12 with a project for school, not for MEF?                   12 Lisa sent someone a text message and represented it
13      A. I think so.                                       13 was actually coming from her husband, Vasili?
14      Q. And you thought she was kidding about             14      A. I don't know.
15 faking a certain medical condition to avoid having to     15      Q. Okay. I'll come back to that. You
16 turn the paper in on time?                                16 don't know of any such situation where that occurred.
17      A. Yes.                                              17      A. Not that I remember.
18      Q. Okay. Had she ever done that before,              18      Q. Okay. We'll get to that.
19 suggested that she would engage in some deceit or         19          Okay. Exhibit 13. She says: I want
20 misrepresentation as an excuse to not get something       20 to kill Gregg. Are you up?
21 in by a certain deadline?                                 21          Now we're at -- what time -- this is in
22           MR. CARSON: Objection. Assuming                 22 the early morning on May 4th, 2018?
23      facts not in evidence.                               23      A. Okay.
24      Mischaracterization of prior testimony.              24      Q. What time did -- what time was it when
25      Object to form.                                      25 you got that text message?
                                                  Page 205                                                        Page 207
 1                                                 1      A. Looks like almost 2 a.m. from this.
             You can answer.
 2                                                 2      Q. Okay. And I guess you were awake. You
             THE WITNESS: No, and she wasn't
 3                                                 3 responded: Yeah, what's he doing.
        being serious in that moment.
 4                                                 4           And then you say: You only had one.
   BY MR. GOLD:
 5                                                 5 I'm sorry.
        Q. Well, what if she was being serious?
 6                                                 6           What does that mean?
             MR. CARSON: Objection. What do
 7                                                 7      A. I'm not sure.
        you mean what if she was being serious?
 8                                                 8      Q. Okay. And then she comes back -- "I'm
   BY MR. GOLD:
 9                                                 9 going to kill him."
        Q. How do you know she wasn't being
10                                                10           MR. GOLD: Go ahead -- can you
   serious? How do you know she was kidding?
11                                                11      scroll up? Yeah.
             MR. CARSON: She just testified
12                                                12 BY MR. GOLD:
        that's what she -- that's what --
13                                                13      Q. "What I have on my plate this week,"
   BY MR. GOLD:
14                                                14 and she gives you a rundown of what she has to do.
        Q. So your perception she was kidding and
15                                                15 "I'm genuinely frustrated. This is exactly what
   she wasn't going to do that, correct?
16
             MR. CARSON: Objection. Asked and 16 we're talking about in meeting. How would I have
17                                                17 ever" -- "how would I ever know you wanted all of
        answered.
18                                                18 that by tomorrow? It's like you push people to
   BY MR. GOLD:
19                                                19 'grow' but you give them no guidance and get mad when
        Q. Okay. Had you ever --
20                                                20 they don't deliver or meet your expectations."
             MR. CARSON: The other thing, too,
21                                                21           Is she referring to Gregg in that text
        is that you guys already asked her
22                                                22 message?
        questions about --
23                                                23      A. Yes.
             MR. GOLD: I have another
24                                                24      Q. Okay. And --
        question.
25                                                25           MR. GOLD: Keep scrolling down.
   BY MR. GOLD:
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 1 BY MR. GOLD:                                            1     Q. Okay. Well, that has to do with I
 2      Q. You say: Are you okay?                         2 guess management style versus -- that wasn't -- you
 3          "I'm better. I need to do this paper          3 wouldn't consider that to be sexual harassment, would
 4 and not kill Marnie."                                  4 you?
 5          Is this the paper we were talking about       5      A. Some of it was forms of harassment when
 6 before for school or is this another paper?            6 he would do it.
 7      A. I'm not sure.                                  7      Q. No, I asked you, ma'am, was that
 8      Q. Okay. And then you say: When she               8 motivated by reason of her gender?
 9 comes in here in the mornings, she goes around to see  9           MR. CARSON: Objection. Asked and
10 who's here. I want to kill her. Do your paper,        10      answered.
11 don't think about these mongrels.                     11 BY MR. GOLD:
12          Are you referring to Marnie in that          12      Q. Okay. What proof do you have that that
13 text?                                                 13 was motivated by reason of her gender?
14      A. And Gregg.                                    14      A. I didn't say that this specific thing
15      Q. Well, you say "when she comes in here,"       15 was motivated by her gender. I just think that his
16 so you're talking -- when you say Gregg, you mean     16 -- everything that he did in conjunction with the
17 what, the mongrel?                                    17 other things that he did all compiled together, like
18      A. Yes.                                          18 you can't just take one thing at a time and say --
19      Q. Who else?                                     19 like the phone calls late at night or this one time
20      A. Who else what?                                20 that he assigned her all of these things, how are
21      Q. You say -- it's plural, so what other         21 those -- all together along with the way he would
22 mongrels were there?                                  22 touch us or the way he would make you go on forced
23      A. Marnie and Gregg.                             23 dates outside of hours with him and all of those
24      Q. Just the two of them. Okay. So is it          24 things together; it's not just singled out.
25 -- would you say that -- are these complaints         25      Q. Okay. So giving excessive work to you
                                                Page 209                                                       Page 211
 1
   regarding -- I think you answered these complaints 1 or Lisa in your mind was another form of sex
 2
   are regarding the workload that Gregg gave her, not 2 discrimination.
 3                                                      3      A. It was a form of discrimination in how
   necessarily what Marnie had given her, correct?
 4                                                      4 he was feeling at that time, if he was feeling like
        A. The complaint about what workload?
 5                                                      5 your reactions to his touching were not good or good.
        Q. The workload that she's complaining
 6                                                      6      Q. So you're saying he would give you more
   about right in here where she wants to kill Gregg
 7                                                      7 work if you resisted his touchings; is that what
   because she has too much work.
 8                                                      8 you're trying to say?
        A. I'm sorry, I'm not seeing that on the
 9                                                      9      A. If he was unhappy with you at that
   screen.
10                                                     10 time, if he felt like he wasn't getting a good
            MR. GOLD: Go back -- scroll back
11                                                     11 reaction from you when he would tell you to sit on
        up.
12                                                     12 the couch and have a personal conversation with him
            THE WITNESS: Oh, you're talking
13                                                     13 or talk about your dating life or things like that,
        about the last one.
14                                                     14 if he didn't feel like it was super close and he was
   BY MR. GOLD:
15                                                     15 getting what he wanted, then, yes, it would come back
        Q. Yeah, "here is what I" -- she says "I
16                                                     16 and be extra work.
   want to kill Gregg. Here is what I have on my
17                                                     17      Q. Okay. Now we're talking in May of 2018
   plate."
18                                                     18 if you felt that way and if Lisa felt that way why
            She's complaining about the workload,
19                                                     19 did you not register a complaint with Daniel Pipes or
   correct?
20                                                     20 Marnie O'Brien?
        A. Yes.
21                                                     21      A. I mean, I've said this answer multiple
        Q. Okay.
22                                                     22 times. Are we just going to keep saying the same
        A. And also the way that Gregg gives the
23
   workload but then doesn't explain exactly what he 23 thing?
24
   wants from things, so it takes ten times longer and 24      Q. That's the question, ma'am. The
25                                                     25 question is why did you not complain to Marnie
   ten times over to do the workloads.
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 1 O'Brien or Daniel Pipes if that's the way you felt in       1 him to social distance and sit on the balcony and you
 2 May of 2018?                                                2 can sit on the first floor?
 3          MR. CARSON: Objection. Asked and                   3     A.     Because that's easier said than done
 4     answered.                                               4 when you're talking about your direct supervisor who
 5          You can answer again.                              5 is in charge of all of your work and all of the
 6          THE WITNESS: There were multiple                   6 things you do and the job that you have and your
 7     reasons, one being feeling like all of                  7 paycheck and you just -- I had already heard these
 8     these things -- I mean, we weren't                      8 horror stories, I didn't want to just get fired for
 9     talking about all of them together at                   9 something as silly as just going though -- to a
10     that time, you felt very much alone in                 10 movie.   I thought I would just sit through it and --
11     what was happening to you, and so I                    11     Q. Well -- you sat right through it,
12     didn't go because I didn't feel like me                12 correct?
13     alone was meant -- it would be powerful                13     A. I did.
14     enough and I thought that I would just                 14     Q. And did he make any sexual advances
15     be fired like they said happened to                    15 towards you?
16     Tiffany Lee, which is exactly what Matt                16     A. At the movie theater?
17     told me not to do in the beginning, he                 17           MR. CARSON: Objection.
18     said don't make any complaints because                 18 BY MR. GOLD:
19     they won't matter, they'll tell                        19     Q. Yeah, at the movie theater.
20     everybody to lie and they'll get you to                20     A. I mean, it was already inappropriate
21     leave.                                                 21 enough, again, to me, I felt, sitting next to me in
22 BY MR. GOLD:                                               22 an empty movie theater.
23     Q. Okay. Now, when did you last have your              23     Q. Why wasn't that on the list of your
24 forced date with Gregg Roman before May of 2018?           24 things you told Daniel Pipes back in November of
25     A. I mean, I don't know exactly when it                25 2018?
                                                  Page 213                                                             Page 215
 1                                                             1       A. There is a lot to tell. I mean, we
   was. They happened all the time. He would do it
 2                                                             2 made it pretty -- I thought saying all of the things
   regularly.
 3                                                             3 that we had told him had happened -- I mean, I
       Q. Where did you go with him? To dinner?
 4                                                             4 thought once I told him that Gregg had touched me at
   Bowling? See a movie?
 5                                                             5 AIPAC on the couch, you know, his hand on my thigh
       A. To -- he made me go to the movies once
 6                                                             6 pulling me onto his lap would be all that anyone
   with him during work hours.
 7                                                             7 would need to hear at that point. It didn't seem
       Q. What did you see? Star Trek?
 8                                                             8 like we had to go through the whole this is what he
       A. Star Wars I think.
 9                                                             9 does on a daily basis, but we continued to do so, but
       Q. Star Wars? Okay. So you felt
10                                                            10 it's hard -- there were so many things that he did,
   compelled to go to a movie with him?
11                                                            11 it's hard to remember them all every single time
       A. He said I had to.
12                                                            12 you're talking.
       Q. Okay. And did you voice your
13                                                            13       Q. Were you alone with Gregg at the movie
   opposition to going to that movie with him?
14                                                            14 or was Marnie there with you?
       A. No, it was within the first two months
15                                                            15       A. Marnie was there as well.
   of me working there and --
16                                                            16       Q. Okay. So did he make any sexual
       Q. Okay. So did he make any sexual moves
17                                                            17 advances towards Marnie at the movie theater?
   towards you, any advances towards you, during the
18                                                            18       A. I don't know.
   movie?
19                                                            19       Q. Okay. So in your mind that visit to
       A. I mean, it was just uncomfortable. He
20                                                            20 the movie theater was sexually motivated; is that
   was sitting directly next to me.
21                                                            21 your testimony?
       Q. Well, where did you want him to sit?
22                                                            22       A. Yeah, it was forcing two females to go
   Behind you?
23                                                            23 to the movies with him during --
       A. It was an empty movie theater. He
24                                                            24       Q. To have -- and what would be the sexual
   could have sat behind me.
25                                                            25 motivation? Just because you're females?
       Q. Well, then why -- why didn't you tell
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 1      A. And along with while he was also, you            1
                                                                        MR. GOLD: Okay. That's good to
 2 know, doing other things in the office. It's not          2
                                                                    hear.
 3 just like nothing else ever happened and he just made     3
                                                                        Let's go to Exhibit 13.
 4 us go to the movies with him the one day. It was in       4
                                                               BY MR. GOLD:
 5 conjunction with everything else happening.               5
                                                                    Q. Starts off with: You okay?
 6      Q. So why did you go to the movie theater            6
                                                                        And then she responds: I'm better. I
 7 with him? I'll withdraw --                                7
                                                               need to do this paper and not kill Marnie.
 8      A. I just answered that.                             8
                                                                        I think we --
 9      Q. -- the question. I'll withdraw the                9
                                                                        MR. GOLD: Keep -- next -- I mean
10 question. It's --                                        10
                                                                    Exhibit 14. I'm sorry. I got the wrong
11           So did Marnie -- well, Marnie was the          11
                                                                    -- we already had that exhibit. 14.
12 head of HR, so why did she go to the movie theater       12
                                                               BY MR. GOLD:
13 with Gregg and you, do you know?                         13
                                                                    Q. Okay. Here we go. Starts off with
14      A. I mean, as far as -- as far as I knew            14
                                                               something about the texts from Israel, and you
15 at that point they still had a very good friendly        15
                                                               respond: I do have those texts.
16 relationship with each other.                            16
                                                                        Do you know -- this is now in May of
17      Q. Okay. So you -- so you were ambivalent           17
                                                               2018.
18 to register a complaint with Marnie for that reason?     18
                                                                        And then you say: I just figured
19      A. For multiple reasons, for the reasons I          19
                                                               better safe than sorry.
20 just stated before.                                      20
                                                                        And then she says to you: Good.
21      Q. Did you tell Matt -- did you tell Matt           21
                                                               Screen shot that shit and lee it.
22 Bennett that you thought that this visit to the movie    22
                                                                        What does "lee it" mean?
23 theater was sexually motivated?                          23
                                                                    A. I think it's a typo.
24      A. I told Matt a lot of the things that             24
                                                                    Q. What's the word that the typo is?
25 Gregg did that I thought were inappropriate.             25
                                                                    A. I would assume send.
                                                 Page 217                                                        Page 219
 1      Q. Well, I'm only asking about this one --          1       Q. Oh -- okay. "Good. Screen shot that
 2 I'm asking about the movie visit, though. Did you         2 shit and send it"?
 3 tell Matt about that?                                     3           Do you know why she wanted -- do you
 4      A. I don't remember if I told him about              4 know why she asked you for those texts from Israel?
 5 the movie or not.                                         5      A. I'm not sure.
 6      Q. Okay. Okay. Got it. All right. So                 6      Q. Did you send it to her that day?
 7 --                                                        7      A. I don't remember.
 8      A. Gregg had instructed us not to tell               8      Q. Did you take a screen shot of those
 9 anyone, so I don't know if I --                           9 texts at any point in time?
10      Q. And you did everything you were told,            10      A. I did.
11 right? Because if Gregg would have told you to jump      11      Q. Okay. When did you do that?
12 off the roof, you would have jumped off the roof,        12      A. After she sent them to me.
13 right?                                                   13      Q. Okay. And the reason why she wanted
14      A. I mean, that's absurd.                           14 you to screen shot it is no longer on her phone. Did
15           MR. CARSON: Object -- object to                15 she actually delete it herself?
16      form.                                               16      A. I'm not sure.
17           You can answer.                                17      Q. Do you have any personal knowledge as
18           I think the question is if Gregg               18 to whether Gregg ever hacked into Lisa's phone?
19      told you to jump off the roof would you             19      A. I don't know.
20      have jumped off the roof.                           20      Q. Did Gregg ever hack into your phone?
21           MR. GOLD: Yeah, that's the                     21      A. Not that I know of.
22      question.                                           22           MR. GOLD: Okay. Scroll down,
23           MR. CARSON: So is the answer yes               23      Matt.
24      or no?                                              24 BY MR. GOLD:
25           THE WITNESS: No. That's absurd.                25      Q. Okay. She says then: Keep it. I
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 1 deleted mine in case he got paranoid and went through      1 focusing more on Gregg, is that what's occurring
 2 my phone.                                                  2 here?
 3            I covered that with you.                        3     A.    I don't think there was ever a shift, I
 4            MR. GOLD: Keep going. Okay.                     4 think that there was always issues with Gregg, but in
 5       Let's go to Exhibit 15.                              5 this particular instance that's who she's talking
 6 BY MR. GOLD:                                               6 about, yes.
 7       Q. She says: I just called Gregg in                  7     Q.    Okay. And what is the subject matter
 8 Israel and told him I'm at my breaking point and I'm       8 anyway that she's complaining about, do you know?        Do
 9 about to quit.                                             9 you have any recollection?
10            Do you know the context in which that          10     A.     I don't know.
11 conversation took place between you and Lisa?             11           MR. GOLD: Okay. Keep scrolling
12       A. No, I don't remember exactly what it             12      down.
13 was about.                                                13 BY MR. GOLD:
14            MR. GOLD: Keep going down here.                14      Q. It says something that she's preparing
15 BY MR. GOLD:                                              15 a paper of sorts. You have no recollection what
16       Q. It says: Can you talk. I just got off            16 that's about.
17 the phone.                                                17      A. No.
18            You said: Yeah.                                18      Q. Okay. And you understand she's
19            And then it says: I told him tired of          19 complaining about workload again, getting work done
20 morning inserting herself and everybody's job             20 at a certain point in time. Nothing in that text
21 including mine.                                           21 would you consider to be sexually offensive, would
22            Is that in reference to Marnie again?          22 you?
23       A. I believe so.                                    23      A. Specific to that text, no.
24       Q. Okay. So now it's May of 2018, she's             24      Q. Right.
25 still complaining about Marnie; would you agree?          25           MR. GOLD: Go back to -- go back
                                                  Page 221                                                          Page 223
 1      A.    Yes.                                            1       to Exhibit 14 for one second here, make
 2      Q.    Okay.                                           2       sure we don't skip over -- oh, we're at
 3           MR. GOLD: Scroll down. Stop.                     3       15 now? Okay, good.
 4      Let's see. Keep going. Keep going.                    4 BY MR. GOLD:
 5      Stop.                                                 5       Q. She says: I just called Gregg in
 6 BY MR. GOLD:                                               6 Israel --
 7      Q. It says here: I called her on the Matt             7       A. We just did this one.
 8 thing and she had an explanation for that but              8       Q. We did -- we're going to keep -- move
 9 admitted it too. I said it's an awful work                 9 on to the bottom of this text message, though, I want
10 environment. She said well Gregg has had people stab      10 to --
11 him in the back. I said that's on him. Does she           11           MR. GOLD: Stop. Keep going.
12 hear the way she -- the way he speaks to people?          12       Stop.
13           And then you say -- she says: He's              13 BY MR. GOLD:
14 exacerbating the problem. And he said that he             14       Q. Okay. Here is what you write: Me
15 insults my intelligence by thinking I'm stupid to         15 neither, but I've put them in mail -- mailchimp
16 know what's up.                                           16 before so I see there is a list created there for
17           And then you say: I think -- if he              17 conference call subscribers, and the RSVPs go to
18 thinks being sneaky and manipulative is going to stop     18 Thelma to create a link and campaign, so I used to
19 people from stabbing him in the back he's got another     19 get e-mails to enter from people who wanted to listen
20 thing coming.                                             20 so I recognized --
21           So are you now -- are we talking about          21           So the work she was doing was clearly
22 Gregg now in this exchange?                               22 MEF work, correct?
23      A. Yes.                                              23       A. I'm not sure where -- I mean, I know
24      Q. Okay. So now it looks like Gregg is               24 I'm talking about MEF work in that text message.
25 her -- she's shifting away from Marnie now and            25       Q. Okay. And you don't know if she is?
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 1                                                          1       A. Because Lisa was willing to pay to go
        A. In what instance? I'm not sure.
 2                                                           2 for herself.
        Q. In Exhibit 16, you're referring to MEF
 3                                                           3      Q. Okay. Okay. So --
   work, right?
 4                                                           4          MR. GOLD: Stop.
        A. Correct.
 5                                                           5 BY MR. GOLD:
        Q. Is this again with the board of
 6                                                           6      Q. And Lisa says: He's definitely paying
   governors meeting or is this something else?
 7                                                           7 for your ticket.
        A. I don't think that has to do with the
 8                                                           8          Again, is that with reference to
   board of governors.
 9                                                           9 Raheem?
        Q. Okay. Do you know what it had to do
10                                                          10      A. Yes.
   with?
11                                                          11      Q. Okay.
        A. Mailchimp is a platform we use for
12                                                          12          MR. GOLD: Keep going.
   invites and articles and things like that. I'm not
13                                                          13 BY MR. GOLD:
   sure specifically what that pertains to.
14                                                          14      Q. "He called me and talked about other
        Q. Okay.
15                                                          15 stuff. Said he would talk tomorrow." And she says I
            MR. GOLD. Keep going. Keep
16                                                          16 need to book the flights. He said he would talk to
        going. Stop. Go ahead, keep scrolling
17                                                          17 you tonight. I know DP could give two shits.
        down. Scroll down. Stop. Keep
18                                                          18          Is this now in reference to a
        scrolling down. Keep going. Keep
19                                                          19 conversation had with Gregg?
        going. Scroll down. Okay. Stop.
20                                                          20      A. This is about Gregg, yes.
        Scroll -- stop.
21                                                          21      Q. Okay. And looks like they never
   BY MR. GOLD:
22                                                          22 thought that -- appears to me they thought Gregg
        Q. Okay. Looks as now like -- this is now
23                                                          23 would never pay for the flight.
   June of 2018, and this is Exhibit 18 I believe.
24                                                          24          You say: Yeah, DP doesn't care --
   Yeah. It says -- you say to her: I don't know if I
25                                                          25      A. No, he wasn't going to let us go at
   can bring myself to spend that for literally one day.
                                                 Page 225                                                        Page 227
 1                                                     1 all.
              She says: I know. What if we throw
 2                                                     2       Q. Not go at all. Okay. And then you
   another day in there.
 3                                                     3 say: Yeah --
              What exactly were you talking about,
 4                                                     4       A. It wasn't about them paying.
   this trip to the UK?
 5                                                     5       Q. -- yeah, Daniel -- DP doesn't care what
        A. Yes.
 6                                                     6 the fuck you do -- what -- you and I do on our own
        Q. Okay. And when was this trip to take
 7                                                     7 time. Why wouldn't he just say one way or another on
   place? That weekend?
 8                                                     8 the phone.
        A. I believe the 9th.
 9                                                     9           And then she says: I want to write
        Q. Okay. So this is -- so you're planning
10                                                    10 this.
   ahead for the week for the 9th.
11                                                    11           And she says: It is that you don't
              MR. GOLD: Go ahead.
12                                                    12 want us at the march or off Monday? It's about the
   BY MR. GOLD:
13                                                    13 day I look for flights that come home on Sunday.
        Q. "I know. It looks like Raheem is
14
   ducking out cause Gregg won't pay him. I won't get 14 It's about what we do on our own time then we should
15                                                    15 talk about that.
   connects if he isn't going."
16                                                    16           MR. GOLD: Scroll down. Stop.
              MR. GOLD: Keep going. Go ahead.
17                                                    17 BY MR. GOLD:
   BY MR. GOLD:
18                                                    18       Q. You say: Why does he just want to be
        Q. "Raheem said he'd pay for you."
19                                                    19 difficult with everything?
              So Raheem was willing to pay for both
20                                                    20           And then she says: I'm quitting
   you and Lisa to go to the UK on the 9th?
21                                                    21 they're all nuts.
        A. Just for me, for my plane ticket.
22                                                    22           And you say: Does he say anything?
        Q. Just for you.
23                                                    23           She says: No but I just got into a
        A. Uh-huh.
24                                                    24 minor tiff with Marnie.
        Q. Do you know why just for you and not
25                                                    25           Do you know what she's talking about
   Lisa?
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 1 there?                                                        1 BY MR. GOLD:
 2      A. No.                                                   2     Q.   "Making major shit happen. Who books a
 3      Q. Okay. This conversation has to do with                3 trip on a Monday to fly to London on a weekend?"
 4 whether Gregg is going to pay for any part of the             4            And she says: We do.
 5 trip, is that it?                                             5            So I guess you two sound like you're
 6      A. No, it was whether he was going to let                 6 pretty ecstatic about going to London. Was this for
 7 us go or not.                                                  7 a rally or was this for some other reason?
 8      Q. Oh, okay. And you were working on the                  8      A. There was a rally taking place that
 9 assumption that he wasn't going to let you go,                 9 weekend. The two of us going started out as a
10 correct?                                                      10 personal trip and when MEF said that they would pay
11      A. He was saying that he might not let us.               11 for half, then it became we would report back to
12      Q. Okay. Next one says -- Lisa says: Ya.                 12 Daniel on -- on what we saw.
13 I was just asking if he doesn't approve the time off          13      Q. And earlier today I had asked you
14 on Monday am I allowed to do what I want on my own            14 whether -- you know, about the first trip to the UK
15 time?                                                         15 where she met -- where Lisa met Tommy -- Danny Rommo
16            MR. GOLD: Scroll up.                               16 -- or Danny Thomas, rather. Is this where it took
17 BY MR. GOLD:                                                  17 place, that weekend when you left for London?
18      Q. "She was" -- "she was like if you want                18      A. Yes.
19 to get technical about the manual you didn't request          19      Q. Okay. And when you were with her at
20 time off" --                                                  20 the rally were you involved with -- did you meet
21            You're referring now to Marnie?                    21 Robinson and Danny Thomas?
22      A. Lisa's saying that, yes.                              22      A. Not Tommy Robinson, he was in jail at
23      Q. Yeah, because Marnie said you have to                 23 the time, but --
24 follow the protocol in the manual?                            24      Q. He was in jail. Okay.
25      A. She's saying if you want to get                       25      A. -- I met Danny.
                                                      Page 229                                                        Page 231
 1 technical about it, yes.                                      1       Q. Okay. So what was your understanding
 2      Q.    Okay. Was Marnie involved in these                  2 of what the rally was for?
 3 discussions as well as Gregg?                                  3      A. It was for awareness of what had
 4      A.    I believe Lisa had went to her to see               4 happened to Tommy Robinson and for backing --
 5 if we would be able to take that Monday off.                   5      Q. Okay.
 6      Q. Okay. All right. And then you write                    6      A. -- the public.
 7 back:   Oh yeah, she's a hundred percent just ready to         7      Q. And was there any -- did Gregg Roman
 8 fight.                                                         8 ever express any apprehension about MEF getting
 9            And then she writes back: No. Still                 9 involved with Tommy Robinson at that juncture?
10 waiting for Gregg to give me a yes or no. He could            10      A. Not that he talked to me about.
11 ruin a picnic.                                                11      Q. And I guess Lisa didn't talk to you
12            MR. GOLD: Keep going.                              12 about that either?
13 BY MR. GOLD:                                                  13      A. No.
14      Q. And then she says: We're going.                       14      Q. Okay. So let's go to -- when you heard
15            I guess at that point she heard from               15 that Raheem was going to pay for your flight, was he
16 Gregg and he gave his -- gave the green light on it,          16 going to pay for it out of MEF money or out of his
17 I take it?                                                    17 own personal funds?
18      A. Yeah.                                                 18      A. Personal funds.
19      Q. And paid for half your tickets?                       19      Q. Okay. How did you know that?
20      A. We found that out later.                              20      A. Because that's what I was told.
21      Q. Okay. And then she went and booked the                21      Q. So Raheem's going to give you -- what,
22 flight.                                                       22 would be a gift to you to pay for your flight -- your
23            MR. GOLD: Keep going. And now                      23 flight to go to the UK for the weekend?
24      we're on Exhibit -- we're still on                       24      A. Yeah, he wanted me to go.
25      Exhibit 18. Stop there.                                  25      Q. Why would he want you to go?
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 1      A. Because he was going to be there.                1       Q. Well, it says here: Raheem is booking
 2      Q. He was interested in some kind of                 2 the room. I told him to save money you and I could
 3 relationship with you at the time?                        3 share a room but three is better.
 4      A. We were just friends, but he just -- he           4           So were the three of you going to share
 5 was in England and he wanted to hang out, me to be a      5 a room?
 6 part of the three of us hanging out together.             6      A. I don't think that -- I'm not -- I
 7      Q. Okay. So he was actually in -- I'm                7 don't think that's what she meant there.
 8 sorry, was he actually -- was he an employee of MEF       8      Q. Did Marnie go on the trip as well?
 9 or was he hooked up with the Robinson campaign?           9      A. No, Marnie wasn't there.
10      A. He's in the same line of business, but           10      Q. Okay. It says here: I knew Marnie was
11 he wasn't participating in the rally with us, he         11 going to end up coming up to New York on Thursday, I
12 wasn't being paid by MEF for that, he wasn't -- he       12 was waiting for that too.
13 was a fellow at one point, I don't remember if he was    13           What was happening in New York? Is
14 a fellow during this time or not.                        14 that where the board of governors meeting was or was
15      Q. Okay. When did you -- did you ever               15 that a different meeting?
16 meet him in person?                                      16      A. Different meeting. The board of
17      A. Did I ever what?                                 17 governors meeting would have already happened.
18      Q. Did you ever meet him in person?                 18           MR. GOLD: Let's go to Exhibit 19.
19 Raheem.                                                  19      Stop.
20      A. Yeah, I had met him before --                    20 BY MR. GOLD:
21      Q. Where?                                           21      Q. She says to you: I'm going to drop
22      A. -- this.                                         22 kick Marnie.
23      Q. I'm sorry, where -- go ahead.                    23           And you said: That's me today. What
24      A. I met him for the first time at the              24 is she doing now.
25 dinner we held in AIPAC.                                 25           She says: I'll call you when I leave.
                                                 Page 233                                                        Page 235
 1                                                      1
        Q. Okay.                                          What a fucking cunt.
 2                                                      2
        A. And then I'm not sure if we saw each                     Is this the kind of language that Lisa
 3                                                      3
   other in person again before this rally, but we've     used at work?
 4                                                      4
   definitely been at other work events together, ones         A. Well, she was just speaking to me
 5                                                      5
   that he's attended in the same line of work.           personally in this.
 6                                                      6
        Q. So how many times had you been in his               Q. Well, I mean have you ever heard her
 7                                                      7
   presence --                                            refer to any other women as cunts or is this --
 8                                                      8
        A. I don't know, only a handful.                  Marnie is the only person she referred to as a cunt?
 9                                                      9
        Q. Okay. But I guess he -- Lisa told you               A. I don't remember.
10                                                     10
   that he was willing to pay for your trip to UK. Did         Q. How often did she use the C word with
11                                                     11
   she ever explain why?                                  you?
12                                                     12
        A. Just that he wanted me to be there to               A. I don't think often.
13                                                     13
   participate in it all as well.                              Q. Okay. And that's how she was referring
14                                                     14
        Q. In the rally?                                  to her -- to Marnie O'Brien, correct?
15                                                     15
        A. In the trip. We were going to go to                 A. In that text message, correct.
16                                                     16
   the rally and also sightsee with him and just hang          Q. Yeah. Okay.
17                                                     17
   out for two days.                                                MR. GOLD: Why don't we take a
18
        Q. Okay. So you don't know whether he had 18           five-minute break right here and I'll be
19                                                     19
   any interest in you from a more -- like beyond              back. All right?
20                                                     20
   business, on a social level. You don't know that.                MR. CARSON: Okay.
21                                                     21
        A. Nothing ever happened with me and                        MR. GOLD: Off record.
22                                                     22
   Raheem, so I don't --                                            THE VIDEO SPECIALIST: Off the
23                                                     23
        Q. Okay.                                               record.
24                                                     24
        A. -- I don't -- I can't speak to his                       (A brief recess was taken from
25                                                     25
   intentions.                                                 3:27 p.m. to 3:35 p.m.)
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 1            MR. GOLD: I'm posting --                    1      A. She had told me that he was using
 2            THE VIDEO SPECIALIST: Back on the           2 personal money.
 3       record.                                          3      Q. Okay. And that's what she was led to
 4            MR. GOLD: I haven't marked this             4 believe?
 5       as an exhibit. We'll mark this, though,          5      A. As far as I know.
 6       as Exhibit 66 when we're done the                6      Q. Okay.
 7       deposition.                                      7           MR. CARSON: Objection. Object to
 8 BY MR. GOLD:                                           8      form.
 9       Q. This appears to be a text message -- a        9 BY MR. GOLD:
10 text message with -- can't tell if it's -- looks like 10      Q. And at no time did you learn that that
11 it's Raheem. I can't tell who it's with. Oh, there    11 offer to pay for your trip was going to be coming out
12 we go. It's with you, it's Raheem and yourself,       12 of the monies that MEF had paid Raheem in connection
13 Ms. McNulty. Do you recall seeing this text message?  13 with this trip --
14            MR. MAINEN: Hey, Sid, sorry to             14           MR. CARSON: Objection. There is
15       interrupt. This is something -- this is         15      no evidence that any of this even
16       between Raheem and Lisa, screen shot            16      happened, so just --
17       sent to Tricia.                                 17           MR. GOLD: Well, you can object --
18            MR. GOLD: Okay. Good. Got it.              18      you can object and --
19       Thank you.                                      19           MR. CARSON: Hypothetical --
20 BY MR. GOLD:                                          20           MR. GOLD: Yeah. No, not
21       Q. I'm sorry. These are screen shots of         21      hypothetical; it's a fact, but I don't
22 text messages between Raheem and Lisa. Have you ever 22       know if she knew about it, I was only
23 seen this before?                                     23      asking if she knew about it.
24            THE COURT REPORTER: Excuse me --           24           MR. CARSON: In order for it to be
25            MR. GOLD: I think she's --                 25      a fact, you got to present evidence.
                                                Page 237                                                       Page 239
 1            THE COURT REPORTER: Yeah, she's              1       All you have is the premise of a
 2      muted.                                              2      question --
 3            THE WITNESS: Sorry.                           3           THE COURT REPORTER: I'm sorry, I
 4            I don't remember.                             4      can't -- Mr. Carson, I'm having trouble
 5 BY MR. GOLD:                                             5      hearing anything you're saying there.
 6      Q. Okay. Anyway, it goes -- it goes to              6           MR. CARSON: Sorry. Well --
 7 the trip to -- it deals with the trip to the UK.         7           MR. GOLD: And I think you've
 8 Were you aware that MEF had paid Raheem $5,000 in        8      answered the question -- she's answered
 9 connection with this UK trip in May of 2018?             9      the question already.
10      A. No, I wasn't.                                   10           MR. CARSON: Sid, this is a
11      Q. Or June of 2018?                                11      hypothetical. She didn't answer the
12      A. No.                                             12      question yet. And if she did, it's
13      Q. Okay. Do you know whether Lisa was              13      subject to the objection I'm putting on
14 aware that MEF had paid Raheem $5,000 in connection     14      the record right now. It's a
15 with the trip to the UK in June of 2018?                15      hypothetical, it's assuming facts not in
16      A. I'm not sure. As far as I'm aware, he           16      evidence, there's no foundation, there
17 didn't receive money for --                             17      is no evidence for the premise of the
18      Q. Well, when you --                               18      question. So subject to all that, she
19      A. -- for the rally anyway. I don't know           19      can answer.
20 if this is something separate.                          20           MR. GOLD: Okay.
21      Q. So when Lisa told you that Raheem was           21 BY MR. GOLD:
22 going to pay for your trip, you don't have any          22      Q. Again, you were never aware of the fact
23 recollection as to whether Lisa told you that Raheem    23 that MEF had paid Raheem $5,000 in connection with
24 was using MEF money anyway to pay for your trip, you    24 this rally in the UK.
25 don't have any recollection of that?                    25      A. Yeah, as far as I know he didn't
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 1 receive any money --                                    1       A. I don't know where it went in the end,
 2            MR. CARSON: Same objection.                   2 but that's what we were talking about, whether Raheem
 3            THE WITNESS: -- for that rally.               3 would want it to go to him or not.
 4            MR. GOLD: Okay. Let's go back --              4      Q. Why wouldn't you just let MEF keep that
 5      let's put up -- take this off the board,            5 300, though, and you go for free and then Vasili pays
 6      and we can go right to Exhibit 19.                  6 300 -- the other -- the 300 goes to Lisa's ticket?
 7      Stop, go back. Go back to the                       7      A. Because I was working now with the $300
 8      highlighted part.                                   8 rather than not working.
 9 BY MR. GOLD:                                             9      Q. But you never got the $300.
10      Q. It says: Raheem is booking the room --          10      A. No, it went towards -- because I wasn't
11            We covered that already.                     11 paying for my ticket.
12            MR. GOLD: Keep going. Scroll                 12      Q. Right --
13      down. Keep going. Keep going, we                   13      A. Somebody else was.
14      covered all this. Stop there.                      14      Q. -- so -- but the instructions were that
15 BY MR. GOLD:                                            15 -- that -- according to -- he spoke to Daniel Pipes
16      Q. After she -- Lisa says that Gregg just          16 and he said that they're giving each of us 300, so if
17 called me and he spoke to DP and they're giving us      17 you don't need the 300, why would you take the 300
18 each 300 towards our ticket, and then Lisa says: I      18 and give it to Vasili?
19 should tell Raheem.                                     19      A. Because I was working now. When you
20            You say: Oh my gosh that's amazing.          20 work you get paid for it.
21 Or my $300 goes to Vasili? That's -- since that's       21      Q. So -- who cares?
22 what Raheem had kind of agreed to in the beginning.     22      A. People who work care. People who have
23            What is that about?                          23 bills care.
24      A. Because Vasili was paying for half of           24      Q. Then why didn't you --
25 Lisa's ticket, so they were -- we were discussing       25      A. It wasn't like a money free-for-all.
                                                Page 241                                                        Page 243
 1 whether she should -- when she talks to Raheem          1
                                                               Q. Then why didn't you just tell Raheem
 2 whether they should talk about him -- because he was  2
                                                           you only need to pay for my ticket over and above
 3 paying my full ticket at this point, so whether that  3
                                                           $300?
 4 300 would just go to reimburse him for the portion    4
                                                               A. They did have that --
 5 that he paid or if he wanted Vasili to get it since   5
                                                                    MR. CARSON: Can you guys hear me?
 6 he was fine with paying my full portion and Lisa and  6
                                                                    THE WITNESS: Now we can.
 7 Vasili paying theirs.                                 7
                                                                    MR. CARSON: Because I'm objecting
 8       Q. Okay. So Raheem paid for your full           8
                                                               --
 9 ticket anyway, correct?                               9
                                                                    THE COURT REPORTER: Barely.
10       A. I -- this is the last we talked about       10
                                                                    MR. CARSON: This entire line of
11 it. I'm not sure if that money went to Raheem or if  11
                                                               questioning is based on something that
12 it went to Vasili or --                              12
                                                               didn't happen, right? So --
13       Q. Why didn't you just tell Gregg I don't      13
                                                                    MR. GOLD: No, it did happen.
14 need the 300 because Raheem is paying for my ticket? 14
                                                                    MR. CARSON: So start with --
15       A. Because they wanted us to report back,      15
                                                                    MR. GOLD: It did happen.
16 it was -- they would pay 300 towards our ticket and  16
                                                                    MR. CARSON: No, it didn't.
17 the trip would be somewhat work related during the   17
                                                                    MR. GOLD: Vasili paid for her
18 rally.                                               18
                                                               ticket. I mean Raheem paid for her
19       Q. Yeah, but if Raheem was going to pay        19
                                                               ticket.
20 for your ticket, what's the difference? Why should   20
                                                                    MR. CARSON: You have no idea
21 MEF pay for it?                                      21
                                                               whether Raheem paid for the ticket with
22       A. Because I wasn't doing work previously      22
                                                               MEF money or his own money.
23 when Raheem was paying for it.                       23
                                                                    MR. GOLD: She just said that she
24       Q. Well, then -- but why would that 300        24
                                                               --
25 then go to Vasili?                                   25
                                                                    MR. CARSON: You're making stuff
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 1                                                     1
        up.                                             Q. Then tell me what you said. Tell me
 2                                                2
             MR. GOLD: I'm not -- forget about      what you said.
 3                                                3
        the MEF money. My question was --                    MR. CARSON: That's not accurate.
 4                                                4
             MR. CARSON: You're just making             That's not accurate.
 5                                                5
        stuff up for fun. Let's just -- while       BY MR. GOLD:
 6                                                6
        we're at it, let's just invent facts and        Q. Tell me what is accurate, ma'am. Tell
 7                                                7
        just say Gregg Roman is not a sexual --     me what is accurate, ma'am.
 8                                                8
             MR. GOLD: It doesn't matter --                  MR. CARSON: By the way, the only
 9                                                9
             THE COURT REPORTER: Excuse me.             -- the only people making these
10                                               10
             MR. GOLD: Forget whether Raheem            allegations a year and a half later
11                                               11
        did it with MEF money.                          after they've been accused of sexual
12
             THE COURT REPORTER: Excuse me. I 12        harassment, sexual assault --
13                                               13
        can't --                                             MR. GOLD: That's a beautiful,
14                                               14
             MR. GOLD: My question is --                beautiful speaking objection.
15                                               15
             THE COURT REPORTER: I can't hear       BY MR. GOLD:
16                                               16
        you guys. It's not making it onto the           Q. Go ahead. Go ahead. Tell me what
17                                               17
        record because I can't understand what      happened --
18                                               18
        you're saying.                                       MR. CARSON: What happened is what
19                                               19
             MR. GOLD: Let me just clarify my           my client already testified to.
20                                               20
        point. My point is forget about whether              MR. GOLD: That she got a free
21                                               21
        MEF gave Raheem the money. Raheem did,          trip from Raheem --
22                                               22
        in fact, pay for Tricia's ticket to the              MR. CARSON: (Indiscernible) half
23                                               23
        UK, that's correct.                             the tickets and did pay for half --
24                                               24
             MR. CARSON: First of all, I don't               MR. GOLD: Let me -- I have one
25                                               25
        know if that happened either. Did               question.
                                            Page 245                                                       Page 247
 1                                              1
      Tricia say that?                                     THE COURT REPORTER: I can't hear
 2                                              2
           MR. GOLD: Well, she just answered          Mr. Carson. I can't hear Mr. Carson.
 3                                              3
      that she -- no, she already answered                 MR. GOLD: I have one question.
 4                                              4
      that he did.                                BY MR. GOLD:
 5
           THE VIDEO SPECIALIST: Excuse me, 5         Q. Who paid for your trip to the UK?
 6                                              6
      gentlemen. For the sake of the court            A. I'm actually going to get a chance to
 7                                              7
      reporter we have to have one person talk    answer now?
 8                                              8
      at once because she cannot do her job           Q. Yeah, you are.
 9                                              9
      otherwise. Thank you.                                MR. CARSON: You can answer that
10                                             10
           MR. CARSON: If Mr. Kassam paid             question. Yeah.
11                                             11
      for anything, then -- it has nothing to              THE WITNESS: Raheem initially
12                                             12
      do with the fact that MEF still paid for        paid for my trip. MEF reimbursed $300,
13                                             13
      half of each of their ticket, which is          which I sent to Lisa to either send to
14                                             14
      $300, so --                                     Raheem or she was having a conversation
15                                             15
           MR. GOLD: You're missing the               with Raheem on whether he wanted to
16                                             16
      point -- you're missing the point.              reimburse Vasili.
17                                             17
           MR. CARSON: I don't think I am.        BY MR. GOLD:
18                                             18
           MR. GOLD: The $300 was supposed            Q. Okay. That's exactly what I said.
19                                             19
      to go towards Tricia's ticket. Okay?                 MR. GOLD: Okay. So let's go now
20                                             20
      It did not go to Tricia's ticket. In            to the next exhibit.
21                                             21
      fact, Lisa used that money to reimburse              MR. CARSON: MEF doesn't get out
22                                             22
      her husband.                                    of paying for half of the ticket just
23                                             23
           THE WITNESS: That's not -- no one          because --
24                                             24
      ever said that. That's not a fact.                   MR. GOLD: Save it for the --
25                                             25
   BY MR. GOLD:                                            MR. CARSON: -- someone else --
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 1           MR. GOLD: Save it for the jury,            1 a complaint?
 2      my friend.                                      2     A. No --
 3           MR. CARSON: Yeah. All right. I             3     Q. Okay.
 4      will. We will save it for the jury.             4     A. -- not by Daniel.
 5           MR. GOLD: Next exhibit is --               5     Q. Okay. So at this point we're talking
 6      we're up to now looks like 19. Is that          6 now -- you were talking with Daniel, and Daniel
 7      -- or was that -- we're up to 20 now?           7 wanted to know exactly what you were complaining
 8           MR. MAINEN: We just wrapped up             8 about, and did you make your complaints known to
 9      19. We're on 20.                                9 Mr. Pipes at that point?
10           MR. GOLD: Okay. All right.                10     A. At what point?
11      Let's get to Exhibit 20.                       11     Q. November 2018.
12 BY MR. GOLD:                                        12     A. Yes.
13      Q. And I guess these are a series of text      13     Q. Okay. And as a result thereof what
14 messages between yourself and Lisa. The time period 14 happened?
15 now is November 3rd, 2018, and this is at or about  15     A. Initially when we talked about it
16 the time you met with Mr. Pipes, correct?           16 before the weekend started Daniel told us that
17      A. Correct.                                    17 nothing would happen, that Gregg would get a slap on
18      Q. Okay. And --                                18 the wrist and told not to do it again and there would
19           MR. GOLD: Scroll down.                    19 be no changes. And then we got an e-mail that
20 BY MR. GOLD:                                        20 weekend or that night, whenever, that said that now
21      Q. Okay. Looks like "I just went from I'm      21 we needed to not come in the office the next day and
22 going to enjoy that weekend" --                     22 he wanted to think about it some more and we would
23           MR. GOLD: Go ahead. Let her read          23 have a meeting with everybody together that Monday.
24      -- don't go so fast because she has to         24     Q. Okay. And did that happen?
25      read it.                                       25     A. Yes.
                                                 Page 249                                                        Page 251
 1 BY MR. GOLD:                                             1        Q. Okay. So these -- this e-mail exchange
 2      Q.   She talks about this Young Republican           2 is in anticipation of that meeting, I take it?
 3 party, and who says "you wanna go"?     Is that you?      3       A. I believe so.
 4       A. No, I think that's her.                          4       Q. Okay. And what happened at the meeting
 5       Q. That's her.                                      5 on that Monday?
 6          "Wanna go, if we still have jobs?"               6       A. The meeting on Monday was very
 7          And you said: Haha, if we still have             7 different than the meeting the week before, in some
 8 jobs then yes. I was going to wear a gown. How much       8 ways. We last left it off with Daniel saying that
 9 is it?                                                    9 priests had committed worse crimes and had less
10          Was there some concern that you and             10 punishment and that's why he wasn't going to punish
11 Lisa had that you were going to lose your jobs           11 Gregg, and then this Monday we came in and he said
12 because you were going to have this meeting with         12 that after reconsidering that he would remove Gregg
13 Daniel Pipes on the 3rd after you had registered your    13 from the office but that nothing else would change
14 complaints on that -- on the 30th?                       14 with his role, he would still remain the director and
15       A. There was always reservations that at           15 still have the senior position and Daniel would take
16 any second we could lose our job because Gregg didn't    16 more participation with the office.
17 want us there anymore.                                   17       Q. Okay. And then did -- do you recall
18       Q. Was there -- did Daniel Pipes ever              18 Mr. Pipes' office actually posing three questions to
19 threaten you with losing your job when he met with       19 you, whether you were satisfied with the resolution
20 you on the 30th?                                         20 or his proposed resolution of the matter?
21       A. On the 30th?                                    21       A. He did send an e-mail with those
22       Q. Or November 1st -- whenever it is you           22 questions, yes.
23 registered the complaints, the actual day, were you      23       Q. And did you indicate that you were
24 ever threatened by Daniel Pipes that you would lose      24 satisfied?
25 your job because you came forward and you registered     25       A. As long as Gregg wasn't back in the
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 1 office, I did say yes. It was better than the week      1
                                                                     A.   Yes.
 2 before where nothing was happening to him at all.       2
                                                                     Q.   Okay. Do you know whether Lisa signed
 3      Q. So after that date did Gregg set foot           3
                                                               it?
 4 in the office ever again?                               4
                                                                     A.  I'm not sure. I don't think she did.
 5      A. After that date, yes.                           5
                                                                     Q.  Did anyone sign it?
 6      Q. And that would be sometime in March of           6
                                                                     A.  I know Matt signed it.
 7 2019?                                                    7
                                                                     Q.  How do you know that?
 8      A. Yes.                                             8
                                                                     A.  Because he told me.
 9      Q. Okay. And did you have any interaction           9
                                                                     Q.  Okay.
10 with Gregg from November through March of 2019?         10
                                                                        MR. GOLD: Stop there.
11      A. Yes.                                            11
                                                              BY MR. GOLD:
12      Q. Okay. All of it being work related, I           12
                                                                    Q. Yeah, it said: Matt said just sign it.
13 take it?                                                13
                                                              Don't be stupid they are doing this for Gregg. I
14      A. Yes.                                            14
                                                              just talked to Marnie. She's not signing it either.
15      Q. Okay.                                           15
                                                              My dad said under no circumstances should I sign
16           MR. GOLD: Let's go to Exhibit 21.             16
                                                              it --
17      Let's go -- go backwards for one second.           17
                                                                        Who is that? Is that Lisa talking?
18 BY MR. GOLD:                                            18
                                                                    A. Yes.
19      Q. It looks like, again: If we still have          19
                                                                    Q. Okay.
20 jobs do you think we'll be able to work from home?      20
                                                                        MR. GOLD: Scroll down. Stop.
21 It's midweek.                                           21
                                                              BY MR. GOLD:
22           "It's Tuesday I'll take off. Fuck it.         22
                                                                    Q. "Delaney doesn't want to sign it."
23 You will still have a job. Nothing is going to          23
                                                                        How was this NDA different than the one
24 change for you."                                        24
                                                              you signed when you were first employed at MEF?
25           Are you now talking to Lisa?                  25
                                                                    A. I don't remember the exact specifics of
                                                Page 253                                                         Page 255
 1       A. I'm the blue, yeah, and Lisa is --           1 what it said. I know we've given a copy of the
 2       Q. Okay. And she tells you that you'll          2 document, but I don't remember the exact specifics.
 3 still have your job, nothing is going to change for   3      Q. Okay. In any event, you didn't -- even
 4 you.                                                  4 with the amendment you wouldn't sign it.
 5           MR. GOLD: Go ahead, keep going,             5           MR. GOLD: And keep going down.
 6       scroll -- scroll down. Stop. Okay.              6      Scroll down. Stop.
 7       We're now to Exhibit 21.                        7 BY MR. GOLD:
 8 BY MR. GOLD:                                          8      Q. Daniel writes back: As long as you
 9       Q. This has to do with the NDA that you         9 have previously signed an NDA with the Forum, signing
10 were asked to sign, and I know you had some          10 the new by tomorrow morning is not imperative. It is
11 reluctance or apprehension about not signing it. Was 11 largely intended to make everyone in the room -- make
12 the NDA ever -- the NDA that you were asked to sign 12 sure that everyone in the room has signed a version
13 ever modified or amended?                            13 of the NDA form. The NDA benefits you by allowing
14       A. There was an amended version sent -- we     14 you to have access to information necessary for you
15 signed an NDA when we started at MEF --              15 to do your job at the Forum. As to potentially
16       Q. Okay.                                       16 releasing confidential information to outside
17       A. -- and when the complaints were brought     17 counsel, this would be implicitly allowed in the NDA.
18 against Gregg they amended the NDA and asked us to 18 However, to make you feel more at ease, I've reviewed
19 sign a new one.                                      19 the NDA to make this explicit. Please note the
20       Q. And did you sign a new one?                 20 addition of Section 4.
21       A. No.                                         21           And --
22       Q. Okay. So you weren't -- you weren't         22           MR. GOLD: Scroll down. Stop.
23 fired for not signing it obviously, right?           23 BY MR. GOLD:
24       A. No.                                         24      Q. And Lisa says: Oh gosh, that makes me
25       Q. Okay. But it was amended?                   25 feel better. I feel like I could cry tonight a

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 1 little bit from anxiety relief.                           1 draining and that's what you're left with --
 2           Was Lisa's reluctance to sign the NDA           2    A. I'm the blue.
 3 because she understood that if she signed that she        3    Q. You're the blue. This is you saying
 4 couldn't talk to an attorney about whatever was going  4 that I think it's all draining and that's what you're
 5 on with her?                                           5 left with, but I think it's going to only go up from
 6      A. I'm not sure.                                  6 here. You're gonna get a fancy title you're proud
 7      Q. Okay. Was that why you wouldn't sign           7 of, you'll be immersed in content, sure not in the
 8 it?                                                    8 way you wanted -- want yet, but this is a good
 9      A. I didn't want to sign it because there         9 stepping stone to that.
10 should be no reason for an -- we had already signed   10           So it appears that you're giving her
11 NDAs, so for them to change it specifically to cover  11 words of encouragement and that in a way her job
12 what was happening with Gregg at that point just      12 becomes a bit more attractive; would you agree?
13 didn't seem right to me.                              13       A. I was trying to give her a pep talk,
14      Q. Okay. And you wrote -- you said: If           14 yes.
15 you give me your Gmail or whatever I'll forward it to 15       Q. Yeah. Okay.
16 you.                                                  16           MR. GOLD: Keep going down.
17           She gives you her Gmail address.            17       Scroll down. Stop.
18      A. That's me and her.                            18 BY MR. GOLD:
19      Q. Okay. So she forwards it to you; is           19       Q. And then you posted: Life is amazing.
20 that right?                                           20           Is that your post?
21      A. Correct.                                      21       A. Yes.
22      Q. You then -- and who says "I'm relieved"       22       Q. Okay. And then you say: FYI, Matt
23 -- I'm sorry, is that Lisa or is that you?            23 still has not replaced that gift from Neal that he so
24      A. She's the gray.                               24 awkwardly asked me to give him. And I've mentioned
25      Q. Okay. She's the gray? I'm sorry.              25 it to him like 15 times by now.
                                                  Page 257                                                        Page 259
 1                                                 1           What exactly is that about?
             "So I'm glad I wrote the e-mail last
 2                                                 2       A. I don't remember exactly what it was.
   night. I was freaking out."
 3                                                 3 I think that's when Matt had asked me for, like, CBD
             MR. GOLD: Keep going. Scroll
 4                                                 4 oil that my now-fiance, boyfriend, had given me when
        down. Okay. We're now on Exhibit 22.
 5                                                 5 we first met to try.
   BY MR. GOLD:
 6
        Q. So as far as you know, nobody signed 6          Q. Okay. What exactly is CBD oil?
 7                                                 7       A. It's just like a natural -- like a
   the NDA except for maybe Matt?
 8                                                 8 vape.
        A. As far as I know.
 9                                                 9       Q. You would smoke it?
        Q. Okay.
10                                                10       A. Yeah, you smoke it.
             MR. CARSON: For the record,
11                                                11       Q. You can get high from that?
        Delaney and Caitriona signed it too.
12                                                12       A. You don't get high. It's not a drug.
             THE WITNESS: I didn't know.
13                                                13       Q. What is it?
             MR. GOLD: Okay. So -- keep
14                                                14       A. I wouldn't be able to say exactly what
        going.
15                                                15 it is. I'm not --
   BY MR. GOLD:
16                                                16       Q. Do you hyperventilate when --
        Q. Is that the picture from the rally, by
17                                                17       A. -- well-versed in it.
   the way, in the UK?
18                                                18       Q. Do you hyperventilate when you smoke
        A. Yes.
19                                                19 it?
        Q. Okay. And that was posted by -- is
20                                                20       A. I don't smoke it.
   that -- now, is that posted by Lisa or you?
21                                                21       Q. Oh, so why would your boyfriend -- why
        A. Lisa.
22                                                22 would -- why would you have it?
        Q. Okay. And then she writes: I'm so
23                                                23       A. It was given as a gift.
   sad. I don't know.
24                                                24       Q. Oh, okay. Okay. And then she writes
             And you write: Why?
25                                                25 back: I don't know what to say. Unbelievable.
             And then she says: I think it's all
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 1                                                        1          And you say: You have an amazing and
             You say: So weird. I wish I had never
 2                                                        2 hot husband and super adorable children. Don't sweat
   given it to him. The lack of respect to not replace
 3                                                        3 some short dude who shot you down not texting --
   it for weeks is making me mad.
 4                                                        4          Who are you referring to? Is this
             So this is something you gave to Matt
 5                                                        5 Danny Thomas?
   that you had gotten from Neal?
 6                                                        6      A. I don't remember.
        A. Correct.
 7                                                        7      Q. Okay. But you're trying to kind of
        Q. Okay. So why were you asking him to
 8                                                        8 reassure her that she has family obligations?
   give it back to you?
 9                                                        9      A. I'm reminding her that her life is
        A. Because it was a gift. It was
10                                                       10 good.
   sentimental to me.
11                                                       11      Q. Okay. And she was trying to cheat on
        Q. Okay. Okay. So when you gave it to
12
   Matt, it wasn't intended as a gift, I take it, he was 12 her husband, I take it?
13                                                       13      A. I don't -- she wasn't trying to cheat
   going to borrow it?
14
        A. Yeah, Matt had asked me to take it and 14 on her husband. I think she was -- had a friendly
15                                                       15 relationship with somebody that she's mentioning in
   said he would replace it.
16
        Q. Oh, okay. So he -- you expected him to 16 this text.
17                                                       17      Q. You don't know who that was?
   buy a new one for you.
18                                                       18      A. I don't.
        A. Correct.
19                                                       19      Q. Okay. And --
        Q. What's the cost of that?
20                                                       20          MR. GOLD: Scroll down.
        A. I have no idea.
21                                                       21 BY MR. GOLD:
        Q. Okay.
22                                                       22      Q. You said: You have a gorgeous family.
             MR. GOLD: Scroll down. Stop.
23                                                       23          MR. GOLD: Scroll down. Scroll
   BY MR. GOLD:
24                                                       24      down. All right. 24. Keep going.
        Q. You say: We planned it, he came here
25                                                       25 BY MR. GOLD:
   for a day and then we drove to my --
                                                Page 261                                                        Page 263
 1            MR. GOLD: Can you scroll down? I             1       Q. And who is that a picture of?
 2       can't see that word. Okay.                         2      A. I think that's Jaz.
 3 BY MR. GOLD:                                             3      Q. And that's the mother of Danny Thomas's
 4       Q. -- drove to my W his friends who had            4 children?
 5 something up here this weekend.                          5      A. I think so.
 6            Who would that be?                            6      Q. Okay.
 7       A. I don't know what this conversation             7          MR. GOLD: Go back up. I want to
 8 that -- you're starting, like, in the middle a           8      see what the date of that previous
 9 conversation. I don't --                                 9      message was. Stop.
10       Q. Okay.                                          10 BY MR. GOLD:
11            MR. GOLD: Scroll up for a minute.            11      Q. Yeah, it looks like that was on the
12       Let's see if we can get the context of            12 10th of November, so this is now on the 17th of
13       this. Stop.                                       13 November 2018, so does that refresh your recollection
14 BY MR. GOLD:                                            14 that she was talking about Danny Thomas in that
15       Q. You say: I'm in New York now.                  15 previous text message?
16            Does that refresh your recollection?         16      A. It could have been. I don't remember.
17       A. Okay. So I was visiting him.                   17      Q. Do you know why she would post a
18       Q. Meaning Neal?                                  18 picture of Jaz and her son on this -- in this
19       A. Correct.                                       19 message?
20       Q. Okay. And Lisa then writes back: I'm           20      A. I don't remember.
21 losing my mind. This has been the worst month. I'm      21          MR. GOLD: Scroll down. Stop.
22 irritated that a person I'm not even to be --           22      Scroll down. Scroll down. Stop.
23 supposed to be talking with hasn't texted or called     23 BY MR. GOLD:
24 me. Can you please remind me that I have a husband      24      Q. In the box there is that a text message
25 and a family and responsibilities.                      25 exchange between Danny and Lisa?

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 1                                                          1
        A.    It looks like it.                                BY MR. GOLD:
 2                                                           2
        Q.    And Danny writes --                                   Q. And who is that a picture of, by the
 3                                                           3
            MR. GOLD: Go back up -- can you                    way?
 4                                                           4
        scroll up for a minute? Stop.                               A. It's a Golden Girl.
 5                                                           5
   BY MR. GOLD:                                                     Q. Okay. And then she goes: Lots of
 6                                                           6
        Q. "About to talk on Capitol Hill" --                  luck. That's me. Except I'm so miserable. And I
 7                                                           7
        A. I can't read that if I'm supposed to                don't look good -- look that good.
 8                                                           8
   be.                                                                  You say: Crazy.
 9                                                           9
        Q. Okay. And who is sharif, do you know                         "You're coming in tomorrow?"
10                                                          10
   who that is, msharif?                                                She says -- you say yes.
11                                                          11
        A. I don't know.                                                "I'll be in 9:30ish. I'm taking
12                                                          12
            MR. GOLD: Scroll down. Scroll                      Georgie to school."
13                                                          13
        down. Scroll down. Make this larger.                            Is Georgie her son or daughter?
14                                                          14
        Okay. Scroll down.                                          A. Her son.
15                                                          15
   BY MR. GOLD:                                                     Q. Son? Okay. And then you say: I'll be
16                                                          16
        Q. Okay. And he said: Lisa, all the                    in regular time.
17                                                          17
   things from today have been deleted. He knows he                     What is regular time, by the way?
18                                                          18
   needs to change. I promise you it won't happen                   A. For me usually like 8 a.m.
19                                                          19
   again. Don't fall out with me FFS. I int done fuck               Q. Okay.
20                                                          20
   all.                                                                 MR. GOLD: Scroll down.
21                                                          21
            "Right."                                           BY MR. GOLD:
22                                                          22
            You wouldn't know who those messages                    Q. She says: Are you reading these
23                                                          23
   came from, would you?                                       e-mails?
24                                                          24
        A. Who they came from?                                          And then you say -- she says: Because
25                                                          25
        Q. Yeah, is that the exchange between                  DP and I --
                                                 Page 265                                                        Page 267
 1 Danny and her?                                           1            "Why that face?"
 2      A. Yeah, well, I can see it's Danny.                 2           And she says: Because DP and I
 3      Q. Okay. And that's her with the "right"?            3 disagree.
 4      A. I think she's the -- yeah, she's the              4           And it looks like you're giving her
 5 green and he's the white.                                 5 some advice on how to handle this relationship with
 6      Q. Okay.                                             6 Danny?
 7          MR. GOLD: Scroll down. Stop.                     7      A. I don't see that.
 8      Okay.                                                8      Q. Well, it says: You're just discussing
 9 BY MR. GOLD:                                              9 though, it doesn't need to be an argument or anything
10      Q. And then it looks like you say: Are              10 --
11 you gonna have a conversation about you two.             11      A. I think that's between her and Daniel.
12          She says: I don't know. Should I?               12      Q. Oh, this is now -- okay. So she
13          And you say: I feel like you either             13 references Daniel -- "I'm basically advising Tommy.
14 have to be nice or not have it or just have it, but      14 We had this long talk after we got off the phone and
15 you can't be passive aggressive without talking about    15 he called Danny and makes a quick video. And now DP
16 it.                                                      16 disagrees."
17          Is that your comment?                           17           You're telling her not to argue with
18      A. Yes.                                             18 Daniel Pipes, is that it? Or Daniel -- Danny Thomas?
19      Q. What did you mean by that?                       19 Which one?
20      A. I'm not sure exactly what it's                   20      A. I was telling her that it didn't --
21 referring to, but I'm just telling her to be             21 what she was describing to me didn't sound like an
22 forthright with Danny about whatever she's upset         22 argument, it just sounded like a disagreement.
23 about.                                                   23      Q. Okay.
24      Q. Okay.                                            24           MR. GOLD: Scroll down. Let's get
25          MR. GOLD: Scroll down.                          25      to the yellow part. Okay.
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 1 BY MR. GOLD:                                                    1
                                                                           A.
                                                                      Well, I know she separated --
 2       Q. So she says: I definitely think he is        2
                                                                    MR. CARSON: Object --
 3 wrong. Like playing it safe. Tommy has a larger       3
                                                                    THE WITNESS: -- from her husband.
 4 audience now. Going back to grooming gangs is good 4
                                                                    MR. CARSON: Woah, woah, woah,
 5 work and he should -- he should but the people want   5
                                                               objection. Again, are we making up
 6 more from him. If he throws this Brexit rally and a   6
                                                               facts that aren't on the record again
 7 hundred thousand people show up that will make a      7
                                                               and premising our questions on those
 8 mark.                                                 8
                                                               unsupported facts?
 9            And then you say: Yeah, if a hundred       9
                                                                    MR. GOLD: I just asked a
10 thousand people show up it definitely would.         10
                                                               question.
11            And she says: I don't know what's         11
                                                                    MR. CARSON: Yeah, and the
12 wrong lately but I want to address it at work.       12
                                                               question was did -- something about
13 You've been really funny since DC. You said a        13
                                                               cheating on husband and cheating on her
14 thousand times have you think -- that you think you  14
                                                               children now too. She never cheated on
15 work so much harder than everyone else. In DC you    15
                                                               her husband, she never cheated on her
16 did what you don't understand how the rest of my ear 16
                                                               children, so as long as we understand
17 looked so that's not a fair comparison you've been a 17
                                                               that, then she could answer the
18 little bitchy with me.                               18
                                                               question.
19            What is she talking about, do you know?   19
                                                                    MR. GOLD: Okay. That's your
20       A. I think I was just upset in general at      20
                                                               interpretation. Okay.
21 the time. I was super overworked, I was working like 21
                                                                    MR. CARSON: That's fact.
22 20-hour days at this point and upset about work in   22
                                                                    MR. GOLD: Okay. Let's go.
23 general.                                             23
                                                           BY MR. GOLD:
24       Q. Okay. And it says: I saw you rolling        24
                                                               Q. You said: I just -- I'm just
25 your eyes while I was talking today. I know you're   25
                                                           overworked, tired, and sick, and it's making me
                                               Page 269                                                                 Page 271
 1 not happy with my behavior and the Danny thing but              1 irritable.  DC made me annoyed with everyone because
 2 when friends are weak that's when their friends need             2 I was working 20 hours a day. Everyone else was on
 3 to be there the most.   I don't know what it is --               3 how Caitriona so eloquently put it "vacation." I
 4 what's the core of the problem but I know you are                4 feel like Delaney when she said "Lisa, I'm in a place
 5 hurting my feelings and I don't like it.                         5 where I can't celebrate every one of your successes
 6           And you then say: Well, I'm just                       6 right now." It's hard to hear "Daniel loves
 7 overworked, tired, and sick --                                   7 everything I write" from you while I'm drowning in
 8           So it seems like she had some                          8 work and stressed by -- stressed out every second.
 9 apprehension or misapprehension that you were not                9           So it appears like you were telling her
10 happy with her interactions with Danny.      Are you            10 you're exhausted from the amount of work you have,
11 saying that's not accurate?                                     11 correct? And you're a little grumpy.
12      A.    No, I think she -- I mean, I didn't                  12           MR. CARSON: These are really good
13 want to be hearing about every little thing about               13      questions. Object to form.
14 them, I think was -- she thought that it was like a             14 BY MR. GOLD:
15 bother to me.                                                   15      Q. Is that true?
16      Q.    From a morality viewpoint, do you feel               16           MR. CARSON: Object to form.
17 it was appropriate for her to be, you know, cheating            17 BY MR. GOLD:
18 on her husband and (indiscernible)?                             18      Q. Go ahead. Answer the question.
19         THE COURT REPORTER: Mr. Gold, I                         19           MR. CARSON: You want her to tell
20     didn't hear the question. Can you --                        20      you how it appears? That's your
21         MR. GOLD: Yeah.                                         21      question?
22         THE COURT REPORTER: -- repeat it?                       22           MR. GOLD: Yeah, that's my
23 BY MR. GOLD:                                                    23      question, yeah.
24     Q. Do you have a moral issue with the fact                  24           MR. CARSON: How does it appear --
25 she was cheating on her husband and her children?               25           MR. GOLD: You want to ask the
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 1      question for me -- you want to ask the             1
                                                                        Is she talking with you?
 2      question for me?                                   2
                                                                  A. Not about me. This conversation is
 3            MR. CARSON: Yeah, I probably --              3
                                                             with me.
 4            MR. GOLD: Go ahead, ask the                  4
                                                                  Q. Okay. So what does she mean by saying
 5      question --                                        5
                                                             that -- is that her saying that your behavior isn't
 6            MR. CARSON: -- could do a better             6
                                                             professional or is that you telling her that her
 7      job.                                               7
                                                             behavior isn't professional?
 8            MR. GOLD: You ask the question.              8
                                                                  A. No, she's saying this about someone
 9      Go ahead.                                          9
                                                             else.
10            MR. CARSON: Well, I would have to           10
                                                                  Q. Who is she talking about?
11      see the exhibit. Do you want to read              11
                                                                  A. I think Jaz from what you scrolled by
12      the exhibit to me, Mr. Gold?                      12
                                                             earlier.
13            MR. GOLD: Well, it's right --               13
                                                                        MR. GOLD: Scroll up. Stop. Go
14      it's right in front of your face. Put             14
                                                                  down. Stop.
15      your face on the screen.                          15
                                                             BY MR. GOLD:
16            MR. CARSON: No, I can't. Not                16
                                                                  Q. "Matt and DP" -- "Matt, DP, and Marc
17      possible.                                         17
                                                             have been in spa -- in the spa office" --
18            MR. GOLD: You don't have the                18
                                                                        What's the spa office? What is that?
19      exhibit on your screen?                           19
                                                                  A. I think it's an auto correct from "the"
20            MR. CARSON: Do not.                         20
                                                             --
21            MR. GOLD: Okay.                             21
                                                                  Q. Okay.
22 BY MR. GOLD:                                           22
                                                                        -- "with the door closed" --
23      Q. Let me just finish this last line here.        23
                                                                  A. -- or DP's.
24 You said: I'm grumpy and I miss you as a friend,       24
                                                                  Q. Okay.
25 instead of only ever talking about Tommy and Danny     25
                                                                        -- "with the door closed for like an
                                               Page 273                                                           Page 275
 1 and Avi and Cassandra --                                1 hour."
 2          Who is Avi?                                    2            So this is something that was sent to
 3      A. Someone she met --                              3 you during work on a given day, December 28th, 2018?
 4      Q. Another guy?                                    4     A.      I'm the blue.
 5      A. -- in London.                                   5     Q.      Okay. So you sent it to her.
 6      Q. Another male?                                   6     A.      Yes.
 7      A. Avi is a male. He worked with the               7     Q.      Okay. And this is now at work,
 8 Tommy stuff too, I think.                               8 correct?
 9      Q. -- and all these shiny people that are          9     A.     I'm not sure.
10 just so much more interesting. London is better, I     10     Q.     Well, 2:43 in the afternoon.
11 get it. They are better, I get it. That will never     11     A.     Yeah, I can't see the time.
12 be me.                                                 12     Q.     Yeah. Okay.
13          What do you mean by that, that will           13           MR. GOLD: So scroll down. Stop.
14 never be me?                                           14 BY MR. GOLD:
15      A. One of these journalists who are               15     Q. She -- and this is Lisa saying: I
16 traveling the world.                                   16 should read them instead of skimming them. Mental
17          MR. GOLD: Okay. Do you want to                17 note. It's even worse with George on my lap.
18      scroll down to the next exhibit? Keep             18           Is that Lisa's response?
19      going. Stop. Okay, keep going. Keep               19     A. To the text message before it, yes.
20      going. Stop. Keep going. Stop. Okay.              20     Q. Who is George?
21 BY MR. GOLD:                                           21     A. Her son.
22      Q. She says to you: I don't know it was           22     Q. Okay. So she's home at the time, I
23 like eight hours ago. I told Danny to give her my      23 take it?
24 number. I'm gonna look your problem isn't with me,     24     A. I think so.
25 your behavior isn't professional.                      25     Q. Okay.
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 1           MR. GOLD: Keep going down. Stop.                    1        Q. Well, what did she tell you?
 2      Keep going down. Stop.                                    2       A. I know they hung out a few times, they
 3 BY MR. GOLD:                                                   3 saw each other, they talked.
 4      Q. And I guess it's -- she makes a                        4       Q. In the UK or --
 5 comment: Could you imagine if social media stalked             5       A. I don't know exactly when, but yes.
 6 all of Vasili's female coworkers.                              6       Q. Okay. Then you mention: Haha, a new
 7           What is she referring to there? Do you               7 dress? I just saw this, did something happen?
 8 know?                                                          8           And she says: Nothing happened. Trump
 9      A. I'm not sure.                                          9 hotel for NYE in -- New Years Eve in DC with Raheem.
10           MR. GOLD: Scroll down. Scroll                       10 You in?
11      down. Keep going. Stop.                                  11           You said: I think I'm too poor for
12 BY MR. GOLD:                                                  12 that.
13      Q. Okay. Now she injects --                              13           And she mentioned just hang out, no
14           MR. GOLD: Scroll back up for a                      14 ball or nothing.
15      minute. Stop. Scroll down. Stop.                         15           MR. GOLD: Keep scrolling down.
16      Scroll down. Stop.                                       16       Stop.
17 BY MR. GOLD:                                                  17 BY MR. GOLD:
18      Q. Okay. Looks -- she says -- again,                     18       Q. You say: I need to figure out the
19 she's in the -- you're in the blue and she's in the           19 money thing. I don't think Marnie cut my check right
20 gray, right?                                                  20 for the one millionth time.
21      A. Correct.                                              21           Were you having problems getting
22      Q. Okay. She says: LOL. It's Tommy's                     22 payroll checks or reimbursement checks from Marnie?
23 company so I'm betting he doesn't.                            23       A. They just weren't always accurate.
24           And you say: Haha so funny.                         24       Q. Okay.
25           And then you say: I wonder what Jaz is              25           MR. GOLD: Keep going. Stop.
                                                      Page 277                                                        Page 279
 1 thinking now.   I can't believe she never called, what        1
                                                            BY MR. GOLD:
 2 a bizarro.                                             2
                                                                 Q. You say: I hate him so much. I can't
 3           And then she says: I bet she will call       3
                                                            wait till you're over him, you're passionate about
 4 tomorrow morning.                                      4
                                                            somebody else, because it's only when -- only then
 5           Is that -- does that mean she was going      5
                                                            you'll realize what a little twerp he is.
 6 to call Lisa in the morning?                           6
                                                                      Are you talking about Danny Thomas now
 7       A. Yes.                                          7
                                                            and the relationship with -- she had with Danny
 8       Q. Okay. So was she having conversations         8
                                                            Thomas?
 9 with Jaz at or about this time in December of 2018 to  9
                                                                 A. I don't remember. I believe so.
10 the best of your knowledge?                           10
                                                                 Q. Who is the little twerp? You don't
11       A. I think this was supposed to be the          11
                                                            remember?
12 first time that Jaz was calling her.                  12
                                                                 A. Probably him.
13       Q. Okay. And Jaz, again, is the mother of       13
                                                                 Q. Okay. Looks like you're trying to talk
14 the children of Danny Thomas, correct?                14
                                                            her out of any further contact with him; would that
15       A. Correct.                                     15
                                                            be fair to say?
16       Q. Did she tell you why she would be            16
                                                                 A. No, I don't think I was trying to talk
17 calling her?                                          17
                                                            her out of any contact with him.
18       A. No.                                          18
                                                                 Q. Okay. Okay.
19           MR. GOLD: Okay. Scroll down.                19
                                                                      MR. GOLD: Keep going. Scroll
20 BY MR. GOLD:                                          20
                                                                 down. Stop.
21       Q. At this point in time was -- did you         21
                                                            BY MR. GOLD:
22 know whether Lisa was spending more time with Danny 22
                                                                 Q. She says --
23 Thomas?                                               23
                                                                      MR. GOLD: Scroll up for a second.
24       A. I don't know if she was spending more        24
                                                            BY MR. GOLD:
25 time.                                                 25
                                                                 Q. Something about an 18-month position at
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 1 the Gates Foundation, the -- you say:   That would be      1          MR. GOLD: So go back to the first
 2 nice, are you applying.                                    2     --
 3           At that point was Lisa looking for               3 BY MR. GOLD:
 4 work?                                                      4     Q.     Okay. So Lisa says: I'm about to say
 5      A. Not that I know of, but she sent me                5 expect those dick pics any day.
 6 that job request, or that job opening.                     6          And you said: You can't do that, he's
 7      Q. Okay. And she writes back: Thinking                7 got pictures of you too.
 8 about it. I don't have enough French.                      8          Is the "he" Danny Thomas or her
 9           You say: Boo. I'm definitely gonna               9 husband?
10 start looking, fuck this under appreciated bullshit.      10      A. Danny.
11           So that was January 18th, 2019. At              11      Q. Okay. And why would she tell you that
12 that point you stated you were going to start looking     12 she's about to send some dick pics to Danny Thomas?
13 for work. Is that what you did?                           13      A. She was upset with him.
14      A. No, I was just venting.                           14      Q. And is she sending pictures -- and
15      Q. Okay.                                             15 whose dick is she photographing to send to Danny
16           MR. GOLD: Scroll down. Scroll                   16 Thomas?
17      down. Stop. Scroll down. Stop.                       17      A. His.
18      Scroll down.                                         18      Q. Okay. So I guess in some kind of
19           We're going to take a break right               19 expression of anger she's going to send him some dick
20      now. It's Exhibit 28. Give me a                      20 pics of his own dick?
21      two-minute break. All right?                         21      A. Yeah, that he had sent to her.
22           Off the record.                                 22      Q. That he had sent to her. Okay. So --
23           THE VIDEO SPECIALIST: Off the                   23 and you say: You can't do that, he's got pictures of
24      record.                                              24 you too.
25           (A brief recess was taken from                  25          What pictures did he have of her?
                                                  Page 281                                                         Page 283
 1                                                        1      A. I know the two of them sent intimate
        4:25 p.m. to 4:32 p.m.)
 2                                                        2 pictures back and forth to each other when they were
            THE VIDEO SPECIALIST: The time is
 3                                                        3 in a relationship.
        4:32 p.m. We are now back on the
 4                                                        4      Q. Okay. Were you uncomfortable getting
        record.
 5                                                        5 these kind of text messages from Lisa?
   BY MR. GOLD:
 6                                                        6      A. Not really. It's not something that I
        Q. Okay. We're on Exhibit 28 and we're
 7
   trying to focus on the highlighted yellow portions of 7 delve too deeply into, but --
 8
   the text message, and of course if you need to have 8         Q. Well, do they call -- is this what's
 9                                                        9 known as revenge porn? Ever hear that term before?
   me scroll back up to get a better feel for the
10                                                       10           MR. CARSON: Asking someone a
   context of any statement that may have been
11                                                       11      question about a dick pic --
   attributed to you or Lisa, please tell me. I'll be
12
   going out of my way to kind of scroll back and forth 12            MR. GOLD: Yeah, do you know what
13                                                       13      revenge porn is. Yeah.
   for you, but that rate we'll be here probably
14                                                       14           THE WITNESS: No.
   forever, so I'm going to try to take it up a notch
15                                                       15           MR. CARSON: Yeah, I'm going to --
   for you.
16                                                       16 BY MR. GOLD:
            So, again, you're in the gray and --
17                                                       17      Q. Okay. If you don't know, you don't
   rather, Lisa's in the gray and you're in the blue,
18                                                       18 know.
   correct?
19                                                       19           Okay. Then she says: Fuck him. I'm
        A. Correct.
20
        Q. And we're now up to Exhibit 28, and the 20 so angry.
21                                                       21           MR. GOLD: Keep scrolling down.
   date of that -- this text is --
22                                                       22 BY MR. GOLD:
            MR. GOLD: Can you scroll --
23                                                       23      Q. You say: You have every right to be,
   BY MR. GOLD:
24                                                       24 he treats you like a joke. He's the joke.
        Q. -- looks like it's -- okay. We're now
25                                                       25           And she says: Still active, hasn't
   on January of 2019.
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 1                                                      1
   read -- hasn't read it's.                              I guess herself and Danny together.
 2                                                      2
            Meaning, what, he hasn't gotten a --               A. I don't think she actually did send
 3                                                      3
   hasn't gotten the dick pic yet? Is that what she       them, she was just fighting with him --
 4                                                      4
   means?                                                      Q. Well, I mean, it sounds --
 5                                                      5
        A. No, it means she hasn't -- he hadn't                A. -- and saying things --
 6                                                      6
   read the text message she sent through.                     Q. It says like she was -- sounds like she
 7                                                      7
        Q. Okay. And you say: What is he even             was threatening him. Anyway --
 8                                                      8
   doing?                                                           MR. CARSON: Is that a question?
 9                                                      9
            And she says: Talking to other chicks         BY MR. GOLD:
10
   is the only thing I can think of. He's one point of 10      Q. Well, what -- let's assume that they
11                                                     11
   Sapchat --                                             were fighting. I mean, do you think that's
12                                                     12
            What exactly is that, Sapchat, do you         appropriate to be threatening to send his -- the
13                                                     13
   know?                                                  mother of his children sexual photos because she's
14                                                     14
        A. Snapchat.                                      angry at him or fighting with him?
15                                                     15
        Q. Oh, is that what that -- left out the                    MR. CARSON: Object to form.
16                                                     16
   N. Okay.                                                    Hypothetical question.
17                                                     17
            -- since last talked to him as he's                     You can answer.
18                                                     18
   never on it. So I'm fucking done.                      BY MR. GOLD:
19                                                     19
            You say: I loathe him. He just chats               Q. You can answer.
20
   it up with a bunch of randos like the one he DMSs 20        A. I can't speak to what exactly was going
21                                                     21
   kissy faces.                                           on in that relationship at the time. I don't know
22                                                     22
            What's a rando? Random women?                 all of the details and I don't know exactly what this
23                                                     23
        A. Yes.                                           fight entailed. I'm just seeing bits and pieces of
24                                                     24
        Q. Okay. I'm getting good at this now.            it. So I really can't answer to --
25                                                     25
            And you say: He's the worst. Be                    Q. She then writes back: You have no --
                                                  Page 285                                                       Page 287
 1 alright, Dean Lewis --                                    1
                                                                you have no right to treat me with disrespect like
 2           Who is Dean Lewis?                               2
                                                                after I've done fucking everything for you.
 3      A.    A singer.                                       3
                                                                          Do you know what she meant by "I've
 4      Q.    Okay.                                           4
                                                                done everything fucking for you"?
 5           -- have you heard it?                            5
                                                                          MR. CARSON: Is this a text thread
 6           MR. GOLD: And then scroll down.                  6
                                                                     between Lisa and Danny Tommo?
 7 BY MR. GOLD:                                               7
                                                                          MR. GOLD: Yeah. Yeah.
 8      Q. She writes down --                                 8
                                                                BY MR. GOLD:
 9           MR. GOLD: Stop.                                  9
                                                                     Q. Do you know --
10 BY MR. GOLD:                                              10
                                                                          MR. GOLD: I asked what -- do you
11      Q. She says -- this is Danny Thomas, I               11
                                                                     know what she's referring to.
12 guess it's an exchange she sends to you.                  12
                                                                          MR. CARSON: You're asking my
13           "Oh my bad."                                    13
                                                                     client her opinion about a communication
14           And she says: I'm the last person you           14
                                                                     --
15 want to make mad hang up on me and I swear to God I'm     15
                                                                          MR. GOLD: No, I'm asking your
16 sending Jaz every fucking piece of that shit I have       16
                                                                     client does she have any idea what she's
17 from you.                                                 17
                                                                     referring to. That's the question. The
18           So now we have Lisa threatening Danny           18
                                                                     answer is yes or no.
19 to send photographs to Jaz. How did that make you         19
                                                                          THE WITNESS: No, I don't know --
20 feel when you knew she was having that exchange with      20
                                                                          MR. CARSON: Object to form.
21 Danny Thomas?                                             21
                                                                          THE WITNESS: -- what "everything"
22      A. Just fighting with somebody that she's            22
                                                                     is.
23 intimate with at the time. I didn't think she was --      23
                                                                BY MR. GOLD:
24      Q. You don't see anything wrong with                 24
                                                                     Q. And she says -- he says: Wow, thanks,
25 somebody sending a -- her sending Jazmin pictures of      25
                                                                babe.
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 1                                                      1
             And she says: Don't fucking babe me.         about -- we talked for like two hours. I was brutal.
 2                                                      2
             "Your having a go at me for someone                   "How did it end?"
 3                                                      3
   taking shit."                                                   "He said a lot of things that made
 4                                                      4
             And she writes back: I'm two seconds         sense. He agreed he could treat me better."
 5
   away from hitting fucking send you better fix up -- 5           And you say: Did you guys talk about
 6                                                      6
   fix pick up --                                         actually what's happening now? Expectations?
 7                                                      7
             MR. GOLD: Scroll down.                       Future?
 8                                                      8
   BY MR. GOLD:                                                    MR. GOLD: Scroll down. Scroll
 9                                                      9
        Q. Anyway, is that her saying "this was               down. Scroll down. Stop.
10
   after I spoke to him and he hung up on me because I 10 BY MR. GOLD:
11                                                     11
   was a dick"?                                               Q. She then says: Danny got arrested. I
12                                                     12
        A. Yeah.                                          had to call his girlfriend.
13                                                     13
             MR. CARSON: I'm going to object                       What's that all about?
14                                                     14
        based on the fact that's not her text                 A. I think he got arrested like at an
15                                                     15
        message -- you're asking her to                   event or a protest or something of that sort.
16                                                     16
        authenticate --                                       Q. And was he incarcerated?
17                                                     17
             MR. GOLD: No, she sent this --                   A. I'm not sure.
18                                                     18
        this is what --                                            MR. GOLD: Okay. Scroll down.
19                                                     19
   BY MR. GOLD:                                                    "Out no charges."
20                                                     20
        Q. Who sent -- is this a text that was                     Okay. Stop. We're now on Exhibit
21                                                     21
   sent to you by Lisa?                                       30. Scroll down.
22                                                     22
        A. Yeah, the gray is Lisa talking to me.          BY MR. GOLD:
23                                                     23
        Q. Okay. And it's highlighted here in                 Q. This is January 17th. Is this another
24                                                     24
   yellow. She says: I just hung up on him because I      exchange of texts between yourself and Lisa?
25                                                     25
   was a dick.                                                A. That's not between myself and Lisa.
                                               Page 289                                                       Page 291
 1                                                  1      Q. Do you know who that is?
             MR. GOLD: Scroll down. Stop.
 2                                                  2      A. Who Patrick is?
   BY MR. GOLD:
 3                                                  3      Q. Yeah.
        Q. And you said: I just tried to hit that
 4                                                  4      A. Yeah, I know who he is.
   video but I could -- like I could see it.
 5                                                  5      Q. Who is he?
             Is there a video she sent you?
 6                                                  6      A. A friend of Lisa's.
        A. In the text message above.
 7
        Q. What was that a video of, do you know? 7        Q. Okay. Do you know whether Lisa ever
 8                                                  8 reported to Daniel Pipes the fact that Danny had been
        A. I don't know. I couldn't see it.
 9                                                  9 arrested and for allegedly punching somebody during a
        Q. It says --
10                                                 10 rally, did she -- do you know whether she reported
             MR. GOLD: Scroll up. Scroll
11                                                 11 that to Daniel Pipes?
        down.
12                                                 12      A. I don't know.
   BY MR. GOLD:
13                                                 13      Q. Okay.
        Q. -- "I'm still mad and you" --
14                                                 14           MR. CARSON: Does it matter?
             MR. GOLD: Stop.
15                                                 15 BY MR. GOLD:
   BY MR. GOLD:
16                                                 16      Q. Okay. So this is Exhibit -- I mean,
        Q. -- "where is the video of you hitting
17                                                 17 were you -- as I understand it, Danny Thomas was a
   someone? And who is he talking about?"
18                                                 18 representative for the Tommy Robinson campaign; is
             "Patriot calling me a Nazi because of
19                                                 19 that correct?
   my anti Zionist stance."
20                                                 20      A. I know he worked with Tommy Robinson.
             Is that Danny Thomas speaking?
21                                                 21 I don't know exactly what his --
        A. I'm not sure what that one is.
22
        Q. Okay. All right. And then you say: I 22         Q. Having met -- having met Danny Thomas
23                                                 23 and having heard these stories from Lisa about Danny
   just tried to hit the video.
24                                                 24 Thomas, were you concerned that MEF had any kind of
             And then she writes: LOL. He hit a
25                                                 25 relationship to the Tommy Robinson campaign?
   guy today. Antifa. That's his hand. We talked
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 1
           MR. CARSON: Object to form. What 1         two factors alone did she not think it
 2                                              2
      stories are you even talking about?             would be in the best interest of MEF if
 3                                              3
           MR. GOLD: I'm asking her whether           she reported that to Daniel Pipes.
 4                                              4
      having learned that Danny Thomas had                  MR. CARSON: I'm going to object.
 5                                              5
      been arrested at a rally, had been              I'm also going to tell her not to
 6                                              6
      engaging in activities that were sultry         answer.
 7
      at best, were you concerned that MEF had 7            MR. GOLD: Object to anything you
 8                                              8
      aligned itself with Danny Thomas.               want.
 9                                              9
           MR. CARSON: Object -- object to        BY MR. GOLD:
10                                             10
      form, object to assuming facts not in           Q. You can answer the question.
11                                             11
      evidence. What --                                     MR. CARSON: At this point you're
12                                             12
   BY MR. GOLD:                                       just  trying to harass and embarrass the
13                                             13
      Q. You can answer the question.                 client with -- you're making up facts,
14                                             14
           MR. CARSON: What relationship are          you're making up evidence, you're
15                                             15
      you even talking about.                         mischaracterizing, you're --
16
           MR. GOLD: The fact that they were 16             MR. GOLD: These are -- well,
17                                             17
      funding -- Danny Thomas was involved            let's --
18                                             18
      with the Robinson campaign. I'm asking                MR. CARSON: You're not going to
19                                             19
      her having met --                               --
20                                             20
           MR. CARSON: She told you that --                 THE COURT REPORTER: I can't hear
21                                             21
           MR. GOLD: -- Danny Thomas --               you. I can't hear you.
22                                             22
           MR. CARSON: I'll -- you finish         BY MR. GOLD:
23                                             23
      and then I'll put my response on the            Q. Ms. McNulty, did you not learn through
24                                             24
      record.                                     conversations with Lisa that Danny Thomas was
25
           MR. GOLD: Yeah, yeah, listen, why 25 arrested for assault?
                                             Page 293                                                       Page 295
 1                                              1           MR. CARSON: Objection.
      don't you let me finish the question.
 2                                              2 BY MR. GOLD:
      All right?
 3                                              3      Q. Answer the question.
   BY MR. GOLD:
 4                                              4      A. Yes.
      Q. My question is --
 5                                              5      Q. Did you not learn from conversations
           MR. CARSON: She already testified
 6                                              6 with Lisa that Lisa was exchanging dick pics with
      that the money was funded and -- and the
 7                                              7 Danny Thomas --
      rally happened at a time when they first
 8                                              8           MR. CARSON: Objection.
      met the guy. Everything you're talking
 9                                              9 BY MR. GOLD:
      about happened after that. So what
10                                             10      Q. -- and was threatening to send -- and
      relationship exactly are you talking
11                                             11 was threatening to send photographs to the mother of
      about? Did MEF have an ongoing
12                                             12 his children?
      relationship with this guy? Is that
13                                             13           MR. CARSON: Objection. You
      something --
14                                             14      haven't  shown her any dick pics.
           MR. GOLD: What are you talking
15                                             15      Talking about discussion about one.
      about? That's even better yet.
16                                             16 BY MR. GOLD:
           MR. CARSON: Okay. Well --
17                                             17      Q. You can answer the question.
           MR. GOLD: She has now been told
18                                             18           MR. CARSON: You can answer the
      that Danny -- let's get the facts. --
19                                             19      question based on his hypothetical, the
      Danny Thomas was arrested for having had
20                                             20      hypothetical dick pics --
      assaulted somebody at a rally, Danny
21                                             21 BY MR. GOLD:
      Thomas was --
22                                             22      Q. Answer the question.
           MR. CARSON: When?
23                                             23           MR. CARSON: -- you never saw.
           MR. GOLD: -- engaging in revenge
24                                             24           THE WITNESS: Yeah, she did tell
      porn with Lisa, who is an employee of
25                                             25      me  that she had --
      MEF, and I'm asking her based on those
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 1 BY MR. GOLD:                                              1          MR. GOLD: And I'm asking her --
 2      Q. Okay.                                             2     and I'm asking her --
 3      A. -- dick pics.                                     3          MR. CARSON: So what was she
 4      Q. So knowing those two facts and knowing            4     supposed to do, time machine, go six
 5 that MEF was involved in funding this rally with the      5     months into the future and then go back
 6 Robinson campaign, did you not feel it would be           6     in time to warn him about what might
 7 appropriate to report back to Daniel Pipes that this      7     happen?
 8 behavior was disconcerting to you at best?                8          MR. GOLD: We're in January of
 9            MR. CARSON: Objection. Assuming                9     2019 --
10      facts not in evidence. The campaign                 10          MR. CARSON: She's not going to
11      you're talking about --                             11     answer the question.
12 BY MR. GOLD:                                             12          MR. GOLD: My question is --
13      Q. You can --                                       13          THE COURT REPORTER: I can't hear
14            MR. CARSON: The campaign you're               14     you.
15      talking about happened before what you              15          MR. GOLD: -- why did she not in
16      just said, so how could she possibly                16     January of 2019 report this to Daniel
17      tell them about something that hadn't               17     Pipes.
18      happened yet?                                       18          THE COURT REPORTER: Okay. Excuse
19            MR. GOLD: Your client just                    19     me.
20      admitted -- she just admitted it                    20          MR. CARSON: Because they weren't
21      happened. What are you talking about?               21     in the relationship in 2019.
22            MR. CARSON: The campaign happened             22          THE COURT REPORTER: Excuse me.
23      in June of 2018. The dick pics you're               23          MR. CARSON: She's not going to
24      talking about happened a year later. So             24     answer the question.
25      how is she supposed to --                           25          THE COURT REPORTER: Excuse me.
                                                 Page 297                                                        Page 299
 1                                                           1      None of that was on the record because I
             MR. GOLD: We're not going --
 2                                                           2      couldn't hear either of you.
        we're not on June. We're on January of
 3                                                           3           MR. GOLD: I'm going to withdraw
        '19 now.
 4                                                           4      the line of questioning. I don't have
             THE COURT REPORTER: I can't hear
 5                                                           5      any time to educate Mr. Carson on the
        either of you. I can't hear either of
 6                                                           6      facts.
        you.
 7                                                           7           MR. CARSON: Yeah, I'm the one
             MR. CARSON: (Indiscernible)
 8                                                           8      educating you, actually, but go ahead.
        magical time machine --
 9                                                           9           MR. GOLD: I don't think so. I
             MR. GOLD: Seth, Seth, look at the
10                                                          10      don't think so.
        text --
11                                                          11           MR. CARSON: I know so. That's
             MR. CARSON: -- go forward in the
12                                                          12      why it's called an education --
        future --
13                                                          13 BY MR. GOLD:
             MR. GOLD: Seth, the text message
14                                                          14      Q. In January of 2019, ma'am, what was
        is dated January 15th, 2019. If you had
15                                                          15 your understanding of the relationship that Lisa had
        the exhibits --
16                                                          16 with Danny Thomas?
             MR. CARSON: Correct.
17                                                          17      A. They were intimate.
             MR. GOLD: -- in front of you
18                                                          18      Q. Okay. And at that point in time you
        instead of playing with your kid all
19                                                          19 had, in fact, learned that Danny Thomas at some point
        day, maybe you would know what I'm
20                                                          20 in time had been arrested, correct? For assault.
        talking about.
21                                                          21 Correct?
             MR. CARSON: No, actually -- you
22                                                          22      A. In January of 2019.
        actually just made my point, so thank
23                                                          23      Q. January 2019. So my question to you,
        you, that it's -- the exhibit you're
24                                                          24 ma'am, is, in January of 2019 why did you not report
        showing her was in January 2019. The
25                                                          25 that to Daniel Pipes?
        rally occurred in June 2018.
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                                                 Page 300                                                        Page 302
 1     A. Because the MEF wasn't working with               1      too.
 2 Danny anymore. He was -- they worked with him in         2            MR. GOLD: Yeah, we went through
 3 June of 2018 for a rally. But as far as I know there     3       this one too. Go to 31.
 4 was no continued work with Danny Tommo.                   4 BY MR. GOLD:
 5     Q. In 2019.                                           5      Q. She tells you that Matt just told me
 6     A. Not that I know of.                                6 not to message him anymore.
 7     Q. That's as far as you know.                         7           MR. GOLD: Scroll down. Scroll
 8           MR. CARSON: I thought you were                  8      down. Hold on. Hold on. Go back to --
 9     going to withdraw this line of                        9 BY MR. GOLD:
10     questioning. She just -- I guess she                 10      Q. Again, are you in the gray or are you
11     just explained to you what I tried to                11 in the blue?
12     explain to you to try to save you the                12      A. Still in the blue.
13     trouble of asking questions that are --              13      Q. Okay. So you say: I texted Matt
14           MR. GOLD: Listen, you can do                   14 earlier and no reply. Is he just done and never
15     whatever you want on redirect, I don't               15 going to talk to any of us ever again.
16     really care, okay, what you do. The                  16           Okay. Had he left the organization at
17     fact of the matter is -- she answered                17 that point?
18     the question as to why she didn't report             18      A. He hadn't. He was fighting with Daniel
19     it, and that's an adequate answer.                   19 and he was threatening to leave.
20     Okay? You're trying to -- you're acting              20      Q. Okay.
21     as if I'm trying to lead her into a                  21           "Matt just told me to" -- "not to
22     question that has no foundation when, in             22 message him anymore. He said he's waiting for DP to
23     fact, she's just admitted the two key                23 give him his letter of recommendation and then he's
24     factors that support my question.                    24 leaving Philly and MEF as soon as possible, and to
25     You're the one who is belaboring a moot              25 please not message him anymore."
                                                 Page 301                                                        Page 303
 1                                                          1
         point.                                                          Okay. And Lisa responds: Same here.
 2                                                           2
               MR. CARSON: That's not at all                             And you say: What the fuck.
 3                                                           3
         what just happened, but --                                      And she says: I honestly don't care
 4                                                           4
               MR. GOLD: It's absolutely true.                 anymore.
 5                                                           5
         She admitted the two predicate facts of                         And you say: It impacts me so much
 6                                                           6
         my question and she explained why she                 though. I feel like his role changes are out of the
 7                                                           7
         didn't report it. There is nothing more               window now, I'm not taking on his job without any
 8                                                           8
         to it. There is nothing sinister about                training on how to do it.
 9                                                           9
         the question. You're just so anxious to                         Okay. And his job was director of
10                                                          10
         jump in and make an objection.                        development, correct?
11                                                          11
               What's the next exhibit? We're on                    A. Correct.
12                                                          12
         exhibit --                                                 Q. And you were concerned about taking
13                                                          13
               MR. CARSON: (Indiscernible.)                    over his job because you hadn't had any training to
14                                                          14
               MR. GOLD: Yeah, let the record                  do that job, correct?
15                                                          15
         speak for itself.                                          A. On how he did it, yeah.
16                                                          16
               We're now on Exhibit 29.                             Q. Okay. And --
17                                                          17
               THE WITNESS: I think we're past                           MR. GOLD: Scroll down. Stop.
18                                                          18
         this.                                                 BY MR. GOLD:
19                                                          19
               MR. GOLD: Go to the highlighted                      Q. And Lisa says: I know. I spoke to DP
20                                                          20
         portion of 29. Stop. Go back. Go                      and I'll call you in 20.
21                                                          21
         back. Go back. Okay. Go back. Go                                Was that Daniel Pipes she's referring
22                                                          22
         back to 29. Go back. Stop. Stop. We                   to?
23                                                          23
         covered this one. Go right to 30. Go                       A. Yes.
24                                                          24
         ahead, 30. Stop.                                           Q. Okay. And you said: Okay. Any time
25                                                          25
               THE WITNESS: We just did this one               after 3, on a Qatar call til then.
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 1          And then she writes: He even noticed I          1           What were you talking about there?
 2 dyed my hair.                                             2     A. There was a lot of fighting between
 3          Do you know who the "he" is?                     3 Gregg and Marnie during an event we held because they
 4      A. I don't.                                          4 refused to talk to each other directly, so they would
 5      Q. Daniel Pipes? You don't? Okay.                    5 use me as the middleman to talk about financials.
 6          "Did he comment on how skinny minny you          6     Q. Okay. All right.
 7 are?"                                                     7          MR. GOLD: Okay. So let's scroll
 8          "I brought it up and he said I look              8     down. And now we're on Exhibit 32.
 9 great. I sent a snap to sandman."                         9     Stop. Can you blow that up a little
10          Who is sandman, do you know?                    10     bit?
11      A. Patrick.                                         11 BY MR. GOLD:
12      Q. Okay.                                            12     Q. Is this another exchange between you
13          "Of course you do duh."                         13 and Marnie?
14          MR. GOLD: And keep scrolling                    14     A. Yeah, that's continuing the same one.
15      down. Okay. Stop.                                   15     Q. Okay. Do you want to take a chance --
16 BY MR. GOLD:                                             16 do you want to read that?
17      Q. "We just got an e-mail from him that             17     A. Okay.
18 basically said no one is getting raises or bonuses.      18          MR. GOLD: Scroll down -- which
19 So, I'm tweeting my resume tonight. Fuck all this."      19     exhibit is this? Scroll up. Scroll
20          And the "him" is what? Matt?                    20     down. Scroll down. Okay. It's -- this
21      A. I don't remember.                                21     is Exhibit 32 for the record. Okay.
22      Q. Okay. So is that when you started                22 BY MR. GOLD:
23 sending out resumes for a new job?                       23     Q. So in that e-mail you say to -- I guess
24      A. No.                                              24 now you're back -- after you communicate with Marnie
25      Q. Okay. So why did you send that                   25 now you're communicating with Lisa, correct?
                                                 Page 305                                                        Page 307
 1 message?                                                 1      A.   Correct.
 2      A. Because I was venting.                         2        Q.   And you say: I'm done with this bitch.
 3      Q. Okay. And then she writes back: I              3           What's the -- what was the story there?
 4 responded to Sam directly because I didn't want Gregg  4 What's the context of that commentary?
 5 to have the passwords. I should have cc'd you.         5      A. It was just being upset with Marnie at
 6           What passwords is she talking about?         6 the time having to do that in-between portion of the
 7      A. I don't know.                                  7 finance between her and Gregg and her not
 8      Q. Okay. You say: What are you doing.             8 understanding why that shouldn't have been.
 9 Call me back.                                          9      Q. Okay. So this is one of the many
10           MR. GOLD: Scroll down. Keep                 10 altercations or differences of opinion you had with
11      going. Stop.                                     11 Marnie while you were working at MEF?
12 BY MR. GOLD:                                          12      A. That was a difference of opinions, yes.
13      Q. Looks like we have -- here is an              13      Q. Okay. And we're now in January of 2019
14 exchange between Lisa and Marnie Meyer.               14 -- February of 2019, and would it be fair to say that
15           MR. GOLD: Scroll down.                      15 this -- the problems you had, the interpersonal
16 BY MR. GOLD:                                          16 problems you had with Marnie, now had been going on
17      Q. Is this Lisa and Marnie's exchange or         17 for over a year?
18 is this your exchange with Marnie?                    18      A. I mean, Marnie and I didn't have a ton
19      A. This is my exchange with Marnie I             19 of issues that came together between the two of us.
20 think.                                                20 I didn't always trust her based on things that were
21      Q. Okay. You said: I'm livid over the            21 told to me, so I didn't talk to her very much outside
22 honorarium stuff and that I was involved at all.      22 of whatever was work communication and --
23 That wasn't my poor planning and I did all I could to 23      Q. It was all work related, correct?
24 try to get some communication between you and Gregg. 24       A. Correct.
25 It clearly won't be the case for the gala.            25      Q. Okay. So did you ever try to work out
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 1 these conflicts with her?                                         1
                                                                         A.    Not that I know of.
 2      A.      Like I said, there weren't a ton of                  2
                                                                         Q.    Okay.
 3 conflicts.   It was -- that was like one argument that            3
                                                                              MR. CARSON: Middle East Forum
 4 we had.                                                           4
                                                                         doesn't invest money into people's
 5      Q. Well, you said you were done with this                    5
                                                                         campaigns.
 6 bitch. That's like past tense. So you're just done                6
                                                                              MR. GOLD: What do you call it?
 7 with her for that day?                                            7
                                                                         What do you call it? Contributing money
 8      A. Yeah.                                                     8
                                                                         to person's campaign?
 9      Q. Okay.                                                     9
                                                                              MR. CARSON: The Middle East Forum
10      A. That moment.                                             10
                                                                         is not allowed to make political
11      Q. And you considered -- and you                            11
                                                                         contributions.
12 considered her to be a bitch towards you, correct?               12
                                                                              MR. GOLD: They can -- you can --
13      A. At that moment.                                          13
                                                                              MR. CARSON: You might want to
14           MR. GOLD: Let's go to Exhibit 33.                      14
                                                                         have a conversation --
15 BY MR. GOLD:                                                     15
                                                                              MR. GOLD: You can rehabilitate
16      Q. Okay. Why don't you read through that                    16
                                                                         your witness, you can go through
17 exchange with Lisa. Looks like she shared an article             17
                                                                         redirect, you can do whatever you want
18 with you from The Sun, Tommy Robinson drugs racist               18
                                                                         to do. Let me finish my deposition.
19 slur rant. Do you recall that?                                   19
                                                                         All right?
20      A. Vaguely.                                                 20
                                                                              MR. CARSON: (Indiscernible).
21      Q. Did you hit that link when you got it?                   21
                                                                              THE COURT REPORTER: I can't hear
22      A. Probably.                                                22
                                                                         you.
23      Q. Okay. So you then say: Why would he                      23
                                                                              MR. CARSON: I'm trying to educate
24 record that?                                                     24
                                                                         you --
25           And you say -- that's what -- so were                  25
                                                                              THE COURT REPORTER: Mr. Carson, I
                                                         Page 309                                                    Page 311
 1 you concerned that -- that Lisa was associated with               1
                                                               can't understand what you're saying.
 2 Danny Thomas and this Tommy Robinson campaign given   2          MR. CARSON: Your client is not
 3 what you just read in that article on The Sun?        3     permitted to make political
 4      A. I mean, Lisa's a big girl, she could          4     contributions --
 5 handle herself. I wasn't --                           5          MR. GOLD: And I'm not saying they
 6      Q. Okay. So did you think about telling          6     did. Okay? I'm not saying they did.
 7 Daniel Pipes about this -- about what you had read?   7          MR. CARSON: You asked her a
 8      A. No. Again, as far as I know we weren't        8     question about a political campaign.
 9 working with -- and they would -- any of this stuff   9     Are we going to waste time with
10 that's out there in the internet they would know     10     questions like these at 5:00?
11 before I would --                                    11          MR. GOLD: You've got your -- you
12      Q. Okay. But Lisa was -- Lisa had an            12     got your objection on the record and
13 ongoing relationship with Danny Thomas throughout    13     that's fine and dandy. We're going to
14 this entire time, correct?                           14     move on.
15      A. That video was about Tommy Robinson.         15 BY MR. GOLD:
16      Q. I know. And Danny Thomas was part of         16     Q. So as far as you know, MEF was not
17 -- part of that campaign, correct?                   17 involved paying any -- any legal cause in connection
18      A. I don't know if he still was. He             18 with the Robinson campaign at that point?
19 wasn't always a part of the campaign.                19     A. Not that I know of.
20      Q. Do you know whether MEF was putting any      20          MR. GOLD: Okay. Go to exhibit --
21 more money into the Robinson campaign as of February 21     next exhibit which is 34.
22 2019?                                                22 BY MR. GOLD:
23      A. We weren't holding rallies for him.          23     Q. Do you know who Twin Walton is?
24      Q. And do you know whether any money was        24     A. I know of him. I don't actually know
25 being invested in that campaign at that point?       25 him.

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                                                   Page 312                                                        Page 314
 1                                                   1
        Q. Was Lisa involved in a relationship              A. No, I think they were -- I mean, I
 2                                                   2
   with him?                                           think it was justified to be -- it was just a blown
 3                                                   3
        A. I mean, I can't recall everyone or --       out of proportion scenario for everyone.
 4                                                   4
   that Lisa's had a relationship with.                     Q. Why is that?
 5                                                   5
        Q. Who is -- who is Twin Walton?                    A. Because it was just moving over the
 6                                                   6
        A. I know she met him in London. I don't       calendars, there was no -- just doing work.
 7                                                   7
   exactly know who he is.                                  Q. Okay. So really then it wasn't
 8                                                   8
        Q. Was he involved with the Robinson           justified, it was just moving over the calendar.
 9                                                   9
   efforts?                                                      MR. CARSON: Objection. Is that a
10                                                  10
        A. I don't think so. I think he's like a            question?
11                                                  11
   security person.                                              MR. GOLD: Let's move over to the
12                                                  12
        Q. Okay. Security guard?                            next exhibit, thirty -- let's go to 35,
13                                                  13
        A. I believe so.                                    of the yellow highlighted part. Keep
14
        Q. Okay. Do you know why she would share 14         going. Okay. Here it is.
15                                                  15
   with you the conversation that she had with Twin    BY MR. GOLD:
16                                                  16
   Walton?                                                  Q. "The whole thing is stupid, I can't
17                                                  17
        A. I can't see the conversation. I'm not       even believe she's acting like this and says these
18                                                  18
   sure what --                                        things."
19                                                  19
             MR. GOLD: Do you want to blow                       Why don't you take a minute and read
20                                                  20
        that up, Matt?                                 that. Do you want to go up to the top of the page or
21                                                  21
             THE WITNESS: Okay.                        can you start there?
22                                                  22
   BY MR. GOLD:                                             A. I can start here I guess.
23
        Q. Do you have any reason to know why she 23        Q. Do you know who you're referring to in
24                                                  24
   would share that with you?                          terms of who was offered the job?
25                                                  25
        A. I don't know, just to show that he was           A. I don't think I've gotten to that point
                                                   Page 313                                                        Page 315
 1 being nice.                                                1
                                                                  yet.
 2      Q.    And then you said that you don't know           2
                                                                      Q. Okay.
 3 much about their relationship, correct?                    3
                                                                      A. Okay.
 4    A.      Correct, not that I can recall.                  4
                                                                      Q. Okay. What's the context of this
 5    Q.      Were they going out at all, do you               5
                                                                 conversation?
 6 know?                                                       6
                                                                      A. About the head of the office again.
 7    A.      What does that even mean, going out?             7
                                                                      Q. In terms of who? Who are we talking
 8    Q.      Well, were they having sex?                      8
                                                                 about here? It says: Look if Daniel offered her the
 9    A.      I don't remember.                                9
                                                                 job.
10    Q.      Did she tell you they had sex?                  10
                                                                           Who is "her"?
11    A.      I don't remember.                               11
                                                                      A. Marnie.
12           MR. GOLD: Okay. Let's go on to                   12
                                                                      Q. Marnie. Okay. And what job did he
13      the next exhibit, 35. Stop there at the               13
                                                                 offer her?
14      yellow.                                               14
                                                                      A. It said if, if Daniel offered her the
15 BY MR. GOLD:                                               15
                                                                 job of head of the office.
16      Q. This is Lisa telling you that Marnie               16
                                                                      Q. Head of the office? We're coming down
17 called screaming that I moved over the calendar for        17
                                                                 to that point -- we talked about at the Continental,
18 everybody. "Oh my god. She's crazy."                       18
                                                                 the point person?
19           Looks like Lisa again was encountering           19
                                                                      A. Correct, that never happened.
20 problems working with Marnie as of March of 2019.          20
                                                                      Q. Okay. Well, I thought you said they
21 Did you have any problems with Marnie as well in           21
                                                                 had taken a vote. That took place?
22 March of 2019?                                             22
                                                                      A. We took a vote.
23      A. I don't remember.                                  23
                                                                      Q. And that never happened.
24      Q. Do you know whether Lisa's complaints              24
                                                                           THE VIDEO SPECIALIST: Your volume
25 about Marnie were justified or was she overreacting?       25
                                                                      is very low.
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 1           MR. GOLD: I'm sorry, can you hear              1
                                                                        MR. CARSON: By definition they're
 2      me? Yeah. I'm sorry.                                 2
                                                                    absolutely prohibited from engaging in
 3 BY MR. GOLD:                                              3
                                                                    any political activity.
 4      Q. So this was subsequent to that meeting            4
                                                                        MR. GOLD: I think we know that.
 5 at the Continental?                                       5
                                                                        Scroll down.
 6      A. Correct. That wasn't at the                       6
                                                                        MR. CARSON: That includes funding
 7 Continental, that meeting. That meeting was in the        7
                                                                    campaigns or being involved in political
 8 conference room at MEF.                                   8
                                                                    campaigns.
 9      Q. Oh, in the conference room. Okay. And             9
                                                               BY MR. GOLD:
10 when was the luncheon at the Continental?                10
                                                                    Q. And then she says to you: Did you get
11      A. I don't remember. It was in March of             11
                                                               that message from Mr. Fink?
12 2019.                                                    12
                                                                        And you said: I did. Gonna do it
13      Q. Well, was it before this meeting in the          13
                                                               tomorrow.
14 conference room or after?                                14
                                                                        MR. GOLD: Keep scrolling. Go
15      A. I think it was after.                            15
                                                                    down to 37. Okay. Keep going to the
16           MR. GOLD: Okay. Go to the next                 16
                                                                    yellow highlighted part. Could you blow
17      exhibit. We're on -- we're on 36.                   17
                                                                    up that -- okay. Stop.
18 BY MR. GOLD:                                             18
                                                               BY MR. GOLD:
19      Q. This is another exchange between you             19
                                                                    Q. This is a chat with Daniel Pipes. Is
20 and Lisa, and she says: Someone has to tell Danny to     20
                                                               this -- were you involved in this chat or is this
21 fix this shit because it's fucking up Tommy's            21
                                                               something Lisa sent you?
22 relationship with MEF or something like that just not    22
                                                                    A. No, this is between me and Daniel.
23 so extreme.                                              23
                                                                    Q. You and Daniel. Okay. Good.
24           Do you know the context for that               24
                                                                        And who says "Matt appears to be
25 conversation?                                            25
                                                               playing games again"? Is that you?
                                                 Page 317                                                        Page 319
 1      A. I don't.                                         1      A.     Daniel.
 2      Q. Well, at that point it appears as                 2     Q.     Daniel. Okay.
 3 though MEF had some kind of relationship with the         3           "He heard nothing, as there is no job
 4 Tommy Robinson campaign, correct?                         4 description. I yesterday sent the announcement from
 5      A. I don't know if they did or if this is            5 2016 to Marnie and Gregg. That's all. I fail to
 6 saying that this is hurting the fact that there can't     6 understand why, if you are a candidate for the job,
 7 be a relationship.                                        7 you expect to be part of the selection process. That
 8      Q. Well, it says: Someone has to tell                8 only makes sense if you were not a candidate."
 9 Danny to fix this shit because it's fucking up            9           So you then write: I don't expect to
10 Tommy's relationship with MEF.                           10 be part of the selection process but I've accepted
11           Seems to me that there is an ongoing           11 the responsibility, at least in the interim --
12 relationship between Tommy Robinson and MEF, you just    12           Were you saying that you were -- you
13 don't know about it?                                     13 thought you were the acting program director?
14      A. Not that I know of, no.                          14      A. No, I was the acting director of
15      Q. Okay. And she says: I'm getting                  15 development at this time.
16 depressed over it.                                       16      Q. Development, okay. So -- and it's true
17           And you say: What happened?                    17 you weren't -- you didn't think you would be part of
18           MR. GOLD: Scroll down. Could you               18 the selection process at the time?
19      blow up that exchange there that looks              19      A. I did not, no.
20      like it's a -- scroll up.                           20      Q. Okay. So what was the point you were
21           MR. CARSON: For the record, MEF                21 trying to make in the context of this exchange with
22      is a 501(c)(3). By definition --                    22 Mr. Pipes?
23           MR. GOLD: I think I know that.                 23      A. I was upset that Gregg had gone to --
24      Thank you very much for telling me that.            24 had called Matt and told him things about MEF work
25      Appreciate it.                                      25 that I didn't know and then Matt had called and told

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 1 me and after signing the NDA you shouldn't be telling       1
                                                                  truth at that point, right?
 2 MEF proprietary information to anyone who doesn't            2
                                                                       A. That he hadn't spoken to Matt? Yes.
 3 work at MEF.                                                 3
                                                                       Q. Correct. Okay. Good.
 4      Q.    Okay. And you then made this known to             4
                                                                            And he says: I do not recall you
 5 Mr. Pipes, and is that how he responded, "Matt               5
                                                                  asking me or agreeing to hold off until an
 6 appears to be playing games again, he heard nothing"?        6
                                                                  announcement for you to prove yourself --
 7      A. Correct.                                             7
                                                                            Did you ask for time to prove yourself?
 8      Q. Did Mr. Pipes tell you that he had                   8
                                                                       A. I had talked about it with people in
 9 spoken with Mr. Bennett?                                     9
                                                                  the office, yes.
10      A. No.                                                 10
                                                                       Q. Did you talk with Mr. Pipes about it?
11      Q. Okay. Well, it seems like he did from               11
                                                                       A. When he gave me the position we had
12 this exchange. Was that what you -- you assumed that        12
                                                                  talked about it, yes.
13 he spoke with Mr. Bennett?                                  13
                                                                       Q. Okay. And when were you given the
14      A. No, he's not saying that he spoke with              14
                                                                  position?
15 Matt at all. He's saying that he thinks Matt is             15
                                                                       A. When Matt left.
16 playing games with me.                                      16
                                                                       Q. So that would be March of 2019,
17      Q. Okay. Okay. And you made your                       17
                                                                  correct?
18 position known.                                             18
                                                                       A. Correct.
19          "I know you said you wanted to find a              19
                                                                       Q. Okay. This is all in that same time
20 director before looking for a new DOD but I was under       20
                                                                  period, correct?
21 the impression that there was a probationary period         21
                                                                       A. Correct.
22 for Gregg" --                                               22
                                                                       Q. Okay.
23          MR. GOLD: Scroll down.                             23
                                                                            -- so I fail to see how you could be
24 BY MR. GOLD:                                                24
                                                                  upset that was not in my thinking. I am not a mind
25      Q. -- "and therefore thought you might                 25
                                                                  reader to know what your impression you had.
                                                    Page 321                                                        Page 323
 1 wait until that was set.  I would have more time to         1            And you say: I know you are not in
 2 prove myself. The news caught me off guard. It just          2 communication with Matt and that was discussed
 3 does not feel good to learn the news concerning my           3 between him and Gregg.
 4 job that could greatly impact my future was first            4           And that's based on what Matt told you?
 5 told to a person who doesn't even work for the Forum         5      A. Matt knew that the job description had
 6 while I remained in the dark."                               6 already been -- was already in the works, so he had
 7            Are you referring to Mr. Bennett?                 7 given me information that I would have in no other
 8      A. And Gregg, the conversation between the              8 way known, so yes.
 9 two of them, yes.                                            9      Q. Well, how do you know that Gregg talked
10      Q. Okay.                                               10 to Matt?
11            MR. GOLD: And scroll down. Stop.                 11      A. Matt told me that he learned this from
12      It's the same thing. Go ahead.                         12 Gregg.
13            THE WITNESS: That wasn't the same                13      Q. Okay. So you had conversations with
14      thing.                                                 14 Matt, and Matt told you he had conversations with
15            MR. GOLD: Right.                                 15 Gregg.
16 BY MR. GOLD:                                                16      A. Correct, Matt told me Gregg had called
17      Q. You then say that -- "to repeat, I told             17 him.
18 Matt nothing at all."                                       18      Q. And when did that take place in
19      A. That's Daniel.                                      19 relation to this conversation you had with Mr. Pipes?
20      Q. "I'm not" -- pardon me?                             20      A. The same day.
21      A. That's Daniel.                                      21      Q. Okay.
22      Q. Yeah.                                               22           "I reached out to you because I was mad
23            "I told Matt nothing at all. I'm not             23 at you for this but to make you" -- "I was not" -- "I
24 in communication with him" --                               24 was mad at you for this" --
25            And you believed Daniel was telling the          25      A. "Not because."
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                                                 Page 324                                                              Page 326
 1       Q. -- "not because I was mad at you but to          1 in the office at this point, right?
 2 make you aware that it is disheartening to be updated     2      A.    He wasn't actually working from the
 3 this way and to be given the impression the decision      3 office, but he was given more responsibility on a
 4 has already been made."                                   4 probationary period, as we were told it was supposed
 5            MR. GOLD: Scroll down. Stop.                   5 to be, a probationary period, and that Daniel was
 6       Scroll down. Okay.                                  6 still supposed to be the person who was ultimately in
 7 BY MR. GOLD:                                              7 charge and that we would go to him directly and not
 8       Q. He says -- then Mr. Pipes says: As you           8 Gregg.
 9 acknowledge I had nothing to do with the                  9      Q.    Are you telling me you think that Gregg
10 communication with Matt, I don't understand why you      10 was above Daniel Pipes in the pecking order?
11 are complaining to me. If Gregg told him this,           11      A.    No, I'm saying that Daniel said there
12 complain to him, no? I am sorry if you are               12 would be some sort of protection through him, but the
13 disheartened but I don't believe I signaled in any       13 first -- as soon as I said that Gregg was already
14 way that we would hold off looking for Matt's            14 doing things that he shouldn't be doing, Gregg told
15 permanent replacement. Nor am I clear why you think      15 me to go complain to -- Gregg -- Daniel told me to go
16 we should do so; I figure it's best to have this job     16 complain to Gregg about it and not him, he didn't
17 permanently filled as soon as possible. Do you           17 want to be bothered.
18 disagree? It is not incumbent upon you to come to me     18      Q.    Okay. So did you go to -- did you go
19 and ask for a delay so you can prove yourself, rather    19 to Gregg and complain about it?
20 than assume this is the intended course of action and    20      A.    I mentioned something to Gregg about
21 be then be disappointed when you learn of it again       21 the job role being created and he told me that it
22 it's not -- I am not a mind reader. I had no             22 hadn't gone out yet and that they were creating it
23 knowledge until now what you expected. How could I?      23 and that -- pretty much that was it, and Daniel and
24            MR. GOLD: Scroll down.                        24 him talked about the conversation between him and
25 BY MR. GOLD:                                             25 Matt and he claims it doesn't -- never happened, but,
                                                 Page 325                                                        Page 327
 1      Q. And who said "I'm done"? Is that you?             1 I mean, at this point everything that they were doing
 2      A. Yes.                                              2 was --
 3      Q. Okay. You say: What time I coming in?             3      Q.    Well, first of all, who was selected
 4 Should I wait for you downstairs?                         4 for the job ultimately on a permanent basis?
 5          And she says -- this is Lisa now --              5      A.    I don't know. There was no one
 6 "seven minutes away in an Uber?"                          6 selected by the time I left.
 7      A. Yeah.                                             7      Q.    Okay. And you were permitted to apply
 8          MR. GOLD: Okay. Let's go to                      8 for it, correct?
 9      Exhibit 39.                                          9      A. Correct.
10 BY MR. GOLD:                                             10      Q. So I'm having difficulty -- what's the
11      Q. So were you satisfied with Daniel's              11 problem?
12 explanation?                                             12      A. The job role was being created by Gregg
13      A. No, I was very dissatisfied for                  13 and I wasn't even made aware of it yet that it was
14 multiple reasons.                                        14 being created and somebody outside of the
15      Q. Why? Why?                                        15 organization already knew that -- that information,
16      A. Well, one, he had said that even with            16 which shouldn't have happened, that should have been
17 Gregg staying on, he wasn't leaving, he wasn't fired,    17 illegal based on the NDA. Gregg was giving out
18 there weren't repercussions in that way, he said         18 information he shouldn't have been giving.
19 that, you know, we would go to him now for things and    19      Q. Okay. So that's your point, that
20 there -- we wouldn't have to worry about Gregg in        20 according to you under the NDA Gregg should not have
21 that manner, and the second I told him that Gregg did    21 been talking to Mr. Bennett. Okay? But you're not
22 something wrong he's like go complain to Gregg about     22 talking about the underlying, you know, interviewing
23 it, not me. So it was exactly the opposite of what       23 people for that position. You're not suggesting they
24 he said he was going to do. So --                        24 had to give you time to prove yourself before they
25      Q. Well, Gregg was back -- Gregg was back           25 posted the job, is that what you're trying to say?

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 1      A. When Daniel gave me that position, when          1       A. Correct, but that doesn't change the
 2 he told me that I was going to be taking it on, he        2 fact that proprietary information was given out and
 3 did say -- we sat in his office and he told me this       3 that -- that doesn't change the fact that those
 4 is your time to show me exactly what you can do and       4 conversations didn't happen in March.
 5 show me who you are because I don't know you.             5      Q. Okay. And you reported that to
 6      Q. Okay. And you brought that up in your             6 Mr. Pipes and he answered accordingly and you weren't
 7 conversation with Daniel and he responded                 7 happy with his answer, correct?
 8 accordingly, so is that what you weren't happy with?      8      A. He told me to go complain to Gregg.
 9      A. I wasn't happy with everything I just             9      Q. Okay.
10 mentioned.                                               10      A. Who is my --
11      Q. Okay. But I think you admitted that              11      Q. And you weren't happy --
12 you weren't even properly trained for that job           12      A. -- sexual abuser, who has been --
13 anyway, correct?                                         13      Q. And you weren't happy with that answer
14      A. I wasn't trained by the person who was           14 --
15 doing it before me --                                    15      A. -- sexually abusing me since the moment
16      Q. Right, because he's --                           16 I stepped foot into that place and then the second he
17      A. -- which is --                                   17 wasn't in the office it was just changed to
18      Q. -- no longer there, right?                       18 retaliation and horrible -- it was --
19      A. Well, because he was threatening to              19      Q. When were you --
20 leave. That was in January. He didn't leave until        20      A. -- a complete toxic workplace --
21 March. So I did end up -- he did end up showing me       21      Q. When were -- after November --
22 exactly the way that he did it before he left.           22      A. -- from start to finish.
23      Q. Okay. And did you meet all the                   23      Q. After March of -- after -- after
24 qualifications to be the director?                       24 November of 2018 when were you sexually abused by
25      A. Yes.                                             25 Gregg?
                                                 Page 329                                                        Page 331
 1       Q. Okay. And when you finally left in              1       A. That's when the retaliation began.
 2 2019 had the position been filled yet?                    2      Q. No, you said you've been sexually
 3       A. No.                                              3 abused by Gregg since the time you were hired. I'm
 4       Q. Okay. So nobody filled that position,            4 asking you after November of 2018 --
 5 so what's the point?                                      5      A. And I said until he left the office and
 6       A. What's the point of what?                        6 then the retaliation started.
 7       Q. What are you not happy with? No one              7      Q. Okay. So you weren't sexually abused
 8 got that job, so what are you talking about?              8 after March of 2019 by Gregg, correct?
 9       A. Do I have to repeat all the reasons why          9      A. After March, yes; up until November
10 I wasn't happy at that time again?                       10 when he left, yes, the entire time.
11       Q. Well, no, because no one -- I just              11      Q. I'm talking after November -- after
12 don't understand -- it's a nonevent if nobody got the    12 November.
13 job.                                                     13      A. After November --
14       A. That's months later that you're talking         14      Q. Yeah.
15 about. This is -- I left in September. That was in       15      A. -- then the retaliation started.
16 --                                                       16      Q. And what was the retaliation?
17       Q. I'm in March of 2019, okay, when you            17      A. It was a constant telling us -- telling
18 had these conversations with Daniel, you were upset,     18 me to do things five times over but not giving me an
19 but the bottom line is even by the time you had          19 explanation on what was wrong with things. He would
20 left --                                                  20 send me e-mails of highlighted items asking me to do
21       A. Those text messages --                          21 all of these things that weren't even in my job
22       Q. -- no one --                                    22 description or sent him these things --
23       A. -- that you --                                  23      Q. Were you ever placed on a performance
24       Q. -- no one had been placed in that               24 improvement plan?
25 position, correct?                                       25      A. No.
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 1                                                          1
        Q. Were you ever disciplined?                          BY MR. GOLD:
 2                                                           2
        A. No, but people who were completely                       Q. "I hate" --
 3                                                           3
   forced to leave before were done the same way. It                     MR. GOLD: Why don't you go to the
 4                                                           4
   wasn't a we're going to put you on a performance                 top of the page. Scroll up for a
 5                                                           5
   plan, it's we're going to make you so uncomfortable              minute. I just want to get the date of
 6                                                           6
   that you have to leave --                                        this exchange here. Okay.
 7                                                           7
        Q. Ma'am.                                              BY MR. GOLD:
 8                                                           8
        A. -- because this is the worst --                          Q. So this is another exchange between you
 9                                                           9
        Q. Ma'am.                                              and Lisa. It says --
10                                                          10
        A. -- place to ever be.                                          MR. GOLD: Stop. Go back up to
11                                                          11
        Q. Okay. But it was the worst place to                      the top.
12                                                          12
   ever be but you wanted to be there for at least ten         BY MR. GOLD:
13                                                          13
   more years, correct?                                             Q. -- "Sandman" -- who I think is, what --
14                                                          14
        A. I started out thinking that. I didn't               is that Patrick?
15                                                          15
   end thinking that.                                               A. Yes.
16                                                          16
        Q. Okay.                                                    Q. -- "replied to my Snap story and said
17                                                          17
        A. Clearly.                                            'let me eat some' and then said sorry I know you are
18                                                          18
        Q. And you didn't because you left for a               wifed up and I" -- "and I friended me on Snapchat.
19                                                          19
   better paying job ultimately anyway, correct?               What is happening."
20                                                          20
        A. Yes, in a city where it's more                                And you say: Those faces.
21                                                          21
   expensive to live, so --                                              What was your intention with that
22                                                          22
        Q. You could have --                                   response?
23                                                          23
        A. -- money had nothing to do with it.                      A. I don't know. It looks like there must
24                                                          24
        Q. You could have gone to Detroit or                   have been a video or something before.
25                                                          25
   Cleveland. You picked New York.                                  Q. Okay.
                                                 Page 333                                                        Page 335
 1      A. Correct, I did.                                  1            MR. GOLD: Let's scroll down then
 2      Q. Maybe you should have considered, like,           2      to the yellow highlighted part. Stop.
 3 you know, Jackson Hole, Wyoming.                          3      Stop. Go back one line. Okay. Stop.
 4      A. Okay. Do you want to give me life                 4      Let's go back up. Go back up.
 5 lessons now, too?                                         5           THE WITNESS: Could we take a
 6          MR. GOLD: Let's go to Exhibit                    6      two-minute break, please?
 7      Number --                                            7           MR. GOLD: Yeah, sure.
 8 BY MR. GOLD:                                              8           Off the record.
 9      Q. So just so I can be clear, you were               9           THE VIDEO SPECIALIST: We are now
10 never disciplined, you were never warned, you were       10      off the record. The time is 5:30.
11 never threatened with termination, prior to the point    11           (A brief recess was taken from
12 in time when you left the organization; is that          12      5:30 p.m. to 5:34 p.m.)
13 accurate?                                                13           THE VIDEO SPECIALIST: We are now
14      A. I was just made to feel horrible all of          14      back on the record.
15 the time so that I would want to leave.                  15 BY MR. GOLD:
16      Q. Okay. Got it. But the answer to the              16      Q. This is a -- we're -- this is a text
17 question is, no, you were never disciplined, you were    17 message exchange between you and Lisa dated March 19,
18 never placed on a PIP, you were never demoted, you       18 2019, and it appears that you were on a cruise
19 were never -- salary was never reduced, and you were     19 somewhere?
20 never threatened with termination, correct?              20      A. Okay.
21      A. Those things did not happen, no.                 21      Q. Is that accurate?
22      Q. Okay.                                            22      A. Yes.
23          MR. GOLD: Let's go to Exhibit 39.               23      Q. Okay. And then you get an e-mail from
24      Stop. Go back up -- this is the first               24 -- I'm sorry, a text message from Lisa "I hate to
25      highlighted -- yeah.                                25 bother you on a trip but the investor said he'll be"

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 1                                                       1       Objection. We know for certain that the
   -- "he'll take a meeting with us."
 2                                                       2       person that we're talking about was
              And you write back: Holy shit, I can't
 3                                                       3       never a donor of MEF, so don't ask a
   curse, that's amazing.
 4                                                       4       question --
              Do you know who the investor was?
 5                                                       5 BY MR. GOLD:
        A. I don't, no.
 6                                                       6       Q. Okay. So Terry Giles -- does this
        Q. Was it Terry Giles?
 7                                                       7 refresh your memory now that the person she was going
        A. It could have been. I don't know.
 8                                                       8 to meet is Terry Giles?
        Q. Okay.
 9                                                       9       A. I really don't remember, but if you're
              MR. GOLD: Do you want to scroll
10                                                      10 saying --
        down?
11                                                      11       Q. Okay. So explain to me again how does
   BY MR. GOLD:
12                                                      12 she -- how does she walk away with a hundred thousand
        Q. Lisa says: Oh my God. He's going to
13                                                      13 dollars, Lisa, and a year off?
   be in London when I'm there.
14
              And you say: No way. Are you going to 14           A. I don't remember the exact details. I
15                                                      15 just remember that this was talking about, like, a
   meet him there.
16                                                      16 year employment for that amount of money.
              You still don't know who he is?
17                                                      17       Q. Is that a commission on an investment
        A. I don't remember.
18                                                      18 or is that just a salary? What exactly -- you say
        Q. Okay. And this is roughly about --
19                                                      19 it's a hundred thousand dollar commission. What were
   this is, like I said, 2019. Okay.
20                                                      20 you talking about?
              She says: I just wrote him back saying
21
   I actually will be in London on the 21st and 22nd as 21       A. A salary.
22                                                      22       Q. Not a commission.
   well, can we meet there.
23                                                      23       A. Correct.
              And she says: He's going to be there
24                                                      24       Q. Why did you use the word commission?
   for Tommy.
25                                                      25       A. I don't remember.
              MR. GOLD: Scroll down. Stop.
                                                Page 337                                                       Page 339
 1                                                      1
        Okay.                                                  Q. And then she says to you: I don't want
 2                                                      2
   BY MR. GOLD:                                           to hear her off I'm on $135,000 salary and you to
 3                                                      3
        Q. "I'm freaking out. I hope he can meet          come with me at --
 4                                                      4
   me in London," she says.                                        What's that word?
 5                                                      5
            And you say: And the toes.                             -- the same -- the same grand that's
 6                                                      6
            What's that supposed to mean?                 what.
 7                                                      7
        A. Crossing fingers.                                       What did you understand that to mean?
 8                                                      8
        Q. Oh, cross your fingers. Okay.                       A. That she didn't want a year off, she
 9                                                      9
            "When do you leave, tomorrow night?"          wanted $135,000 salary.
10                                                     10
            She says: Yes. I'm sick to my                      Q. In addition to the hundred thousand
11                                                     11
   stomach.                                               dollar commission?
12                                                     12
            And then you say: Haha don't be.                   A. Instead of a hundred and a year off.
13
   You're going to be amazing and knock it out of the 13       Q. Okay. And then you said: That would
14
   park and walk away with a hundred thousand dollar 14 be insane.
15                                                     15
   commission and a year off.                                      And she said: That's what I want.
16                                                     16
            What were you talking about when you                   And you said: Well work yo magic on
17                                                     17
   say she would be entitled to a hundred thousand        this angel. You can always win over these types.
18                                                     18
   dollar commission and a year off?                               What types are we talking about?
19                                                     19
        A. This was starting a new -- I don't know             A. People in general. Everyone likes Lisa
20
   the exact details, but the investor would have been 20 when they meet her.
21                                                     21
   paying her an annual salary for a job if it came to             MR. GOLD: Okay. Scroll down.
22                                                     22
   be.                                                         Stop. Could you blow up this exchange
23                                                     23
        Q. So she was soliciting a donor of sorts?             here? I can't read it. Scroll down.
24                                                     24
   An investor?                                                Scroll down. Stop. Okay. That's the
25                                                     25
            MR. CARSON: Objection.                             next exhibit. Okay.
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 1 BY MR. GOLD:                                            1
                                                                     MR. CARSON: Objection. Same
 2      Q. So you don't know who the investor was         2
                                                                objection. Hypothetical opinion.
 3 and you don't know whether it was Terry Giles,         3
                                                            BY MR. GOLD:
 4 correct?                                               4
                                                                Q. Under those circumstances would you
 5      A. No, I don't remember.                          5
                                                            have reported it to Daniel?
 6      Q. Okay. And you don't know whether the           6
                                                                A. I would have expected Lisa to report it
 7 investor was a donor to -- potential donor for MEF?    7
                                                            to Daniel if she's the one who is actually meeting
 8      A. I don't remember who the person was,           8
                                                            him and --
 9 but she wouldn't have asked for money from a donor.    9
                                                                Q. Let's say Lisa didn't report it to
10      Q. Well, if it -- is Jerry -- is Mr.             10
                                                            Daniel. Would you report it to Daniel?
11 Giles, Terry Giles, a donor to MEF?                   11
                                                                     MR. CARSON: It's a hypothetical
12      A. I don't know offhand.                         12
                                                                about a hypothetical.
13      Q. What if she were meeting with a donor         13
                                                                     MR. GOLD: I know it's a
14 for MEF and was cutting a side deal for her to make a 14
                                                                hypothetical. Go ahead.
15 hundred thousand dollars, would that be appropriate?  15
                                                                     THE WITNESS: Yes, if I knew that
16           MR. CARSON: Objection.                      16
                                                                was the case.
17           THE WITNESS: Why are we talking             17
                                                                     MR. CARSON: I'm going to object
18      about hypotheticals.                             18
                                                                -- I'm going to object to the form of
19           MR. CARSON: And her opinion on              19
                                                                the question.
20      the hypotheticals.                               20
                                                                     MR. GOLD: Okay. Let's go to the
21 BY MR. GOLD:                                          21
                                                                next exhibit here. We're on Number 40
22      Q. You can answer the question.                  22
                                                                now.
23           MR. CARSON: You can answer -- you           23
                                                                     MR. CARSON: I think we're also
24      can answer your -- what your opinion is          24
                                                                running out of time, but yeah.
25      based on the hypothetical thing that             25
                                                                     MR. GOLD: How much time do I
                                                Page 341                                                       Page 343
 1       never happened that --                            1
                                                                   have?
 2            MR. GOLD: Correct. Correct.                   2
                                                                        MR. CARSON: We started about
 3            MR. CARSON: I guess the question              3
                                                                   10:10, so --
 4       is would it be appropriate? Is that the            4
                                                                        MR. GOLD: I'm going to buzz
 5       question?                                          5
                                                                   through this. Let's go to Number 40.
 6            MR. GOLD: Yeah, appropriate for               6
                                                                   Stop.
 7       her to make -- for her to solicit an               7
                                                              BY MR. GOLD:
 8       investment from a MEF donor for a                  8
                                                                   Q. At that point if you look at -- it says
 9       hundred thousand dollars.                          9
                                                              -- Lisa says to you: I'm -- that's it. I'm looking
10            MR. CARSON: I would suggest it               10
                                                              for a new job. Resume workshop tomorrow.
11       would be entirely appropriate. The                11
                                                                        Was Lisa, in fact, looking for a new
12       witness is welcome to answer that, what           12
                                                              job at that juncture?
13       she thinks.                                       13
                                                                   A. It's possible, yes. I don't know.
14            THE WITNESS: My opinion would be             14
                                                                   Q. And you said: Oh God what happened?
15       no.                                               15
                                                                        We're now in April of 2019.
16 BY MR. GOLD:                                            16
                                                                        "But also, yes, I applied to like 20
17       Q. Okay. And why is that?                         17
                                                              jobs on Monday night."
18       A. My personal opinion would be that MEF          18
                                                                        Is that true?
19 -- if we're soliciting money as employees from MEF      19
                                                                   A. Yes, I started applying jobs in the
20 for donations to MEF we wouldn't do anything off to     20
                                                              spring of 2019.
21 the side unless it was spoken about with Daniel.        21
                                                                   Q. Is that the first time you started
22       Q. Okay. So you would have suggested that         22
                                                              applying, in April?
23 -- if, in fact, it was a donor, you would have          23
                                                                   A. Yes.
24 reported to Daniel or would you expect that Lisa to     24
                                                                   Q. Okay. And she says: I sent you his
25 report it to Daniel?                                    25
                                                              response back to me. Fuck off dude.
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 1                                                      1      Q. Who is this individual? There's a
            Who is she talking about?
 2                                                      2 photo here of somebody?
        A. I'm not sure.
 3                                                      3      A. Of Benjamin Baird.
        Q. Okay.
 4                                                      4      Q. Is he an employee of -- was he an
            MR. GOLD: Scroll down. Scroll
 5                                                      5 employee of MEF at the time?
        down. Scroll down. We're on Exhibit 44
 6                                                      6      A. Yes.
        now. Let's go back to Exhibit 42 for a
 7                                                      7      Q. Who is he, do you know?
        second. Go to the yellow. Stop. Can
 8                                                      8      A. What do you mean who is he?
        you scroll up for one second? Is this
 9                                                      9      Q. Who was -- was he an employee of MEF?
        Exhibit 42? Okay. Go to forty -- okay.
10                                                     10      A. Yes, you just asked that and I said
   BY MR. GOLD:
11                                                     11 yes.
        Q. It says: Right why am I asking you you
12                                                     12      Q. Okay. I didn't hear the yes. I'm
   went off so I can't -- I don't call the same one --
13                                                     13 sorry. So why would Lisa have taken a picture of him
            MR. GOLD: Keep going. Scroll
14                                                     14 sleeping -- is that a hospital bed or is that an
        down. Scroll down. Stop.
15                                                     15 actual bed?
   BY MR. GOLD:
16
        Q. She mentions: I'm looking at lawyers 16             A. That's an actual bed.
17                                                     17      Q. Do you know whether Lisa slept with
   now. I don't want to double up or waste my time
18                                                     18 him?
   calling somebody that you already called. I'm
19                                                     19      A. Yes.
   looking at Murphy Law Group.
20                                                     20      Q. Is that what she told you?
            And then you say: Sorry I'm driving,
21                                                     21      A. That they were intimately involved,
   hold on. Sidney L. Gold and Associates.
22                                                     22 yes.
            What was that exchange about?
23                                                     23      Q. Do you think her dating life and sex
        A. What lawyers we were going to call.
24                                                     24 life was adversely impacting her employment at MEF?
        Q. Okay. And did she actually call the
25                                                     25      A. To be honest, it's not something I
   Murphy Law Group? Do you know?
                                                Page 345                                                       Page 347
 1                                                         1
        A. I'm not sure.                                      really think about her personal life outside of --
 2                                                          2
        Q. And did you call my office?                             Q. Did it have any impact on her
 3                                                          3
        A. I did.                                             employment positive or negative?
 4                                                          4
        Q. Okay. Who did you speak with, do you                         MR. CARSON: Objection. Are we
 5                                                          5
   know?                                                           talking about when Gregg Roman sexually
 6                                                          6
        A. You.                                                    harassed her twice -- what are we
 7                                                          7
        Q. Oh, me. Okay. And what did we talk                      talking about here?
 8                                                          8
   about?                                                               MR. GOLD: I'm talking the fact
 9                                                          9
        A. We talked about the type of case that I                 when she's sleeping with guys that work
10                                                         10
   was -- that I was looking at discussing with you --             at MEF, okay, like Mr. Baird.
11                                                         11
        Q. Right.                                                       MR. CARSON: Are we talking about
12                                                         12
        A. -- and then you asked me who the names                  (indiscernible) --
13                                                         13
   of the people involved were --                                       MR. GOLD: That's what we're
14                                                         14
        Q. Okay.                                                   talking about, yeah. Listen, you have
15                                                         15
        A. -- and when I said Gregg's name, you                    your chance --
16                                                         16
   said that it was a conflict of interest and you                      MR. CARSON: (Indiscernible.)
17                                                         17
   couldn't because of Gregg.                                           MR. GOLD: You can ask her all the
18                                                         18
             MR. GOLD: All right. Scroll                           questions you want on redirect.
19                                                         19
        down. Scroll down. Stop. Scroll down.                           THE COURT REPORTER: I can't hear
20                                                         20
        Go to the -- we're now on Exhibit 43.                      anything Mr. Carson is saying.
21                                                         21
        Go back to 42 for one minute. Are we on                         MR. CARSON: I don't have any
22                                                         22
        -- scroll up. Scroll down. Scroll                          questions. I have no questions --
23                                                         23
        down. Go -- keep going. Keep going.                   BY MR. GOLD:
24                                                         24
        Keep going.                                                Q. My question is, ma'am -- you can answer
25                                                         25
   BY MR. GOLD:                                               yes or no.
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                                                Page 348                                                       Page 350
 1                                                         1        Let's go to the next exhibit.
              MR. CARSON: Are we talking about
 2                                                       2     We're on now -- stop. Keep going.
        --
 3                                                       3     Stop. Okay.
   BY MR. GOLD:
 4                                                       4 BY MR. GOLD:
        Q. Did the fact that she slept with Mr. --
 5
   did the fact that she slept with Mr. Baird, did that 5      Q. By the way, you learned that Lisa was
 6                                                       6 sleeping with Ben Baird, did you report it to anybody
   have any impact on her employment at MEF?
 7                                                       7 at MEF?
             MR. CARSON: Objection. I'm going
 8                                                       8     A. No.
        to instruct her not to answer that.
 9                                                       9     Q. Did you ever observe Lisa flirting with
             MR. GOLD: On what grounds?
10                                                      10 any other MEF employees or contractors?
             MR. CARSON: It's designed to
11                                                      11          MR. CARSON: Objection. Any
        embarrass and harass.
12                                                      12     other?
             MR. GOLD: Because what?
13                                                      13          MR. GOLD: Yeah, any other --
             MR. CARSON: No relevance.
14                                                      14          MR. CARSON: Who did she flirt
             MR. GOLD: Because of what?
15                                                      15     with?
             MR. CARSON: Designed only -- it's
16                                                      16          MR. GOLD: -- MEF employees or
        only -- it's designed only to embarrass
17                                                      17     contractors.
        and harass. Rape shield. It's a great
18                                                      18          MR. CARSON: Who did she flirt
        --
19                                                      19     with  that -- she never -- you never
             MR. GOLD: How does it embarrass
20                                                      20     established she flirted with anyone yet.
        her? She's not the one having sex with
21                                                      21     Objection --
        Mr. Baird, so how does it -- how is it
22                                                      22          MR. GOLD: I thought she said she
        harassing to her?
23                                                      23     slept with Ben Baird.
             MR. CARSON: She's such a slut so
24                                                      24          MR. CARSON: Objection. Lack of
        she -- so Gregg Roman should have
25                                                      25     foundation. Object to form.
        sexually assaulted her, right? That's a
                                                Page 349                                                       Page 351
 1                                                 1
         great strategy you guys are developing.              You can answer.
 2                                                 2
              MR. GOLD: Well, I want to know --      BY MR. GOLD:
 3                                                 3
         you're telling her not to answer the             Q. Did she ever sleep with any other
 4                                                 4
         question because of the rape shield law,    employees of MEF; yes or no?
 5                                                 5
         is that your objection?                          A. Not that I -- not that I know of, no.
 6                                                 6
              MR. CARSON: The question is                 Q. Okay. That's all I wanted to know.
 7                                                 7
         designed solely to embarrass and harass.             MR. CARSON: Yeah, if she had I
 8                                                 8
         There is no basis --                             guess she deserves to be sexually
 9                                                 9
              MR. GOLD: In what country? What             assaulted by the director.
10                                                10
         law are you relying -- what's the legal              MR. GOLD: Maybe that's your --
11                                                11
         authority for that objection?                    maybe that's your logic coming into
12
              MR. CARSON: The legal authority 12          play, Mr. Carson.
13                                                13
         is that you can -- is that when a                    MR. CARSON: Seems to be the
14                                                14
         question is designed solely to embarrass         defense you're trying to establish.
15                                                15
         and harass the witness or to embarrass      BY MR. GOLD:
16                                                16
         and harass period that they don't have           Q. Did Ben Baird know -- did Ben Baird
17                                                17
         to answer the question, they could be       know that Lisa was taking pictures of him?
18                                                18
         instructed not to answer --                      A. I don't know.
19                                                19
              MR. GOLD: How does it embarrass             Q. Did you ask her why she sent you that
20                                                20
         her? She's already admitted that she        picture?
21
         knew that Lisa slept with him, so where 21       A. No.
22                                                22
         is she -- embarrassed about what?                Q. When did you first decide -- you said
23                                                23
              MR. CARSON: My objection is            you called my firm and Lisa was calling Michael
24                                                24
         noted.                                      Murphy. When did you finally meet with the Derek
25                                                25
              MR. GOLD: Okay. We'll move on.         Smith Law Firm?
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                                             Page 352                                                        Page 354
 1                                              1
      A. June 2019.                                         MR. GOLD: Okay. I'll ask it
 2                                              2
      Q. And is that -- who selected the Derek         better yet.
 3                                              3
   Smith Law Firm?                                BY MR. GOLD:
 4                                              4
      A. Lisa had spoken with --                       Q. Who -- okay. Did -- let me come back
 5
           MR. CARSON: Objection. What does 5 to this. Okay? Is that did you have any discussions
 6                                              6
      that mean, who selected?                    with Lisa about starting a lawsuit against MEF?
 7
           MR. GOLD: Who set up the meeting. 7              THE WITNESS: Seth, are you
 8                                              8
           MR. CARSON: I --                            talking? Because nothing is -- I can't
 9                                              9
           MR. GOLD: She already answered              hear you.
10                                             10
      the question, so it's too bad. Okay?        BY   MR.  GOLD:
11                                             11
           MR. CARSON: She hasn't answered             Q. Yeah, no, the question is, did you have
12                                             12
      the question. Objected to the question.     any  discussions with Lisa about starting a lawsuit --
13                                             13
           MR. GOLD: She did answer the                A. I can see Seth's microphone going,
14                                             14
      question. She said Lisa set it up.          though.
15                                             15
      Can't you hear her? Pay attention.               Q. What?
16                                             16
           MR. CARSON: Yeah, I can hear.               A. I can see Seth's microphone going. I
17                                             17
           MR. GOLD: Pay attention. It's          just wanted to make sure he wasn't talking before I
18                                             18
      your witness. It's your client.             said anything.
19                                             19
           MR. CARSON: Object -- I'm going             Q. Okay. The question is, did you have
20                                             20
      to object to the question. She hasn't       any conversations with Lisa before you started this
21                                             21
      -- she didn't answer the question. I'm      lawsuit against MEF?
22                                             22
      also going to let Tricia know when I             A. We talked about lawyers.
23                                             23
      object please do not respond until after              MR. CARSON: You're allowed to
24                                             24
      my objections, but she -- the objection          talk about conversations you had with
25                                             25
      is based on the fact that the question           Lisa, not me, but with Lisa --
                                             Page 353                                                        Page 355
 1                                                      1
       makes no sense. What do you even mean                         MR. GOLD: That's why the question
 2                                                       2
       who selected the law firm --                             is phrased that way to -- did she talk
 3                                                       3
            MR. GOLD: What makes sense to                       with Lisa, not you.
 4                                                       4
       you, Mr. Carson, is much different than                       THE WITNESS: Yes, we talked about
 5                                                       5
       what makes sense to me. Okay? Let's                      --
 6                                                       6
       just leave it at that.                              BY MR. GOLD:
 7                                                       7
            MR. CARSON: Yeah, well that --                      Q. Okay. Now, when did you --
 8                                                       8
   BY MR. GOLD:                                                 A. -- each going to a lawyer.
 9                                                       9
       Q. Whose idea was it to file the lawsuit                 Q. Okay. And when did that first -- that
10                                                      10
   against MEF?                                            conversation first take place?
11                                                      11
            MR. CARSON: -- question makes no                    A. I think it was still in June of 2019.
12                                                      12
       sense.                                                   Q. Where did it take place at?
13                                                      13
            Objection. Who selected the --                      A. I don't remember.
14                                                      14
       who selected the what?                                   Q. Was it by phone? Was there -- did you
15                                                      15
   BY MR. GOLD:                                            have dinner? Was it a luncheon?
16                                                      16
       Q. Whose idea was it to file a lawsuit                   A. There wasn't like a super long
17                                                      17
   against MEF?                                            conversation on it. We were all just so frustrated
18                                                      18
            MR. CARSON: You're asking a                    at that point I think it was just I'm going to speak
19                                                      19
       question about three different -- for               to a lawyer; I'm going to speak to a lawyer too.
20                                                      20
       what case? There is three -- there is               There wasn't a lengthy --
21                                                      21
       --                                                       Q. Were Ms. Yonchek and Ms. Brady part of
22                                                      22
            MR. GOLD: This case right here,                those conversations?
23                                                      23
       this case, her case.                                     A. No.
24                                                      24
            MR. CARSON: You're asking                           Q. Okay. So conversations were between
25                                                      25
       Patricia McNulty in her case --                     you and Lisa alone.
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                                                     Page 356                                                     Page 358
 1      A. Correct.                                              1
                                                                     accurate.
 2      Q. Okay. And you say they took place                     2
                                                                          MR. CARSON: You're asking her
 3 sometime in March or April of 2019?                           3
                                                                     whether or not -- what is she, a
 4      A. June of 2019 I think.                                 4
                                                                     psychiatrist now?
 5      Q. June of 2019. Okay.                                   5
                                                                          MR. GOLD: Maybe one day she will
 6           MR. GOLD: Let's go to Exhibit 45.                   6
                                                                     be one. Okay? That's not the question.
 7      Okay. Can you keep going down until you                  7
                                                                     The question is here is someone stating
 8      hit the yellow -- hit the highlighted                    8
                                                                     her self-assessment of herself at the
 9      part here. Keep going. Stop.                             9
                                                                     job that she's a total failure, and I'm
10 BY MR. GOLD:                                                 10
                                                                     asking you did you agree with that, yes
11      Q. She writes to you: I fucked up at work               11
                                                                     or no. If the answer is no, fine.
12 today. I'm not concentrating on this job at all at           12
                                                                          MR. CARSON: I'm going to object.
13 the moment. I never sent the director of development         13
                                                                     There is nowhere that says total
14 announcement out. I'm fired. I just suck. Since I            14
                                                                     failure --
15 started this job nothing has ever been right. They           15
                                                                          MR. GOLD: Well, it says it right
16 got in my head and I don't live up to my potential.          16
                                                                     here, since I started this job nothing
17 It makes me feel bad about myself.                           17
                                                                     has been right, I fucked up at work
18           And you said: I went on LinkedIn and               18
                                                                     today, I'm not concentrating on the job,
19 --                                                           19
                                                                     they got in my head, I don't live up to
20      A. It.                                                  20
                                                                     my potential, it makes me feel bad about
21      Q. -- there's tons of people so it's fine.              21
                                                                     myself.
22      A. It went out on LinkedIn.                             22
                                                                          MR. CARSON: Since I started at
23      Q. It went out on LinkedIn. Okay. What                  23
                                                                     this job nothing has been right. It
24 is the "it"?                                                 24
                                                                     doesn't say nothing has been right at
25      A. The director of development                          25
                                                                     work. Maybe nothing has been right
                                                     Page 357                                                     Page 359
 1 announcement.                                                 1
                                                                     because Gregg Roman sexually assaulted
 2      Q.    Okay. So at that point did you                     2
                                                                     her twice --
 3 understand Lisa to have -- basically telling you that         3
                                                                          MR. GOLD: Maybe at the trial you
 4 she was not really doing well in her job, to put it           4
                                                                     can serve as an interpreter.
 5 mildly?                                                       5
                                                                          MR. CARSON: -- (indiscernible) --
 6      A.    I understood that she was frustrated               6
                                                                          THE COURT REPORTER: I can't hear
 7 with herself at the -- in that moment.                        7
                                                                     you.
 8      Q.    Would you agree she wasn't living up to            8
                                                                          MR. CARSON: -- (indiscernible)
 9 her potential at the job?                                     9
                                                                     sexually assaulted her twice, sexually
10      A.    I mean, this is my opinion, but I think           10
                                                                     assaulted her coworker right in front of
11 she felt that way that day.                                  11
                                                                     her, basically more or less --
12      Q.    Okay. Well, it says she never --                  12
                                                                          MR. GOLD: Mr. Carson, I
13 "since I started this job nothing right" -- "nothing         13
                                                                     understand you're getting tired, you're
14 has ever been right.   They got in my head and I don't       14
                                                                     making senseless objections, wasting
15 live up to my potential."                                    15
                                                                     time.
16      A. Right.                                               16
                                                                          MR. CARSON: No, I'm not. I'm
17      Q. Okay. Was that accurate?                             17
                                                                     trying to --
18           MR. CARSON: Objection. Object to                   18
                                                                          MR. GOLD: It's a simple question.
19      form. Asking questions about someone --                 19
                                                                     Did you agree with that assessment or
20      another person's --                                     20
                                                                     not; yes or no.
21 BY MR. GOLD:                                                 21
                                                                          MR. CARSON: The objection still
22      Q. You can --                                           22
                                                                     stands.
23           MR. GOLD: Well, that's her --                      23
                                                                          MR. GOLD: Why don't you direct --
24      that's a self-assessment by Lisa, and                   24
                                                                     you're directing her not to answer the
25      I'm asking her if she thought that was                  25
                                                                     question?
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                                               Page 360                                                       Page 362
 1                                                        1
               MR. CARSON: No, she could answer                      (A brief recess was taken from
 2                                                         2
         but I'm just putting an objection.                      6:00 p.m. to 6:04 p.m.)
 3                                                         3
               MR. GOLD: Then let her answer the                     THE VIDEO SPECIALIST: Back on the
 4                                                         4
         question.                                               record. It's 6:04 p.m.
 5                                                         5
               MR. CARSON: So the objection is                       MR. GOLD: Okay. So we're up to
 6                                                         6
         based on the fact that you're asking her                Exhibit -- go back to 45 for one minute.
 7                                                         7
         opinion about some other person's frame                 Let me see where we left off here. 45,
 8                                                         8
         of mind based on the --                                 go up. Scroll up. Stop. Okay. Scroll
 9                                                         9
               MR. GOLD: And I got the objection                 down. Scroll up for one minute, one
10                                                        10
         -- I got -- and I think she's fully                     second go up there. Stop. Okay, scroll
11                                                        11
         capable of having her own assessment of                 down. Scroll down. Scroll down. Stop.
12                                                        12
         the situation. You may think not or                     Okay. This is now Exhibit 45 -- 46,
13                                                        13
         otherwise, but let her answer the                       rather. And scroll down a little bit.
14                                                        14
         question.                                           BY MR. GOLD:
15                                                        15
               MR. CARSON: You can say whether                   Q. And who is that a picture of?
16                                                        16
         or not you think -- what was the                        A. Lisa --
17                                                        17
         question, that she -- that that's                       Q. Is that Lisa?
18                                                        18
         accurate?                                               A. -- and Jaz.
19                                                        19
               MR. GOLD: Yeah, that's her                        Q. Okay. And do you know who Jaz is?
20                                                        20
         self-assessment, is it accurate.                        A. Yes.
21                                                        21
               MR. CARSON: So you can say                        Q. That's -- who is she?
22                                                        22
         whether or not you think that's an                      A. She's the mother of Danny Thomas's
23                                                        23
         accurate self-assessment. It's just a               kids.
24                                                        24
         yes or no question.                                         MR. GOLD: Okay. And let's go to
25                                                        25
               THE WITNESS: I think the part                     Exhibit 47. Let's stop. Keep going.
                                               Page 361                                                       Page 363
 1      about nothing at that job being right             1
                                                                Stop.
 2      since the beginning is accurate in other          2
                                                            BY MR. GOLD:
 3      ways not pertaining to the work that we           3
                                                                Q. This is an exchange again between you
 4      did.                                              4
                                                            and Lisa?
 5 BY MR. GOLD:                                           5
                                                                A. Uh-huh.
 6      Q. Well, of course, because Carson just           6
                                                                Q. It looks -- on July 15th she writes: I
 7 gave you the answer through his long speech about all  7
                                                            miss you. I fucked up -- I fucked that shit up with
 8 the sexual harassment that was experienced by her      8
                                                            Charlie by sleeping with him. I know it. I'm
 9 back in March of 2018. Let's move on.                  9
                                                            bummed.
10           MR. GOLD: Let's go to Exhibit               10
                                                                     Do you know who Charlie was?
11      Number 46.                                       11
                                                                A. Yes.
12           THE COURT REPORTER: Excuse me.              12
                                                                Q. Who is he?
13      Hold on.                                         13
                                                                A. A friend of hers.
14           MR. CARSON: I think we're                   14
                                                                Q. Another guy she slept with?
15      probably -- we're probably getting near          15
                                                                A. Yes.
16      seven hours. Can we get a time check,            16
                                                                Q. You said: Why do you say that? Did
17      please?                                          17
                                                            you guys talk any more?
18           THE COURT REPORTER: I was just              18
                                                                     She says: A little. About sex.
19      going to say I need a minute, so just            19
                                                            Nothing yesterday.
20      hold on one second.                              20
                                                                     MR. GOLD: Let's scroll down.
21           MR. GOLD: Why don't you take a              21
                                                                Stop. Scroll down. Back up to the top
22      minute then and we'll come back. All             22
                                                                of the exhibit for one second. Stop.
23      right?                                           23
                                                            BY MR. GOLD:
24           THE VIDEO SPECIALIST: Off the               24
                                                                Q. What is this a picture of?
25      record.                                          25
                                                                A. Lisa's butt.
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                                             Page 364                                                        Page 366
 1                                                      1
        Q.   Why is she sending that to you?                        MR. GOLD: Go down. Stop.
 2                                                       2
        A.   Because she had a bruise on it.               BY MR. GOLD:
 3                                                       3
        Q.   Why is she sending it to you, though?              Q. Lisa says: DP I just tried to fuck me
 4                                                       4
            MR. CARSON: Objection. Asked and               and I screwed them. Dicks. Seth is calling me right
 5                                                       5
       answered.                                           now.
 6                                                       6
   BY MR. GOLD:                                                     What is that supposed to mean, if you
 7                                                       7
       Q. Because it had a bruise on it, that's            know?
 8                                                       8
   why she sent it to you?                                      A. I'm not sure.
 9                                                       9
       A. To show me the bruise.                                Q. Is DP Daniel Pipes?
10                                                      10
       Q. And your answer was: Your ass looks                   A. Yes.
11                                                      11
   great honestly.                                              Q. Okay. And is Seth Seth Carson?
12                                                      12
            Correct?                                            A. Yes.
13                                                      13
       A. Correct.                                              Q. Okay.
14                                                      14
            MR. GOLD: Okay. Scroll down.                            MR. GOLD: Scroll down. And this
15                                                      15
       Let's go to 48.                                          now is -- this is now -- we're in July
16                                                      16
            MR. CARSON: It's my understanding                   of 2019. Scroll down. Let's go to
17                                                      17
       that the pictures like that are supposed                 Exhibit 48. Kind of move this along
18                                                      18
       to be attorneys' eyes only. What are we                  now. That was Exhibit 48. Go back up.
19                                                      19
       doing right now?                                         Go back up to 48. Keep going. Okay.
20                                                      20
            MR. GOLD: As far as I know this                BY MR. GOLD:
21                                                      21
       is ripe for a deposition.                                Q. Do you know what the context was for
22                                                      22
            MR. CARSON: No, it's not.                      that discussion between you and Lisa?
23                                                      23
            MR. GOLD: Keep scrolling down.                      A. I don't remember.
24                                                      24
            MR. CARSON: It's not. So we're                      Q. Okay.
25                                                      25
       going to have to -- we're going to have                      MR. GOLD: Let's go to 49. Okay.
                                             Page 365                                                        Page 367
 1                                                      1
         to go back and mark that -- I hope your                Stop.
 2                                                       2
         clients --                                        BY MR. GOLD:
 3                                                       3
              MR. GOLD: I'll agree to redact                    Q. It says here -- it says: We'll talk
 4                                                       4
         any and all pictures of Lisa, so don't            later. Have fun with Neal.
 5                                                       5
         be concerned about that.                                   And then you say: Ugh, that's just
 6                                                       6
              MR. CARSON: Yeah, and please -- I            making you sadder I know it. I fucking hate him,
 7                                                       7
         seriously hope that we're not -- that             that he made you love him.
 8                                                       8
         there is not a misunderstanding on your                    Are you talking about Danny Thomas?
 9                                                       9
         part and that your clients have now                    A. Yes.
10                                                      10
         looked at images and photos that we had                Q. Okay.
11                                                      11
         --                                                         MR. GOLD: Scroll down. Okay.
12                                                      12
              MR. GOLD: No, they have not.                      Stop.
13                                                      13
         They have not.                                    BY MR. GOLD:
14                                                      14
              MR. CARSON: -- designated                         Q. There is a reference here -- Lisa says:
15                                                      15
         attorneys' eyes only.                             You are like sleeping -- you are likely sleeping but
16                                                      16
              MR. GOLD: All right?                         I did see the telegram from Marc. Is he fucking
17                                                      17
              MR. CARSON: Yeah. I'm not sure I             serious.
18                                                      18
         believe --                                                 What's the backstory on that?
19                                                      19
              MR. GOLD: And all those pictures                  A. I don't remember.
20                                                      20
         -- we're going to redact all the                       Q. Is that Marc Fink she's referring to?
21                                                      21
         pictures from this deposition before                   A. Yes.
22                                                      22
         anything is ever filed with the Court.                 Q. Okay. You don't have any recollection
23                                                      23
              Let's go down --                             as to what that's about?
24                                                      24
              THE WITNESS: Is somebody eating                   A. I don't.
25                                                      25
         on this call? Sorry.                                       MR. GOLD: Okay. Let's go to
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                                                Page 368                                                         Page 370
 1                                                         1       Q. Do you know -- do you know whether Will
        Exhibit 50. Stop. Go to the yellow
 2                                                          2 Chamberlain has any relationship to Raheem, whether
        highlighted portion. Stop. Okay.
 3                                                          3 they're friends or business relations? Raheem
   BY MR. GOLD:
 4                                                          4 Kaseem.
        Q. It looks like Lisa's asking you to lend
 5                                                          5      A. They're friends.
   her a hundred dollars. Do you know what the
 6                                                          6      Q. Okay. So you know they were friends.
   backstory is on that?
 7                                                          7 Okay. And do you know whether Lisa ever slept with
        A. I don't --
 8                                                          8 Will?
              MR. CARSON: Who cares.
 9                                                          9      A. Yes.
              THE WITNESS: I don't --
10                                                         10      Q. Okay. Did she tell you that?
              MR. CARSON: Objection.
11                                                         11      A. Yes.
              MR. GOLD: I'm just asking if she
12                                                         12      Q. Okay. Did she have any -- was it a
        recalls what it was -- what the hundred
13                                                         13 long-term relationship or just relatively short
        dollars was for, why she was borrowing a
14                                                         14 relationship, if you know?
        hundred dollars from her.
15                                                         15      A. I don't remember.
              MR. CARSON: Good question.
16                                                         16      Q. Okay. So you don't recall much more
              THE WITNESS: I don't think -- I
17                                                         17 about the relationship beyond what you already told
        didn't ask.
18                                                         18 me?
              MR. GOLD: Okay. Scroll down. So
19                                                         19      A. No.
        let's go to the -- let's go to the --
20                                                         20      Q. Okay. Do you know who Mike Yoder is?
   BY MR. GOLD:
21                                                         21      A. I don't think so.
        Q. Is that the first time she asked you to
22                                                         22      Q. Do you know whether Lisa ever had a
   borrow money from you?
23                                                         23 lawyer by the name of Mike Yoder?
        A. I'm not sure.
24                                                         24      A. Not that I know of.
        Q. Do you know whether -- yes or no? Was
25                                                         25      Q. Do you know whether she ever had a
   that the first time she had asked you to lend her
                                                Page 369                                                    Page 371
 1 money?                                                  1 relationship with a Mike Yoder, sexual relationship?
 2      A. I'm not sure.                                   2            MR. CARSON: She just said she
 3      Q. Was she having any money problems as            3       didn't know who the person is.
 4 far as you knew, financial issues, IRS liens?            4           THE WITNESS: Not that I know of.
 5      A. I don't know.                                    5           MR. CARSON: Objection.
 6      Q. Do you know whether she had an -- did            6           MR. GOLD: Okay. Let's move on to
 7 she ever tell you that there was a IRS lien against      7      52. Keep going. Stop.
 8 her for a couple hundred grand, her and her husband?     8 BY MR. GOLD:
 9      A. No, she never told me about a lien.              9      Q. "Today is the big day. I have your
10           MR. GOLD: Okay. Keep going.                   10 letter but it's in my computer. I just want to say
11      Let's go to Exhibit 51. Stop.                      11 good luck."
12 BY MR. GOLD:                                            12           Is this the resignation letter that
13      Q. She says: I officially have a crush on          13 Lisa drafted for you?
14 Will.                                                   14      A. She looked at my letter and --
15           Do you know who that is, who Will is?         15      Q. Did she revise it at all?
16      A. Yes.                                            16      A. Slightly, yes.
17      Q. Who is that?                                    17      Q. Okay. So you gave her the letter to
18      A. I don't remember his last name offhand.         18 revise? Who actually wrote it?
19      Q. Well, is it Will Chamberlain?                   19      A. I had given her a handwritten copy.
20      A. Yes, I think so.                                20      Q. Okay. You gave her a handwritten copy
21      Q. Okay. And who was he?                           21 and then she typed it and revised it to some extent?
22      A. A person who she knows.                         22      A. Yes.
23      Q. Was he the editor of a publication on           23      Q. Okay. How much input did Lisa have in
24 -- Human Events, which is a conservative magazine?      24 that resignation letter?
25      A. I don't know.                                   25      A. I don't know the exact amounts.
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 1      Q. Was it changed -- do you still have the      1 about from work?
 2 handwritten copy?                                    2      A. Yes.
 3      A. I do not.                                    3      Q. Okay. So MEF owned the iPad, and what
 4           MR. CARSON: Objection.                     4 was your answer? "Yes, reset it."
 5 BY MR. GOLD:                                         5           What was that -- were you telling her
 6      Q. Does Lisa still -- do you know whether       6 what to do, to reset the iPad to erase the pictures
 7 Lisa still has the handwritten copy?                 7 or what were you -- what instructions were you giving
 8      A. I don't think she does.                      8 her?
 9      Q. Okay. When did you give her the              9      A. No, she had -- you couldn't use the
10 handwritten copy?                                   10 iPad without an iCloud account, so she had put her
11      A. In September of 2019. I don't know the      11 own private iCloud account into the iPad to be able
12 exact date.                                         12 to use it for the radio station, and I took her
13      Q. At or about September the 12th?             13 iCloud account off when she was gone.
14      A. Just about before I think.                  14      Q. What radio station?
15      Q. Were you in -- working in Philadelphia      15      A. The MEF radio station.
16 at the time or were you working in -- were you in   16      Q. Okay. So you said: Yeah, reset it.
17 Washington DC or was Lisa already in Washington DC? 17           Did she -- do you know whether she
18      A. She was in Washington, I was in             18 reset it after that?
19 Philadelphia.                                       19      A. No, I took her iCloud account off the
20      Q. Okay. Had she already left MEF?             20 iPad.
21      A. She had.                                    21      Q. Oh, you took her -- okay. You took it
22      Q. Okay. So she was working for the            22 off for her. Okay. So who had the -- who had
23 congressman already?                                23 possession of the actual iPad?
24      A. Yes.                                        24      A. MEF did. I'm not sure --
25      Q. Okay. And how did she eventually --         25      Q. Okay.
                                                     Page 373                                                        Page 375
 1 did she send you a letter via e-mail or did she mail         1       A. -- who had it in the office.
 2 it to you or --                                               2      Q. Did you -- when you say you had it, did
 3      A. Via e-mail.                                           3 you turn it in when you resigned?
 4      Q. Okay. And you say: Oh my goodness, I                  4      A. I didn't have it. Somebody in the
 5 fell asleep early last night, it was a -- it was              5 office had it.
 6 glorious. Tomorrow is technically the day. And                6      Q. Okay. So when she resigned from MEF
 7 thank you so much for helping with this. You are the          7 someone in the office had her iPad and then someone
 8 best. I love you so much.                                     8 reset it or you reset it?
 9           MR. GOLD: Scroll down. Scroll                       9      A. It's the office iPad and she had left
10      down. Stop.                                             10 her iCloud account attached to it, and I took her
11 BY MR. GOLD:                                                 11 iCloud account off that day.
12      Q. She writes back: Tommy is free today.                12      Q. And who authorized you to do that?
13           Is that a reference to Tommy Robinson?             13           MR. CARSON: Objection. She just
14      A. Yes.                                                 14      said Lisa authorized her to do it.
15      Q. Okay. Do you know whether Lisa was                   15           MR. GOLD: Lisa wasn't even
16 headed to the UK for -- to meet with Tommy Robinson          16      working there anymore.
17 at about the time he was let out of jail?                    17           MR. CARSON: It's her iCloud
18      A. I don't remember.                                    18      account.
19      Q. Okay.                                                19 BY MR. GOLD:
20           MR. GOLD: Let's go down to                         20      Q. Who at MEF gave you authority to even
21      Exhibit 53.                                             21 do anything with that iPad?
22 BY MR. GOLD:                                                 22           MR. CARSON: Objection. Assuming
23      Q. You -- she writes to you: Did we get                 23      facts not in evidence. Object to form.
24 my pictures off the iPad.                                    24           You can answer.
25           Is that the work iPad we're talking                25 BY MR. GOLD:

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 1
        Q. Were you aware that Lisa and you both 1 anymore.
 2
   had -- had been given litigation hold letters at that 2       Q. Okay. And at that point you were still
 3                                                        3
   point in time?                                           an MEF employee, correct?
 4                                                        4
             MR. CARSON: Doesn't mean she has                    A. Correct.
 5                                                        5
        to let MEF have access to her --                         Q. Correct? You hadn't yet resigned at
 6                                                        6
             MR. GOLD: I'm not asking your                  that point, correct?
 7                                                        7
        interpretation of it, Seth. I'm asking                   A. Correct.
 8                                                        8
        her a question. What it means or what                        MR. GOLD: Okay. Let's go to the
 9                                                        9
        she does or what she thinks about it,                    next exhibit. We're up to 54. Keep
10                                                       10
        that's not my concern right now.                         going. Keep it going. Keep it going.
11                                                       11
   BY MR. GOLD:                                                  Keep it going. Keep it going. Oh,
12                                                       12
        Q. My question is, were you aware of a                   stop. Keep it going. Keep going. Go
13                                                       13
   litigation hold letter or preservation letter?                back to that picture.
14                                                       14
        A. Nothing was deleted.                             BY MR. GOLD:
15                                                       15
             MR. CARSON: Objection. The                          Q. Do you know who that is?
16                                                       16
        witness has already answered the                         A. Yes.
17                                                       17
        question.                                                Q. Who is it?
18                                                       18
   BY MR. GOLD:                                                  A. Patrick.
19                                                       19
        Q. Okay. Nothing was deleted, it was just                Q. That's Patrick Sandman?
20                                                       20
   reset.                                                        A. I believe so.
21                                                       21
             MR. CARSON: She didn't say she                      Q. Okay. Do you know why she sent you
22                                                       22
        reset it. She said she took Lisa's                  that picture?
23                                                       23
        iCloud off --                                            A. To show me what her morning looked
24                                                       24
             MR. GOLD: No, she said she reset               like.
25                                                       25
        it. She said she reset it.                                   MR. GOLD: Okay. Keep -- next
                                              Page 377                                                       Page 379
 1                                                      1
             MR. CARSON: That's not what she                   exhibit -- keep going. Scroll down.
 2                                                      2
        said.                                                  Stop. Okay.
 3                                                      3
   BY MR. GOLD:                                           BY MR. GOLD:
 4                                                      4
        Q. Did you reset it?                                   Q. It says: Jaz made a new fake Twitter
 5                                                      5
        A. I took her iCloud account off of the           account DM me out of nowhere.
 6                                                      6
   iPad.                                                            Do you understand what that meant?
 7                                                      7
        Q. And how did you do that?                            A. That Jaz created a fake Twitter account
 8                                                      8
        A. I just went onto the iPad and took her         to direct message her.
 9                                                      9
   iCloud off.                                                 Q. Okay. And do you know why she did
10                                                     10
        Q. You said that you -- in this text              that?
11
   exchange you said you reset it. Is that accurate or 11      A. Why Jaz did that?
12                                                     12
   not accurate?                                                    MR. CARSON: Are you asking her
13                                                     13
        A. What I meant by that was that I took                why -- how could she know that.
14                                                     14
   her iCloud account off.                                BY MR. GOLD:
15                                                     15
        Q. By simply deleting it or erasing it?                Q. Well, did she tell you that?
16                                                     16
        A. By taking --                                             MR. CARSON: Has she -- have you
17                                                     17
             MR. CARSON: Go ahead. You can                     ever spoken to Jaz before in your life?
18                                                     18
        answer it.                                                  THE WITNESS: I've never spoken to
19                                                     19
             THE WITNESS: By taking the                        Jaz.
20                                                     20
        account off. It doesn't delete                    BY MR. GOLD:
21                                                     21
        anything. Everything is still in the                   Q. Okay. So when you learned of this,
22                                                     22
        cloud.                                            okay, did you ever tell any of your supervisors at
23                                                     23
   BY MR. GOLD:                                           MEF that Jaz had made -- set up a fake account --
24                                                     24
        Q. Okay.                                               A. I wasn't working at MEF at this time.
25                                                     25
        A. Just wasn't attached to that iPad                   Q. Oh, you weren't working at that point
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 1 in time.  Okay.                                          1       A. Her friend.
 2           Do you know whether anyone had actually         2      Q. So she set up a fake account on Bumble
 3 spoken to Lisa, to the best of your knowledge, about      3 with Allison's pic?
 4 interacting with Jazmin Bishop before she had left        4      A. I guess so.
 5 MEF?                                                      5      Q. Claiming that -- I guess -- claiming
 6      A. I don't know.                                     6 that she was Allison, I take it?
 7      Q. I take it Lisa never told you that she            7      A. Yeah.
 8 had any conversations with any supervisors about her      8      Q. Is that so she can monitor and see
 9 interactions with Jazmin Bishop; is that accurate?        9 whether Ryan Coyne was accessing pictures on Bumble?
10      A. Not that I remember.                             10           (Voice on computer interrupts
11           MR. GOLD: Okay. Let's go to 57.                11      proceedings.)
12 BY MR. GOLD:                                             12 BY MR. GOLD:
13      Q. By the way, who is Ryan Coyne?                   13      Q. Go ahead. That was my -- that's my
14      A. A friend of hers from DC.                        14 computer.
15      Q. Was Lisa dating Ryan Coyne at some               15           MR. CARSON: Ms. McNulty, do you
16 point in time?                                           16      know if Ms. Barbounis got MEF's
17      A. Yes.                                             17      authorization to set up a Bumble
18      Q. Is she still dating him to this day?             18      account?
19      A. I don't know.                                    19           Are these questions even serious
20      Q. When is the last time you spoke with             20      right now?
21 Lisa about things outside of MEF?                        21 BY MR. GOLD:
22      A. I don't know the exact last time. I              22      Q. I want to know why -- I want to know --
23 would have to look.                                      23 did she tell you why she set up a fake account under
24      Q. Within the last month?                           24 Allison's name, that's the question.
25      A. Within the last month, yeah.                     25      A. I mean --
                                                 Page 381                                                       Page 383
 1      Q. Okay. And you don't know -- you don't            1       Q. The answer is yes or no.
 2 know whether she's going out with Ryan Coyne right        2      A. -- she was talking about somebody in
 3 now?                                                      3 this, but I don't remember who the "he" is.
 4      A. I don't.                                          4      Q. Okay. Well, she mentions Ryan's in
 5           MR. GOLD: Okay. Let's go to                     5 Philly. Is that Ryan Coyne?
 6      Exhibit 57.                                          6      A. Yes, that's in reference to Ryan.
 7           THE VIDEO SPECIALIST: I just want               7           MR. GOLD: Okay. Let's go to
 8      to interject quickly, gentlemen. We're               8      number -- we're up to fifty -- go to 56.
 9      at 6 hours, 50 minutes on the record.                9      Sorry, stop. 58. Okay. Go down.
10           MR. GOLD: We're going to be done,              10      Stop.
11      don't worry, we're getting there, I got             11 BY MR. GOLD:
12      three more exhibits to go.                          12      Q. Here is an exchange -- do you want to
13 BY MR. GOLD:                                             13 go up a little further so you can get the context of
14      Q. She says to you: He's back on Bumble.            14 it?
15 I'm done. I set up a fake account with Allison's         15           Lisa says: I'm crushed. I just got
16 pic. Ryan's in Philadelphia.                             16 drunk. I got it so bad.
17           Can you tell me what that's about, if          17           You say: Oh shit, that's not at all
18 you know?                                                18 what I thought you were gonna say. What a dick. Did
19      A. I'm not sure who that's about.                   19 you guys end things?
20      Q. Well, is she referring to Ryan Coyne             20           Are you talking about Ryan Coyne or
21 setting up -- being on Bumble; is that a dating site?    21 someone else?
22      A. Bumble is a dating site. I'm not sure            22      A. I'm not sure.
23 if she's talking about Ryan in that.                     23           MR. GOLD: Could you go up -- pull
24      Q. Well, what about her saying I set up a           24      it up a little bit? Stop. Little more.
25 fake account with Allison's pic. Who is Allison?         25      Okay. Go down.
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 1                                                        1 Coyne?
   BY MR. GOLD:
 2                                                        2       A. Yes.
        Q. So you're not sure it's Ryan Coyne but
 3                                                        3       Q. Okay. And what was your -- do you know
   you don't know who it is, correct?
 4                                                         4 whether Lisa had a problem with alcohol? Was she an
        A. No.
 5                                                         5 alcoholic?
             MR. GOLD: Okay. Stop. Go back
 6                                                         6      A. I don't think she's an alcoholic, no.
        up. Okay.
 7                                                         7      Q. Okay. Well, did you have any
   BY MR. GOLD:
 8                                                         8 conversations with her about this interaction she had
        Q. "Yes he can. After I went psycho.
 9                                                         9 with Ryan Coyne?
   Crying wouldn't go home. Not good. I'm so
10                                                        10      A. I mean, she sent me that screen shot.
   embarrassed. I can't leave now because I want to
11                                                        11      Q. And what was your --
   talk to him."
12                                                        12      A. This conversation is what we talked
             Anything in there refresh your
13                                                        13 about.
   recollection?
14                                                        14      Q. Okay. And what was your perception of
        A. I'm not sure who it was about.
15                                                        15 that conversation?
        Q. Well, you say: I doubt it's as bad as
16                                                        16      A. My perception of her conversation with
   you think but him fucking a bunch of girls isn't
17                                                        17 Ryan?
   great.
18                                                        18      Q. Yeah.
             Any idea now who she's talking about?
19                                                        19      A. That they were drunk and having an
        A. I'm not sure.
20                                                        20 argument.
        Q. Okay.
21                                                        21      Q. We want to know -- we know that Lisa
             MR. GOLD: Let's go to the next
22                                                        22 was drunk. Was that -- she was running around the
        one. Fifty -- let's go to 58. Let's
23                                                        23 streets at 4 a.m. in the morning in Philadelphia. Is
        get into the -- let's go to -- stop.
24                                                        24 that where she was, in Philadelphia?
   BY MR. GOLD:
25                                                        25      A. I'm not sure.
        Q. It says here the -- she says to you
                                               Page 385                                                        Page 387
 1 "Lisa" --                                              1
                                                                      MR. GOLD: Okay. Let's go to the
 2      A. This is between her and Ryan.                  2
                                                                 next one. Let's go to Exhibit 59. Go
 3      Q. Okay. This is Ryan Coyne.                      3
                                                                 to the highlighted part. Keep going.
 4           "Lisa if you don't get into an Uber and      4
                                                                 Keep going. Stop. Keep going. Keep
 5 go home I'm going to have to call someone and I don't 5
                                                                 going. Keep going. Stop.
 6 know" -- "don't want to do that."                      6
                                                            BY MR. GOLD:
 7           You said -- she says: Call who?              7
                                                                 Q. Is that Ryan Coyne?
 8           And he says: The police. You are             8
                                                                 A. I don't think so.
 9 dangerously roaming the streets at 4 a.m. in the       9
                                                                 Q. Who is that?
10 morning and don't know where you are. You're totally 10
                                                                 A. I don't know who that is.
11 out of control.                                       11
                                                                 Q. Did she ever tell you that she's been
12           She says: LOL. And say what? Now you        12
                                                            flying on a private plane recently with Ryan Coyne?
13 are acting crazy. I just want to be alone.            13
                                                                 A. Not that she's flown on it. She's told
14           MR. GOLD: Keep going.                       14
                                                            me she's seen one.
15 BY MR. GOLD:                                          15
                                                                 Q. She has not been on the plane?
16      Q. "This is unbelievable that a grown            16
                                                                 A. I don't think so.
17 woman and a mother would act this way. Be alone in 17
                                                                 Q. Okay. When did she tell you that?
18 an Uber" -- "be alone in a Uber home."                18
                                                                      (Brief interruption.)
19           And then she says: Pulling the mother       19
                                                            BY MR. GOLD:
20 card. You don't even know my kids' names.             20
                                                                 Q. When did she tell you that?
21           Do you recall Lisa telling you about        21
                                                                 A. This was maybe a couple months ago.
22 this interaction she had with Ryan Coyne?             22
                                                                 Q. Okay. Whose picture is this on this
23      A. Yes.                                          23
                                                            exhibit?
24      Q. Okay. And she sent you a copy of the          24
                                                                 A. I don't know who this is.
25 screen shots of the conversation she had with Ryan    25
                                                                 Q. Is this someone else she had sex with?
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 1                                                    1
        A.     Looks like it from that conversation.    the number or you didn't have it?
 2                                                    2
             MR. GOLD: Okay. Let's go on next                A. I didn't have it.
 3                                                    3
        -- let's go to Exhibit 60. That was 60.                   MR. GOLD: Okay. Scroll down.
 4                                                    4
        61.                                             BY MR. GOLD:
 5                                                    5
   BY MR. GOLD:                                              Q. Who is that a picture of?
 6                                                    6
        Q. She says: They're back and they're                A. Me and my fiance.
 7                                                    7
   trying to destroy my freaking life. It's all                   MR. GOLD: Okay. Scroll down.
 8                                                    8
   bullshit. It's public now.                                Scroll down. Stop.
 9                                                    9
             Do you know what she's talking about?                MR. MAINEN: Hey, Sid, sorry to
10                                                   10
        A. I'm not sure.                                     interrupt. That's the end of the
11                                                   11
        Q. This is now August 12th, 2020. You                exhibits.
12                                                   12
   don't have any recollection? And who is that --                MR. GOLD: That's it? Okay. Then
13                                                   13
        A. No, I'm not --                                    go -- scroll up for one second. Stop.
14                                                   14
        Q. -- a picture of? Who is that a picture            Okay. Scroll up to -- one last shot at
15                                                   15
   of?                                                       63. I just have one question and I'll
16                                                   16
        A. I don't know.                                     be done.
17                                                   17
             MR. GOLD: Let's go to 61. I'm                        THE WITNESS: I think we're at
18                                                   18
        sorry, 62. Stop. Keep going. Stop                    time, so --
19                                                   19
        right there.                                              MR. GOLD: Keep going. Keep
20                                                   20
   BY MR. GOLD:                                              going. Stop. We got it then. Okay.
21                                                   21
        Q. "Ok. So I wouldn't ask unless                          I'm done. Thank you.
22
   necessary. Any chance you can spot me a hundred 22             I have no further questions.
23                                                   23
   until Tuesday" -- "Thursday."                                  THE WITNESS: Are we going off the
24                                                   24
             Is that -- we know that's now the               record now?
25
   second time she's asked to borrow money from you. 25           THE VIDEO SPECIALIST: Mr. Carson?
                                            Page 389                                                       Page 391
 1                                                      1
   Did you give her the hundred?                                  MR. CARSON: Yeah, I think we're
 2                                                      2
       A. Yes.                                               done, right?
 3                                                      3
       Q. Okay. Does she owe you any money?                       THE WITNESS: We can't hear you,
 4                                                      4
       A. No.                                                Seth.
 5                                                      5
       Q. She paid you back?                                      MR. CARSON: I think we're done,
 6                                                      6
       A. Yeah.                                              right? Seven hours?
 7                                                      7
       Q. Okay, good.                                             MR. GOLD: Right. I know I'm
 8                                                      8
            MR. GOLD: Next. Let's go to 63.                  done.
 9                                                      9
       Go to the yellow highlighted part.                         MR. CARSON: All right. Thank
10                                                     10
       Let's move it along. Go, go, go, go --                you, everybody.
11                                                     11
       stop.                                                      MR. GOLD: Thank you, everybody.
12                                                     12
   BY MR. GOLD:                                              Have a good weekend. Be safe.
13                                                     13
       Q. Who is Sam Westeros, if you know?                       THE VIDEO SPECIALIST: We are now
14                                                     14
       A. Sam -- I think that's a typo. I think              off the record.
15                                                     15
   she meant --                                                         ---
16                                                     16
       Q. Yeah, it's actually -- should be                        (The proceedings concluded at 6:38 p.m.)
17                                                     17
   Westrop.
18                                                     18
       A. Yeah.
19                                                     19
       Q. Okay. Who is he?
20                                                     20
       A. He was an employee when we worked at
21                                                     21
   MEF.
22                                                     22
       Q. Okay. And she's asking for Sam's
23                                                     23
   number?
24                                                     24
       A. Yes.
25                                                     25
       Q. Okay. And were you able to give her
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                                            C E R T I F I C A T E


                                 I HEREBY CERTIFY that the proceedings and
              evidence are contained fully and accurately, to the
              best of my ability, in the notes of testimony taken by
              me in the proceedings of the above cause, and that the
              copy is a correct transcript of the same.




                                                   _______________________________
                                                   Carrie A. Kaufman
                                                   Registered Professional Reporter
                                                   Notary Public




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                                 2018 (65)                  45 (4)
 <$>                             2019 (53)                  46 (2)                         <9>
 $135,000 (2)                    2020 (4)                   47 (1)                         9 (3)
 $300 (7)                        2021 (2)                   48 (4)                         9:30ish (1)
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                                 20-minute (1)              49 (1)                         9th (3)
 <1>                             21 (3)                     4th (2)
 1 (4)                           215 (3)                                                   <A>
 1:41 (1)                        21st (1)                   <5>                            a.m (10)
 10 (1)                          22 (2)                     5 (7)                          ability (2)
 10:00 (4)                       22nd (1)                   5:00 (7)                       able (11)
 10:10 (1)                       23 (1)                     5:30 (2)                       abroad (1)
 10:12 (2)                       24 (1)                     5:34 (1)                       absolutely (3)
 10:52 (1)                       24-hour (1)                50 (2)                         absurd (2)
 10th (1)                        28 (3)                     501(c)(3 (1)                   absurdity (1)
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 18 (4)                          30th (4)                   6:00 (1)                       accurately (2)
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 2:17 (1)                        <4>                        7 (1)                          acts (1)
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 fancy (1)                       flat (1)                   front (3)                      God (5)
 far (20)                        flex (4)                   frustrated (5)                 goes (10)
 fast (2)                        flight (5)                 frustration (1)                going (296)
 favor (1)                       flights (2)                fuck (9)                       GOLD (679)
 February (13)                   flirt (2)                  fucked (4)                     Golden (1)
 federal (2)                     flirted (1)                fucking (14)                   Goldstein (2)
 feel (26)                       flirting (1)               full (4)                       gonna (7)
 feeling (14)                    flooded (1)                fully (2)                      good (37)
 feelings (3)                    floor (1)                  fun (2)                        goodness (1)
 feels (2)                       Florida (1)                funded (1)                     Google (5)
 fees (2)                        flown (1)                  funding (3)                    gorgeous (1)
 fell (4)                        fly (1)                    funds (2)                      gosh (2)
 fellow (2)                      flying (2)                 funny (2)                      gotten (4)
 felt (14)                       focus (1)                  further (6)                    governors (8)
 female (6)                      focusing (1)               Future (4)                     gown (1)
 females (2)                     follow (1)                 FYI (1)                        grand (2)
 FFS (1)                         following (1)                                             gray (7)
 fiance (4)                      FOLLOWS (1)                <G>                            Great (8)
 fifth (1)                       follow-up (1)              gala (1)                       greatly (1)
 fifty (2)                       food (2)                   games (3)                      green (2)
 fight (5)                       foot (2)                   gangs (1)                      Gregg (185)
 fighting (6)                    forced (3)                 gap (1)                        Gregg's (5)
 figure (4)                      forcing (1)                Gary (2)                       grooming (1)
 figured (1)                     foreign (1)                Gates (1)                      ground (1)
 figuring (1)                    forever (1)                gather (2)                     grounds (1)
 file (4)                        forget (3)                 gay (1)                        GROUP (3)
 filed (7)                       form (27)                  gender (4)                     grow (1)
 filled (3)                      formal (1)                 general (10)                   grown (1)
 filtered (1)                    formatted (1)              generally (2)                  grumpy (2)
 finalized (1)                   former (1)                 gentlemen (2)                  guard (2)
 finally (3)                     forms (3)                  genuinely (1)                  guess (34)
 finance (2)                     forth (2)                  George (2)                     guesses (1)
 financial (2)                   forthright (1)             Georgie (2)                    guessing (2)
 financials (3)                  forty (1)                  gestures (1)                   guidance (1)
 find (13)                       FORUM (33)                 getting (19)                   guy (7)
 fine (10)                       Forward (6)                gifs (1)                       guys (22)
 fingers (2)                     forwards (2)               gift (5)
 finish (11)                     found (8)                  Giles (6)                      <H>
 Fink (4)                        foundation (6)             Girl (5)                       habit (2)
 fire (7)                        frame (1)                  girlfriend (1)                 hack (1)
 fired (22)                      freaking (3)               girls (1)                      hacked (1)
 firing (5)                      free (5)                   give (36)                      haha (5)
 firm (6)                        free-for-all (2)           given (22)                     hair (1)
 first (48)                      French (1)                 gives (3)                      hairdresser (1)
 firsthand (1)                   Friday (1)                 giving (12)                    half (11)
 fit (1)                         friend (8)                 glad (1)                       halfway (1)
 five (16)                       friended (1)               glorious (1)                   hand (2)
 five-minute (2)                 friendly (12)              Gmail (4)                      handbook (1)
 fix (4)                         friends (10)               go (235)                       handed (2)


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 handful (1)                     honestly (3)               improvement (2)                interaction (4)
 handle (2)                      honorarium (1)             inappropriate (4)              interactions (4)
 handwritten (5)                 hook (1)                   in-between (1)                 interest (3)
 hang (4)                        hooked (1)                 inbox (1)                      interested (1)
 hanging (2)                     hope (7)                   incarcerated (1)               interesting (1)
 happen (17)                     Hopefully (1)              incident (2)                   interference (4)
 happened (50)                   horrible (2)               include (1)                    interim (1)
 happening (14)                  horror (1)                 includes (1)                   interject (1)
 happens (4)                     hospital (1)               including (2)                  internet (1)
 happy (12)                      Hospitality (4)            inconvenient (1)               interpersonal (1)
 harass (14)                     host (1)                   incorrect (3)                  interpretation (2)
 harassed (1)                    hot (1)                    increase (1)                   interpreted (3)
 harassing (1)                   Hotel (4)                  incumbent (1)                  interpreter (1)
 harassment (4)                  hour (3)                   INDEX (2)                      interrelationship (1)
 hard (13)                       hours (27)                 indicate (2)                   interrupt (4)
 harder (1)                      hovering (1)               Indiscernible (9)              interrupting (2)
 hate (10)                       HR (9)                     individual (1)                 interruption (3)
 hated (1)                       Human (1)                  inflammatory (1)               interrupts (1)
 Head (17)                       hundred (17)               influence (4)                  interviewing (1)
 headaches (1)                   hung (3)                   information (23)               intimate (3)
 headed (1)                      hungry (1)                 inhibited (1)                  intimately (1)
 headhunter (2)                  hurting (2)                inhibition (1)                 invent (1)
 hear (50)                       husband (14)               initial (1)                    invest (1)
 heard (19)                      hyperventilate (2)         initially (2)                  invested (1)
 hearing (3)                     hypothetical (13)          initiated (1)                  investment (2)
 heart (4)                       hypothetically (1)         injects (1)                    investor (6)
 heavy (2)                       hypotheticals (2)          inpatient (1)                  invite (1)
 heck (1)                                                   input (1)                      invited (2)
 he'd (1)                        <I>                        insane (2)                     invites (1)
 Held (7)                        iCloud (17)                inserting (1)                  involved (15)
 he'll (2)                       Icon (4)                   Instagram (23)                 iPad (14)
 help (2)                        idea (16)                  instance (2)                   iPhone (3)
 helping (2)                     identify (2)               instruct (6)                   ironic (1)
 hey (8)                         ignoring (1)               instructed (8)                 irritable (1)
 high (4)                        ill (2)                    instructing (7)                irritated (1)
 highlighted (21)                illegal (1)                instruction (2)                IRS (2)
 Hill (1)                        illness (1)                instructions (7)               isolated (1)
 hire (2)                        image (1)                  instructs (1)                  Israel (14)
 hired (11)                      images (1)                 insults (1)                    issue (7)
 history (1)                     imagine (2)                int (1)                        issued (1)
 hit (6)                         immediately (1)            intelligence (1)               issues (5)
 hitting (2)                     immersed (1)               intended (3)                   items (1)
 hold (11)                       impact (3)                 intending (1)
 holding (1)                     impacting (1)              intense (1)                    <J>
 Hole (1)                        impacts (1)                intention (1)                  Jackson (1)
 Holy (2)                        imperative (1)             intentional (1)                jail (5)
 home (9)                        implicitly (1)             intentionally (1)              January (15)
 honcho (1)                      important (8)              intentions (1)                 Jaz (17)
 honest (1)                      impression (5)             interacting (1)                Jazmin (3)


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 jcavalier@cozen.com             language (2)               Lisa's (17)                    major (2)
  (1)                            lap (2)                    list (3)                       making (27)
 Jerry (1)                       largely (1)                listen (8)                     male (2)
 job (104)                       larger (2)                 literally (5)                  management (4)
 jobs (7)                        late (3)                   litigation (6)                 managing (1)
 joke (2)                        lately (1)                 little (17)                    manipulative (1)
 Jon (3)                         LAW (9)                    live (5)                       manner (1)
 JONATHAN (1)                    lawsuit (9)                livid (1)                      manual (2)
 journalists (1)                 lawyer (11)                living (1)                     Marc (4)
 judge (5)                       lawyers (7)                loathe (1)                     March (39)
 July (2)                        lay (1)                    logic (1)                      mark (3)
 jump (3)                        lead (1)                   LOL (3)                        marked (1)
 jumped (2)                      leading (1)                London (9)                     Market (3)
 juncture (3)                    learn (6)                  long (21)                      Marnie (142)
 June (13)                       learned (5)                longer (5)                     Marnie's (5)
 jury (2)                        leave (29)                 long-term (1)                  material (1)
 justified (3)                   leaving (6)                look (26)                      Matt (142)
                                 led (1)                    looked (8)                     matter (11)
 <K>                             Lee (17)                   looking (18)                   mattered (1)
 Kaseem (1)                      left (75)                  looks (32)                     Matthew (1)
 Kassam (2)                      legal (8)                  lose (5)                       Matt's (1)
 Kaufman (3)                     legit (1)                  losing (2)                     McNULTY (34)
 keep (89)                       legitimate (2)             lost (8)                       mean (96)
 keeping (1)                     lend (2)                   lot (19)                       meaning (4)
 kept (1)                        lengthy (1)                Lots (1)                       means (9)
 Kevin (1)                       lessons (1)                loud (1)                       meant (10)
 key (1)                         letter (10)                love (5)                       media (10)
 kick (1)                        letters (3)                loved (11)                     medical (1)
 kid (1)                         letting (1)                loves (1)                      medication (1)
 kidding (3)                     level (1)                  loving (1)                     medications (1)
 kids (5)                        leverage (1)               Lovitz (1)                     meet (12)
 kill (7)                        Lewis (2)                  low (1)                        meeting (29)
 kind (18)                       liability (1)              luck (2)                       meetings (2)
 kinds (1)                       liaison (4)                lucky (1)                      MEF (159)
 kinship (1)                     Liberty (1)                lunch (6)                      MEF's (1)
 kissy (1)                       lie (7)                    luncheon (8)                   Megan (7)
 knew (24)                       lied (1)                                                  members (1)
 knock (1)                       lien (2)                   <M>                            memes (1)
 know (410)                      liens (1)                  ma'am (15)                     memory (4)
 knowing (2)                     life (14)                  machine (2)                    men (1)
 knowledge (8)                   lifetime (5)               mad (7)                        Mental (1)
 known (6)                       light (2)                  magazine (1)                   mention (2)
 knows (4)                       liked (11)                 magic (1)                      mentioned (9)
                                 likes (2)                  magical (1)                    mentioning (2)
 <L>                             line (13)                  maiden (1)                     mentions (2)
 lack (4)                        lined (1)                  mail (2)                       message (47)
 ladies (3)                      link (2)                   mailchimp (2)                  Messages (60)
 laid (1)                        LinkedIn (7)               Mainen (14)                    Messenger (1)
 landline (1)                    LISA (266)                 MAJA (2)                       met (21)


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 methods (2)                     monitoring (1)             Neither (2)                    occurred (9)
 Meyer (3)                       month (8)                  never (66)                     occurring (1)
 mic (2)                         months (12)                new (24)                       O'CONNOR (2)
 Michael (1)                     moot (1)                   news (3)                       October (4)
 microphone (4)                  moral (1)                  nice (4)                       odd (1)
 MIDDLE (19)                     morality (1)               nickel (1)                     offensive (1)
 middleman (1)                   morning (15)               night (13)                     offer (2)
 midweek (1)                     mornings (1)               nine (1)                       offered (4)
 Mike (3)                        mother (8)                 nod (1)                        offering (1)
 mildly (1)                      motion (1)                 nods (2)                       offhand (8)
 million (2)                     motions (1)                noise (2)                      office (63)
 millionth (1)                   motivated (5)              nonevent (1)                   offices (1)
 mimosa (1)                      motivation (2)             nonlegal (1)                   officially (1)
 mind (11)                       mouth (2)                  normal (2)                     Oh (30)
 mine (3)                        move (21)                  normally (1)                   oil (2)
 minimal (1)                     moved (1)                  Notary (2)                     Ok (1)
 minimum (1)                     moves (1)                  notch (1)                      Okay (668)
 minny (1)                       movie (17)                 note (5)                       old (14)
 minor (1)                       movies (3)                 noted (5)                      once (7)
 minute (10)                     moving (5)                 notes (5)                      one-on-one (1)
 minutes (13)                    msharif (1)                notice (2)                     ones (4)
 mirror (1)                      multiple (5)               noticed (1)                    ongoing (3)
 misapprehension (1)             multitude (1)              notwithstanding (5)            opened (2)
 Mischaracterization             Murphy (3)                 November (33)                  opening (3)
 (1)                             Muslim (1)                 now-fiance (1)                 opinion (11)
 mischaracterizing (1)           mute (14)                  NUMBER (22)                    opinions (1)
 misconstrued (1)                muted (5)                  numbers (1)                    opposed (1)
 miserable (1)                   muting (1)                 nuts (1)                       opposite (1)
 misheard (1)                    Myers (1)                  NYE (1)                        opposition (1)
 misinterpreted (1)                                                                        order (3)
 misrepresent (1)                <N>                        <O>                            ordered (3)
 misrepresentation (3)           name (15)                  Obj (1)                        orders (4)
 missed (1)                      named (3)                  object (46)                    ordinary (1)
 missing (2)                     names (4)                  objected (2)                   organization (5)
 mission (3)                     narcotics (2)              objecting (3)                  outright (1)
 misstate (1)                    natural (1)                objection (132)                outside (12)
 mistaken (3)                    nature (1)                 objections (5)                 overall (1)
 misunderstanding (1)            Nazi (1)                   objectively (3)                overboard (1)
 misunderstood (2)               NDA (16)                   objects (2)                    overreacting (1)
 mode (2)                        NDAs (1)                   obligated (1)                  overworked (5)
 modified (1)                    Neal (14)                  obligations (1)                owe (1)
 moment (7)                      near (1)                   O'Brien (5)                    owned (1)
 moms (1)                        necessarily (1)            observation (1)
 Monday (9)                      necessary (2)              observations (2)               <P>
 money (29)                      need (32)                  observe (1)                    P.C (1)
 mongrel (1)                     needed (12)                obvious (2)                    p.m (18)
 mongrels (2)                    needs (2)                  obviously (5)                  PA (3)
 monies (1)                      nefarious (1)              occasion (2)                   pad (1)
 monitor (1)                     negative (1)               occasions (2)                  PAGE (4)


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 paid (22)                       personal (20)              points (1)                     prior (6)
 pain (1)                        personally (2)             police (1)                     private (2)
 painkiller (2)                  persons (1)                policies (1)                   privilege (18)
 paper (9)                       person's (3)               policy (2)                     privileged (12)
 paranoid (4)                    pertained (1)              political (5)                  probably (14)
 Pardon (5)                      pertaining (1)             poor (2)                       probation (2)
 parents (2)                     pertains (2)               porn (3)                       probationary (3)
 park (1)                        Philadelphia (10)          portion (11)                   problem (7)
 part (30)                       Philly (2)                 portions (4)                   problems (7)
 participate (1)                 phone (45)                 posing (1)                     procedural (1)
 participating (2)               photo (1)                  position (20)                  proceedings (5)
 participation (1)               photographing (1)          positive (1)                   process (5)
 particular (5)                  photographs (2)            possession (3)                 produce (7)
 particularly (1)                photos (5)                 possibility (5)                produced (17)
 parties (1)                     phrased (1)                possible (7)                   producing (1)
 parts (4)                       pic (5)                    possibly (4)                   production (2)
 party (11)                      pick (2)                   post (8)                       Professional (5)
 passionate (1)                  picked (1)                 postcards (2)                  program (6)
 passive (1)                     picnic (1)                 posted (6)                     prohibited (1)
 passwords (2)                   pics (8)                   posting (5)                    project (5)
 Patel (2)                       picture (15)               postpone (2)                   projects (1)
 patience (1)                    pictures (20)              posts (1)                      promise (2)
 PATRICIA (16)                   piece (1)                  potential (7)                  proof (1)
 patricia.mcnulty1@gm            pieces (1)                 potentially (2)                propensity (2)
 ail.com (1)                     piling (1)                 power (5)                      properly (1)
 Patrick (5)                     PIP (1)                    powerful (1)                   proportion (1)
 Patriot (1)                     Pipes (55)                 practice (2)                   proposed (1)
 Pause (1)                       Place (30)                 preach (1)                     proprietary (2)
 pay (30)                        placed (4)                 preamble (1)                   protected (1)
 paycheck (1)                    Plaintiff (7)              precise (1)                    protection (1)
 paying (13)                     plaintiff's (2)            predicate (1)                  protest (1)
 payroll (1)                     plan (6)                   prefer (2)                     protocol (1)
 pays (1)                        plane (6)                  pregnant (1)                   protocols (2)
 pecking (1)                     planned (1)                premise (2)                    proud (1)
 pending (3)                     planning (5)               premising (1)                  prove (5)
 PENNSYLVANIA (5)                plate (3)                  prepare (1)                    provide (7)
 people (38)                     platform (1)               preparing (1)                  provided (2)
 people's (1)                    platforms (2)              prerogative (1)                providing (1)
 pep (1)                         play (1)                   prescribed (4)                 psychiatrist (1)
 percent (1)                     playing (6)                prescription (1)               psycho (1)
 percentage (1)                  pleasantries (1)           presence (1)                   Public (8)
 perception (4)                  please (33)                Present (4)                    publication (1)
 Percocet (1)                    pleasure (1)               preservation (1)               puking (1)
 performance (3)                 plenty (1)                 pretend (3)                    pull (1)
 period (10)                     PLLC (1)                   pretty (13)                    pulling (2)
 permanent (2)                   plowing (1)                previous (6)                   punch (2)
 permanently (1)                 plural (2)                 previously (3)                 punching (1)
 permitted (2)                   point (77)                 priests (1)                    punish (1)
 person (28)                     pointing (1)               primary (1)                    punishment (1)


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 purposes (2)                    reading (6)               relate (1)                     required (1)
 pursuant (1)                    ready (3)                 related (7)                    requires (3)
 pursue (3)                      real (2)                  relates (1)                    resentful (1)
 push (2)                        realize (2)               relating (1)                   reservations (1)
 put (31)                        realized (1)              relation (1)                   reset (12)
 putting (5)                     really (21)               relations (1)                  resignation (3)
                                 reason (33)               relationship (52)              resigned (3)
 <Q>                             reasonably (1)            relatively (1)                 resigning (1)
 Qatar (1)                       reasoning (1)             releasing (1)                  resisted (1)
 qualifications (1)              reasons (9)               relevance (2)                  resolution (2)
 question (200)                  reassure (1)              relevant (4)                   respect (2)
 questioned (1)                  recall (31)               reliable (1)                   respond (7)
 questioning (4)                 recalls (1)               relief (1)                     responded (4)
 questions (53)                  receive (6)               relieved (1)                   responding (5)
 quick (5)                       received (5)              reluctance (2)                 responds (3)
 quickly (2)                     receives (1)              relying (1)                    response (14)
 quit (6)                        receiving (1)             remain (1)                     responses (12)
 quite (2)                       recess (8)                remained (1)                   responsibilities (2)
 quitting (1)                    recognized (1)            remember (154)                 responsibility (2)
 quote (7)                       recollection (19)         remembers (1)                  responsive (27)
 quote/unquote (1)               recommendation (1)        remind (1)                     responsiveness (1)
                                 reconsidering (1)         reminder (2)                   rest (2)
 <R>                             record (82)               reminding (1)                  restored (4)
 race (1)                        recorded (2)              remotely (1)                   result (4)
 racist (1)                      recording (2)             remove (1)                     resume (2)
 radio (3)                       recover (2)               repeat (5)                     resumes (1)
 Raheem (42)                     recovered (8)             repeated (1)                   retained (1)
 Raheem's (1)                    redact (2)                repeatedly (2)                 retaliation (5)
 raises (1)                      redirect (3)              repeating (2)                  retire (1)
 rallies (1)                     redo (1)                  repercussions (1)              retired (1)
 rally (28)                      reduced (1)               rephrase (2)                   retiring (2)
 ramping (1)                     refer (2)                 replace (3)                    return (1)
 ran (2)                         reference (9)             replaced (1)                   returned (1)
 rando (1)                       references (1)            replacement (1)                revealed (2)
 Random (1)                      referred (1)              replied (1)                    revenge (3)
 randos (1)                      referring (22)            reply (1)                      review (8)
 Randy (7)                       refers (2)                report (17)                    reviewed (7)
 rant (1)                        refresh (4)               reported (6)                   reviewing (4)
 Rape (2)                        refused (1)               Reporter (59)                  revise (2)
 rarely (1)                      regarding (3)             Reporting (4)                  revised (1)
 rarity (1)                      register (8)              represent (2)                  Reynolds (1)
 rate (1)                        Registered (5)            representation (8)             rid (1)
 rational (1)                    regular (3)               representative (1)             ridiculous (2)
 reached (2)                     regularly (2)             represented (4)                RIESER (3)
 reacting (1)                    rehabilitate (1)          representing (2)               Right (132)
 reaction (1)                    reigns (1)                Republican (1)                 ripe (2)
 reactions (1)                   reimburse (3)             request (12)                   road (1)
 read (46)                       reimbursed (1)            requests (23)                  roaming (1)
 reader (2)                      reimbursement (1)         require (2)                    Robinson (21)


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 role (14)                       scroll (138)               share (11)                     skinny (1)
 rolling (1)                     scrolled (1)               shared (3)                     skip (1)
 Roman (27)                      scrolling (10)             sharif (1)                     sky (1)
 romantically (1)                se (1)                     sharing (1)                    slang (1)
 Rommo (1)                       search (3)                 She'll (6)                     slap (1)
 roof (4)                        searched (3)               shield (2)                     sleep (2)
 room (19)                       second (24)                shift (1)                      sleeping (6)
 rough (1)                       seconds (3)                shifting (1)                   slept (7)
 roughly (1)                     Section (1)                shiny (1)                      Slightly (1)
 row (1)                         security (7)               shit (13)                      slow (1)
 RSVPs (1)                       see (46)                   shits (1)                      slur (1)
 ruin (1)                        seeing (6)                 short (2)                      slut (1)
 rules (1)                       seen (5)                   short-lived (1)                SMITH (3)
 ruling (1)                      select (1)                 shot (9)                       smoke (4)
 run (3)                         selected (8)               shots (45)                     snap (2)
 rundown (1)                     selection (3)              show (13)                      Snapchat (14)
 running (4)                     self-assessment (4)        showed (3)                     sneaky (1)
 Russell (1)                     send (34)                  shower (3)                     social (12)
 Ryan (18)                       sending (14)               showing (3)                    socializing (1)
 Ryan's (2)                      sends (2)                  shown (3)                      solely (2)
                                 senior (2)                 shut (1)                       solicit (1)
 <S>                             sense (7)                  sick (8)                       soliciting (2)
 sad (1)                         senseless (1)              Sid (6)                        somebody (20)
 sadder (1)                      sensitive (1)              side (3)                       somewhat (3)
 safe (3)                        sent (61)                  SIDNEY (4)                     son (5)
 sake (2)                        sentence (1)               sightsee (1)                   soon (3)
 salary (9)                      sentimental (1)            sign (15)                      Sorry (48)
 Sam (3)                         separate (3)               Signal (2)                     sort (4)
 Sam's (1)                       separated (3)              signaled (1)                   sorts (5)
 sanction (1)                    separately (1)             signed (10)                    sound (2)
 sanctions (1)                   September (8)              signing (5)                    sounded (1)
 sandman (4)                     series (1)                 silly (1)                      sounds (3)
 Sapchat (2)                     serious (8)                similar (4)                    spa (3)
 sat (4)                         seriously (4)              simple (4)                     speak (39)
 satisfied (3)                   serve (2)                  simply (3)                     speaking (7)
 save (6)                        served (7)                 singer (1)                     speaks (1)
 saw (7)                         serving (1)                single (3)                     Specialist (29)
 saying (47)                     set (11)                   singled (2)                    specific (4)
 says (127)                      SETH (53)                  singular (1)                   specifically (5)
 scared (1)                      seth@dereksmithlaw.c       sinister (1)                   specifics (3)
 scenario (1)                    om (1)                     sister (30)                    speech (3)
 schedules (2)                   Seth's (2)                 sister's (1)                   spend (2)
 scheming (1)                    setting (3)                sit (5)                        spending (2)
 school (4)                      seven (5)                  site (2)                       spoke (16)
 scope (4)                       sex (10)                   sitting (5)                    spoken (13)
 scratch (1)                     sexual (13)                situation (3)                  spot (1)
 screaming (1)                   sexually (13)              situations (1)                 spring (2)
 screen (56)                     sgold@discrimlaw.net       six (1)                        stab (1)
 screwed (1)                      (1)                       skimming (1)                   stabbing (1)


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 Stacey (1)                      subsequent (1)             technical (2)                  thoughts (3)
 Stacy (1)                       substance (2)              technically (1)                thousand (10)
 stage (1)                       substantial (2)            telegram (1)                   thread (1)
 stalk (1)                       successes (1)              tell (103)                     threat (1)
 stalked (1)                     suck (1)                   telling (38)                   threaten (1)
 stance (1)                      sue (1)                    tells (3)                      threatened (3)
 stands (1)                      suffered (1)               ten (10)                       threatening (7)
 Star (3)                        suggest (2)                tendency (1)                   threats (1)
 start (10)                      suggested (4)              tendered (1)                   three (30)
 started (24)                    suggesting (1)             tense (1)                      three-year-old (2)
 starting (5)                    Suite (3)                  tension (1)                    throw (3)
 Starts (3)                      sultry (1)                 tensions (4)                   throwing (2)
 state (4)                       Sun (2)                    tenure (3)                     throws (1)
 stated (2)                      Sunday (1)                 term (4)                       Thursday (2)
 statement (10)                  super (4)                  terminate (1)                  ticket (20)
 STATES (4)                      supervise (1)              terminated (3)                 tickets (5)
 static (1)                      supervised (1)             terminating (1)                tiff (1)
 stating (2)                     supervising (2)            termination (2)                Tiffany (15)
 station (3)                     supervisor (2)             terms (7)                      till (1)
 stay (11)                       supervisors (2)            terrorism (1)                  time (170)
 stayed (1)                      supervisory (3)            terrorist (1)                  times (26)
 staying (1)                     supply (1)                 terrorists (1)                 tired (4)
 stenographic (1)                support (2)                Terry (5)                      title (10)
 stepped (1)                     supposed (21)              test (2)                       tmcnulty82@gmail.co
 stepping (1)                    sure (71)                  TESTIFIED (14)                 m (1)
 steps (2)                       surname (1)                testifying (2)                 today (35)
 Stillwell (1)                   surrounding (1)            testimony (15)                 Today's (3)
 stomach (1)                     surveillance (3)           Text (101)                     toes (1)
 stone (1)                       survival (1)               texted (5)                     told (144)
 stop (123)                      Survivor (1)               texting (1)                    Tommo (4)
 storage (1)                     swear (2)                  texts (6)                      Tommy (22)
 store (3)                       sweat (1)                  Thank (18)                     Tommy's (3)
 stored (1)                      SWORN (1)                  Thankfully (1)                 tomorrow (12)
 stories (3)                     systems (1)                thanks (1)                     ton (2)
 storm (1)                                                  theater (9)                    tonight (3)
 story (3)                       <T>                        theirs (2)                     tons (1)
 straight (2)                    tab (1)                    Thelma (1)                     top (7)
 strained (1)                    table (1)                  thereof (1)                    Total (3)
 strange (1)                     tabs (2)                   thigh (1)                      totally (2)
 strategy (1)                    take (65)                  thing (30)                     touch (1)
 Street (3)                      taken (17)                 things (72)                    touched (1)
 streets (2)                     takes (1)                  think (193)                    touching (1)
 stressed (2)                    tales (1)                  thinking (12)                  touchings (1)
 stuff (10)                      talk (68)                  thinks (4)                     toxic (1)
 stupid (3)                      talked (40)                third (5)                      train (1)
 style (4)                       talking (103)              Thirty (2)                     trained (2)
 subject (9)                     talks (2)                  Thomas (38)                    training (4)
 subscribed (1)                  target (1)                 Thomas's (2)                   transcribe (1)
 subscribers (1)                 tech (1)                   thought (39)                   transcribed (1)


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 transcript (2)                  <U>                        viewpoint (1)                  went (40)
 transcripts (1)                 Uber (4)                   violation (1)                  we're (102)
 transfer (1)                    Ugh (2)                    visit (5)                      Westeros (1)
 transition (1)                  Uh-huh (8)                 visiting (1)                   Westrop (1)
 transmitting (2)                UK (21)                    voice (2)                      We've (6)
 trap (1)                        ultimately (5)             volition (1)                   WhatsApp (13)
 travel (1)                      Unbelievable (2)           volume (1)                     white (1)
 traveling (5)                   uncomfortable (10)         vote (4)                       wifed (1)
 treat (2)                       underlying (1)             voted (1)                      WILLIAM (1)
 treated (3)                     understand (43)            voting (1)                     willing (3)
 treats (1)                      understanding (6)          vs (1)                         win (1)
 Trek (1)                        understands (1)                                           window (1)
 trial (2)                       Understood (5)             <W>                            Winfield (1)
 Tricia (3)                      unhappy (4)                wait (6)                       wink (1)
 Tricia's (3)                    UNICOMP77@hotmai           waited (2)                     winter (1)
 trick (3)                       l.com (1)                  waiting (5)                    wire (1)
 tried (10)                      UNITED (3)                 waive (1)                      wise (1)
 trip (30)                       universe (1)               waiving (1)                    wish (1)
 TRISHAEEEE@hotm                 unlimited (2)              walk (3)                       withdraw (5)
 ail.com (1)                     unrelated (1)              walking (2)                    withdrawing (1)
 trouble (2)                     unsuccessful (1)           wall (1)                       withdrew (4)
 true (17)                       unsupported (2)            Walton (3)                     WITNESS (115)
 Trump (1)                       untrue (1)                 wanna (2)                      witness's (2)
 trust (15)                      updated (1)                want (115)                     Woah (3)
 truth (2)                       upset (13)                 wanted (41)                    woes (2)
 truthful (2)                    use (49)                   wanting (1)                    woke (1)
 try (15)                        username (7)               wants (5)                      Wolson (1)
 trying (39)                     usually (2)                warn (1)                       woman (1)
 Tuesday (2)                                                warned (4)                     women (2)
 tumultuous (1)                  <V>                        warning (2)                    won (1)
 tunnel (1)                      vacation (3)               Wars (2)                       wonder (1)
 turn (7)                        Vaguely (1)                Washington (3)                 wondering (2)
 turned (1)                      vape (1)                   waste (4)                      word (7)
 tweet (1)                       various (1)                wasting (1)                    words (6)
 tweeted (5)                     Vasili (12)                watch (4)                      work (121)
 tweeting (1)                    Vasili's (1)               way (56)                       worked (12)
 twenty (1)                      vent (1)                   ways (3)                       working (65)
 twerp (2)                       venting (2)                weak (1)                       workload (9)
 Twice (7)                       ventriloquist (1)          wear (1)                       workloads (1)
 Twin (3)                        verbal (1)                 Weber (8)                      workplace (3)
 Twitter (7)                     verbally (1)               week (16)                      works (5)
 two (29)                        verbatim (1)               weekend (10)                   workshop (1)
 two-minute (2)                  verification (7)           weekends (1)                   world (3)
 type (3)                        verified (1)               weeks (5)                      worried (1)
 typed (1)                       verify (2)                 Weinstein (4)                  worry (4)
 types (2)                       Verizon (2)                weird (1)                      worse (2)
 typical (2)                     version (2)                welcome (7)                    worst (4)
 typo (3)                        versus (3)                 well (147)                     Wow (1)
                                 video (40)                 well-versed (1)                wrapped (1)


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 wrist (1)
 write (15)
 writes (20)
 writing (6)
 written (6)
 wrong (11)
 wrote (5)
 Wyoming (1)

 <Y>
 Ya (1)
 Yeah (164)
 year (16)
 years (40)
 yelled (1)
 yellow (14)
 Yesterday (9)
 Yo (3)
 Yoder (3)
 Yonchek (3)
 York (5)
 Young (1)
 younger (1)

 <Z>
 zero (1)
 Zionist (1)
 ZOA (1)
 Zofran (1)
 zone (1)
 Zoom (13)




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